                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 1 of 99 PageID 3722                                                                    -._.,
97 65 03
                                                                                                                                                                                 ~ ~ at &t
08/ 1 7/2011
                                                               MOBILITY USAGE
SCAMP                                                       (with cell location)


 Run Date:            08/17/2011
 Run Time:            00:36:02
 Data Uoage For:      (817)343-6690
 Account Number:      318912244
Item       Conn.       Conn.    Originating     Elapsed Bytoo  Bytes                IMBI                    IMSI               Access     Description     Cell Location
           Date        Time       Number         Time     Up     on                                                              Pt
439     02/09/11      03:35P 18173436690          60:00 120718 361149      ***************           310410276936201      phone         _ MOBILE_ DATA_ [ 52709/62028:-97.09953:32.93497:120]
440     02/09/11      04:06P 18173436690          0:49    3119   36898     ••••••••••••• ••          310410276936201      acds.voicem   _ MOBILE_ DATA_ [52709/60422:-97.09917:32.95581:128]
                                                                                                                          ail
441    02/09/11       04:20P 18173436690          4:03   2061     1333     ••••••••• •• • • ••       310410276936201      acds.voicem   _ MOBILE_ DATA_ [52709/60422:-97.09917:32.95581:128]
                                                                                                                          a il
442    02/09/11       0 4 :35P   18173436690     60:00  80607 258535       ....•..........           3 1 0410276936201    phone         _ MOBILE_ DATA_   [52709/60422:-97.09917:32.95581:128]
443    02/09/11       05:35P     18173436690     60:00    102     98       ......•........           310410276936201      phone         _ MOBILE_ DATA_   [52709/60422:-97.09917:32.95581:128]
444    02/09/11       06:35P     18173436690     60:00     51     49                                 310410276936201      phone         _ MOBILE_ DATA_   [52709/60422:-97.09917:32.95581:128]
445    02 /09/ 11     07:35P     18173436690     60:00     51     49                                 310410276936201      phone         _ MOBILE_ DATA_   [52709/60422:-97 . 09917:32 . 95581:128]
446    02 /0 9/11     08:35P     18173436690     60:00 802011 289211       ...............           310410276936201      phone         _ MOBILE_ DATA_   [52709/60422:-97.09917:32 . 95581 : 128]
                                                                     2
447    02/09/11       09:35P 18173436690         60:00     425     737     •• • ••••••• •••• •       310410276936201      phone         _ MOBI LE_ DATA_ [52709/60422:-97.09917:32.95581:128]
448    02/09/ 1 1     09:58P 18173436690          0:49    3679   62 12 4   ****** * *** ** ***       310410276936201      acds . voicem _ MOBILE_ DATA_ [52709/60428:-97.09917 : 32.95581 : 128]
                                                                                                                          ail
449    02 /09/ 11     10:35P 18173436690         60:00 164249 113956       * * *** * * *** ** ***    310410276936201      phone         _ MOBILE_ DATA_ [52709/ 60428: - 97.09917 : 32.95581:128]
                                                                     8
450    02/09 / 11     11:32P 18173436690          4:01   2061     1333     ••••••••••• • •••         310410276936201      acds.voicem _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                                                                                          ail
451    0 2/09/11      11 : 35P 1 8173 4 36690    60 : 00 191751 134811     ** * *** ** * * *****     310410276936201      phone       _ MOBILE_ DATA_ [52709/60428:-97.099 17:32.9558 1 : 128]
                                                                     4
452    02/1 0 / 11    12:35A 18173436690         60:00   1325      442     ••• • •• •• • • •••• •    310410276936201      phone         _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
453    02 /1 0 / 11   12 : 36A 18173436690        4:02   2143     1692     •••••••• • ••• • ••       310410276936201      acds.voicem   _ MOBILE_ DATA_ [52709/23568:-97.09917:32.95581:]
                                                                                                                          ail
454    02/10/11       01:35A     18173436690     60:00     51     49       ••• • • ••••••••• •       310410276936201      phone         _ MOBILE_ DATA_   [52709/23568:-97 . 09917:32.95581:]
455    02/10/11       02 : 35A   18173436690     60:00     51     49       ••• • • • •• • •• • •••   310410276936201      phone         _ MOBILE_ DATA_   [52709/23568:-97.09917:32.95581:]
456    02/1 0 /11     03:35A     18173436690     60:00   6966  29692       ••••••••• • •• •••        310 4102 7 6936201   phon e        _ MOBILE_ DATA_   [ 52709/23568:-97.0991 7 :32 . 95581:]
457    02/10/11       04:35A     18 173436690    60:00    573    472       ••••••••• ••••• •         310410276936201      phone         _ MOBILE_ DATA_   [52709/23568 :- 97 . 09917:32 . 95581:]
458    02/10/11       05:35A     18173436690     60:00  13043  53468       •••••••••••••• •          310410276936201      phone         _ MOBILE_ DATA_   [52709/23568:-97.09917:32 . 95581:]
459    02/10/11       06:35A     18173436690     60:00    665    356                                 310410276936201      phone         _ MOBILB_ DATA_   [52709 / 23568: - 97.09917:32 . 95581 : ]
460    02 / 10/11     07:35A     18173436690     60:00 155914 200682                                 310410276936201      phone         _ MOBILE_ DATA_   [52709/23568:-97 . 09917:32.95581:]
                                                                      0
461    02/10/11       08: 12A 18173436690         4:02 185032 1877 1 6     ***************           310410276936201      wap . cingula _ MOBILE_ DATA_ [ 52709/60422:-97.09917:32.95581:128 ]
                                                                                                                          r
462    02/10/11       08:35A     18173436690     43 : 05      0       0    •••••••••••••••           310410276936201      phone         _ MOBILB_ DATA_   [ 52709/60422:-97 .0 9917:32.95581:128]
463    02/10/11       09:21A     18173436690      0:34        0      0     ***************           31041 0276936201     phone         _ MOBILE_ DATA_   [ 52709/24332:-97.09953:32.93497:128 ]
464    02/10/11       09:29A     18173436690      3:57        0      0     • ••••••••••• • ••        310410276936201      phone         _ MOBILB_ DATA_   [ 52709 / 24332:-97 . 09953:32.93497:128]
465    02/10/11       11:58A     18173436690      1 : 57      0      0                               310410276936201      phone         _ MOBILB_ DATA_   ( 52709/62028:-97.09953:32.93497:120]
466    02/10/11       12:06P     18173436690     60 : 00 169215 108038     ..............•           310410276936201      phone         _ MOBILB_ DATA_   [52709/24332:-97.09953:32.93497 : 128]
                                                                     5
467    02/10/11       12:06P 18173436690          2 : 42   2191  13385     ••••••••••• • •••         310 41 0 276936201   acds.voiccm _ MOBILE_ DATA_ [52709/24332:-97.09953:32.93497:128]
                                                                                                                          ail



                                                                                     AT&T Pro prieta ry
        NKK                                                                                                                                                                                  Pa ge 3 5
                                  The in fo rmat ion contai ned here i s f or us e by a utho riz e d p e r s on o nly and is
                                                             n o t fo r g eneral di s tribu t i on.
                                    Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 2 of 99 PageID 3723
976503
                                                                MOBILITY USAGE                                                                                                            ~,;' t t
08 /17/2 011
SCAMP                                                        {with c e ll location)                                                                                                       ~~ a &

 Run Date:             08/17/2011
 Run Time:             00:36:02
 Data Usage For:       (817)343-6690
 Account Number:       318912244
Item      Conn.         Conn.     Originating     Elapsed    Bytes     By teo             IMBI                     IMSI                Access     Description       Cell Location
          Data          Time        Number         Time        Up        On                                                               Pt
468     02/ 1 0/11     01:06P 181 73436690          60:00      2308      2331    ...•...•.......            310410276936201      phone          _ MOBILE_ DATA_     [52709 /24332 :-97.09 95 3:32.93497:12 8]
469     02/10/11       02:06P 18173436690           60:00         51        49                              310410276936201      p hone         _MOBILE_ DATA_      [52709/24332:-97.09953:32.93497:128]
470     02/10/11       03:06P 18173436690           46:51     23455     85596                               310410276936201      p hone         _ MOBILE_ DATA_     (52709 / 24332:-97.0995 3:32.93497 : 128]
471     02/10/11       03:52P 18173436690            0:08         0         0    ••• ••• •• • ••••••        310410276936201      p hone         _ MOBILE_DATA_      [52903/23587:-97.09742:32.89986:]
472     02/1 0/11      03: 5 3P 18173436690          0:04         0         0    •••• •• • •••••• ••        310410276936201      phone          _ MOBILE DATA_      [52709 / 27608:-97.08444:32.92639:]
473     02/10/11       03:53P 18173436690            6:09         0         0    ••• •••• ••••••••          310410276936201      phone          _ MOBILE_DATA_      [52903 / 23587:-97.09742:32.89986 : ]
474     02/10/11       03:59P 18173436690           18:19       805       393    • ••••••••••• • ••         310410276936201      phone          _ MOBILE_ DATA_     [52707/42181:-97.13406:32.83747:8]
475     02/10/11       04:18P 18173436690           60:00       696      2408    • • • •••• ••••••••        310410276936201      p hone         _ MOBILE_DATA_      [52707 /406 49:-97.16078:32.85086:248 ]
476     02/10/11       05:18P 18173436690           52:42      6558    18389     •• •••••• • •• • • • •     310410276936201      p hone         _ MOBI LE_ DATA_    [52707 /4064 9 : -97 . 16078:32.85086:2 48 ]
477     02/10/11       06:10P 18173436690          60 : 00     4038    14159     •• ••••••• ••••• •         310410276936201      phone          _ MOBI LB_ DATA_    [52707/40649 : -97 . 16078:32.85086:248 ]
478     02/10/1 1      07:10P 18173436690          60 : 00   24293     47321     •••••••••••••••            310410276936201      phone          _ MOBILE_ DATA_     [52707 /40649 : -97. 1 6078:32.85086:248]
479     02/10/11       08:10P 18173436690          60 : 00      542      2850    •• ••••••• ••••••          3104102 76936 201    phone          _ MOBILE_DATA_      [52707/40649:-97.16078:32.85086:248)
480     02/10/11       08:23P 18173436690           0:28 245682          5158    • ••• * •• ••• • • • • •   31041027 69 36201    wap.cingula    _ MOBILE_ DATA_     [52707 /14713: - 97.15889:32.83583:248]
                                                                                                                                 r
481     02/ 1 0/11     08 : 26P 18173436690         2 : 17 74359 1     1 9057    •••••• • ••••••••          310410276936201      wap.cingu le _ MOBILE_DATA_ [52707/42 123:-97.15889:32.83583:240 ]
                                                                                                                                 r
482     02/10/11       08:33P 18173436690           2:40 371611          9151    •• ••••• ••• • • •••       31041027 6 936201    wap.cingula _ MOBILE_ DATA_ [52707/42123 : -97 . 15889 : 32.83583 : 240 ]
                                                                                                                                 r
483     02/10/11       09 : 02P 18173436690         1 : 15     6052 315358       ••• • •••••••••••          310410276936201      wap.cingula _ MOBILE_ DATA_ [52707 / 14713:-97.15 889:32.83583:248]
                                                                                                                                 r
484     02/10/11       09:10P 18173436690          60:00     30507 334889        • ••••• •• •• • •• ••      3104 10276936 201    p hone      _MOBILE_DATA_ [5 2707 / 147 13: - 97.15889:32 . 83583:248]
485     02/ 1 0 / 11   09:13P 18173436690           2:28      4612 243367        • • •••••• •• •••• •       310410276936201      wap.cingu1a _ MOBILE_ DATA_ [52707/42123:-97.15889:32 . 83583:240]
                                                                                                                                 r
486     02/10 / 11     09:18P 18173436690           2:54       5092 238014       •••••• •••••••••           3104 102769362 01    wap.cingu1a _MOBILE_DATA_ [52707 /4 2123: - 97.15889:32 . 83583:240]
                                                                                                                                 r
487     02/1 0 /11     lO:lOP 181734 3 6690        60:00       6772    3 1217    * * ** ** * ****** * *     310410276936201      phone       _ MOB I LE_ DATA_ [52707 / 42 123:-97.15889:32 . 83583:240]
488     02/10/11       10:55P 18173436690           4:02       3039    25107     • • ••••• ••••••••         310410276936201      acds.voicem _ MOBILE_ DATA_ [52707 / 14713: - 97. 1 5889:32.835 83: 248]
                                                                                                                                 ail
489     02/10/11       11:03P 18173436690           4:02       8972 573245       ........••.....            310410276936201      wap.cingu1a _MOBILE_DATA_ [52707 / 147 13 : -97 . 15889 : 32.83583:248]
                                                                                                                                 r
490     02/1 0/ 1 1    l l:l OP   1817 3436690     6 0: 00      839       441    ...•..•........            31 0410276936201     phone          _ MOBI LE_ DATA_    [52707/147 13: - 97.15889:32 . 83583:248]
491     02/11/11       12:10A     18173436690      60:00         51        49                               310410276936201      phone          _ MOBILE_ DATA_     [52707 / 147 13: - 97.15889:32.83583:248)
492     02/11/11       Ol:lOA     18173436690      34:48         51        49                               3 1 0410276936201    p hone         _ MOBILE_ DATA_     [52707 / 14713: - 97.15889 : 32 . 83583:248]
493     02/11/11       01:45A     18173436690        6:25         0         0    * *** *** ********         31 0410276936201     phone          _ MOB I LE_ DATA_   [52903 /40289: - 97.10911:32.842:240]
494     02/11/11       01 :52A    181734 3 6690    60 : 00       51        49    * *** * ** * *******       31041027693620 1     phone          _ MOBI LE_ DATA_    [52709 /0 3672: - 97.08444:32.92639:180]
495     02/11/11       02:52A     18173436690      60:00         51        49    ••• • •••• ••••• • •       310410276936201      p hone         _ MOBI LE_ DATA_    [5 2 709 /03672: - 97.08444:32.92639:180)
496     02/11/11       03:52A     18173436690      60:00     13399     62641     ** ** ** * * ***** **      3 1 041027693620 1   p hone         _ MOBI LE_ DATA_    [52709/03 672:-97.08444 : 32 . 92639:180 ]
497     02/11/11       04:52A     18173436690      60:00       103        49     •• •• ••••••• •• ••        310410276936201      p hone         _ MOBI LE_ DATA_    [52709/03672 : -97 . 08444 : 32.92639:180]
498     02/11/11       05:52A     18173436690      60:00       112        49     •• •••••••••••••           3 1 0410276936201    phone          _ MOBILE_ DATA_     [52709 /036 72:-97.08444:32.92639:180]
499     02/11/11       06: 5 2A   18173436690      60:00         51        49    • • • • • •••• • •• •••    310410276936201      phone          _ MOB I LE_ DATA_   [52709/0 3672:-97.08444:32.92639:180 ]



                                                                                            AT&T Pro prietary
        NKK                                                                                                                                                                                            Page 36
                                   The information contained here is for use by authorized pers on o n ly and is
                                                          not for gene ral di s tribut i on.
                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 3 of 99 PageID 3724                                                              -..,..,;
976503
                                                                                                                                                                          e~ at&t
08/17/2011
                                                               MOBILITY USAGE
SCAMP                                                       (with cell location}


 Run Date:             08/17/2011
 Run Timo:             00:36:03
 Data Uoago For :      (817)343 -66 90
 Account Number:       318912244
Item       Conn .       Conn.    Originating   Elapsed Bytes  Bytos              IMEI                 IMSI              Access    Description        Cal l Location
           Date         Timo        Number      Time     Up     Dn                                                        Pt
500     02/11/ 11      07:52A 1817 343669 0      24:49 120642 387472      •••••••••••••••      310410276936201      phone       _ MOBILE_ DATA_      (52709 / 03672: - 97.08444:32.92639 : 180)
501     02/11/11       08:14A 18173436690        2:54     2061     1335   •••••••••••••••      310410276936201      acds.voicem _ MOBILE_ DATA_      (52709 /20328:-97.15139:32.97094:128)
                                                                                                                    ail
502     02/11/11       08 : 18A 18173436690      6:08 119678 500110       •••••••••••••••      31041 0276 93620 1   phone       _ MOBILE_ DATA_      ( 52709/24331:-97.09953:32.93497:8)
                                                                      2
5 03    02/11/11       08:24A 18173436690        0:36    44184 507715     •••••••••••••••      31041 027693620 1    phone          _ MOBI LE_ DATA_ ( 52709/24331:-97.09953:32.93497:8)
                                                                    2
504     02/11 / 11     08:25A 18173436690       60:00    22572 286962     •••••••••••••••      310410276936201      phone          _ MOBILE_OATA_ [52709/24331: -97.09953:32.93497:8)
                                                                      8
505     02/11/11       09:25A 18173436690       60:00       51       49   •••••••••••••••      310410276936201      phone          _ MOBILE_ DATA_ (52709/24331: -97 .09953:32.93497:8)
506     02/11/11       10:25A 1817343669 0      60:00      212      786   ••••••• •••••• ••    310410276936201      phone          _ MOBILE_ DATA_ (52709/24331:-97.09953:32 . 93497:8)
507     02/11/11       10:51A 18173436690        0:49     3319    64299   ••••••• ••• •••••    310410276936201      acds.voic em   _ MOBILE_ OATA_ ( 52709/62028:-97.09953:32.93497:120)
                                                                                                                    ail
508     02/11/11       11:25A 1817 3436690      60:00 103870 673451       •••••••••••••••      310410276936201      phone          _ MOBILE_ DATA_ (52709/62028:-97.09953:32 . 93497:120)
509     02 / 11 / 11   12:04P 18173436690        3:51   2061   1335       •• ••• ••••••••••    310410276936201      acds.voicem    _ MOBILE_ DATA_ (52709 /62 028 : -97.09953:32.93497:120)
                                                                                                                    ail
510     02/11/11       12:25P 18173436690       60:00      415       49   •• • ••••••••••••    310410276936201      phone          _ MOBILE_ DATA_ (52709 /62028: -97 .099 53:32.93497 :120)
511     02 / 11 / 11   01:25P 18173436690       60:00      363     1136   ***************      310410276936201      phone          _ MOBILE_DATA_ (52709/62028:-97.09953:32 . 93497:120)
512     02/11/11       01:53P 18173436690        0:49     3119    40247                        310410276936201      acds.voicem      MOBILE DATA (52709/62022:-97.09953:32.93497:120)
                                                                                                                    ail            -       -     -
513     02/11 / 11     02:11P 18173436690        0:31     2061     1335   *** *********** *    310410276936201      acds.voicem    _ MOBILE_ DATA_ (5 2709/62 028:-97 .0995 3 : 32 .9349 7:120)
                                                                                                                    ail
514     02 / 11 / 11   02:25P 18173436690       60:00 121150 426878       •••••••••••••••      310410276936201      phone          _ MOBILE_ DATA_ (52709/62028:-97.09953:32 .9 3497:120)
515     02 / 11 / 11   03:25P 18173436690       60:00   166943   484367   •••••••••••••••      310410276936201      phone          _ MOBILE_ DATA_ [52709 / 62028:-97.09953:32.93497:120)
516     02/11 / 11     04:13P 18173436690        0:19 193872       4558   ***************      310410276936201      wap.cingula    _ MOBILE_DATA_ (52709 / 23562 : -97 . 09917:32.95581:128)
                                                                                                                    r
517     02 /11/11      04:25P 18173 4 36690     30:41      382   1769     •....•...••...•      310410276936201      phone          _ MOBILE_ DATA_ (52709/23562:-97.09917:32.95581:128)
518     02 / 11/ 11    04:28P 18173436690        0:49     4292 175983     .........••....      310410276936201      wap.cingula    _ MOBILE_ DATA_ (52709 / 60428:-97.09917:32.95581:128)
                                                                                                                    r
519     02 / 11/ 11    04 :56P   18173436690     4:34      106      344   • •••••••• •• ••••   310410276936201      phone          _ MOBILE_DATA_    (52709/62028:-97 . 09953:32.93497:120 )
520     02/11/11       05:01P    18173436690     8:14        0        0   ***************      310410276936201      phone          _ MOBILE_ DATA_   (52903 / 60081:-97 . 09742:32.89986:0)
521     02/11/ 11      05:09P    18173436690    52:42     1358     4128   •••••••••••••••      310410276936201      phone          _ MOBILE_DATA_    ( 52707/41582:-97.13542:32.85 347:120 )
522     02/11/11       06: 02P   18173436690    60:00     1615     5258   •••••••••••••••      310410276936201      phone          _ MOBILE_ DATA_   (52707/40649:-97.16078 :3 2.85086:248 )
523     02/11/11       07:02P    18173436690    48:13     1834   6929     •••••••••••••••      310410276936201      phone          _ MOBILE_DATA_    (52707/40649:-97.16078 : 32 . 85086:248 )
524     02 / 11/11     07:51P    18173436690    60:00     253 4  9632     •••••••••••••••      3104 10276936201     phone          _ MOBILE_DATA_    (52707/23533:-97.16078:32.85086:248)
525     02 /11/11      08:51P    18173436690    60:00    87630 27060 1    •••••••••••••••      3104 1 0276936201    phone          _ MOBILE_ DATA_   ( 52707/23533: -9 7.16078:32.85086:248 )
526     02 / 11/11     09 :51P   18173436690    60:00      212      737   •••••••••••••••      310410276936201      phone          _ MOBILE_ DATA_   (527 06/42 148:-97.29017:32.87097:128 )
527     02/11/11       09:52P    18173436690    16:02    64093 355155     • ••••••••• •• •••   31 0410276936201     wap.cingula    _ MOBILE_ DATA_   (52706 /42 148:-97.29017:32 .87097 : 128 )
                                                                      9                                             r
528     02/11/11       10:51P 18173 436690      60:00    7479    30810    •••••••••••••••      310410276936201      phone          _ MOBILE_ DATA_ (52706/42148 : -97 . 29017:32.87097:128 )




                                                                                  AT&T Proprietary
        NKK                                                                                                                                                                            Page 37
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                                                         not for general distribution.
 976503
                                         Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22                                           Page 4 of 99 PageID 3725
 08/17/2011                                                          MOBILITY USAGE
 SCAMP                                                            {with cell location}


 Run Date:               08 / 17/2011
 Run Time:               00 : 36:03
 Data Osage For :         (8 17)3 4 3 - 6690
 Account Numbe r:        318912244
 Item      Conn.          Conn.        Originating     Elapsed Byt es   Bytes                IMEI                 IMSI               Accooo        Desc ription     Cell Location
            Date           Time           Numbe r       Time     Up      Dn                                                                Pt
529     02 / 11 / 11     11:51P 18173436690              60:00   9764 112233          ..•............      310410 2 76936201     phone       _ MOBILB_DATA_ [52706/42148 :- 97.29017:32 . 87097:128)
530     02 / 12/11       12:48A 1817 3 436690             4:02 204 3 60  4598                              310410276936201       wap.cingula _ MOBILB_ DATA_ [52706 / 42142:-9 7 .29017:32 . 87097:128)
                                                                                                                                 r
5 31    02/12 / 11       12 :51A      18173436690       60:00     102      98         ...............      31041 0 27693620 1    p hone          _ MOBILE_DATA_     [ 52706 / 42142:-97.29017:32 .8 7 097:128)
532     02/ 12 / 11      01 : 51A     18173436690       60:00      51      49         .........•••...      310410276936201       pho n e         _ MOBILE_DATA_     [ 52706/4 2142:-97.2 9017:32.87097 : 12 8)
533     02 / 12 / 11     02 : 51A     18173436690       60:00      51      49         .••.........•..      310410276936201       phone           _ MOBILB_ DATA_    [ 52706/42142 :- 97.290 1 7:32 . 87097:128)
534     0 2/12/11        03:51A       18173436690       60:00      51      49         ...............      310410276936201       phone           _ MOBILE_DATA_     [ 52706/42142 :- 9 7.2 9017:32.87097: 128 )
535     02/12 / 1 1      04:51A       18173436690       6 0 :00    51      49                              3104 10 2769 3 6201   phone           _ MOBILE_ DATA_    [5 2706 / 42142 :- 97 .2 9017 :32 .8709 7:128 )
536     02 / 12 / 11     05:51A       18173436690       60:00   73862 298041                               310410276936201       phone           _ MOBILB_ DATA_    [ 52706 / 42142:-97 . 29017:32 . 87097:128)
537     02/12 / 11       06:51A       18173 4 3669 0    60:00      51      49                              310410276936201       phone           _ MOBILE_ DATA_    [52703 / 34172: · 97 . 4065 : 32 . 73331:180)
538     02 / 12 / 11     07 : 51A     181734366 90      60:00   27164   62967                              310410276936201       phone           _ MOBILB_ DATA_    [5 2703 / 34172: - 97.4065 : 32 . 73331:180)
539     02 / 12 / 11     08:51A       18173 4 36690     60:00   8487 0 602428                              310410276936201       phone           _ MOBILE_ DATA_    [ 52703 / 34172 :- 9 7 .4065 : 32.73331 :18 0)
540     02 / 12 / 11     09:51A       18173436690       58:15 281840 483893           .......•.......      310410276936201       phone           _ MOBILE_DATA_     [ 52703 / 34172 :- 97.4065:32 . 73331:180)
                                                                                  9
541     02/ 12 /11       1 0: 49A 1 8173436690          60:00 104060 180597           •..............      3 104102 7 69362 01   phone           _ MOBILE_ DATA_ [ 5270 3 /34172: - 97.4065:32.73331:180)
                                                                                  2
542     02/ 12 / 11      ll:49A       18173436690       14 :17      9563  11269       •.•............      310410276936201       phone           _ MOBILE_DATA_     [ 527 0 3 / 34172:·9 7 .4065:32.7333 1 : 18 0]
543     02 / 12 /11      12:03P       18173436690        0:10        42 7  1202       ...............      310410276 9 36201     phone           _ MOBILE_ DATA_    [5 2109 / 35361:-97. 44867 : 32 . 77356:6 0 )
544     02/ 12 / 11      12:03P       18173436690       60 : 00    51300 143901                            3104102 76936201      phone           _ MOBILE_ DATA_    [52703 / 35367 :- 97.4 4 867:32 . 77356 : 8)
545     02 / 12 / 11     01 : 0 3 P   18173436690       56:37     201802 973440       •••.........•••      3104102769362 01      phone           _ MOBILE_DATA_     [52702 / 40431:-97.38781 : 32 . 72292:0)
54 6    02 / 12 / 11     02:00P       18173436690        0: 09          0     0       ...............      310410276936201       phone           _ MOBILE_ DATA_    [52109 / 35382:·97.40833 : 3 2. 80194:180)
54 7    02 / 12 / 11     02:00P       18173436690       60:00     150721 454228       ...............      310410276936201       phone           _ MOBILB_ DATA_    [ 52703 / 35388 : -97 .40833 : 32 . 80194:128)
548     02 / 12 / 11     03:00P       18173436690        2: 15         0          0   ....••.........      310410276936201       pho n e         _ MOBILE_ DATA_    [ 52703 / 35388:-97.40833 : 32 . 80194:128 )
549     02/12/11         03:02P       18173436690        1:48          0          0                        3104102 76936 2 01    phone           _ MOBILE_ DATA_    [52 1 09/35 361:-97 .4486 7 :32 .7735 6:60)
5 50    02 / 12 / 11     03:04P       18173436690       60:00     15376 0 633236      •...........•••      31041027693620 1      phone           _ MOBILE_ DATA_    [52703/35361 :-9 7.44867:32.77356:8)
551     02/12/11         04:04P       1 8173436690      60:00     102083 439668                            31041027693620 1      p h one         _ MOBILE_ DATA_    [52703 / 35361: -97 . 44 8 67:32. 773 56:8)
552     0 2/12 / 11      04:27P       18173436690        0 :53     13452   844 1 99   •••••••••••••••      310410276936201       wap . cingula   _ MOBILE_ DATA_    [52703 / 34173:-97.4065:32.73331:3 0 0)
                                                                                                                                 r
553     0 2 / 1 2 / 11   0 4 :41P 181734 3 6690          2:18       6114   100347     •••••••••••••••      310410276936201       acds.voicem     _ MOBILE_DATA_ [52705/40857 : -97.32356:32.76569:8)
                                                                                                                                 ail
554     02 / 12 / 11     05 : 04P     18173436690       60:00   8479  11339                                310410276936201       phone           _ MOBILE_ DATA_    [52706 / 3 4 909 :- 97.319:32 .7 9611:360)
555     02/ 1 2 / 11     06:04P       181734366 90      60:00   1728   4570                                310410276936201       phone           _ MOBILB_ DATA_    [52707 / 23743 :-9 7.23333:32.84097:248)
556     02/ 1 2/11       07 : 04P     1817 3436690      60:00   2853   7666                                31041027693620 1      phone           _ MOBILB_ DATA_    [52 707/2374 3:-97 . 23333:32.84097:248)
557     02/ 1 2/11       08:04P       1 8173436690      50:47   4947  14115           .............••      31041 027693620 1     phone           _ MOBILE_ DATA_    [52707/2374 3:-97.2 3333:32.84097:248)
558     02/ 12/11        0 8: 57 P    18173436 690      60:00    646   2064                                310410276936201       p hone          _ MOBILB_ DATA_    [52707/40649:·97.16078:32.85086:248 )
559     02/ 12 / 11      09 :57P      18173436690       60:00 150434 416855           ...............      310410276936201       phone           _ MOBI LE_ DATA_   [52707 / 40649: -97.16078:32.85086 : 248 )
560     02/12/11         10:57P       1 8173436690      60:00     51     49           •••• •••• •• •••••   31 04 1 02769362 01   phone           _ MOBILE_ DATA_    [52706 / 07677: -97 . 25503:32.83767:60)
5 61    02 / 12 / 11     ll:57P       18173 436690      60 : 00   51     49           ••••••••••• ••••     31041027693620 1      phone           _ MOBILE_DATA_     [52706 / 07677:- 97.25503:32.83767:60)
562     02 / 13 / 11     12:57A       1817343669 0      60 : 00   51     49           ••• •••••• •••• ••   310410276936201       phone           _ MOBILB_ DATA_    [52706 / 07677:-97 . 25503:32 . 83767:60)



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 97650 3
                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22                                           Page 5 of 99 PageID 3726
                                                                 MOBILITY USAGE
 08/17 /2 011
 SCAMP                                                        (with cell location)                                                                                                      @? at&t

 Run Date :             08/17/2011
 Run Time:              00 :36: 03
 Data Osage Per:         (817)343-6690
 Account Number:        318912244
Item      Conn.          Conn.      Or iginating   Elapse d Bytes   Bytes                 IMBI                  IMSI              Access         Description     Cell Location
            Date          Time          Number      Time      Op      Dn                                                              Pt
563     02 / 13 /11     01 : 57A 18173436690         60:00       51      49                              310410276936201      phone            _ MOBILE_ DATA_   [52706/07677: - 97.25503:32 . 83767:60)
564     02/1 3 /11      02 : 57A 1 8 1 73436690      60:00       51      49       .....•......•..        310410276936201      phone            _ MOBILE_DATA_    [52706/07677: - 97 . 25503:32.83767:60)
565     02/13/11        03: 57A 18173436690          60:00    6453   29798                               310410276936201      phone            _ MOBILE_ DATA_   [52706/07677:- 97. 25503:32.83767: 60 )
566     02 / 13 / 11    04:57A 1817343669 0          6 0 : 00    51      49                              3104102769362 01     phone            _ MOBILE_ DATA_   [52706 / 07677:-97 . 25503:32.83767 :60)
567     02/13/11        05: 57A 1 817343669 0        34 :0 9     51      49       .......••......        3104 102 76936201    phone            _ MOBILE_ DATA_   [52 7 03 /34 178 : -97.4 065:32.73331:180 )
568     02 / 13 / 11    06:32A 18173436690           24:29        0       0                              3 104102769362 01    pho n e          _ MOBILE_ DATA_   [52109 /353 61:-97 . 44867 :32.77356 :60)
569     02/ 13/11       06 : 56A 18173436690         60 :00 4598 51 336645        ...............        310410276936201      phone            _ MOBILE_ DATA_   [ 52703/34 571:-97 .42067:32.762 31:60 )
                                                                          2
570      02/13/11       07:56A     18 173 436690     60:00    2228    2307        •••••••••••••••        3104102 7 6936201    phone            _ MOBILE_ DATA_   [52703 /34 571:-97.42067:32.76231:60)
571      02/13/11       08:56A     18 17343669 0     60:00    6822   18611        •••••••••••••••        310410276936201      phone            _ MOBILB_DATA_    [52703 /34571 :-97.420 67 :32.76231:60)
572      02/13/11       09:56A     18173436690      60:00       106        393    •••••••••••••••        310410276936201      p hone           _ MOBILB_ DATA_   [52703 /34 571:-97 . 42067:32 . 76231 : 60)
573      02/13/11       10:14A     18173436690       0:48      1612    16751      •••••••••••••••        310410276936201      wap.cingula      _ MOBILE_DATA_    [ 52703/35396:-97 . 39886 :32 .77283:248)
                                                                                                                              r
574      02/13/11       10:56A 18173436690          60:00      4825      7803     ••.........••••        310410276936201      phone         _ MOBILE_ DATA_ [ 52703/35396 : -97 .3 9886:32 . 77283:248 )
575      02/13/11       10:59A 18173436690           0: 15     2207      1419                            310410276936201      a cds.voic em _ MOBILE_ DATA_ [52703 /3 5399:-97.39886 :32. 77283 : 300)
                                                                                                                              ai l
576      02/13 / 11     11:07A 181734 3 6690         1: 38    25769    25379                             310410276936201      wap .cingula _ MOBILE_ DATA_ [ 52703/14221:-9 7 .44867:32.77356:60)
                                                                                                                              r
577      02/13/11       11:26A 18173436690           0:29     24108      13 1 8   •••• ••• •••••• ••     310410276936201      wap.cingula _ MOBILE_DATA_ [5 2703/35396 :- 97 . 39886 : 32 . 77283:248)
                                                                                                                              r
578      02/13/11       11:56A     181734 36690     30:32 1084 15 651100                                 310410276936201      phone            _ MOBILE_ DATA_   [52703 / 35396:-97.39886:32.77283 : 248)
579      02 / 13 / 11   12 : 27P   18173436690       0:08       0      0          ..............•        310410276936201      phone            _ MOBILE_ DATA_   [52109 /34572: - 97.42067:32 .7 6231:180)
580      02/ 1 3/11     12:27P     18173436690      52:02 342414 824663                                  310410276936201      p hone           _ MOBILE_DATA_    [52703 / 34578:-97 .4206 7:32.76231:180)
581      02/ 13 / 11    01 : 19P   18173436690      60:00    157     393                                 310410276936201      phone            _ MOBILE_ DATA_   [52703/14181: - 97.42067:32.7623 1 :60)
582      02 /13/ 11     02: 19P    181734 3669 0    13:13    110     399                                 3 1041 027693620 1   phone            _ MOBILE_ DATA_   [ 52703/14181:-97.42067:32.76231:60)
583      02 / 13 / 11   02:26P     1 8173436690      4:02  32818    1911          ...............        3104 1 027693620 1   wap.cingula      _ MOBILE_DATA_    [52703/35361 :-97.4 4867:32.77 3 56:8 )
                                                                                                                              r
584      02/13/11       02:3 1P 18173436690          1:06     2l015      1238     •••••••••••• • ••      31041027693620 1     wap.cingula _ MOBILE_ DATA_ [52703 / 35361:-97.44867 : 32 .77 356:8)
                                                                                                                              r
585      02/13/11       02:32P 181734 3 6690         0:42     33981    85556      •••••••••••••••        310410276936201      phone            _ MOBILE_DATA_ [52109 / 34571:-97.42067:32.76231 : 60)
586      02/13/11       02:33P 18173436690          60:00 758 553 381995          •• • ••••• ••••• ••    310410276936201      phone            _ MOBILE_DATA_ [52703 /1 4181:-97.42067:32.76231 : 60)
                                                                            5
587      02/13/11       03:33P     18173436690      60:00       268       737     •••••••••••••••        31 0410276936201     phone            _ MOBILE_ DATA_   [52703/14181:- 97.42067:32.7623 1:60)
588      02/13/11       04:33 P    1817343669 0     60:00      2865      9500     ••• • •••••• •••••     310410276936201      phone            _ MOBILE_DATA_    [527 07 / 412 52 : -97 . 20889 : 32.77975:120)
589      02/ 13 /11     05 : 33P   18173 436690     60 :00     2l70      6929     ..•............        310410276936201      phone            _ MOBILE_DATA_    [52707/4 1 252:-97.20889:32.77975: 120 )
590      02/ 13 /11     05:46P     18173436690       0:22     24055      1358                            310410276936201      wap .c i ngula   _ MOBILE_DATA_    [5 2707/40649 :-97.16078 :32.85 086:248 )
                                                                                                                              r
591      02 / 13 /11    06:33P 181734 36690         44 : 29   59508   1 72 3 83   •••••••••••••••        310410276936201      phone            _ MOBILE_DATA_ [52707/40649 :- 97.16078:32.8 5086 :24 8)
592      02/13/11       0 7:17P 18173436690          5: 13 222607     824439      ••• • ••••••• • • ••   310410276936201      phone            _ MOBILE_DATA_ [52903/40287 : -97 . 10911:32.842:0)
593      02/13 / 11     07:23P 18173436690           5:45   18108      74398      •••••••••• •• •••      310410276936201      phone            _ MOBILE_ DATA_ [5 2709/60522:-97.11489:32.91886:120)



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                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 6 of 99 PageID 3727
 976503
 08/ 1 7/2011
 SCAMP
                                                              MOBILITY USAGE
                                                           (with cell location)                                                                                                 €;? at&t
 Run Date:             08/17/2011
 Run Timo:             00:36:03
 Dat a Usage For:       (817) 343-6690
 Account Numbor:       3 1891224 4
Item      Conn.         Conn .    Originating   Elapsed     Bytes   Bytes           IMEI                 IMSI              Accono        Description     Cell Location
            Date         Ti me      Number       Ti.me       Up      Dn                                                       Pt
594     02 / 13 / 11   07:28P 18173436690          0:14         0      0                          3 1 0410276936201    phone           _ MOBILE_ DATA_   [52903/23587:-97.09742:32.89986: ]
595     02/13/11       07:29P 18173436690         29:26     12402  44861     ••..........•••      310410276936201      phone           _ MOBILE_ DATA_   [52709/0 36 72:-97.084 44:32.92 639:180]
596     02/13/11       07:58P 18173436690          0:34       795  11922     ••.......••.•••      310410276936201      p hone          _ MOBILE_ DATA_   [52903/ 23587:-97. 097 42:32.89986:]
597     02/13/11       07:59P 181734 36690         9:2 1     1254  44079     .............•.      310410276936201      phone           _ MOBILE_ DATA_   [52709/03672: - 97.08 444:32.92639:180]
598     02/13/11       08:08P 18173436690          1:08      1091  21582     •.......•......      310410276936201      p hone          _ MOBILE_ DATA_   [52903/60087: - 97.09742 : 32.89986 : 0]
599     02/13/11       08:09P 1 8173436690        60:00     38341 110455     ***************      310410276936201      p hone          _ MOBILE_ DATA_   [52709/03672 :- 97 . 0844 4:3 2.92639 : 180]
600     02/13/11       09:09P 18173436690         60:00        51     49     •...•••..•.....      3104102769362 01     phone           _ MOBILE_ DATA_   [52709/ 03672: - 97.08444 : 32.92639 :180]
601     02/13/11       10:09P 18173436690         32 : 13      51     49     ...............      3104 1 02769 36201   phone           _MOBILE_ DATA_    [52709/ 03672 :- 97.08444:32.92639 : 180]
602     02/13/11       10 : 41P 18173436690        0:04      2232    17177   •••••••••••••••      310410276936201      phone           _ MOBILE_ DATA_   [52709 / 23562:-97.09917:32.95581:128]
603     02/13/11       10 : 45P 18173436690        0:12        55      344   •••••••••••••••      310410 2 76936201    phone           _ MOBILE_ DATA_   [5 27 09/604 22:-97.09917:32.95581:128]
604     02/14/11       0 7:14A 18173436690         7:16 243594      734526   ***************      3104 1 0276936201    phone           _ MOBILE_ DATA_   [52709/60428:-97.099 17 :32.95581:128]
605     02/14/11       07:50A 18173436690          9:5 5 299437 482194       •••••••••••••••      310410276936201      phone           _ MOBILE_ DATA_   [52709/24311:-97.12608 :3 2.93822 : 8]
                                                                     3
606     02/14/11       08:00A 18173436690          1:08     50648 506940     •••••••••••••••      310410276936201      phone           _ MOBILE_ DATA_ [52709 / 24311:-97. 12608:32. 93822:8 ]
                                                                       0
607     02/14/11       08:01A 18173 4 36690        1:08     58967 506149     •••••••••••••••      310410276936201      phone           _ MOBILE_ DATA_ [52709 / 24311:-97.12608:32.93822:8]
                                                                       6
608     02/14/11       08:02A 18173436690          0:58     65024 505623     •••••••••••••••      31041 0276936201     phone           _ MOBILE_ DATA_ [52709/24311:-97 . 12608:32.93822:8]
                                                                       2
609     02 / 14 / 11   08 : 03A 18173436690        0:46     41288 472080     •••••••••••••••      310410276936201      phone           _ MOBILE_DATA_ [ 52709/24311:-97. 1 2608:32.93822:8]
                                                                       0
610     02/14/11       09:50A 18173436690          0:56      5932   295312   ***************      310410276936201      wap.cingu la _ MOBILE_ DATA_ [52709 / 620 28:-97.09953: 32.93497:120 ]
                                                                                                                       r
611     02/14/11       10:00A 18173436690          0:15     12662   528455   •••••••••••••••      310410276936201      phone           _ MOBILE_ DATA_ [52709/24338:-97.09953 : 32.93497:]
612     02/14/11       03:16P 18173436690          7:4 4 332703 108486       •••••••••••••••      310410276936201      phone           _ MOBILE_ DATA_ [52709 / 6 0422:-97.09917:3 2.95581:128]
                                                                         9
613     02/14/11       04:24P 18173436690          2:25      6506    9667    • ••• ••••••••• ••   31041027 6936201     phone           _ MOBILE_ DATA_ [ 52709 / 235 62 : - 97.09917 : 32.95581 : 128]
614     02/14/11       04 : 24P 1817343669 0       2 :07     3153   35430    •••••••••••••••      310410276936201      acds.voicem     _ MOBILE_DATA_ [ 52709/23562 :-97.09917:32. 9558 1:128]
                                                                                                                       ai l
615     02/14/11       05:58P 18173436690          0 : 20    3038     1656   •••••••••••••• •     310410276936201      acds.voicem     _ MOBILE_ DATA_ [ 52709/20237:-97.12608 : 32.93822:8]
                                                                                                                       ail
616     02/14/11       09:39P 18173436690          5:26 107106 3962 4 0      ***************      310410276936201      p hone          _ MOBILE_DATA_ [52709/ 235 63:-97.09917:32.9558 1 :248 ]
617     02/14/11       09:44P 18173436690          0:50   5372 272657        ••••••••• ••••••     3 1 0410276936201    wap . cingula   _ MOBILE_ DATA_ [52 709/60423:-97.09917:32.95581 :248]
                                                                                                                       r
618     02/14/11       11:03P 18173436690        13:39 156864 291414         ••••• •• • •••••••   310410276936201      phone           _ MOBILE_DATA_ [52709 / 60423:-97.09917:32.95581:248]
                                                                4        4
619     02/14/11       11:25P 18173436690          0:51      5767   15350                         31041027693620 1     phone         _ MOBILE_ DATA_ [52903 / 442 60: - 97.09953:32 .8695:0]
620     02/14/11       11 :33P 18173436690         0:21      2143    1415    ...............      310410276936201      acds . voicem _ MOBILE_ DATA_ [527 07/406 4 9: -97 . 16078 : 32.85086:248]
                                                                                                                       ail
621    02/15/11        02 :0 2A 18173 4 36690      4:03 195968       4518    •••••••••••••••      310410276936201      wa p.cingu1a _ MOBILE_DATA_ [527 07/2 3533:- 97.16078 :32.85086:248]
                                                                                                                       r




                                                                                     AT&T Proprietary
        NKK                                                                                                                                                                                 Page 40
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                               Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 7 of 99 PageID 3728
 97 65 03
 08/17/2011
                                                           MOBILITY USAGE                                                                                            .:;-',.; at&t
                                                                                                                                                                     \f;:-1'
 SCAMP                                                  (with cell location )


 Run Date:            08/17/2011
 Run Time:            00:36:03
 Data Usage Par:      (817)343-6690
 Account Number:      318912244
Item       Conn.       Conn.   Originating   Elapsed    Bytes  Bytes           IMEI              IMSI             Acceso    Description          Cell Location
           Date        Time      Number       Time        Up     Dn                                                  Pt
622     02/15/11      02:07A 18173436690       10:01     82878 282768    ...............   310410276936201     phone       _ MOBILE_DATA
                                                                                                                                             -   [52707 / 23533:-97.16078:32.85086:248]
623     02/15/11      02:20A 18173436690       1:16     64288 156625     ...............   310410276936201     phone
                                                                                                                           - MOBILE- DATA-       [52903 / 40281:-97. 10911:32.842:0]
624     02/15/11      02:33A 18173436690       0:59     65164 505532     .....•.••.•.•••   310410276936201     phone
                                                                                                                           -MOBILE    DATA
                                                                                                                                             -   [52709 / 24332:-97.09953:32 . 93497:128]
                                                                   6
625      02/15/11     02:34A 18173436690       0:33     43558 507733     ...............   310410276936201     phone
                                                                                                                           -MOBILE    DATA
                                                                                                                                             - [ 52709/24332: - 97.09953:32.93497: 1 28]
                                                                   4
626      02/15/11     02:35A 18173436690       3:45     78108 504220     .••....•.......   310410276936201     phone
                                                                                                                           - MOBILE   DATA
                                                                                                                                             -   [ 52709/24332:-97.09953:32.93497:128]
                                                                   7
627      02 /15/ 11   02:38A 18173436690       0:32     43109 507787     .....•.•.......   310410276936201     phone       _ MOBILE_DATA_ [52709 / 24332:-97.09953:32 . 93497:128]
                                                                   1
628      02/15/11     02:39A 18173436690       0:22     32612 508803     ...............   310410276936201     phone
                                                                                                                           - MOBILE_ DATA-       [52709/24332: - 97.09953:32.93497: 1 28]
                                                                   0
629      02/15/11     02:39A 18173436690       0:47     53200 506807     ...........•...   310410276936201     phone
                                                                                                                           - MOBILE   DATA
                                                                                                                                            -    [52709/24332:-97.09953:32 .93497: 128 ]
                                                                   0
630      02/15/11     02:40A 18173436690       0:44     45461 507540     ••....••.•.....   310410276936201     phone
                                                                                                                           - MOBILE DATA- [52709 / 24332 : - 97.09953:32.93497:128]
                                                                   7
631      02/15/11     02:41A 18173436690       2:25     79684   504148   ...............   310410276936201     phone       _ MOBILE_ DATA
                                                                                                                                          -      [52709/24332:-97.09953:32.93497:128]
                                                                     6
632      02/15/11     02:43A 18173436690       0:17     33572   508770   ..••.......••..   310410276936201     phone
                                                                                                                           - MOBI LE_ DATA
                                                                                                                                          -      [52709/24332:-97.09953:32.93497:128]
                                                                     4
633      02/15/11     02:44A 18173436690       0:44     39700   508140   ••....•••••....   310410276936201     phone
                                                                                                                           - MOBILE_ DATA_       [52709/24332:-97.09953:32.93497:128]
                                                                     3
634      02/15/11     02:44A 18173436690       4:41     66599   505408   ...............   310410276936201     phone
                                                                                                                           - MOBILE- DATA-       [52709/24332: - 97.09953:32.93497:128]
                                                                     3
635      02/15/11     02:49A 18173436690       0:38     56072   506423   ...............   310410276936201     p h one
                                                                                                                           - MOBILE_ DATA_       [52709/24332:-97.09953:32.93497:128]
                                                                     0
636      02/15/11     02:50A 18173436690       0:50     69610   505146   ...............   310410276936201     phone
                                                                                                                           - MOBILE DATA-        [52709/24332:-97.09953:32.93497:128]
                                                                     7
637    02/15/11       02:50A 18173436690       0 : 19   38504   508238   ••..•........••   310410276936201     phone
                                                                                                                           - MOBILE_DATA
                                                                                                                                        -        [52709/24332:-97.09953:32 . 93497:128 ]
                                                                     9
638    02/15/11       02:51A 18173436690       0:28     41690   507952   ...............   310410276936201     phone
                                                                                                                           - MOBILE DATA- [5270 9 / 24332: - 97.09953:32.93497:128]
                                                                     1
639    02/15/11       02:51A 18173436690       1:13     81420 503875     ...............   310410276936201     phone
                                                                                                                           - MOBILE DATA  -      [52709 / 24332:-97.09953:32.93497:128]
                                                                   4
640    02/15/11       02:52A 18173436690       0:24     41714 507948     .•....••••...••   310410276936201     phone
                                                                                                                           - MOBILE_DATA_        [52709/243 32:-97.09953:32.93497:128]
                                                                   6
641    02/15/11       02:53A 18173436690       1:02     77586 504374     ...•.....•...••   310410276936201     phone       _ MOBILE_ DATA_ [52709/24332:-97.09953:32.93497:128]
                                                                   6
642    02/15/11       02:54A 18173436690       0:31     44416 507595     ...............   310410276936201     phone
                                                                                                                           - MOBILE_ DATA_       [52709/24332:-97 . 09953:32.93497:128]
                                                                   2
643    02/15/11       02:54A 18173436690       0:39     48464 507244     ...............   3104 1 0276936201   phone       _ MOBILE_ DATA
                                                                                                                                          -      [52709/24332:-97.09953:32.93497:128]
                                                                   1




                                                                                AT&T Prop r i etary
         NKK                                                                                                                                                                    Page 41
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                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 8 of 99 PageID 3729
 976503
                                                            MOBILITY USAGE
 08/17/2011
SCAMP                                                    (with cell l ocat ion}                                                                                         (? at&t

 Run Date:             08/17/2011
 Run Time:             00:36:03
 Data Usage For:       (817)343-6690
 Account Number:       318912244
Item     Conn .         Conn.   Originating   Elapsed    By too Bytes           IMBI               IMSI             Access      Description       Cell Location
          Dato          Time      Number       Time        Up     Dn                                                     Pt
644     02/15/ll       02:55A 18173436690        0:14     28236 509180     ...............   310410276936201     phone
                                                                                                                              - MOBILE   DATA
                                                                                                                                            -     [52709/24332:-97.09953:32.93497:128]
                                                                       0
645     02/15/ll       02:55A 18173436690       0:35      47285 507 3 63   ***************   310410276936201     phone          MOBILE DATA       [52709/24332:-97.09953:32.93497:128]
                                                                       4                                                      -             -
646     02/15/ll       02:56A 18173436690       0:22      36640 508409     ...............   310410276936201     phone
                                                                                                                              - MOBILE_ DATA
                                                                                                                                            -     [527 09/24332:-97.09953:32.93497:128]
                                                                       6
647     02/15/11       02:56A 18173436690       1:15      69403 505151     ..•.••...•..•.•   310410276936201     phone
                                                                                                                              - MOBILE DATA- [52709/24332:-97.09953:32.93497:128]
                                                                       8
648     02/ 15 / ll    02:57A 1817343 6690      0:39      41724 507920     .......•.•.....   310410276936201     phone
                                                                                                                              -MOBILE DATA        [52709 / 24332:-97.09953:32.93497:128)
                                                                       0
649     02/15/ll       02:58A 18173436690       0:43      37029 508434     ...............   310410276936201     phone
                                                                                                                              -MOBILE_ DATA_      [52709/24332:-97.09953:32.93497:128]
                                                                       6
650     02/15/11       0 2:59A 18173436690      3 : 08    66996 505331     •.•.....•.••..•   310410276936201     phone
                                                                                                                              - MOBILE   DATA
                                                                                                                                              -   [ 52709/24332:-97 . 09953:32.93497:128]
                                                                       1
651     02 / 15/ ll    03:02A 18173436690       0 : 32    38948 508144     ...............   310410276936201     phone
                                                                                                                              - MOBILE_ DATA [52709/24332:-97.09953 : 32 . 93497:128]
                                                                                                                                              -
                                                                       2
652     02 / 15/ ll    03:02A 18173436690       0 : 28    43700 507673     ....••••...•.••   310410276936201     phone
                                                                                                                              -MOBILE DATA        [52709/ 24332:-97.09953 : 32.93497:128]
                                                                       4
653     02 / 15/ll     03:03A 18173436690       4:28      79379 504137     •.•........•.•.   310410276936201     phone
                                                                                                                              -MOBILE_ DATA_      [52709/24332:-97.09953:32.93497:128 ]
                                                                       3
654     02/15/ll       03:07A 18173436690       0:27      40192 508070     ......••.•..•..   310410276936201     phone
                                                                                                                              - MOBILE_ DATA-     [52709/24332:-97.09953:32.93497:128 ]
                                                                       4
655     02 / 15/ ll    03:08A 18173436690       0:36      60157 506022     ••••...........   310410276936201     phone
                                                                                                                              -MOBILE_ DATA-      [52709/24332:-97.09953:32.93497:128]
                                                                       3
656     02 / 15/ ll    03:08A 18173436690       0:22      41853 507852     ...............   310410276936201     phone
                                                                                                                              - MOBILE_ DATA-     [52709/24332 : -97.09953:32.93497:128]
                                                                       9
657     02/15/11       03:09A 18173436690       0:53      58056 506313     ...........•...   3104 1 0276936201   phone
                                                                                                                              -MOBILE DATA-       [52 7 09/24332:-9 7 . 09953:32.93497:128)
                                                                       1
658     02 / 15 / ll   03:10A 18173436690       0:23      33968 508611     ...............   310410276936201     phone
                                                                                                                              - MOBILE_ DATA-     [52709/24332: - 97.09953:32 . 93497:128)
                                                                       4
659     02 / 15 / ll   03:1 0A 18173436690      0:32      47900 507224     •..........•...   310410276936201     phone
                                                                                                                              -MOBILE DATA-       [52709 / 24332:-97 . 09953:32.93497:128]
                                                                       0
660     02 / 15/ll     03:11A 18173436690       0:43      57475 506291     ...............   310410276936201     phone
                                                                                                                              -MOBILE DATA-       [52709/24332:-97.09953:32.93497 : 128]
                                                                       7
661     02/15/ll       03: 11A 18173436690      0 : 18   29172 509190      .............•.   310410276936201     phone
                                                                                                                              -MOBILE_ DATA-      [52709/24332:-97.09953:32.93497 : 128]
                                                                       4
662     02 / 15/ll     03:12A 18173436690       0:23     37352 508340      ...............   310410276936201     phone
                                                                                                                              - MOBILE_DATA_ [52709/24332:-97.09953:32.93497:128]
                                                                       0
663     02 / 15 / ll   03:12A 18173436690       0:35      44031 507727     ...............   310410276936201     phone
                                                                                                                              -MOBILE_ DATA_      [52709/24332 : -97.09953:32.93497:128)
                                                                       4
664     02/15/ll       03:13A 18173436690       0:22     34880 508584      ...............   31041 0 276936201   phone
                                                                                                                              -MOBILE_ DATA_      [ 527 09/24332 : - 97. 0 9953:32.93497:128]
                                                                       5




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                                    Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 9 of 99 PageID 3730                                                                    -....,.,
 976503
 08/17/2011
 SCAMP
                                                                MOBILITY USAGE
                                                             (with cell location)                                                                                                 e~ at&t

 Run Date:             08/17/2011
 Run Time :            00:36:03
 Data Usage Por:       (817)343-6690
 Account Number:       318912244
Item         Conn.      Conn.       Originating   Elapsed    Bytes       Bytes             IMEI                IMSI             Access      Deocription      Cell Location
            Date        Time      Number           Time       Up          On                                                       Pt
665      02 /15 /ll    03:13A 18173436690           2:40     27233       116820      •••••••••••••••     310410276936201     phone         _ MOBILB_ DATA_ [52709 /2 4332: ·9 7.09953:32.93497:128)
                                                                              9
666      02 / 15/ll    03:19A 18173436690           1:02     14952       391673      ••• •••• ••••••••   310410276936201     phone         _ MOBILB_ DATA_ [52709/23562:-97.09917:32 . 95581:128)
667      02 / 15/ ll   03:27A 18173436690           1:43     88294 262040            •••••••••••••••     31041 0 276936201   phone         _ MOBILB_ DATA_ [52709/23562:-97.09917:32 . 95581:128)
668      02/15/ll      08:05A 18173436690          12:30 564921 45560 3              •••••••••••••••     310410276936201     phone         _ MOBILB_ DATA_ [527 09/60422: -97. 09917: 32.9 5581:128 )
                                                                                 7
669      02/15/ll      08:17A 18173436690           0:29     38391 508256            •••••••••••••••     310410276936201     phone         _ MOBILB_DATA_ [52709 / 60422:-97.09917:32.95581:128)
                                                                                 6
670      02/15 / ll    08:18A 18173436690           0:16     33120 508739            •••••••••••••••     310410276936201     phone         _ MOBILB_ DATA_ [52709/60422:-97 . 09917:32 . 95581:128)
                                                                              9
671      02/15/11      08:18A 18173436690           0:17     29068       509180      •••••••••••••••     310410276936201     phone         _ MOBILB_ DATA_ [52709/60422:-97.09917:32.95581:128)
                                                                              0
672      02/15/ll      08:18A 18173436690           0:45     53282       506788      •••••••••••••••     310410276936201     phone         _ MOBILB_ DATA_ [52709/60422:-97.09917:32.95581:128)
                                                                              2
673      02/15/ll      08:19A 18173436690           0:17     29276       509180      •••••••••••••••     310410276936201     phone         _ MOBILB_ DATA_ [52709 / 60422 : -97.09917:32.95581:128)
                                                                              0
674      02/15/ll      08 : 19A 18173436690        60:00     59457       352940      •••••••••••••••     310410276936201     phone         _MO BILB_ DATA_ [52709/60422:-97.09917:32.95581:128)
                                                                              9
675     02/15/ll       09 :1 9A   18173436690      60:00       102           98      •••••••••••••••     310410276936201     phone         _ MOBILE_ DATA_   [52709/60422:-97.09917:32 . 95581:128)
676     02/15/11       l 0:19A    1 8173436 690    60:00      6921        37812      •••••••••••••••     310410276936201     phone         _ MOBILE_ DATA_   [ 52709/60422:-97.09917:32.95581:128 )
677     02/15/ll       1l:l9A     18173436690      60:00     13733        18646      •••••••••••••••     3104102769362 01    phone         _ MOBILE_ DATA_   [52709/60422: - 97.09917:32.95581:128)
678     02/15/ ll      12:19P     18173436690      60 : 00     102           98      •••••••• • ••••••   310410276936201     phone         _ MOBILE_ DATA_   [52709 / 60422:-97.09917:32.95581:128 )
679     02/1 5/ll      Ol:19P     18173436690      60 : 00      51           49      ••• ••••••••••••    310410276936201     phone         _ MOBILE_ DATA_   [52709/60422:-97 .09 917:32.95581:128 )
680     02 / 15/ ll    02:19P     18173436690       3:39             0           0   •••••••••••••••     310410276936201     phone         _ MOBILB_ DATA_   [527 09/ 60422: -9 7.09917:32.95581:128)
681     02 / 15/ ll    02 :23P    18173436690       0:17             0           0   ••••••••••••• ••    310410276936201     phone         _ MOBILE_ DATA_   [529 03/60087:-97.0974 2:32.8 9986:0)
682     02/15/ll       02:23P     18173436690      60:00      6668        26367      •••••••••••••••     31041 0276936201    phone         _ MOBILE_DATA_    [ 52709/6 2022 :-97.0995 3:32.93497 :120)
683     02/15 / ll     03 :23P    18173436690      60:00       112           49      ••••••••••• ••• •   310410276936201     phone         _ MOBILB_ DATA_   [527 09/62022:-97.09953:32.93497:120)
684     02 / 15/ll     04:23P     18173436690      60:00      7420         8175      •••••••••••••••     310410276936201     phone         _ MOBILE_DATA_    [52709/62022:-97.09953:32.93497:120)
685     02 / 15 / ll   04:24P     18173436690       0:47      1492       10655       •••••••••••••••     310410276936201     wap.cingula   _ MOBILE_ DATA_   [52709 /60 423:-97 .0 9917:32.95581:248)
                                                                                                                             r
686     02/15/ll       05:23P 18173436690          60:00      8001        32771      •••••••••••••••     310410276936201     phone       _ MOBILE_ DATA_ [52709/60423 : -97 .099 17:32.95581 :248)
687     02/15/ll       05:57P 18173436690           0 :2 7   10342          958      •••••••••••••••     310410276936201     wap.cingula _ MOBILE_ DATA_ [5 2709/20231:·97.12608:32.93822:8)
                                                                                                                             r
688     02/15/ll       06:23P 18173436690          60:00       339          737      •••••••••••••••     310410276936 2 01   phone       _ MOBILE_ DATA_ [52709 /20231:-97.1260 8 :32.93822:8)
689     02 / 15 / 11   07:00P 18173436690           1 :0 0    1532         9154      •••••••••••••••     310410276936201     wap.cingula _ MOBILB_ DATA_ [52709 /20237:-97.12608:32.93822:8)
                                                                                                                             r
690     02/15/ ll      07:23P 18173436690          60:00       268          393      •••••••••••••••     310410276936201     phone       _ MOBILB_ DATA_ [ 52709 / 20237:-97.12608:32.93822:8)
691     02/15/ ll      07:30P 18173436690           1:12      9612       460315      •••••••••••••••     310410276936201     wap.cingula _ MOBILE_DATA_ [52709 /20237:-97. 12608:32.93822:8)
                                                                                                                             r
692     02/15/ll       08:23P 18173436690          60:00     81604 232572            •••••••••••••••     310410276936201     phone         _ MOBILE_ DATA_ [ 52709/20237:-97 . 12608:32.93822:8)




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                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 10 of 99 PageID 3731                                                                     -..,;
 976503
                                                                                                                                                                                  t§ ~ at&t
 08 / 17 /20 11
                                                               MOBILITY USAGE
SCAMP                                                       (with cell location)


 Run Date:             08/17/2011
 Run Timo:             00:36 : 03
 Data Usago For:       (817) 343-6690
 Account Number:       318912244
Item      Conn.         Conn.     Originating   El apsed    Bytes       Bytes             IMEI                IMSI              Access    Description Coll Location
          Date          Time        Number        Time       Up          Dn                                                      Pt
693     02/15/11       08:53P 18173436690          0:50      4612 205674            •••••••••••••••     310410276936201     wap.cingula _ MOBILE_ DATA_ [527 09/20231 :-97.12608:32 .93822:8 ]
                                                                                                                            r
694     02/15/11       09 : 23P 18173436690      26:36 100789 328531                                    310410276936201     phone       _ MOBILE_ DATA_ [52709/20231:-97.12608:32 . 93822:8]
695     02/15/11       09:50P 18173436690        60:00   96502 276523               ........•.•...•     310410276936201     phone       _ MOBILE_DATA_ [ 52707/42061:-97 . 15467:32.88094:0]
696     02/15/11       09:58P 18173436690         0 : 49  4252 210004                                   310410276936201     wap.cingula _ MOBILE_ DATA_ [ 52707/40643:-97.16078:32 . 85086:248 ]
                                                                                                                            r
697     02/15/11       10:50P 18173436690        54:23   2596             9386      ***************     310410276936201     phone       _ MOBILB_ DATA_ [52707 /40643:-97 . 16078:32 . 85086:248]
698     02/15/11       11 :06P 18173436690        0:23 254188             5198      ***************     310410276936201     wap.cingula _ MOBILE_ DATA_ [52707 /40649: - 97.16078:32 . 85086:248 ]
                                                                                                                            r
699     02/15 / 11     ll :lOP 18173436690         1:34      1692        32050      •••••••••••••••     3104102 7 6936201   wap.cingula _ MOBILE_ DATA_ [52707 /40649:-97.16078:32.85086:248 ]
                                                                                                                            r
700     02/15/11       11 :29 P 18173436690        2:36     10369          958      ***************     310410276936201     wap.cingula _ MOBILE_ DATA_ [ 52707/40649 : -97 . 16078:32 .850 86:248]
                                                                                                                            r
701     02/15 / 11     11:34P 18173436690          1 :29     1572       18175       •••••••••••••••     310410276936201     wap.cingula _ MOBILE_ DATA_ [52707 /40649 : -97.16078:32.85086:248]
                                                                                                                            r
702     02/15/11       11:45P 18173436690          2 : 45      51               0                       310410276936201     phone         _ MOBILE_DATA_ [52707 /2 3533: -97.16078:32.85086:248]
703     02 / 15 / 11   ll:SOP 18173436690          4:03      2311       16008                           310410276936201     acds.voicem   _ MOBILB_ DATA_ [52707 / 40643:-97.16078:32 . 85086:248]
                                                                                                                            ail
704     02/15 / 11     11:50P 18173436690        60 : 00    10220 149088            •••••••••••••••     310410276936201     phone         _ MOBILB_ DATA_ [ 52707/40643: - 97.16078:32.85086 : 248 ]
705     0 2/15/ 11     11:59P 18173436690          4:02      6405       289065      ***************     310410276936201     wap.cingula   _ MOBILE_DATA_ [ 52707/40643 : -97 . 16078:32.85086:248]
                                                                                                                            r
706     02 / 16/11     12:16A 1817343669 0         4:03 229140            487 8     •••••••••••••••     310410276936201     wa p.cingul a _ MOBILB_ DATA_ ( 52707/40649 : -97.16078:32.85086:248]
                                                                                                                            r
707     02 / 16 / 11   12 :50A   18173436690     17:00   1353   4128                ***************     310410276936201     phone         _ MOBILE_DATA_    (52707/40649: -97.16 078:32.85086:248]
708     02/16/11       01:07A    18173436690      9:55    212    688                •••••••••••••••     31 04 10276936201   phone         _ MOBILE_ DATA_   (52707 / 40649:-97 .1607 8:32 . 85086:248]
709     02/16/11       01:18A    18173436690     13:08    106    344                ••••••••••• • •••   310410276936201     phone         _ MOBILE_ DATA_   [52707/40649:-97 . 16078:32.85086:248]
710     02/16/11       01:31A    18173436690      0:59      0      0                ***************     310410276936201     phone         _ MOBILE_ DATA_   [ 52903/23581:-97.09742 : 32.89986 : 8]
711     02/16/11       01:32A    18173436690      0:03      0      0                •••••••••••••••     310410276936201     phone         _ MOBILE_DATA_    [52709/27602:-97.08444:32.92639:180]
712     02/16/11       01:32A    18173436690      0:16      0      0                                    310410276936201     phone         _ MOBILE_ DATA_   [52903/23581:-97.09742:32.89986:8]
713     02 / 16/ 11    01:32A    18173436690     14:57 582606 145792                                    310410276936201     phone         _ MOBILB_ DATA_   [52709 / 03672 :-97 . 08444:32.92639 : 180]
                                                                             6
714     02/16/11       01:47A    18173436690     21:31        110          688      •••••••••••••••     310410276 936 201   phone         _ MOBILB_ DATA_   [52903 / 60081 : -97.09742:32.89986 :0]
715     02/16/11       02:09A    18173436690      5:07              0        0      •••••••••••••••     310410276936201     phone         _ MOBILE_ DATA_   [52709/ 0 3672: - 97.08444:32.92639:180]
716     02/16/11       02:14A    18173436690      6:17       1286         1577      •••••••••••••••     310410276936201     phone         _ MOBILB_ DATA_   [52903 /6 0087:-97.09742:32.89986:0]
717     02/16/11       02:20A    18173436690      1:01        110    68 8           .••............     310410276936201     phone         _ MOBILB_ DATA_   [52 709 /03678: - 97.08444:32.92639:180]
718     02 / 16/11     02:21A    18173436690      0:03          0       0           ........•.•....     31 04 10276936201   phone         _ MOBILE_ DATA_   [52903/60087:-97.09742:32.89986:0]
719     02/16/11       02:21A    18173436690      2:02      91644 167670                                310410276936201     phon e        _ MOBILE_ DATA_   [52709 /03678 : - 97.08444:32.92639:180]
720     02/16/11       02:23A    18173436690      0:17       7432  11413            .........•.••.•     310410276936201     phone         _ MOBILE_ DATA_   [52903/60087: -97. 09 7 42 :32.89986 :0 ]
721     02/ 16 /11     02:24A    18173436690      0:03          0       0           ...............     310410276936201     phone         _ MOBILE_ DATA_   [52709/03678: - 97 . 08444:32.92639: 1 80]
722     02/16/11       02:24A    18173436690      0 : 56    65662 146146                                310410276936201     phone         _ MOBILB_ DATA_   [52903 /6 0087:-97.09742:32.89986:0]




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                               Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 11 of 99 PageID 3732                                                               -..,....
976503
                                                            MOBILITY USAGE
08 /1 7 /2011
SCAMP                                                    {with cell location)                                                                                           1;1- at&t

 Run Dato:            08/17/2011
 Run Time:            00:36:03
 Data Uoage For:      (817)343-6690
 Account Number:      318912244
I tom      Conn.       Conn.    Originating   Elapsed Bytes   Bytes               IMBI                 IMSI             Access     Description     Cell Location
           Dato        Time       Number       Timo     Up      Dn                                                         Pt
723     02/16/11      02:25A 18173436690         5:43 268328 535126        •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_   [52709 /036 78:-97 .0 844 4:32 .92639:180]
724    02 / 16 / 11   02:30A 18173436690         0:44  17652   26624       •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_   [5 2903/6008 7:-97.09742:32.89986:0 ]
725    02/16/11       02:31A 18173436690         0:03       0       0      •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_   [52709 / 03678:-97.08444:32 . 92639 : 180]
726    02/16/11       02:31A 18173436690         1:04       0       0      •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_   [52903/60087:-97.09742:32.89986:0]
727    02/16/11       02:32A 1817343669 0      13:10 139688 498154         •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_   [52709/03678:-97.08444:32.92639:180]
                                                                       7
728    02/16/11       02:45A 18173436690        0:44     518 20   506893   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709/03678 :- 97.08444:32.92639:180]
                                                                       3
729    02 / 16 /11    02:46A 18173436690        0:16     29692    509040   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709/03678:-97.08444:32.92639:180 ]
                                                                       0
730    02 / 16 /11    02:46A 18173 4 366 90     0:22     36794    508434   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709/03678:-97.08444:32 .92639:180]
                                                                       4
731    02/16/11       02:47A 181734366 90       0:34     46279    507478   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709 /03678 : -97.08444:32. 92639:180 ]
                                                                       0
732    02/16/11       02:47A 18173436690        0:14     28756    509180   **** ** * ****** **   310410276936201     phone       _ MOBILB_ DATA_ [52709/03678:-97.08444:32.92639:180 ]
                                                                       0
733    02/16/11       02:48A 18173436690        0:36     54605    506660   ••••••• ••••••••      310410276936201     phone       _ MOBILE_ DATA_ [52709/03678:-97.08444:32 .92639:180]
                                                                       1
734    02/16/11       02 :48A 18173436690       0:18     28704    509180   •••••••••••••••       310410276936201     pho ne      _ MOBILB_ DATA_ [52709/03678:-97.08444:32.92639:180]
                                                                       0
735    02/16/11       02:48A 18173436690        0:24     40091 508019      •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709 /0 3678:-97.08444 : 32.92639:180]
                                                                    9
736    02/16/ 11      02:49A 18173436690        0:49     58531 506275      •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709/0 3678:-97.08444: 32.9263 9:180]
                                                                    1
737    02/16 /11      02:50A 18173436690        0:28     40100 507996      •••••••••••••••       31 04 10276936201   phone       _ MOBILB_ DATA_ [52709/03678:-97.08444:32.92639:180]
                                                                    8
738    02/16/11       02:50A 18173436690        1:55     55307    506560   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709/03678:-97.08444:32.92639:180]
                                                                       7
739    02/16/11       02:52A 18173436690        1:15     80008 504016      •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709 /0367 8:-97.08444:32. 92639 :18 0 ]
                                                                       1
740    02/16/11       02:53A 18173436690        0:14     28548    509190   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709 /0 3678:-97.08444:32.92639:180]
                                                                       4
741    02/16/11       02:54A 18173436690        0:17     29172    509180   •••••••••••••••       3 10410276936201    phone       _ MOBILE_ DATA_ [52709/03678:-97 . 08444:32 . 92639:180]
                                                                    0
742    02 / 1 6/11    02:54A 18173436690        0 : 44   49642 507100      •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [5270 9/03678:-97 .08444 :32. 92639:180]
                                                                    8
743    02/16/11       02:55A 18173436690        0:20     34709 508629      •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709/03678: -97. 08444:32.92639:180]
                                                                    6
744    02/16/11       02:55A 1817343 6690       0:14     27924    509320   ••••••••••••• ••      310410276936201     phone       _ MOBILB_ DATA_ [52709 /0 3678:-97.08444:32.92639 : 180)
                                                                       0
745    02/16/11       02:55A 18173436690        0:20     33946    508611   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52709 /036 78:-97.08444:32.92639 : 180 )
                                                                       1




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                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 12 of 99 PageID 3733                                                                         ~
 976503
                                                                                                                                                                                         ~ ~ at&t
 08 / 17 /2 011
                                                                  MOBILITY USAGE
 SCAMP                                                         (with cell location)


 Run Date:              08/ 17/2011
 Run Time:              00:36:04
 Data Ooago Por:        (817)343-6690
 Account Number:        318912244
Item       Conn.         Conn .   Originating         Elapsed    Bytes  Byt es             IMEI                  IMSI              Access         Description     Cel l Location
             Date        Time        Number            Time        Up     Dn                                                          Pt
746      02/16/11       02:55A 18173436690               0:22     36779 508412     ••••••••••• ••••       310410276936201       phone           _ MOBILB_DATA_ [52709/03678:-97 .08444:32 .92639:180]
                                                                               2
747      02/16/11       02:56A 18173436690              1:02     63355 505733      ******** ***** **      310410 276 936201     p hone          _ MOBI LB_DATA_ [5 2709/03678:-97 .08444:32.92639:180]
                                                                            7
748      02/16/11       02 : 57A 18173436690            0 : 27   35335 508602      •••••••••• •••••       310410276936201       phone           _ MOBI LB_ DATA_ [52709/03678: - 97.08444:32.92639: 180]
                                                                            4
749      02/ 1 6/11     02 :57A 18173436690             3:3 0    59829 506074      •••••••• •••••••       31041027693620 1      phone           _ MOBILB_ DATA_ [ 52709/03678:-97.08444:32.92639 :1 80]
                                                                               9
750      02/ 16 / 11    03:01A 18173436690             60:0 0    32340 17 4354     •••••••••••••••        310410276936201       phone           _ MOBILB_DATA_ [52 709/03678 : -97.08444:32.92639 : 180]
                                                                               0
751      02/ 1 6/11     03:02A 18173436690              0:20 202724        44 78   •••••••••••••••        310410276936201       wap.cingula _ MOBILB_ DATA_ [52709/23562 : -97.09917:32.95581: 1 28]
                                                                                                                                r
75 2     02/ 1 6/1 1    04:01A      18173436690        60 : 00      51       49    •••••••••••••••        31041 0276 9 3 6201   phone           _ MOBILB_ DATA_   [52709/23562:-97.09917:32.95581:128]
753      02 / 16 / 11   05:01A      18173436690        60:00      6244    23610    •••••••••••••••        310410276936201       phone           _ MOBILB_ DATA_   [52709/2356 2: -97.09917:32 . 95581:128]
754      02/16/11       06:01A      18173436690        6 0 :00    6324    2047 0   •••••••••••••••        310410276936201       phone           _ MOBILB_DATA_    [52709/23562:-97 . 09917:32 . 95581:128]
755      02/16/11       07:01A      1817 3 4 3 6690    60:00       112       49    •••••••••••••••        310 410276936201      phone           _ MOBILB_ DATA_   [52709/23562 : -97 . 09917 : 32.95581:128]
756      02/16/11       08:01A      18173436690         7:49 101456 501898         ••• ••••• ••• ••••     310410276936201       phone           _ MOBILB_ DATA_   [52 709/23562 : -97 . 09917 : 32 . 95581:128]
                                                                              1
757      02 /16/1 1     08 : 09A 18173436690            0:42     53557   506782    •••••••••••••••        310410276936201       phone           _ MOBILB_ DATA_ [52709 / 23562:-97.09917:32 .9 5581 :128 ]
                                                                              6
758      02 /16/11      08 : 09A 18173436690            1:10     63734   505667    •••••••••••••••        31 04 10276936201     phone           _ MOBILB_DATA_ [52709/23562:-97.09917 :32. 95581:128]
                                                                            9
759      02/16/11       08 : 10A 18173436690            1:20     74361 504601      •• • ••• •••••• • ••   3104102769362 01      phone           _ MOBILB_DATA_ [52709 / 23562:-97.09917:32.95581:128]
                                                                            0
760      02/16/11       08 : 12A 18173436690            1:14     65031 505619      •••••••••••••••        310410276936201       phone           _ MOBILB_DATA_ [52709/23562:-97.09917:32.95581:128]
                                                                               2
761      02/16/11       08: 13A 18173436690             1 : 33   73424 504737      •••••••••••••••        310410276936201       phone           _ MOBILB_DATA_ [ 52709/23562: -97.09 917: 32.95581: 128]
                                                                               6
762      02/16/11       08:15A      18173436690        60 : 00 17348 68129 3                              3104 1 0276936201     phone           _ MOBILB_ DATA_   [52709/23562:-97.09917:32.95581:128]
763      02/16/11       09:15A      18 173 436690      60:00      51     49                               3104 10 276936201     phone           _ MOBILB_DATA_    (527 09/23562:-97.099 17:3 2.95581 : 128]
764      02/16/11       10 :15A     1817343 6 690      60:00 152129 506343                                310410276936201       phone           _ MOBILB_DATA_    [5 2709/23562:-97.09917 :3 2.95581 : 128]
76 5     0 2 / 16 /11   l1:00A      181734 3 6690       0:49 20 808 2  4598        .....•.........        3 10 41027693620 1    wap .c ingu1a   _ MOBILB_ DATA_   [52709/24332 : -97.09953 : 32 .93 497:128]
                                                                                                                                r
766    02/ 1 6/11       ll : l 5A   18173436690        25:01   6901      25999     ............•••        31 04102769362 0 1    phone           _ MOBILB_DATA_    [ 52709/24332:-97 .099 53:32.93497:128]
767    02/ 1 6/11       11 :40A     18173436690         0 :20     0            0   •••••••••••••••        310410276936201       phone           _ MOBILB_ DATA_   [52903/60087:-97.09742:32.89986:0]
768    02/16/11         ll: 40A     181734366 90       60:00    776        1879    •••••••••••••••        310410276936201       phone           _ MOBILB_DATA_    [ 52709/62028:-97.0995 3:32.93 497:120]
7 69   02/16/11         ll:56A      18173436690         0:38 208082        6478    •••••••••••••••        3104102 7 6936201     wap.cingu1a     _ MOBILB_ DATA_   [ 52 70 9/62028:-97 . 09953:32.93497: 120]
                                                                                                                                r
770    02/ 16 / 11      l2:28P 18173436690              0 :49     4805    82962    •• •••••••• •••• •     310410276936201       acds.voicem _ MOBILB_DATA_ [52709 / 24332:-97.09953:32.93497:128]
                                                                                                                                ail
771    02/16/11         12 :3 0P 18173436690            0:34      2061     1335    •••••••••••••••        310410276936201       acds.voicem _ MOBILE DATA_ [52709/24332:-97.09953:32 .93497:128 ]
                                                                                                                                ail



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                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 13 of 99 PageID 3734
976503                                                        MOBILITY USAGE
08/17/2011
SCAMP                                                      (with cell location)                                                                                                 €?- at&t

 Run Date:           08/17/2011
 Run Time:           00:36 : 04
 Data Usage Por:      (817)34 3-6690
 Account Number:     318912244
Item       Conn.      Conn.     Originating   Elapsed    Bytes     Bytes              IMRI                 IMSI             Access        Description      Cell Location
          Date         Time       Number       Time       Up        Dn                                                         Pt
772    02/16/ll      l2:40P 18173436690        60:00       8349     60954      •••••••••••••••       310410276936201    phone           _ MOBILE_ DATA_    (52709/24332 :- 97 . 09953:32.93497:128)
773    02/16/ll      Ol:40P 18173436690        60 : 00   121179    274989      •••••••••••••••       310410276936201    phone           _ MOBILE_ DATA_    (52709/ 24332: - 97.09953:32 . 93497:128)
774    02/16 / ll    02:40P 18173436690        60:00         51        49      ***************       310410276936201    phone           _ MOBILE_ DATA_    (52709/24332: - 97. 09953:32.93497:128)
775    02/16/ll      03:40P 18173436690        60:00        153        98      *** * **** * ******   310410276936201    phone           _ MOBILE_DATA_     (52709/24332: - 97.09953:32.93497:128 )
776    02/16/11      04:40P 18173436690        60:00       6377  14794         ***************       310410276936201    phone           _ MOBILE_ DATA_    (52709/2 4 332: - 97.09953:32.93497:128)
777    02/ 1 6/ll    05:40P 18173436690        60:00      65092 126415         *** *** *********     310410276936201    phone           _ MOBILE_DATA_     (52709 /24332: - 97.09953:32.93497:128)
778    02/16/11      06:29P 18173436690         1:01       1799  24419         •••••••••••••••       310410276936201    wap . cingula   _ MOBILE_DATA_     [52709/ 2431 1 : - 97.12608:32.93822:8)
                                                                                                                        r
779    02/16/ll      06:40P     18173436690    60:00    102      98                                  310410276936201    p h one         _ MOBILE_ DATA_    (5 2709 /24 311: - 97.12608:32. 93822:8)
780    02/16/11      07 : 40P   18173436690    60:00  61978 258611                                   31041027693620 1   phone           _ MOB ILE_ DATA_   (52709 / 24311:-97.12608:32.93822:8)
781    02/16/11      08:40P     18173436690    60:00     51      49                                  310410276936201    phone           _ MOBILE_ DATA_    (52709/24311: - 97 . 12608:32.93822 : 8)
782    02/16/11      09:40P     18173436690    60:00  7212 7 207040                                  310410276936201    phone           _ MOBILE_ DATA_    (52709 / 24311:-97.12608:32.93822:8)
783    02/16/11      l0:40P     18173436690    40:24    234      49            ...••....•.....       310410276936201    phone           _ MOBILE_DATA_     (52709/24311:-97.12608:32.93822:8)
784    02/16/ll      ll:20P     18173436690     7:05       0      0            .....•.••...•..       310410276936201    phone           _ MOBILE_ DATA_    [52008/02422: - 97.18342:32.92942:180)
785    02/16/ll      ll:27P     18173436690     3:49       0      0                                  310410276936201    phone           _ MOBILE_DATA_     [52 709 /02 425:-97. 18342:32.929 42:128 )
786    02/ 1 6/11    ll:49P     18173436690    60:00    106     344                                  310410276936201    phone           _ MOBILE_ DATA_    (52709 / 19433: - 97. 1 521 : 32.9458:240)
787    02/ 1 7/11    12:49A     18173436690    60:00 236473 180892                                   310410276936201    phone           _ MOBILE_ DATA_    (52709 /19433:-97.1521:32.9458:240)
                                                                           8
788    02/17/11      Ol:49A 18173436690        60:00 447850 436978                                   310410276936201    phone           _ MOBILE_ DATA_ [ 52709/19433 : -97.1521:32 . 9458:240)
                                                                           7
789    02/17/ll      02:49A     18173436690    60:00     51     49                                   310410276936201    phon e          _ MOBILE_ DATA_    (52709/19433:-97.1521:32 . 9458:24 0)
790    02/17 /11     03:49A     18173436690    60:00   6309  27264                                   310410276936201    phone           _ MOBILE_ DATA_    (52709/19433:-97.1521:32.9458:240 )
791    02/17/11      04:49A     18173436690    60:00   6073  17783             .•.............       310410276936201    phone           _ MOBILE_ DATA_    (52709/19433:-97.1521:32.9458:240)
792    02/17/11      05 : 49A   18173436690    60:00    154     98                                   310410276936201    phone           _ MOBILE_DATA_     [52709 / 19433:-97.1521:32.9458:240)
793    02/17/ll      06 :4 9A   18173436690    60:00     51     49             ..••..........•       310410276936201    phone           _ MOBILE_DATA_     [52709/19433: - 97.152 1 :32.9458:240)
794    02/17/ll      07:49A     18173436690    60:00 169755 451788             ......•••......       310410276936201    phone           _ MOBILE_ DATA_    [52709 / 19433:-97.1521:32.9458:240 )
795    02/17/ll      08:49A     18173436690    60:00    143     49                                   310410276936201    phone           _ MOBILE_DATA_     (52709/ 19433:-97.1521:32.9458:240)
796    02/ 17 /11    09 : 49A   18173436690    60 : 00   51     49                                   310410276936201    phone           _ MOBILE_ DATA_    [52 709/ 1 9433:-97.1521:32.9458 : 240)
797    02/17/ll      l0:49A     18173436690    60:00    378   1474             •....•.........       310410276936201    phone           _ MOBILE_ DATA_    (52709/ 1 9433:-97 .1521:32 . 9458:240)
798    02/ 17/11     ll:llA     18173436690     0 : 27 3199  57727                                   31041027693620 1   acds.voicem     _ MOBILE_ DATA_    (52709/62028: -9 7.09953 :3 2.93497:120 )
                                                                                                                        a il
799    02/17/11      ll:l2A 18173436690         0:32      2061      1335       •••••••••••••••       310410276936201    acds.voicem     _ MOBILE_ DATA_ (5 2709/ 62028: - 97.09953:32.93497:120)
                                                                                                                        ail
800    02/17/11      ll:49A     18173436690    60:00     419 17 105142         •••••••••••••••       310410276936201    phone           _ MOBILE_ DATA_    (52709 /62 028: - 97.09953:32.93497:120)
801    02/17/ll      l2:49P     18173436690    60:00     81375 271852          •••••••••••••••       3104102 76936201   phone           _ MOBILE_ DATA_    ( 52709 /62028: - 97.09953:32.93497:120 )
802    02/ 17 / 11   Ol:49P     18173436690    60:00       272       792                             310410276936201    phone           _ MOBILE_ DATA_    (52709/62028:-97.09953:32.93497:120)
803    02/17/11      02:08P     18173436690     0:49      31 5 9   52669                             310410276936201    acds.voicem     _ MOBILE_ DATA_    (52709 / 62028:-97 . 09953:32.93497:120)
                                                                                                                        ail
804    02/17/11      02 : 49P 18173436690      60:00     72871 30 1 685        •••• •••• •••••••     310410276936201    phone           _ MOBILE_ DATA_ (52709/62028:-97.09953:32.93497:120)



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                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 14 of 99 PageID 3735
 97 6503                                                        MOBILITY USAGE
 08/17 / 2011
 SCAMP                                                       (with cell location)                                                                                                  if? at&t

 Run Oato:             08/17/2011
 Run Time:             00:36:04
 Data Osage Por:       (817) 343-6690
 Account Number:       318912244
Item       Conn.        Conn.       Originating   Elapsed    Bytes      Bytes              IMBI                  IMSI              Access     Description     Cell Location
           Date         Time          Number       Time       Up         On                                                         Pt
805      02/17/11      03:18P 1 8173436690          4:02       206 1      1335                            310410276936201      acds.voicem _ MOBILE_ DATA_ [ 52709/60428 :- 97.09917:32.95581 : 128)
                                                                                                                               ail
806      02/ 17/11     03:49P     18173436690      60:00           51         49   •••••••••••••••        3 1 0 410276936201   phone        _ MOBILE_DATA_    [52709 /60428:-97 .09 917:3 2.95581:128)
807      02/17/11      04:49P     181734 36 690    60:00 113432 331947             •••••••••••••••        310410276936201      phone        _ MOBILE_DATA_    [ 52709/60428:-97.09917 :32.95581:128)
808      02/17/11      05 :4 9P   181734 366 90    60:00      1174 9     64102     •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_   [ 52709/60428:-97.09917:32.95581:128)
809      0 2 /17 /11   06:49P     18173436690      60:00           51         49   ••••••••• ••• •••      310410276936201      phone        _ MOBILE_DATA_    [ 52709/60428 :- 97.09917:3 2.955 81:128)
810      02/17/11      07 :49P    18173436690      60:00        102           98   •••••••••••••••        31 041027693620 1    phone        _ MOBILE DATA_    [527 09/604 28:-97.09917:3 2.95581:128)
811      02/17/11      08:49P     18173436690      60:00 392374 188812             •••• ••• ••••••••      310410276936201      phone        _ MOBILE_DATA_    [ 52709 / 60428:-97. 09917:32.95581 :128)
                                                                     5
812      02/17 /11     0 8:52P 18173436690          4:01 465198  14071             •••• •••••••••••       310410276936201      wap.cingula _ MOBILE_ DATA_ [ 52709/60423:-97.09917:32 .95581:248)
                                                                                                                               r
813      02/17/11      09:39P 18173436690           0:50       4532 208352         •••••••••••• •••       310410276936201      wap.cingula _ MOBILE_DATA_ [52709/20237:-97.12608:32.93822:8)
                                                                                                                               r
814      02/17/11      09:49P 18173436690          15:03     238690 488242         •••••••• •• • • •••    31041 0276936201     phone        _ MOBILE_ DATA_ [52709 / 20237:-97 .12608: 32.93822 :8)
                                                                         3
815      02/ 1 7/11    10:04P 18173436690           0:56     112849 500780         •••••••••••••••        3104 1 0276936201    phon e       _ MOBILE_ DATA_ [52709 / 20237:-97.12608 :32.93822:8)
                                                                         0
816      02/17/11      10:05P 18173436690           1:03 109947 501064             .............. .       3104 1 0276936201    phone        _ MOBILE_ DATA_ [52709 / 20237:-97.12 608 : 32 . 93822:8)
                                                                             1
8 17     02/17/11      10:06P 18173436690           0:15     103480     501760     • ••••••• • ••••••     310410276936201      pho ne       _ MOBILE_DATA_ [52709 / 20237:-97. 1 2608:32.93822:8)
                                                                             0
818      02/17/1 1     10 : 06P 18173436690         0 : 31   113740     500644     •••••••••••••••        310410276936201      phone        _ MOBILE_DATA_ [52709/20237: - 97.12608 : 32.93822:8)
                                                                             9
819      02/17/11      10 :0 7P 18173436690         0 :55    111384     500929     ••••• • •••••••••      310410276936201      phone        _ MOBILE_ DATA_ [52709/20237:-97.12608:32.93822:8)
                                                                             0
820      02/17/1 1     10:08P 18173436690           0 : 32 1085 33 501200          •••••••••••••••        31041 027693620 1    phone        _ MOBILE_ DATA_ [52709/20237:-97.12608:32.93822:8 )
                                                                             0
821      02/17/11      10:08P 18173436690           0 :21     77296     355386     •••••• ••• •• •• • •   310410276936201      p hone       _ MOBILE_DATA_ [52709/ 20237:-97.12608:32.93822:8)
                                                                             2
822      02/17/11      10:09P 18173436690           0:43 103258 501696             •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [52903/60081: - 97.09742 : 32.89986:0)
                                                                              7
823      02/17/ 11     10:09P 18173436690           1:3 5 131200 498968            •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [52903/60081:-97.09742:32.89986:0)
                                                                              2
824      02/17/11      1 0: 11P 18 1734 3 6690      0: 42 114654 500549            •••••••••••••••        310410276936201      p hone       _ MOBILE_DATA_ [52903/6008 1 :-97.09742: 32.8 9986:0)
                                                                      3
82 5     02/17/11      10:12P 18173436690           0:52     114992     500580     •••••••••••••••        310410276936201      p hone       _ MOBILE_DATA_ [52903/60081 : -97.09742:32 . 89986:0)
                                                                              0
826      02/17/11      10:13P 18173436690           0:36     109564     501060     •••••••••••••••        310410276936201      p hone       _ MOBILE_ DATA_ [52903/60081 :- 97.09742:32.89986:0 )
                                                                             0
827      02/17/11      10:13P 18173436690           1:00 114920 500640             ••••••• ••• •• •••     310410276936201      phone        _ MOBILE_ DATA_ [52903/60081: - 97.09742:32.89986:0)
                                                                              0




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976503
                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 15 of 99 PageID 3736                                                              -...,..,
                                                                                                                                                                        ~ ~ at&t
08 / 17 /2011
                                                             MOBIL I TY USAGE
SCAMP                                                     (wi t h cell location)


 RWl Dato:             08/17/2011
 Run Time:             00:36:04
 Data Usage For:       (817) 343-6690
 Account Number:       318912244
Item       Conn.        Conn.    Originating   Elapsed    Bytes  Bytes             IMBI                 IMSI             Access    Description    Call Location
           Data         Time       Number       Time        Up     Dn                                                       Pt
828     02/17/11       10:14P 18173436690         0:27     98436 456913     •••••••••••••••       310410276936201     phone       _ MOBILE DATA_ [52903/60081:-97.09742:32.89986 : 0]
                                                                       2
829     02/17/11       1 0: 15P 18173436690     60:00       3428   6340     ...........••••       310410276936201     phone       _ MOBILE_ DATA_ [52707/42182:-97.13406:32.83747: 128 ]
830     02/17/11       11:15P 18173436690       60:00   12432  25486        .....•.........       310410276936201     phone       _ MOBILE_ DATA_ [52707/42182:-97.13406:32.83747:128]
831     02/18/11       12:15A 18173436690       60:00    7518  21815        ...............       310410276936201     phone       _ MOBILE_ DATA_ [52707/42182:-97 . 13406:32.83747 : 128]
832     02/18/11       01:15A 18173436690       60:00 434773 122714                               310410 2 76936201   phone       _ MOBILE_ DATA_ [52707/42182:-97.13406:32.83747:128]
                                                                   9
833     02 / 18 / 11   02:15A 18173436690        3:45 189992 493088         •••••••••••••••       310410276936201     phone       _ MOBILE DATA_ [52707 / 42182:-97.13406:32.83747:128]
                                                                   6
834     02 / 18/11     02:18A 18173436690        0 : 46 50634 507033        ••••••• ••••••••      310410276936201     phone       _ MOBILE_ DATA_ [52707/42182:-97.13406:32.83747 : 128]
                                                                        0
835     02/18/11       02:19A 18173436690        3 :20    81281 428261      •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [ 52 7 07/42182: - 97.13406:32.83747:128]
                                                                     9
836     02/18/11       02:23A 18173436690        2:47     63703 505698      •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52903/24183:-97.11217:32.85897 : 248]
                                                                        7
837     02 / 18 / 11   02:25A 18173436690        0:37     38064    508200   ••••••••••• ••••      310410276936201     phone       _ MOBILE DATA_ [52903 / 24183:-97.11217:32.85897:248]
                                                                        0
838     02 / 18 / 11   02:26A 18173436690        0:32     42494    507764   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52903/24183:-97.11217:32.85897:248]
                                                                        8
839     02/18/11       0 2:2 6A 18173436690      0:35     5604 0   506451   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [ 52903/24183:-97.1 1 2 17: 32.85897 : 248]
                                                                        5
840     02/18/11       02:27A 18173436690        1:26     86495    503402   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [52903/24183:-97.11217:32.85897:248]
                                                                        0
841     02 / 18 / 11   02:29A 18173436690        0:17     29276    509195   •••••••••••••••       310410276936201     phone       _ MOBILE DATA_ [52903 / 24183:-97.11217:32.85897:248 ]
                                                                        6
842     02/18/11       02:29A 18173436690        0:31     34198    285776   •• •• •••••••••••     310410276936201     phone       _ MOBILE_ DATA_ [ 52903/24183:-97.11217:32.85897:248]
                                                                        3
843     02/18/11       02:29A 18173436690        0 : 28   37698    508240   ••••••••••• ••••      310410276936201     phone       _ MOBILE_ DATA_ [52709/03672:-97.08444 : 32.92639:180]
                                                                        6
844     02/18/11       02:30A 18173436690        0 : 22   31849    508840   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [ 52709/03672:-97.08444 : 32.92639:180]
                                                                        4
845     02/18/11       02:30A 18173436690        0:51     43596    507647   •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_ [ 52709/03672: - 97.08444 : 32 . 92639:180]
                                                                        3
846     02/18/11       02:31A 18173436690        1 :07    49563    507180   ***************       31041 0276 936201   phone       _ MOBILE_ DATA_ [ 52709/ 0 3672:-97. 0 8444 : 32.92639:180]
                                                                        2
847     02/18/11       02:32A 18173436690        0:58     42834    507727   ***************       310410276936201     phone       _ MOBILE_ DATA_ [ 52709/03672:-97.08444:32.92639:180]
                                                                        2
848     02 / 18/11     02:33A 18173436690        1:02     51674    506924   ***** *** *******     310410276936201     phone       _ MOBILE_ DATA_ [ 52709/03672:-97.08444:32.92639:180]
                                                                        5
849     02/18/11       02:34A 18173436690        0:50     40260    508072   •••••••••••••• •      310410276936201     phone       _ MOBILE_ DATA_ [ 52709/03672:-97.08444:32.92639:180]
                                                                        2
850     02/18/11       0 2:35A 18173436690       1:09     53503    506672   ••••••••• • • • •••   310410276936201     phone       _ MOBILE_ DATA_ [ 52709/03672:-97.08444:32.92639:18 0 ]
                                                                        6



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                            Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 16 of 99 PageID 3737                                                              -..,.;
976503
08/17/2011
SCAMP
                                                         MOBILITY USAGE
                                                      (with cell l oca tion)                                                                                         tg ~ at&t

 Run Date :        08/17/2011
 Run Timo:         00:36:04
 Data Usage Por:   (817) 343-6690
 Account Number:   318912244
Item      Conn.     Conn.    Originati ng   Elapsed    Bytes  Bytes           IMEI              IMSI             Access      Description       Cell Location
          Date      Time       Number        Time        Up     Dn                                                    Pt
851     02/18/11   02:36A 18173436690         0:21      34835 508533    ..•............   310410276936201     phone
                                                                                                                           - MOBILE- DATA-     [52709/03672:-97. 08444:32.92639 : 180 )
                                                                    6
852     02/18/11   02:36A 1817343669 0        0:16      29484 509180    ...............   310410276936201     phone        _ MOBILE_ DATA_ [52709 / 03672:-97.08444:32.92639:180)
                                                                    0
853     02/18/11   02:37A 18173436690         0:17      28652 509180    ***************   310410276936201     phone        _ MOBILE_ DATA_ [52709/03672:-97.08444:32.92639:180)
                                                                    0
854     02/18/11   02:37A 18173436690         0:21      34430 508628    ...............   310410276936201     phone
                                                                                                                           -MOBILE_DATA_       [52709/03672:-97.08444 :32. 92639:180)
                                                                    3
855     02/18/11   02:37A 18173436690         1:20      69186 505155    ...............   310410276936201     phone
                                                                                                                           -MOBILE_ DATA_      [52709 / 03672:-97.08444:32.92639:180 )
                                                                    6
856     02/18/11   02:39A 18173436690         0:35      41585 507967    ...•.•.•.••....   310410276936201     phone
                                                                                                                           - MOBILE_ DATA_     [52709/03672 : -97.08444 :32.92 639:180 )
                                                                    0
857     02/18/11   02:39A 18173436690         4:31      96186 502499    ...............   310410276936201     phone
                                                                                                                           -MOBILE_ DATA-      [52709/03672 : -97.08444: 32.92 639:180 )
                                                                    9
858     02/18/11   02:44A 1817343669 0        0:18      36608 508473    ...............   310410276936201     phone
                                                                                                                           - MOBILE_ DATA_     [52709/03672 :- 97.08444:32.92639 :18 0)
                                                                    8
859     02/18/11   02:44A 18173436690         0:23      38753 508259    ...............   310410276936201     phone
                                                                                                                           -MOBILE   DATA
                                                                                                                                           -   [52709/03672:-97.08444 :32. 92639:180)
                                                                    8
860     02/18/11   02:44A 18173436690         1:10      96611 502418    .......•.••....   310410276936201     phone
                                                                                                                           - MOBILE_ DATA-     [52709/03672:-97.084 44:32 .92639:180 )
                                                                    0
861     02/18/11   02:46A 18173436690         0:14     27829 509325     ..••...........   310410276936201     phone        _ MOBILE_ DATA
                                                                                                                                           -   [52709/03672: - 97.0844 4:32. 92639 : 180)
                                                                    2
862     02/18/11   02:46A 18173436690         0:14     28184 509320     •...•.........•   310410276936201     phone
                                                                                                                           -MOBILE_ DATA-      [52709/03672:-97.08444:32.92639:180)
                                                                    0
863     02/18/11   02 : 46A 18173436690       0:13     28184 509320     ...............   310410276936201     phone        _ MOBILE_ DATA
                                                                                                                                         -     [ 52709 / 03672: - 97 .08444:32.92639:180 )
                                                                    0
864     02/18/11   02 : 46A 18173436690       0 : 45    55452 506592    ...............   310410276936201     phone        _ MOBILE_ DATA
                                                                                                                                         -     [52709 /03672: - 97.08444:32.92639:180 )
                                                                    9
865     02/18/11   02:47A 18173436690         1:07     68583 505152     ....••...•••.•.   310410276936201     phone
                                                                                                                           - MOBILE_ DATA_ [52709/ 03672:-97.08444:32.92639:180)
                                                                    8
866     02/18/11   02:48A 18173436690         0:49     61593 505961     ...............   310410276936201     phone
                                                                                                                           -MOBILE_ DATA_      [52709/03672:-97.084 44:32 .92639:180)
                                                                    9
867     02/18/11   02:49A 18173436690         0:15     28704 509180     ............•..   310410276936201     phone
                                                                                                                           -MOBILE_ DATA-      [52709/03672:-97.0844 4:32.92 639:180)
                                                                    0
868     02/18/11   02:49A 18173436690         0:32     45439 507559     ...............   310410276936201     phone
                                                                                                                           - MOBILE DATA       [52709/03672:-97.08444 : 32.92639:180)
                                                                    2
869     02/18/11   02:50A 18173436690         1:44     94671 502669     ......•••.•..•.   310410276936201     phone
                                                                                                                           - MOBILE_ DATA_     [52709/03 672:-97 . 08444:32 . 92639:180)
                                                                    0
870     02/18/11   02:52A 18173436690         0:40     49154 507205     ...............   310410 27 6936201   phone        _ MOBILE_ DATA_ [52709/ 03672:-97.08444:32.92639:180)
                                                                    5
871     02/18/11   02:52A 18173436690         0:18     30004 509040     ...............   310410276936201     phone
                                                                                                                           -MOBILE_ DATA_      [52709/0 3672:-97.08444:32.92639:180)
                                                                    0




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 976503
                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 17 of 99 PageID 3738                                                                   ~
 08/1 7 /2 011
 SCAMP
                                                              MOBILITY USAGE
                                                           (with cell loc a tion}                                                                                             ;£ ~ at&t

 Run Date:             08/17/2011
 Run Time:             00:36 : 04
 Data Usage For:       (817)343-6690
 Account Number:       318912244
Item      Conn.         Conn.     Originating   Elapsed    Bytes  Bytes             IMBI                  IMSI             Access      Description       Cell Location
            Date        Ti.me     Number         Time        Up     Dn                                                        Pt
872     02 / 18 / 11   02:52A 18173436690          2:29     66093 505404    •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [52709 /0367 2:-97.08444:32 . 92639:180)
                                                                      6
873     02/18/11       02:55A 18173436690         0:15     28860 509190     •• • ••••••••••••      310410276936201      phone        _ MOBILE_DATA_ [52709/03672:-97.08444:32 . 92639:180)
                                                                      4
874     02/18/11       02:55A 1 8173436690        0:15     28496 509180     •• • • ••• ••••••••    310410276936201      phone        _ MOBILE_ DATA_ [52709/03672:-97.08444:32.92639 : 180 )
                                                                        0
875    02/18/11        02:55A 18173436690         2:03     45643 507453     ••••••• • •••••••      310410276936201      phone        _ MOBILE_ DATA_ [52709/03672:-97.08444:32.92639:180)
                                                                      5
876    02/18/11        02:58A 18173436690         0:17     29120 509180     •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [52709/03672:-97.08444:32.92639:180)
                                                                      0
877    02/18/11        02:58A 18173436690        60:00     75964 182898     •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [52709 /0 3672:-97.0844 4: 32.92639:180)
                                                                        4
878    02 /18 / 11     03:58A   18173436690      60:00    102     98                               310410276936201      phone        _ MOBILE_ DATA_     [52709 /0 3672:-97.08444:32 . 92639:180)
879    02/ 1 8 / 11    04:58A   18173436690      60:00     51     49                               310410276936201      phone        _ MOBILE_ DATA_     [52709 /0 3672:-97.08 44 4:32 . 92639:180)
880    02/18/11        05:58A   18173436690      60:00     51     49        ............•..        310410276936201      phone        _ MOB I LE_ DATA_   [52709 /0 3672:-97.08444:32.92639:180)
881    02/ 1 8/1 1     06:58A   1817343669 0     60:00     51     49                               310410276936201      phone        _ MOB I LE_ DATA_   [ 52709/03672:-97.08444:32.92639:180)
882    02/18/11        07:58A   18173436690      30:45 286226 483414                               310410276936201      phone        _ MOBI LE_ DATA_    [52709/03672:-97.08444:32.92639:180)
                                                                        1
883    02/18/11        08:29A 18173 436690        0:19     30824 509055     ••••••••••••• ••       310410276936201      phone        _ MOBILE_DATA_ [52709 /036 72 : -97.08444 : 32.92639:180)
                                                                        6
884    02/18/11        08:29A 18173436690         0:19     53827   506677   •• •••• • ••••• •••    310410276936201      phone        _ MOBILE_ DATA_ [52709 /0 3672:-97 . 08444 :32.92639:180)
                                                                        5
885    02 / 18 /11     08 :2 9A 18173436690       0:15     28600 509180     •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [52709/03672:-97. 08444:32.92639:180)
                                                                      0
886    02/18/11        08:29A 18173436690         0:38     50562   507015   • ••• •• • ••••••• •   310410276936201      phone        _ MOBILE_ DATA_ [52 709/03672: -97.08444:32.92639:180)
                                                                        0
887    02/18/11        08:3 0A 18173436690        0:16     28704 509185     •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [ 52709/0 3 672: - 97. 0 8444:32.92639:180)
                                                                      2
888    02/18/11        08:30A 18173436690         0:16     32463   508773   •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [52709 /0 3672:-97.0844 4 :32.92639:180)
                                                                        5
889    02/18/11        08:31A 18173436690         0:15     28704   509180   ••••• •• • • ••••••    310410276936201      phone        _ MOBILE_ DATA_ [52709/03672: - 97.08444:32.92639:180)
                                                                        0
890    02/18/11        08:31A 18173436690         0 : 23   36970 5 08442    •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [52709/03672:-97.08444:32.92639:180)
                                                                      4
891    02 /18/ 11      08:31A 18173436690        60:00     33281 338931     •••••••• • •• • •••    310410276936201      phone        _ MOBILE_ DATA_ [52709/03672:-97 . 08444:32.92639 : 180)
                                                                      3
892    02/18/11        09:31A 18173436690        60:00      7554    39041   ******* ***** * * *    3104 1 027693620 1   p hone      _ MOBILE_ DATA_ [52709/03672:-97.08444 : 32.92639:180)
893    0 2/18/1 1      10:2 1A 18173436690        0:52      7852 444729     ••••••• • •••••• •     3104102769362 0 1    wap.cingula _ MOBILE_ DATA_ [52709/62028: - 97.09953:32.93497:120)
                                                                                                                        r
894    02/18/11        10:31A 18173436690        60:00 128710 417487        ••• • ••••• •• ••••    310410276936201      phone        _ MOBILE_ DATA_ [52709/ 62028:-97 . 09953:32.93497:120)
895    02/18/11        11:31A 18173436690        60:00     47403   152377   •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [52709/62028:-97 . 09953:32.93497:120 )
896    02/18/11        12:31P 18173436690        60:00 101381 349080        •••••••••••••••        310410276936201      phone        _ MOBILE_ DATA_ [52709/ 62028:-97 . 09953:32.93497:120 )



                                                                                     AT&T Propr i eta ry
        NKK                                                                                                                                                                               P age 51
                                 The informat i on contained here i s for u s e by authoriz e d person only and i s
                                                          no t for g e neral distribution.
                                      Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 18 of 99 PageID 3739                                                                    ~
976503
08/17/2011
SCAMP
                                                                   MOBILITY USAGE
                                                                (with cell location)                                                                                                {¥8 at&t
 Run Date:               08 / 17 / 2 011
 Run Ti me:              00: 3 6 : 04
 Data Osage F o r:        (817) 343- 6690
 Account Number:         318912244
Item       Conn.           Conn .      Originating   !!lapsed    Bytes   Bytes           IMI!I              IMSI              Access       Description       Cell Location
            Date           Time          Number        Time        Op      Dn                                                   Pt
897     02 / 18 / 11     01:31P 18173436690             60:00     96935 445972     ..........•....    310410276936201     phone           _ MOBILE_ DATA_    [52709 / 620 2 8:-97.09953:32 . 9349 7: 120)
898     02 / 18 / 1 1    02:31P 18173436690             60:00       173       49                      3104102769362 01    phone           _ MOBILE_ DATA_    [52 709/62028:-97.09953:32.93497:120)
899     02 / 18 / 11     03 : 31P 18173436690           60:00       213       49   ......•........    310410276936201     phone           _ MOBILE_ DATA_    [52709 / 62028 : - 97 . 09953:32 . 93497:120 )
900     02/18/11         04 : 31P 18173436690           18:43     21948   53231    ***************    310410276936201     phone           _ MOBILE_ DATA_    [ 52709/62028:-97 . 09953:32 . 93497:120 )
901     02 / 18/ 11      04 : 50P 18173436690            6:05          0       0   ...............    310410276936201     phone           _ MOBILE_ DATA_    [52903/60081:-97 . 09742:32.89986:0)
902     02 / 18/ 11      04 : 56P 18173436690          60:00       1480    2801                       310410276936201     phone           _ MOBILE_ DATA_    [52707 / 42181:-97 . 13406:32.83747:8)
903     0 2/18/ 11       05:25P 18173436690              0:44      2252  91232     ......•...•••..    310410276936201     wap.cingula     _ MOBILE_ DATA_    [52707 / 40649:-97 . 16078:32.85086:248)
                                                                                                                          r
904       02 / 18/ 11    0 5:5 6 P   18173436690       60 : 00     4080   13514    ••••••••••••• ••   31041 0 276936201   phone           _ MOBILI!_ DATA_   [52707 / 40649:-97.16078:32.85086 : 248)
905       02 / 18 / 11   06:56P      18173436690       60:00       3937   14202    •••••••••••••••    3104 10276936201    phone           _ MOBILI!_ DATA_   [52 707 / 40649: - 97 . 16078:32.85086:248)
906       02 / 18/11     07:56P      18173436690       53:20      9456    29317    ***************    310410276936201     phone           _ MOBILE_ DATA_    [52707/406 4 9: - 97.16078:32 . 85086:248)
90 7      02 / 18/11     08:07P      18173436690        1:06      1233      718    •••••••••••••••    3104102769362 01    wap . cingula   _ MOBILE_ DATA_    [52707/40649:-97.16078:32.85086:248)
                                                                                                                          r
908      02 / 18 / 11    08:50P      18173436690       38:50      2801 10375                          310410276936201     phone           _ MOBILE_ DATA_    [52707 / 40643 : -97 . 16078:32.85086:248)
909      02 / 18 / 11    09:31P      1817343669 0      60:00       75 6  2752      ...............    31041027693 6 201   phone           _ MOBILE_ DATA_    [52707 / 23533:-97 . 16078 : 32 . 85086:248 )
910      0 2 / 18 / 11   10:31P      1817343669 0      60:00      7688  29215      ...........•...    31041 0276936201    phone           _ MOBILE_ DATA_    [5 2707 / 23533:-97 . 16078:32.85086:248)
911      02 / 18 / 11    11:31P      1817343669 0      60:00        51     49      ..•••...•.•....    310410276936201     phone           _ MOBILE_ DATA_    [52707 / 23533:-97.16078:32.85086:248)
912      02/19 / 11      12 : 31A    18173436690       60:00     90984 667495      ...............    310410276936201     phone           _ MOBILE_ DATA_    [ 52707/23533:-97.16078 :32.85086:248)
913      02 / 19 / 11    12:42A      18173436690        0 : 49    319 9 50721      ...............    310410276936201     acdo.voicem     _ MOBILI!_ DATA_   [52707 / 147 4 3:-97.13406:32.83 747:248 )
                                                                                                                          ail
914      02/19 / 11      01:04A 18173436690             1:06      2061     1335    •••••••••••••••    310410276936201     acdo.voicem     _ MOBILE_ DATA_ [52707 / 42183:-97 . 1 3 406:32.83747 : 2 4 8)
                                                                                                                          ail
915      02 / 19 / 11    01:31A      18173436690      17:32        112       49    •••••••••••••••    310410276936201     phone           _ MOBILE_ DATA_    [52707 / 42183:-97.13406: 32.83 747:248 )
916      02 / 19 / 11    01:49A      18173436690      60:0 0      6603    15726    •••••••••• •••••   310410276936201     phone           _ MOBILE_ DATA_    [52903 / 14323:-97. 1 0911:32.842:2 4 8)
917      02/19 / 11      02 :49A     18173436690      60:00         112      49    ••••••• ••••••••   310410276936201     phone           _ MOBILE_ DATA_    [52903/14323:-97 . 10911:32 . 842:248)
918      02/19/ 11       03 : 49A    18173436690      60 : 00     6959  28998      ...••..........    310410276936201     phone           _ MOBILE_ DATA_    [52903 / 143 2 3:-97 . 10911:32.842:248)
919      02 / 19/11      04 : 49A    18173436690      60:00        903     49      .•.•.•••.•..•..    310410276936201     phone           _ MOBILE_ DATA_    [52 903 / 14323:-97 .10911:32.842:248)
920      0 2 / 19/ 11    05:49A      18173436690      36:03         51     49      ...............    310410276936201     phone           _ MOBILE_ DATA_    [52903 / 14323 : -97 . 10911:32 . 842:248)
921      02 / 19/ 11     06:25A      18173436690      60:00        102     98      ......••..••.•.    310410276936201     phone           _ MOBILE_ DATA_    [52709/23562: - 97 . 09917:32 . 95581:128)
922      02 / 19 / 11    07:25A      18173436690      60:00         51     49                         310410276936201     phone           _ MOBILE_ DATA_    [52709 / 23562:-97 . 09917:32 . 95581:128 )
923      02 / 19 / 11    08:25A      18173436690      60:00         51     49      ...........•...    310410276936201     phone           _ MOBILE_ DATA_    [527 09/23562:-97 . 09917:32.95581:128)
924      02/19 / 11      09:25A      18173 4 36690    60:00       7185  18031                         310410276936201     phone           _ MOBILE_ DATA_    [52709/23562:-97 . 09917 : 32 . 95581:128)
925      02 / 19 / 11    10:25A      18173436690      60:00        217    688      ...•...••..••..    310410276936201     phone           _ MOBILB_ DATA_    [52709/23562:-97.09917:32.95581:128 )
926      02 / 19 / 11    10: 2 5A    18173436690       4:02       6132 322836                         310 410276936201    wap.cingula     _ MOBILE_ DATA_    [52709 / 60422:-97 . 09917:32.95581 : 128 )
                                                                                                                          r
927      02 / 19 / 11    11 : 25A 18173436690         60 : 00    12561 528389                         310410276936201     phone       _ MOBILI!_ DATA_ [527 0 9/604 22:-97 . 09917:32 . 95581:128)
928      02 / 19 / 11    12:25P 18173436690           60:00        327   1136      ..•••..........    310410276936201     phone       _ MOBILE_ DATA_ [52709/60422:-97 . 099 17:32.95581 : 128)
929      02 / 19/11      12:50P 18173436690            0:37       3439    70149    •••••••••••••••    310410276936201     acds.voicem _ MOBILE_ DATA_ [52709 / 604 2 8:-97.09917:32.95581:128)
                                                                                                                          ail



                                                                                          AT&T Proprietary
          NKK                                                                                                                                                                                    Page 52
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                                                             not for general distribution.
                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 19 of 99 PageID 3740
9765 0 3
08/17/2011
SCAMP
                                                                MOBILITY USAGE
                                                             (with cell location)                                                                                             i? at&t
 Run Date:             08/17 /2 011
 Run Time :            00 : 36 : 04
 Data Osage Por:       (817)343-6690
 Account Number:       318912244
Item      Conn.         Conn.       Originating   Elapsed     Bytes   Bytes          IMEI                 IMSI             Access       Description Coll Location
           Date         Time          Number       Time        Up      Dn                                                      Pt
930     02 / 19/11     01:06P 18173436690            3 : 18    2061    1335   •••••••••••••••       310410276936201     acds . voicem _ MOBILE_ DATA_ [52709 / 60428:-97.09917:32 . 95581:128)
                                                                                                                        ail
931     02 / 19 / 11   01 : 25P 18173436690         60:00 197067 137536                             310410276936201     phone         _ MOBILE_ DATA_ [52709/ 60428:-97.09917:32.95581:128)
                                                                      4
932     02 / 19/11     02:25P 18173436690           60:00 731117 309114       .•...••..•••...       310410276936201     phone        _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128)
                                                                          0
933    02 / 19/11      03:25P     18173436690       60:00     51     49                             310410276936201     phone        _ MOBILE_DATA_    [52709/ 60428:-97.09917:32.95581:128)
934    02 / 19 / 11    04:25P     18173436690       60:00     51     49                             310410276936201     phone        _ MOBILE_ DATA_   [52709/60428:-97.09917:32.95581 : 128)
935    0 2/19/11       05:25P     18173436690       60: 0 0  102     98                             310410276936201     phone        _ MOBILE_DATA_    [52709/ 60428:-97.09917:32.95581:128)
936    02 / 19 / 11    06:25P     18173436690       60:00 540383 242084                             310410276936201     phone        _ MOBILE_ DATA_   [52709/ 60428:-97.09917:32.95581:128)
                                                                      0
937    02/19/11        07 : 25P   18173436690        2:02      0      0       ....•.•...•....       310410276936201     phone        _ MOBILE_ DATA_   [52709/60428:-97.09917:32.95581:128 )
938    02/20/11        02:49A     18173436690       60:00     51     49                             3104 1 0276936201   phone        _ MOBILE_ DATA_   [52709/20328 : - 97 . 15139:32.97094:128]
939    02/20/11        03:49A     18173436690       60:00     51     49                             310410276936201     phone        _ MOBILE_DATA_    [52709 / 20328:-97.15139:32.97094 : 128 ]
940    02 / 20 / 11    04:49A     18173436690       60:00   6341  20782                             310410276936201     phone        _ MOBILE_ DATA_   [52709 / 20328: - 97 . 15139:32 . 97094 : 128]
941    02/20 / 11      05:49A     18173436690       60:00    112     49                             310410276936201     phone        _ MOBILE_DATA_    [52709 / 20328:-97.15139:32.97094 : 128]
942    02 / 20 / 11    06:49A     18173436690       60:00     51     49       ...............       310410276936201     phone        _ MOBILE_ DATA_   [52709 / 20328 : -97.15139:32.97094:128)
943    02 / 20 / 11    07:49A     18173436690       60:00    112     49                             310410276936201     phone        _ MOBILB_ DATA_   [52709 / 20328:-97.15139:32.97094:128]
944    02 / 20/11      08:49A     18173436690       34:11 552438 456779       ...............       310410276936201     phone        _ MOBILE_ DATA_   [52709 / 20328:-97.15139:32 . 97094 : 128]
                                                                          2
9 45   02 / 20 / 11    09:23A 18173 4 36690         49:05 515151 460513                             310410276936201     phone        _ MOBILB_ DATA_ [52709 / 20328:-9 7 .15139:32.97094:128]
                                                                          8
946    02 / 20 / 11    10:13A 18173436690           38:39 154458 191737                             310410276936201     phone        _ MOBILB_ DATA_ [52709 / 20328:-97 . 15139:32.97094:128)
                                                                      5
947    02 / 20 / 11    10:51A     18173436690        9:36      0      0       • •••••••••••• • •    310410276936201     phon e       _ MOBILE_ DATA_   [52903/60081:-97.09742:32.89986:0)
948    02/20/11        ll:OlA     18173436690        8:44      0      0       • ••••••••••••••      310410276936201     phone        _ MOBILE_ DATA_   [52818/ 0 1611:-97.0711 4:32.76806 : 60]
949    02 / 20/11      ll:lOA     18173436690        8:45         0       0   • • •••••••••••••     310410276936201     phone        _ MOBILE_ DATA_   [52704 / 14688:-97 . 11567:32.68133:128)
950    02/20/11        11:18A     18173436690        6:16         0       0   •••••••••••••• •      310410276936201     phone        _ MOBILE_ DATA_   [52818/24359:-97 . 14283:32 . 70761 : ]
951    02 / 20 / 11    11:25A     18173 4 36690      3:23         0       0   •••••••••••••••       310410276936201     phone        _ MOBILE_ DATA_   [52704/08043:-97.14092:32.69481:300]
952    02 / 20/11      11:28A     18173436690       17:38        51      49   •••••••••••••••       310410276936201     phone        _ MOBILE_ DATA_   [52818 / 40113:-97.14283:32.70761:248)
953    02 / 20 / 11    11:46A     18173436690        4 : 33       0       0   •••••••••••••••       310410276936201     phone        _ MOBILE_ DATA_   [52704 / 07991 : -97.19119:32.70536:60]
954    02/20/11        11 : 50A   18173436690        1 : 02       0       0   •••••••••••••••       310410276936201     phone        _ MOBILB_ DATA_   [528 1 8/27 0 22:-97 . 15792:32.71225:180)
955    02/20 / 11      11:51A     18173436690        0:04         0      0    ............•..       310410276936201     phone        _ MOBILE_ DATA_   [52704/08061:-97.17997:32.686 1 9:60)
956    02/20 / 11      11:51A     18173436690        6:39     12719 527948    •..••..........       310410276936201     phone        _ MOBILB_ DATA_   [52818/00922 : -97 . 15792:32 . 71225:180)
957    02 / 20/ 11     11:58A     18173436690        0:50         0      0                          310410276936201     phone        _ MOBILE_ DATA_   [52704 / 08061 :- 97 . 17997:32.68619:60)
958    02/20 / 11      11:59A     18173436690        0:09         0      0    .....••.•.....•       310410276936201     phone        _ MOBILB_ DATA_   [52818/00922 : -97 . 15792:32.71225:180)
959    02 / 20 / 11    11:59A     18173436690        0:03         0      0    .....••••...•..       310410276936201     phone        _ MOBILE_ DATA_   [52704/07991:-97.19119:32.70536:60)
960    02/20/11        11 : 59A   18173436690        1:42         0      0    ***************       3 1 0410276936201   phone        _ MOBILE_ DATA_   [52818/00922:-97.15792:32.7 1 225:180)
961    02/20/11        12:01P     18173436690        2:42         0       0   •• •••••• • •• ••••   310410276936201     phone        _ MOBILE_DATA_    [ 52704/08061:-97.17997:32.68619:60)




                                                                                       AT&T Pr opri etary
        NKK                                                                                                                                                                                Page 53
                                   The information c o nta ined here is f or u se by a u thori zed person only and i s
                                                             not for gene r a l distri buti on .
                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 20 of 99 PageID 3741                                                                         -.,..,.,
976503
                                                                                                                                                                                     ~~ at&t
08/17/2011
                                                               MOBILITY USAGE
SCAMP                                                       (with cell location}


 Run Date:            08/17/2011
 Run Time :           00:36:04
 Data Usage For:       (817)343 -6690
 Account Number:      318912244
Item      Conn.         Conn.     Originating    Elapsed Bytes     Bytes              IMBI                  IMSI                Access      Descr iption     Cell Location
          Date          Time         Number       Time     Up       On                                                                Pt
962    02/20/11       12:03P 18173436690            6:01       0           0   ****** **** ** ***    310410276936 2 01      phone          _ MOBILE_ DATA_   [52818/00928 :- 97.1579 2:32.712 25:180 ]
963    02 / 2 0/11    12:09P 181734 3669 0          0:05       0           0   •••••••••••••••       310410276936 2 01      phone          _ MOBILE_ OATA_   [5 2 704/08061 :- 97.17997:3 2.68 619:60]
964    02/20/11       12:10P 1 8173 4 36 690       14 :4 4    51       49      • ••••••••• • • •••   310410276936201        phone          _ MOBILE_ DATA_   [52818 /00922 : - 97.15792 :32. 71225:180]
965    02/20/11       12: 24P 18173436690           0:20       0        0      •••••••••••••••       3104 1 0276936201      phone          _ MOBILE_ DATA_   [52704/08043 :- 97.14092 : 32.69481:300]
966    02/20/11       12:25P 18173436690            8:35       0           0   •••••••••••••••       310410276936201        p h one        _ MOBILE_ DATA_   [52818/40119: - 97.14 283 :3 2.70761:248 ]
967    02/20/11       12 : 33P 1 8 173436690        0:05       0           0   •••••• •••• •••••     3104 1 0276936201      p hone         _ MOBILE_ DATA_   [52704/08043: - 97.14092:3 2.69 48 1 :300]
968    02 / 20/ 11    12:33P 1817343 6690           0:06       0           0   •••••••••• •••••      31 0410276936201       p h one        _ MOBILE_ DATA_   [52818 / 40113:-97.14283 : 32.70761:248]
969    02/20/11       1 2:33P 18173436690           0:03       0           0   •••• ••••••••• ••     31 04 1 027693620 1    phone          _ MOBILE_ DATA_   [52704/08043: - 97.14092:3 2.6 948 1 :300]
970    02/20/11       12:33P 18173436690            1:3 5      0           0   ***************       310410276936201        phone          _ MOBILE_ DATA_   [52818 / 40113 :-97.14283:3 2.7 076 1: 248 ]
971    02/20/11       12:35P 18173436690            0:04       0           0   ***************       3104 1 02769 3 6201    p hon e        _ MOBILE_ DATA_   [52704 /0 8043 : - 97.14092:3 2.69 48 1 :300 ]
972    0 2 / 20/ 11   12 : 35P 1817 343669 0        0:2 3      0           0   •••••••••••••••       310410276936201        p hone         _ MOBILE_ DATA_   [52818/00922: - 97.15792:32.71225:180 ]
973    02/20/11       12:36P 18173436690            0:38       0           0   •••••••••••••••       310 410276936201       p hone         _ MOBILB_ DATA_   [52 7 04/08043: - 97.14092:32.69 481:300 ]
974    02/2 0/11      12:36P 18173436690            7:22   2739    11734       •• •• •••••••••••     310410276936201        phone          _MOBILB_ DATA_    [52818/00922: - 97.15792 : 32 .7 1225:180 ]
97 5   02/20/11       12 : 38P 181734 3 6690        0:30 504057     9163       •••••••••••••••       3104 1027693620 1      wap.cingula    _ MOBILE_ DATA_   [52 818 / 27028:-97.15792:32.71225:]
                                                                                                                            r
976    0 2 / 20 /11   12:44P     18173436690       0:05      0      0                                310410276936201        phone          _MOBILB_DATA_     [52 7 04/08043: - 97.14 092 : 32. 69481:300 ]
977    0 2 / 2 0/11   12 : 44P   18173436690       4:02      0      0                                310410276936201        phone          _ MOBILB_ DATA_   [52818/40113: - 97.14283:32.70761:248]
978    02/20/11       12:48P     18173436690       1:3 6     0      0                                3 1 04 1 027693620 1   phone          _ MOBILE_ DATA_   [5 2704 /08043 :-97 . 1 4 092 : 32 . 69481:300]
979    02/20/11       12:49P     18173436690       2 : 55  111    344                                310410276936201        phone          _MOBILB_DATA_     [52818 / 4 0119: - 97.14283:32.70761:248]
980    02/20/11       12:52P     18173436690       2: 01     0      0                                310410276936201        p hone         _ MOBILE_ DATA_   [52704/41621: - 97.17131:32.67442:0]
981    02/20/11       12:54P     18173436690       0 : 17    0      0                                310410276936 2 0 1     phone          _ MOBILB_ DATA_   [528 1 8/00928: - 97.15792:32.71225:180 ]
982    02/20/11       12:54P     18173436690       0:17      0      0          •.....•...•••.•       310410276936201        phone          _ MOBILB_DATA_    [52704/27103:-97.14092:32.69481:300 ]
983    02/20/11       12:55P     18173436690       0:07      0      0                                310410276936201        phone          _ MOBILB_ DATA_   [5 28 18/27022: - 97.15792:32.71225:180 ]
984    02/20/11       12:55P     18173 4 36690     0:58      0      0          ***************       3104 1 0276936201      pho n e        _MOBI LE_DATA_    [527 04/1 868 1 :-97.17 1 31:32 . 67442 :8]
985    02/20/11       12:56P     181734366 90      0:17      0      0          ....••..•...••.       310410276936201        phone          _ MOBILE_ OATA_   [52818/27022 :- 97 . 15792:32 . 7 1225:1 8 0 ]
986    02/ 20 /11     12:56P     18173436690       2 :0 2    0      0          ...............       310410276936201        phone          _ MOBILB_DATA_    [52704/ 41621:-97.17131:32 . 67442 : 0]
987    02/ 2 0/11     12:58P     18173436690      24:51   7866  11356          •••••••••••••••       310410276936201        phone          _ MOBILE_ OATA_   [52818/40119: -97 . 14283:32.70761:248]
988    02/20/11       01:23P     18173436690      60:00 248313 198814          •••••••••••••••       310410276936201        phone          _ MOBILE_ DATA_   [52704 /2710 9: - 97.14092:32.69481:]
                                                                       6
989    02/20/11       02:23P     18173436690      60:00      91       49       •••••••••••••••       310410276936201        phone          _ MOBILB_ DATA_   [52703/ 14352: - 97.45808:32.68236:138 ]
990    02/20/11       0 3:23P    18173436690      60:00      51       49       •••••••••••••••       310410276936201        phone          _ MOBILE_ DATA_   [52703 / 14352:-97.45808:32.68236:138 ]
991    02/20/11       04:23 P    18173436690      38:00      51       49       •••••••••••••••       310410276936201        phone          _ MOBILE_ DATA_   [52703 / 14352: - 97.45808:32.68236:138]
992    02/20/ 11      05:01P     18173436690       5:18    8309    90691       ••••••••••• ••••      310410276936201        phone          _ MOBILE_ DATA_   [52903/40283: - 97 .1 0 911: 32.84 2:240 ]
993    02/20/1 1      05 :0 6P   18173436690       0:20     260      392       •••••••••••••••       310410276936201        p h one        _ MOBILE_ DATA_   [52709 /03 672:-97 .08 444:32.92 639: 180]
994    02 / 20/ 11    05 : 07P   18173436690       0:0 3      0        0       •••••••••••••••       310410276936201        phone          _ MOBILE_ DATA_   [ 52903/6008 1 :-97.09742:32.89986:0]
995    02/20/11       05:07P     18173436690      60:00    89711 308461        ••••••••• ••••••      310410276936201        phone          _ MOBILB_ DATA_   [52709/03672 : -97.08444:3 2.92 639: 180]
996    02/20/11       06:07P     181734 36 690    60:00      271   1136        •••••••••••••••       310410276936 2 01      phone          _ MOBILE_DATA_    [52 709/03672:-97.08444 : 32.92639:180]




                                                                                       AT&T Proprie tary
        NKK                                                                                                                                                                                       Page 54
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                                    Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 21 of 99 PageID 3742
 976503                                                          MOBILITY USAGE
 08/17/2011
SCAMP                                                         (with cell location)


 Run Date:             08 / 17/2011
 Run Time:             00:36 : 05
 Data Osage Por:       (8 17 )3 43 -66 90
 Account Number:       318912244
Item         Conn.      Conn .      Originating    Elapsed    Bytes     Bytes           IMBI                 IMSI               Access     Description Cell Location
             Date       Time           Number       Time       Op        Dn                                                      Pt
997      02/20/11      06:09P 18173436690            0:35     173593     4038    ................     310410276936201       wap.cingula _ MOBILE_ DATA_ [52709 / 60428: -97.099 1 7 : 32.95581: 128 )
                                                                                                                            r
998      02/20 /ll     06:10P 18173436690            2:10      11014 469778      ••••••••• •• ••••    310410276936201       wap.cingu la _ MOBI LE_ DATA_ [52709/60422: - 97.09917:32.95581:128)
                                                                                                                            r
999      02/20/11      07 : 07 P 18173436 6 90      60:00        10 2       98   •••••••••••••••      310410276936201       phone              _ MOBILE_ DATA_ [52709/60422 :- 97 .09917 : 32.95581:128)
1000     02/20/11      0 8:07P 18173436690          60 :00       161      737    •••• •••••••• •• •   310410276936201       phone              _ MOBILE_ DATA_ [52709 / 60422: -97.099 17:3 2.95 581: 128)
1 0 01   02/20/1 1     08:30 P 18173436690           1 :00      5822    30920    •••••••••••••••      310410276936201       a cds. v o i cem   _MOBILE_ DATA_ [52709 / 20328:-97.15139 : 32.97094:128)
                                                                                                                            ail
1002     02/20/11      09: 07P 1817343669 0         60:00       106    393                            310410276936201       phone              _ MOBILE_ DATA_ [52709 / 20328 : -97.15139:32.97094:128)
1003     02/20/11      09:52P 18173436690            0 :4 9    2972 126923                            310410276936201       wap .cin gula      _ MOBILE_ DATA_ [52709 / 60422: - 97 . 09917:32.95581 : 128)
                                                                                                                            r
1 004    02/20/11      10:07P      18173436690      60:00        162      393    •••••••••••••••      310410276936 2 0 1    phone              _ MOBILE_DATA_     [52709 / 60422:-97.09917:32.95581:128)
1005     02/20/11      11:07P      18173436690      60:00        102        98   •••••••••••••••      310410276936 2 01     phone              _ MOBILE_ DATA_    [52709 / 60422 :- 97 . 099 17:32 .95581: 128)
1006     02/ 21/ 11    12: 0 7A    18173436690      60:00         51        49   •••••••••••••••      310410276936201       phone              _ MOBILE_ DATA_    [52709 / 6042 2:-97.09917:32.95581 :12 8)
1007     02/21/11      01:07A      18173436690      60:00         51        49   •••••••••••••••      310410276936201       phone              _ MOBILE_ DATA_    [5 2 709/60422 :-97 .09917:32.95581:12 8)
1008     02/21/11      02:07A      18173436690      60 : 00       51        49   •••••••••••••••      310410276 936201      phon e             _ MOBILE_ DATA_    [52709 / 60422 :- 97.09917:32.95581:128)
1009     02/2 1 / 11   03:07A      18173 43669 0    60:00         51        49   •••••••••••••••      310410276936201       phon e             _ MOBILE_ DATA_    [52709 / 60422:-97.09917 : 32.95581: 128)
1010     02/21/11      04:07A      18173436690      60:00         51        49   •••••• •••••••••     310410276936 2 01     phone              _ MOBILE_ DATA_    [52709 / 60422 : -97.09917:32.95581: 1 28)
lOll     02/2 1 /11    05:07A      18173436690      60:00         51        49   ••••• ••••••••••     310410276936201       phone              _ MOBILE_ DATA_    [52709 / 60422:-97.09917:32.95581:128)
1012     02/21/ 11     06:07A      1817343669 0     60:00         51        49   ••••••• ••••••••     3104102 76936 2 0 1   phone              _ MOBILE_DATA_     [52709 / 6 0 422 :-97.09917 : 3 2. 95581: 1 28)
1013     02/21/11      07 : 07A    18173436690      58:08 358630 476142          ••••••••••••• ••     310410276936201       phone              _ MOBILE DATA_     [52709 / 60422 : -97.09917:32.95581:128)
                                                                         0
10 14    02/21/ 11     08:05A 1817343 6690           0 : 45   47004 507363       •••••••••••••••      310410276936 2 01     phone              _ MOBILB_ DATA_ [52709 / 60422 :- 97.09917:32 . 95581:128)
                                                                         6
1 015    02/21/11      08:06A 1 8173436690           0:42     40613 507988       •••••••••••••••      310410276936201       phon e             _ MOBILE_ DATA_ [5 2 709 / 60422 :- 97.09917:32.95581: 1 28)
                                                                         1
1016     02/2 1 /11    08:06A      18173436690      60:00     2547 14336 9                            310410276936201       phon e             _ MOBILE_ DATA_    [ 52709/6 0422: -97 .09917:32.95581 :128)
1017     02 / 21/ 11   09:06A      18 173436690     60:00      102     98        ...••...••.....      3104 1 0 276936201    phone              _MOBILE_ DATA_     [52709 / 60422: - 97.099 1 7:32.95581 : 128)
1018     02 / 21/11    10:06A      18173 436690     60:00      102     49        ...•..•.•••....      310410276936201       phone              _ MOBILE_DATA_     [52709 / 60422 :- 97 .09917:32 . 95 5 81:128)
1019     02/21/11      1 1: 06A    18173436690      60:00       51     49        ***************      3104102 7 6936201     phone              _ MOBI LB_ DATA_   [52709 / 60422:-97 .09917:32.95581: 128)
1020     02/21/11      12:06P      18173436690      45:4 5      51     49        ••••• ••••• •••••    310410276936 201      phone              _ MOBILB_DATA_     [52709 / 60422:-97 .09917:32.95581:128)
1021     02/21/11      l2:52P      18173 43 6690     0:33        0       0       •••••••••••••••      3104102 7 6936201     phone              _ MOBILE_ DATA_    [52903 / 60087:-97.09742:32.89986:0)
1022     02/21/11      12:53P      18173436690      60:00      102     98        •••••••••••••••      31041027 69 36201     phone              _ MOBILB_DATA_     [52709/24332:-97.09953:32.93497:128)
102 3    02/21/11      Ol : 53 P   1 8173436690     60:00       51     49                             310410276936201       phone              _ MOBILB_DATA_     [52709 / 24332: -97 .09953 :32.93497 :128)
1024     02/21/11      02:53P      18173436690      60:00       51     49        .....•.........      31041027 69 3 6201    phone              _ MOBILE_DATA_     [52 709/24332: - 97.09953:32.93 4 97: 128)
1 025    02/2 1 / 11   03 : 53 P   18173436 6 90    52 : 04  24972 397988        •..............      310410276936201       phone              _ MOBILE_ DATA_    [52709 / 2433 2:-97.0995 3:32 .93497: 12 8 )
1026     02/21/11      04:45P      18173436690      60 : 00 111978 354317                             310410276936201       phone              _ MOBILE_DATA_     [52709 / 24331 :- 97 . 09953:32.93497:8)
1027     02/21/11      05:07 P     181734366 90      3 : 03   6252 306558        •••••••••••••••      310410276936201       wap .cingula       _MOBILB_ DATA_     [52709 / 2023 1 :-97.12608:32.93822 : 8)
                                                                                                                            r
1028     02/21/11      05:45P 18173436690           6 0: 00       51       49    •••••••••••••••      310410276936201       phone              _ MOBILB_ DATA_ [52709 / 20231: - 97. 1 2608:32.93822:8)



                                                                                         AT&T Proprietary
         NKK                                                                                                                                                                                           Page 55
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                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 22 of 99 PageID 3743
                                                                                                                                                                                  ~~ at&t
976503
0 8 /17/20 11
                                                              MOBILITY USAGE
SCAMP                                                      (with cell location)


 Run Date:             08/17/2011
 Run Time:             00:36:05
 Data Ooago For:       (817)343-6690
 Account Number:       318912244
Item       Conn.        Conn.   Originating    Elapsed    Bytes       Bytes               IMBI                   IMSI             Access     Description      Cell Location
           Date         Time      Number        Time       Up          Dn                                                            Pt
1029    02/21/11       06:45P 18173436690       60:00        102          98      •••••• • ••••••••       310410276936201      phone        _ MOBILB_DATA_ [52709 /2 0231:-97.12608:32 . 93822:8]
1030    02/21/11       07:45P 18173436690       60:00   71333 360578              •••••••••••••••         310410276936201      phone        _ MOBILB_DATA_ [52709/20231:-97.12608:32.93822:8]
1031    02/21/11       08:45P 18173436690       60: 00 281944 10 1 439            •••••••••••••••         3104 1 027693620 1   phone        _ MOBILB_DATA_ [52709/20231:-97.12608:32.93822:8]
                                                                           9
1032    02/21/11       09:45P   18 173436690    38:58       6073       15940      •••••••••••••••         310410276936201      phone        _ MOBILE_ DATA_   [52709/20231:-97.12608 : 32 . 93822:8]
1033    02/21/11       10:24P   18173436690      0 : 04        0           0      •••••••••••••••         310410276936201      phone        _ MOBILE_DATA_    [52903/23587:-97.09742:32.89986:]
1034    02/21/11       10:24P   18173436690      0:03             0           0   •••••••••••••••         310410276936201      phone        _ MOBILE_DATA_    [52709 /2 7609:-97 . 08444:32 . 92639 :]
1035    02/21/11       10:24P   18173436690      6:04             0           0   ••••••••••••• ••        310410276936201      phone        _ MOBILB_DATA_    [52903 / 23587:-97.09742:32.89986:]
1036    02 / 21/11     10:30P   18173436690     60:00        923        1130      •••••••• • ••••••       310410276936201      phone        _ MOBILE_ DATA_   [52707 / 14741:-97.13406:32.837 47: 8]
1037    02/21/ 11      11:30P   18173436690     60:00        546        1737      •••••••••••••• •        310410276936201      phone        _ MOBILE_DATA_    [52707/14741:-97.13406:32.83747:8]
1038    02 / 22/11     12:30A   18173436690     60:00        497   1425           ***************         310410276936201      phone        _ MOBILE_DATA_    [52707/14741:-97.13406:32.83747:8]
1039    02/22/11       01:30A   18173436690     60:00      87247 292724           •••••••••••• • • •      310410276936201      phone        _ MOBILE_DATA_    [52707/14741:-97.13406:32 . 83747:8]
1040    02/22/11       02:30A   18173436690      0:35          0      0           •••••••••••••••         310410276936201      phone        _ MOBILE_DATA_    [52706/26951:-97.25503:32.83767:60]
1041    02/22/11       02:31A   18173436690      0:04      0      0               ......•........         310410276936201      phone        _ MOBILE_ DATA_   [52709/14703:-97.25778:32.90947:248]
1042    02/22/11       02:31A   18173436690      5:23      0      0                                       31041027693620 1     phone        _ MOBILB_ DATA_   [52706/ 1 4472:-97.30836:32 . 89667:128]
1043    02/22/11       02:36A   18173436690     32:09 426006 469514               ...............         31041027693620 1     phone        _ MOBILE_ DATA_   [52709/ 20052: - 97.28481:32.94214:128]
                                                                           4
1044    02 /22/ 11     02:54A 18173436690        4:01      12953      469655      •••••••••••••••         310410276936201      acds.voicem _ MOBILE_DATA_ [52709/ 60422:-97.09917:32.95581:128]
                                                                                                                               ail
1045    02 /2 2 / 11   03:09A 18173436690        0:45      4 3712507767           •••••••••••••••         310410276936201      phone       _ MOBILE_ DATA_ [52709/60422:-97.09917 :32 . 95581:128]
                                                                      1
1046    02/22/11       03:09A 18173436690        0:22      39352 508167           •••••••••••••••         310410276936201      phone        _ MOBILE_ DATA_ [52709/604 22:-97.09917:32 . 95581:128]
                                                                      3
1047    02/22 / 11     03:10A 18173436690        1:00      51224 506950           •••••••••••••••         310410276936201      phone        _ MOBILE_ DATA_ [52709/60422:-97.09917:32 . 95581:128]
                                                                      4
1048    02/22/11       03:11A 18173436690        0:40      40246 508045           • •• • •••••• • ••••    310410276936201      phone        _ MOBILE_DATA_ [52709/60422:-97.09917:32.9 55 81:128 ]
                                                                      5
1049    02 / 22 / 11   03 : 11A 18173436690      0:42      55954 506476           •••••••••• • ••••       310410276936201      phone        _ MOBILB_ DATA_ (52709/60422 : -97.09917:32.95581:128]
                                                                      6
1050    02/22/11       03:12A 18173436690        1:26      92461 502804           •••••••••••••••         310410276936201      phone        _ MOBILB_ DATA_ [52709/60422:-97.09917:32.95581:128]
                                                                      2
1051    02/22/11       03:14A 18173436690        0:50      57039 506413           • ••••••••••••••        310410276936201      phone        _ MOBILE_DATA_ [52709/60422 : -97 . 09917:32.95581:128 ]
                                                                      0
1052    02/22/11       03:14A 18173436690        2:16  89404 503086               •••••••••••••••         310410276936201      phone        _ MOBILE_ DATA_ [52709/60422 :- 97 . 09917:32 . 95581:128]
                                                                  5
1053    02/22/11       03:15A 18 17 3436690      4:00 217665   4678               •••••••••••••••         310 410276936201     wap . cingu1a _ MOBILB_ DATA_ (52709/23562:-97.09917:32.95581:128 ]
                                                                                                                               r
1054    02/22/11       03 : 17A 18173436690      1:37     112341      500903      ** * ******* *** **     310410276936201      phone        _ MOBILE_ DATA_ [52709 / 23562:-97.09917:32.95581:128 ]
                                                                           8
1055    02/22/11       03:18A 18173436690        0:38      56262 506424           • • •••••••• • • • ••   310410276936201      phone        _ MOBILE_ DATA_ [52709/23562:-97.09917:32 . 95581:128]
                                                                      0



                                                                                            AT&T Propriet ary
        NKK
                                 The info r mation contained here is for use by authori z ed p e rson only a nd is                                                                            Page 56
                                                          not for general dis t ribution .
                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 23 of 99 PageID 3744
9765 0 3
08/17/2011
SCAMP
                                                              MOBILITY USAGE
                                                           (with cell location )                                                                                                                at&t

 Run Date :            08/17/2011
 Run Time:             00:36:05
 Data Usage Por:       (817)343-6690
 Account Number:       318912244
Item         Conn.     Conn .      Originating   B1apsed    Bytes       Bytes              IMEI                 IMSI              Access      Description     Coll Location
          Date          Time      Number          Time       Up          Dn                                                           Pt
1056    02/22/ll       03:19A 18173436690          0:49     59859       506049      •••••••••••••••       310410276936201     phone         _ MOBILB_ DATA_ [52709 /23 562:-97.09917:32 . 95581:128]
                                                                             8
1057    02/22/ll       03:20A 18173436690          0:57     48671 507224            •••••••••••••••       310410276936201     phone         _ MOBILB_ DATA_ [52 709/23562 : -97.09917:32.95581:128]
                                                                             9
1058    02/22/11       03:21A 1 8173436690         0:57     54852       506558      •••••••••••••••       310410276936201     phone         _ MOBI LB_DATA_ [52709/23562:-97.09917:32.9558 1 :128]
                                                                             6
1059    02/22/11       03:22A 18173436690         60:00     35556 265695            ••••••••• • •••••     310410276936201     phone         _ MOBILB_ DATA_ [52709/23562:-97.09917:32.95581:128]
                                                                             0
1 060   02/22/11       04:22A   18173436690       60:00        51           49      •••••••••••••••       3104102769362 01    phone         _ MOBILB_ DATA_   (52709/23562:-97.09917:32.95581:128]
1061    02/22 / ll     05:22A   18173436690       60:00      6087        15283      •••••••••••••••       310410276936201     phone         _ MOBILB_DATA_    [52709 /23562 : - 97.09917: 32.95581:128]
1062    02/22/ll       06:22A   18173436690       60:00         51          49      •••••••••••••••       310410276936201     phone         _ MOBILB_ DATA_   [52709 /2 3562:-97.09917:32.95581:128 ]
1063    02/22 / ll     07:22A   18173436690       48:55 168333 495304               •••••••••••••••       310410276936201     phone         _ MOBILB_DATA_    [ 52709 / 23562:-97 . 09917:32 . 95581:128]
                                                                                2
1064    02 /22/ll      08 : 11A 18173436690        1:27     66888 505400            ***************       310410276936201     phone         _ MOBILE_ DATA_ [52709 /235 62:-97.09917:32 . 95581:128]
                                                                        0
1065    02/22/11       08:12A 18173436690          2:54     90708 503020            •••••••••••••••       31041027693620 1    phone         _ MOBILB_ DATA_ [ 52709 / 23562 : -97.09917:32.95581:128 ]
                                                                        0
1066    02/22 /11      08:15A 18173436690         60:00     28975 1 09359           •••••••••••••••       310410276936201     phone         _ MOBILB_ DATA_ [52709/23562:-97 . 09917:32.95581:128]
                                                                                4
1067    02/22 /11      09:15A   18173436690       60:00     11564       29659       ••••••••••• • •••     310410276936201     phone         _ MOBILB_ DATA_   [52709/23562:-97.09917 :32.9 5581:128]
1068    02/2 2/11      10:15A   18173436690       60:00        51          49       •••••••••••••••       310410276936201     phone         _ MOBILB_ DATA_   [52709/23562:-97.09917:32.95581:128]
1069    02 / 22 / 11   11:15A   18173436690       60:00       102          98       •••••••••••••••       310410276936201     phone         _MOBILB_ DATA_    [52709/23562:-97 . 09917:32 . 95581:128]
1070    02/22 / ll     12:15P   18173436690       60:00      6787       28265       •••••••••••••••       310 4 10276936201   phone         _MOBILB_ DATA_    [52709/23562:-97 . 09917 : 32 . 95581:128]
1071    02/22/ll       01:15P   18173436690       60:00     68 5 53     151372      ***************       310410276936201     phone         _ MOBILE_ DATA_   [52709 /2 3562:-97 . 09917:32.95581:128]
1072    02/22/ll       02:15P   18173436690        1:18             0           0   ••••• ••••••• •••     310410276936201     phone         _ MOBILB_ DATA_   [52709 /23 562: · 97.09917:32.9558 1 :128]
1073    02/22/11       02:16P   181734 3 6690      0:11             0           0   •••• • ••••••••••     3104102769 3 6201   phone         _ MOBILB_DATA_    [52903/23587 : -97.09742:32.89986:]
1074    02/22/ll       02:16P   18173436690       60:00     25403       66569       ******* **** * ***    310410276936201     phone         _ MOBILE_ DATA_   [52709 /6 0521 : -97.114 89 :32.91 886:0]
1075    02/22/ll       03:16P   18173436690       60:00        51          49       •••••••••••••••       310410276936201     phone         _ MOBILE_ DATA_   [52709 / 60521:-97.11489 :32.91886:0]
1076    02/22/ll       04:16P   18173436690       10:18     90513 464787            ***************       310410276936201     phone         _ MOBILB_ DATA_   [52709 /6 0521:-97.11489:32.91886:0]
1077    02/22/11       04:27P   18173436690        8:48     43786 107796            *********** * ***     310410276936201     phone         _MOBILB_DATA_     [52903 /60087:-97.09742:32 . 89986:0]
1078    02/22/ll       04:35P   18173436690       60:00     32593 401366            •••••• •••••••••      310410276936201     phone         _ MOBILB_ DATA_   [52707/42181:-97.13406:32.83747:8]
1079    02/22/11       05:16P   18173436690        1:34      1372        2524       ***************       310410276936201     wap.cingula   _ MOBILB_DATA_    [ 52707/40649:·97.16078:32.85086:248]
                                                                                                                              r
1080    02/22/ll       05:35P 18173436690         60:00      2551   7909            ...............       310410276936201     phone       _ MOBILE_ DATA_ [52707/40649: - 97 . 16078:32.85086:248]
1081    02/22/1 1      06:35P 18173436690         60:00      2529   9666                                  31041 027693620 1   phone       _MOBILE_DATA_ [ 52707/40649:·97.16078:32.85086:248 ]
1082    02/22/1 1      07:18P 18173436690          1 : 38    6110 186601            ****** *** ** * ***   31041027693620 1    wap.cingu1a _ MOBILE_ DATA_ [52707/23533:-97.16078:32.85086:248 ]
                                                                                                                              r
1083    02/22/ll       07:35P 18173436690         38:12      2807       10209       **************'*      310410276936201     phone         _ MOBILE_DATA_ ( 52707/23533:-97.16078:32.85086:248]
1084    02/22/ll       08:15P 18173436690         17:13      1302        4048       •••••••••••••••       310410276936201     phone         _ MOBILE_ DATA_ [52707/40649:-97.16078:32.85086:248]
1085    02/22/ll       08:33P 18173436690         60:00       157         344       •••••••••••••••       310410276936201     phone         _ MOBILB_ DATA_ [52707/40643:-97.16078:32.85086:248]



                                                                                             AT&T Prop rie tary
         NKK
                                 The i n f orma tion con taine d h ere i s for us e by authoriz ed person o nly a nd is                                                                         Page 57
                                                             not f o r genera l distributi on .
                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 24 of 99 PageID 3745
976503
                                                               MOBILITY USAGE
08/ 1 7/20 11
SCAMP                                                       (with cell location)                                                                                                            at&t

 Run Date:            08/17/2011
 Run Time:            00:36:05
 Data Usage For :      (817)343-6690
 Account Number:      318912244
Item      Conn.        Conn.    Originating      B1apood    Bytes    Bytes              IMBI                 IMSI             Access     Description     Cell Location
             Date       Time      Number          Timo       Up       Do                                                         Pt
1086    02/22/11      09:33P 18173436690          60:00       1203      889      •••••• ••• ••••••    31 0410276936201     phone       _ MOBILE_ DATA_   [52707 / 40643:-97.16078:32.85086:248 )
1087    02/22/11      10:33P 18173436690          60:00         51       49      ••••••••• •• ••••    310410276936201      phone       _ MOBILB_DATA_    [52707/406 43:- 97.16078:32.85086:248)
1088    02/22/11      11:33P 18173436690          31:35 1283 4 7 291014          ••••• ••••••••••     310410276936201      phone       _ MOBILE_ DATA_   [52707/40643:-97.16078:32.85086:248)
1089    02/23/1 1     12:05A 1 8173436690          7:11       7498    11845      ***************      310410276936201      phone       _ MOBILE_ DATA_   [52903/40283:-97.10911:32.842:240 )
1090    02/23/11      12:12A 18173436690          21 :0 2   547852   457351      • ••••• •••••••••    310410276936201      phone       _ MOBILE_ DATA_   [ 52709/03673:-97.08444:32.92639:300 )
                                                                          1
1091    02/23/11      1 2 :33A 18173436690         0:23      31616 508900        •••••••••• •••••     3104 1 027693620 1   phone       _ MOBILE_ DATA_ [52709/ 03673 :- 97.08444:32.9 26 39:300)
                                                                             0
109 2   02/23/11      12:33A 18173436690           0:48      55480 506567        ••••••••••• • •• •   310410276936201      phone       _ MOBILE_ DATA_ [52709/ 03673:-97.08444:32.92639: 3 00)
                                                                          1
1093    02/23/11      12:34A 18173436690           2:33      45789   507463      •••••••••••••••      310410276936201      phone       _ MOBILE_ DATA_ [52709 / 03673 : -97.08444:32.92639:300 )
                                                                          3
1094    02/23/11      12:36A 18173436690           0:26      37179   508285      •••••••••••••••      310410276936201      phone       _ MOBILE_ DATA_ [52709 / 03673 : -97 . 08444:32.92639:300 )
                                                                          4
1095    02/23/11      12:37A 18173436690           0:51      59816   506158      •••••••••••••••      31 041027693620 1    phone       _ MOBILE_ DATA_ [52709 / 03673:-97.08444:32.92639:300)
                                                                          1
1096    02/23/11      12:38A     18173436690      60:00       8128 679012        •••••••••••••••      310410276936201      phone       _ MOBILE_ DATA_   [52709/03673:-97.08444 : 32.92639:300)
1097    02/23/11      01 :38A    18173436690      60 : 00    12510 528392        •••••• •• •••• •••   310410276936201      phone       _ MOBILE_ DATA_   [52709/03673:-97.08444:32.92639:300)
1098    02/ 23 / 11   02:38A     18173436690      60:00         51     49        •••••••••••••••      310410276936201      phon e      _ MOBILE_ DATA_   [52709/03673 :- 97.08444 : 32 . 92639:300)
1099    02/23/11      03 :3 8A   18173436690      60 :0 0      102     49        ••••• • ••• ••••••   310410276936201      phon e      _ MOBILE_ DATA_   [52709 / 03673: - 97.08444:32.92639:300)
1100    02/23/11      04:38A     18173436690      60:00       7219  23090        •••••••••••••••      310410276936201      phone       _ MOBILE_ DATA_   [52709 / 03673: - 97.08444:32.92639:300)
1101    02/23/11      05:38A     18173436690      60:00      11360  54610        ••••••••••••• ••     310410276936201      phone       _ MOBILE_ DATA_   [52709 / 03673: - 97.08444:32 . 92639:300)
1102    02/23/11      06:38A     18173436690      60:00        543    356        •••••••••••••••      310410276936201      phone       _ MOBILB_ DATA_   [52709 / 03673: - 97.08444:32.92639:300)
1103    02/23/11      07 : 38A   18173436690      60:00     276802 174195        •••••• • ••••••••    310410276936201      phone       _ MOBILE_ DATA_   [52709 / 03673:-97.08444 : 32 . 92639:300)
                                                                        6
1104    02/23/11      08:38A 1817 343669 0        60:00 351584 132644            ••••• ••• ••• ••••   310410276936201      phone       _ MOBILE_ DATA_ [52709/03673: - 97.08444:32.92639: 3 00)
                                                                             4
1105    02/23 /11     09:38A     1 817 3436690    60:00  18147 45709             •••••••••••••••      310410276936201      phone       _ MOBILE_ DATA_   [52709 / 03673: - 97 . 08444:32.92639:300 )
1106    02/23/11      10:38A     18173436690      60:00   1115    143 2          •••••••••••••••      310410276936201      phone       _ MOBILE_ DATA_   [52709 / 03673:-97 . 08444 : 32.92639 : 300 )
1107    02 / 23 /11   11:38A     18173436690      60:00 175682 544162            ••••••••••• ••••     310410276936201      phone       _ MOBILE_ DATA_   [52709 / 03673:-97.08444:32.92639 : 300)
1108    02/23/11      12:38P     18173436690       9:01 209523 4 911 21          •••••• ••••• ••••    310410276936201      phone       _ MOBILE_ DATA_   [ 52709/03673:-97.08444:32.92639:300)
                                                                          6
1109    02/23/11      12:47P 18173436690           1:06      89543   503170      •• ••••• •••• ••••   310410276936201      phone       _ MOBILE_ DATA_ [ 52709/ 03673:-97.08444:32.92639:300)
                                                                          6
1110    02/23/11      12:48P 18173436690           1:12 122340 499878            ******* ** *** ***   310410276936201      phone       _ MOBILE_DATA_ [52709/ 03673: - 97 . 08444:32.92639:300 )
                                                                    4
1111    02/23/11      12 :4 9P 181734 36690        1:22     113503   500738      ***************      310410276936201      phone       _ MOBILE_ DATA_ [52709/ 03673:-97.08444:32.92639:300)
                                                                          1
1112    02/23/11      12:50P 18173436690          21:56 103019 501816            •••••••••••••••      310410276936201      phone       _ MOBILE_ DATA_ [52 7 09 / 03673 : -97.08444:32.92639:300)
                                                                          7




                                                                                         AT&T Proprietary
        NKK                                                                                                                                                                                 Page 58
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                                                         not for general distribution.
                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 25 of 99 PageID 3746                                                                      -...,.,
 97650 3                                                                                                                                                                                          '
                                                                MOBILITY USAGE
 0 8/ 1 7/ 2011
SCAMP                                                       {wi th c e ll location)                                                                                                e:? at&t

 Run Date:            08/17/2011
 Run Time:            00:36:05
 Data Usage Por:       (817)343-6690
 Account Number:      318912244
Item      Conn .       Conn.     Originating    Elapsed    Bytes    Bytes               IMEI                    IMSI               Access     Description     Cel l Location
          Dato          Time        Nwnber       Time       Up       Dn                                                               Pt
1113    02/23/11      0 1 :12P 18173436690        0:25     35864    508498      • • •• • • •••• • ••••   31041027693620 1      pho ne       _ MOBILE_ DATA_ [52709 /0 3673:-97.09444:32.92639:300)
                                                                         2
1114    02/23/11      01:13P 18173436690          3:04 101074 501966            ••••••••••• • • • •      310410276936201       phone        _ MOBILE_ DATA_ [52709 /0 3673:-97 .09444 :32.92639:300)
                                                                            9
1115    02/23 / 11    01:16P 1 9173436690         0:30     35140 509495         • ••••••••••••••         310410276936201       phone        _MOBILE_ DATA_ [52709/03673:-97 .09444:3 2.92639:300)
                                                                            6
1116    02 /2 3 /11   01:16P 18173436690          0:41     52663    506 741     • • • • •• •••••••••     310410276936201       phone        _ MOBILE_ DATA_ [52709 / 03673:-97.09444 : 32.92639:300)
                                                                         1
1117    02 / 23 /11   01:17P 18173436690          0 : 16   28704    509198      •••••••••••••••          310410276936201       phone        _ MOBILB_ DATA_ [52709/ 036 73 : -97.09444:32.926 39:3 00)
                                                                         9
1118    0 2/23/11     01: 17P 1 8173436690        0 :24    4 0293
                                                              507975            •••••••••••••••          310410276936201       phone        _ MOBILE_ DATA_ [52709/03673: - 97.09444:32.92639:300 )
                                                                   3
1119    02/23 /11     01:18P 18173436690         12:40 217620 490269            ••• • •• • ••••••••      310410276936201       phone        _ MOBILE_ DATA_ [52709/03673:-97.09444:32 . 92639 : 300)
                                                                            4
1120    02 / 23/11    01:30P 19173436690          1:27 125587 499579            •••••••••••••••          310410276936201       phone        _MOBILB_ DATA_ [52709 / 03673: - 97.09444:32.92639:300)
                                                                   6
1121    02/23 / 11    01:32P 19173436690          1:14  69964 505164                                     310410276936201       phone        _ MOBILB_ DATA_ [52709/03673:-97.09444:32.92639:300)
                                                                            7
1122    02/23/11      01:33P     19173436690     59 : 56   29961 413097                                  310410276936201       phone        _ MOBILE_DATA_    [52709 /03673 : - 97.09444:32.92639:300)
112 3   02/23/11      02:32P     19173436690      0:06         0      0                                  310410276936201       phone        _ MOBILB_ DATA_   [52903 /23 597:-97.09742:32.99996:)
1124    02/23/11      02 : 32P   19173436690     46:19        51     49         ••••••• •••• ••••        310410276936201       phone        _ MOBILE_ DATA_   [ 52709/27237:-97.11499:32.91996:)
1125    02/23/11      03:18P     1 8173436690     0:06         0            0   * * * ***** * ******     3104 1 0276936201     phone        _ MOBILB_DATA_    (52903/23597:-97.09742:32.99996:)
1126    02/23/11      03:19P     18173436690     14:10         0            0   ••••••••• • •••••        310410276936201       phone        _ MOBILB_ DATA_   [ 52709/24339:-97.09953:32.93497:)
1127    02/23/11      03:33P     18173436690      0:04         0            0   •••••••••••••••          310410276936201       phone        _ MOBILB_ DATA_   [52903 / 23587:-97.09742:32 . 99996:)
1129    02/23/11      03:33P     18173436690      0 : 09       0            0   •••••••••••••••          310410276936201       phone        _ MOBILE_ DATA_   [52709 /2 4339:-97.09953:32 . 93497:)
1129    02/23 / 11    03:33P     18173436690      0:03         0            0   •••••••••• • ••••        310410276936201       phone        _ MOBILB_ DATA_   [ 52903/23597:-97.09742:32 . 99996 : )
1130    02/23/11      03:33P     18173436690      5:32        51        49      •••••••••••••••          310410276936201       phone        _ MOBILE_ DATA_   [52709 /2 4339:-9 7. 09953:32.93497:)
1131    02/23/11      03:39P     18173436690      0:04         0         0      • •••• •• ••••••••       310 4 10276936201     p hone       _ MOBILB_ DATA_   [52903 /23 597:-97.09742:32.99996:]
1132    02/23/11      03:39P     18173436690      0:04         0         0      •••••••••••••••          310410276936201       phone        _ MOBILE_ DATA_   [52709 /2 4338:-97.09953:32.93497:)
1133    02/23/11      03 : 39P   18173436690      0:03         0            0   •••••••••••••••          31041027693620 1      phone        _ MOBILB_ DATA_   [52903/23597:-97.09742:32 . 99996:]
1134    02/23/11      03 : 39P   18173436690      0:04         0         0      • •••• • • •••• ••••     310410276936201       phon e       _ MOBILE_ DATA_   [52709/24339:-97 . 09953:32.93497:]
1135    02/23/11      03 : 39P   18173436690      0:03         0         0      •••••••••••••••          310410276936201       phone        _ MOBILE_ DATA_   [52903 / 23597:-97 . 09742:32.99996:]
1136    02/23/11      03 : 39P   18173436690     15:49         0         0      •••••••••••• • ••        310410276936201       phone        _ MOBILE_ DATA_   [52709/24339:-97.09953:32 . 93497:]
1137    02/23/11      03 : 55P   18173436690      0:10         0         0      •• •••••••••• • ••       310410276936201       phone        _ MOBILE_ DATA_   [52903 / 23597:-97 . 09742:32 . 99996:]
1139    02/23/11      03 : 55P   19173436690     29:16         0         0      •••••••••••••••          310410276936201       phone        _ MOBILB_ DATA_   [52709/62022:-97 . 09953:32 . 93497:120]
1139    02/23 / 11    04 : 24P   18173436690      0:09         0         0      ••• • •••• • ••••••      310 410 2769362 0 1   phone        _ MOBILB_ DATA_   [529 0 3 / 23597 :- 97.09742:32 . 99996:]
1140    02/23 / 11    04 : 24P   18173436690     41:40      6575    17167       •••••• • ••••••••        310410276936201       phone        _ MOBILB_ DATA_   [52709/27 237:-97 . 11499:32.91996:)
1141    02/23/11      05:06P     18173436690      0:12         0         0      •••••••••••••••          310410276936201       phone        _ MOBILB_ DATA_   [52903/23597:-97 .09 742:32 . 99996:)
1142    02/23/11      05:06P     19173436690     14:03        61         0      • ••••••••••••••         310410276936201       phone        _MOBILE_ DATA_    [52709 /27237:-97.11499:32 . 91896:)
1143    02/23 /1 1    05:20P     19173436690      0:41         0         0      • • ••••• • •• ••• ••    310410276936201       phone        _ MOBILE_ OATA_   [52008/ 62022:-97.09953:32.9 3 497:120]



                                                                                          AT&T Proprietary
        NKK                                                                                                                                                                                   Page 59
                                  The information contai ned h e r e is for use by authorized person o nly and is
                                                         not fo r general di s tri but ion .
                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 26 of 99 PageID 3747                                                                     -....,.,
976503
                                                                                                                                                                                 '1 ~ at&t
08 /17/2011
                                                              MOBILITY USAGE
SCAMP                                                      (with cell location)


 Run Date:           08/17/2011
 Run Time:           00:36:05
 Data Usage For:     (817)343-6690
 Account Number:     318912244
Item      Conn.       Conn.      Originating   Elapsed    Bytoo       Bytes              IMBI                   IMSI             Access     Description     Cell Location
          Date        Time      Number          Ti.me      Up          Dn                                                          Pt
1144    02/23/11     05:22P 18173436690          0:31             0           0   •••••••••••••••        310410276936201      phone       _ MOBILE_ DATA_ [52008/62022: - 97.09953:32.93497:120)
1145    02/23/ll     05:22P 18173436690          3:52       216        1032       •••••••••••••••        310410276936201      phone       _ MOBILE_ DATA_   [52008/62022:-97.09953:32.93497:120)
1146    02/23/11     05:26P 18173436690          2 : 45           0           0   •••••••••••••••        310410276936201      phone       _ MOBILB_ DATA_   [52001/60313:-97.07914:32.93881:)
1147    02/23/11     05:29P 18173436690          1:33             0           0   •••••••••••••••        3 10 4 10276936201   phone       _ MOBILE_ DATA_   [ 52008/60521:-97.11489:32.91886:0)
1148    02/23/ll     05:31P 18173436690          4:47             0           0   • ••••• •• • ••••••    310410276936201      phone       _ MOBILE_ OATA_   [5200 1/60313:-97.079 14: 32.93881:)
1149    02/23/11     05:35P 18173436690          4:59             0           0   •••••••••••••••        3 104102769 36201    phone       _ MOBILB_ DATA_   [5 2709/62028: -9 7.099 53:32. 93497:120)
1150    02/23/11     05:40P 18173436690          2:12      0      0               •••••••••••••••        310410276936201      phone       _ MOBILE DATA_    [52903/23587:-97.09742:32.89986:)
1151    02/23/11     05:43P 18173436690         60:00   6255  28638               •••••••••••••••        310410276936201      phone       _ MOBILE_ DATA_   [52709/60313:-97.07914 : 32.93881:240)
1152    02/23/11     06:43P 18173436690         40:27 381049 128102               •••••••••••••••        310410276936201      phone       _ MOBILE_ DATA_   [52709/60313:-97.07914 : 32.93881:240)
                                                                  3
1153    02/23/ll     0 7:23P 18173436690         0:05      0      0               •••••••••••••••        310410276936201      phone       _ MOBILE_ DATA_   [ 52903/23587: -97.09 742:32.89986:)
1154    02/23/ll     07:23P 18173436690         60:00     51     49               •••••••••••••••        310410276936201      phone       _ MOBILE_ DATA_   [ 52709/24338:-97 . 0995 3:32.93497:)
1155    02/23/ll     08 : 23P 18173436690       60:0 0    66961 261145            •••••••••••••••        310410276936201      phone       _ MOBILE_ DATA_   [ 52709/24338:-97.0995 3:32.93497 :)
1156    02/23/11     09 : 23P   18173436690     60:00        51     49            •••• •••••• •••••      310410276936201      phone       _ MOBILE_ DATA_   [5 2709/24338:-97.09953:32.93497:)
1157    02/23/11     10:23P     18173436690     60:00       51     49             •••••••••••••••        310410276936201      phone       _ MOBILB_ DATA_   [52709/24338:-97.09953:32.93497:)
1158    02/23/11     11:23P     18173436690     60:00       51     49             ••• •••• •••• •• ••    310410276936201      phone       _ MOBILE_ DATA_   [ 52709/24338 : -97.09953:32.93497:)
1159    02/24/11     12:2 3A    18173436690     60:00       51     49             •••••••••••••••        310410276936201      phone       _ MOBILB_DATA_    [ 52709/24338 : -97.09953:32.93497:)
1160    02/24/11     02 : 23A   18173436690     60:00       51     49             •••••••••••••••        3104102 7 6936201    phone       _ MOBILB_ DATA_   [ 52709/24338:-97.09953:32.93497:)
1161    02/24/11     03:23A     18173436690     6 0:00    6505  13168             •••• ••• ••• ••• • •   310410276936201      phone       _ MOBILB_ DATA_   [52709/24338:-97.09953:32.93497:)
1162    02/24/11     04:23A     18173436690     60:00     6528  15129             ••••• ••••••••••       310410276936201      phone       _ MOBILE_ DATA_   [52709/24338:-97.09953:32.93497:)
1163    02/24/ll     05:23A     18173436690     60 : 00     51     49             •••••••••••••••        310410276936201      phone       _ MOBILE_ DATA_   [52709/24338:-97.09953:32 . 9349 7 :)
1164    02/24/11     06:23A 18173436690         60:00       51     49             •••••••••••••••        310410276936201      phone       _ MOBILE_ DATA_   [52709/24338: - 97.09953:32.93497:)
1165    02 /24/11    07:23A 18173436690         46 : 14 242054 487861             •••••••••••••••        310410276936201      phone       _ MOBILE_ DATA_   [52709/24338:-97.09953:32.93497:)
                                                                    5
1166    02 /24/11    08:09A 18173436690           0: 19  33683 508664             •••••••••••••• •       310410 27693620 1    phone       _ MOBILB_ DATA_ [52709/24338:-97.09953:32.93497:)
                                                                    9
1167    02/24/11     08:10A 18173436690           0:35   49564 507106             •••••••••••••••        310410276936201      phone       _ MOBILB_ DATA_ [52709/24338: - 97.09953:32.93497:)
                                                                    9
1168    02/24/11     08:10A 18173436690           0:48   45869 507548             •••••••••••••••        310410276936201      phone       _ MOBILB_ DATA_ [52709/24338:-97.09953:32.93497:)
                                                                    3
1169    02/24/11     08:11A 1817343 6690         1:23    46535 507484             •••••••••••••••        310410276936201      phone       _ MOBILB_ DATA_ [ 52709/24338:-97.099 53:32 .93497:)
                                                                    0
1170    02 /24/ 11   08:12A 18173436690           0:27   33800 508760             •••••••••••••••        310410276936201      phone       _ MOBILE_ OATA_ [ 52709/24338:-97.09953:32.93497:)
                                                                    0
1171    02/24/11     08 :1 3A 18173436690         0:34   35790 261523             •••• ••••• ••••••      310410276936201      phone       _ MOBILE_ DATA_ [ 52709/24338:-97 . 09953:32 . 93497:)
                                                                    7
1172    02/24/ll     08 :21A    18173436690     50:00    23484 414214             ••••••••••••• • •      310410276936201      phone       _ MOBILE_ DATA_   [ 52709/23568 : -97.09917:32.95581:)
1173    0 2/24/ll    09:11A     18173436690       0:05       0      0             ••••••• •••••• ••      3104102769362 01     phone       _ MOBILE_DATA_    [ 52903/03673:-97.08444:32.92639 : 3 00)
1174    02/24/11     09: 11A    18173436690     60:00        51          49       •••••••••••••••        310410276936201      phone       _ MOBILB_ DATA_   [52 709/62022:-97.09953:32.93497:120 )
1175    02 /24/ 11   10:11A     181734366 90    60:00     13429       18472       ••• ••••••••••••       3104102769362 01     phone       _ MOBILB_ DATA_   [ 52709/62 022:- 97.099 53:32.93497 :120)



                                                                                           AT&T Proprietary
        NKK                                                                                                                                                                                  Page 60
                                 The information contai ned h ere is for use by a uthorized person o nly and i s
                                                         not f or general distribution .
                              Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 27 of 99 PageID 3748
976503                                                     MOBILITY USAGE
08/1 7/2011
SCAMP                                                   {with cell location)                                                                                         @% at&t

 Run Date:          08/17/2011
 Run Time:          00:36:05
 Data Usage For:    (817)343-6690
 Account Number:    318912244
Item      Conn.      Conn.   Originating   Elapsed Bytes   Bytes              IMEI                 IMSI             Access     Descr iption     Cell Location
          Date       Time      Number       Time     Up     Dn                                                         Pt
1176    02/24/11    ll:llA 18173436690       60:00   1881   6701       ...............       310410276936201     phone       _ MOBILE_DATA_     [52709/62022:-97.09953:32 . 93497 :12 0)
1177    02/24/11    12:11P 18173436690       60:00    476      49      ••.•.........••       310410276936201     phone       _MOBILE_DATA_      [52709/62022 : -97 . 09953 :32. 93497:120)
1178    02/24/11    Ol:llP 1817343669 0      60:00 117465 368484       ..•.•..........       3104 1 0276936201   phone       _ MOBILE_DATA_     [52709/62022:-97.09953:32.93497 :12 0)
1179    02/24/11    02:11P 18173436690       60:00      51     49      .•......•.•....       310410276936201     phone       _ MOBILE_DATA_     [52709/62022:-97.09953:32.93497:120)
1180    02/24/11    03:11P 18173436690       60:00 255362 114885       ••••....•......       310410276936201     phone       _ MOBILE_ DATA_    [ 52709/62022: -97 .09953:32.93497 : 120)
                                                                   4
1181    02/24/11    04:11P   18173436690    60:00 142502 457510        •.•.•..........       310410276936201     phone       _ MOB I LE_DATA_   [ 52709/62022: -97.09953:32.93497:120 )
1182    02 /24/11   05:11P   18173436690    59 :21 125862 281146       ***************       310410276936201     phone       _ MOBI LE_DATA_    [52709/62022 :- 97.09953 : 32.93497:120)
1183    02/24/11    06:10P   18173436690    41:52     157    393       •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_    [52709/24311: · 97.12608:32.93822:8)
1184    02/24/11    07:28P   18173436690    60:00    6911  33215       •••••••••••••••       310410276936201     phone       _MOBILE_ DATA_     [52709 /60423:-97.09917:32.95581:248)
1185    02/24/11    08:28P   18173436690    60:00      51     49       •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_    [52709 /60423: - 97.09917:32.95581:248)
1186    02/24/11    09:28P   18173436690    60:00   93842 239363       •••••••••••••••       310410276936201     phone       _MOBILE_DATA_      [52709/60423:-97.09917:32.95581:248)
1187    02/24/11    10:28P   18173436690    19:25   48835 167412       •••••••••••••••       310410276936201     phone       _ MOBILE_ DATA_    [52709/60423: - 97.09917:32.95581:248 )
1188    02/24/11    10:47P   18173436690     7:35       0      0       ***************       31041027 69362 01   phone       _ MOBILE_ DATA_    [52903 /03 673:-97.08444:32.92639:30 0 )
1189    02/24/11    10:55P   18173436690    60:00      2181     5882   •••••••••••••••       310410276936201     phone       _ MOBILE_DATA_     [52707/42181:-97.13406:32.83747:8)
1190    02/25/11    12:55A   18173436690    60:00       756     2769   •••••••••••• •••      310410276936201     phone       _ MOBILE_ DATA_    [52707/42181: · 97.13406:32.83747:8)
1191    02/25/11    01:55A   18173436690     7:38     27801  60248     ***************       310410276936201     phone       _ MOBILE_DATA_     [52707/42181:-97 . 13406:32 . 83747:8)
1192    02/25/11    02:03A   18173436690    60:00     63922 200809     ••••••••••••• ••      3104 10 276936201   phone       _ MOBILE_DATA_     [52903 / 14321: - 97.10911:32.842:8)
1193    02/25/11    03:03A   18173436690     6:02     85293 227638     •••••••••••••••       31041027693620 1    phone       _ MOBILE_DATA_     [52903/14321 :-9 7.10911:32.842:8)
1194    02/25/11    03:09A   18173436690     8:18 270402 485008        ***************       310410276936201     phone       _ MOBILE_ DATA_    [52709 / 24332: - 97.09953:32 . 93497:128)
                                                                   1
1195    02/25/11    03:17A 18173436690       0:43     48025 507235     •••••••••••• •• •     310410276936201     phone       _ MOBILE_DATA_ [52709/24332 :-97. 09953:32.93497 :128 )
                                                                   2
1196    02/25/11    03:18A 18173436690       1:06     65819 505531     ***************       310410276936201     phone       _ MOBILE_DATA_ [527 09/ 24332:-97.099 53:32 .93497:128)
                                                                   2
1197    02/25/11    03:19A 18173436690       1:55     55588   506545   ***************       31041027693620 1    phone       _ MOBILE_DATA_ [52709 / 24332 :- 97.09953:32.93497:128)
                                                                   6
1198    02/25/11    03:21A 18173436690       0:27     43753 507667     ***************       310410276936201     phone       _ MOBILE_ DATA_ [ 52709/24332:-97.09953:32.93497:128)
                                                                   2
1199    02/25/11    03:21A 18173436690       3:55 100950 502044        ***************       310410276936201     phone       _ MOBILB_DATA_ [52709/24332: -97. 09953:32.93497:128)
                                                                 4
1200    02/25/11    03:25A 18173436690       0 :3 0   42651 507832     •••••••••••••••       3104 10276936201    phone       _ MOBILE_DATA_ [52709/24332 :-97. 09953:32.93497: 128)
                                                                 8
1201    02/25/11    03:25A 18173436690       0:40     52706 506779     **** **'** ** *****   310410276936201     phone       _ MOBILE_DATA_ [52709/24332:-97.09953:32.93497: 12 8)
                                                                 6
1202   02/25/1 1    03:26A 181734 3 6690     0:14     28392 5 09180    •••••••••••••••       3104 1 0276936201   phone       _ MOBILE_ DATA_ [52709 /24332:-97.09953:32.9349 7 :128 )
                                                                   0
1203   02/25/11     03:26A 1817343669 0      0:21     32622 508770     •••• ••••• ••••••     3104102769362 01    phone       _ MOBILE_DATA_ [52709/ 24332: - 97.09953:32.93497:128)
                                                                   9
1204   02/25/11     03:27A 18173436690       0:32     43468 507764     ***************       310410276936201     phone       _ MOBILB_ DATA_ [52709/ 24332:-97.09953:32.93497 : 128)
                                                                   9



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        NKK
                              The information contained here is for use by authorized person only and is                                                                         Page 61
                                                     not for general dis t ribution.
                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 28 of 99 PageID 3749
                                                                                                                                                                                           ~ at&t
976503
08 / 17 /20 11
                                                                  MOBILITY USAGE
SCAMP                                                          (with cell location}


 Run Date:               08 /17/ 2011
 Run Ti me :             00:36:05
 Data Usage For:         (817)343-6690
 Accoun t Number :       318912244
Item         Conn.        Conn.     Origin ating    Elapsed    Bytes       Bytes              IMBI                 I MSI              Access       Description     Cell Location
             Date         Ti.mo       Number         Time       Up          Dn                                                           Pt
1205     02/2 5 / ll     03:27A 18173436690           0 :4 4   60040 506077            •••••••• •• •••••    310410276936201        phone         _ MOBILE_ DATA_ [527 09/24332: -97.09953 : 32.93497:128 )
                                                                            6
12 06    02/25/11        03:28A 18173436690           0 :15    28236 5 0 9190          •••••••••••••••      310410276 9362 01      phone         _ MOBILE_ DATA_ [52 7 09/243 32 : - 97.09953:32.93497:128)
                                                                            4
1207     02/2 5 /ll      03:28A 18173436690           0 :1 3   27768 509320            •••••••••••••••      310410276936201        p hone        _ MOBILE_ DATA_ [52709/24332:-97.09953:32.93497:128)
                                                                            0
1208     02/ 25 / ll     03:2 8A 18173436690          0:17     28964 5091 80           ••• ••••••• •• •••   310410276936201        pho n e       _ MOBILE_ DATA_ [52709/24332:-97.09953:32.93497 : 128 )
                                                                           0
1209     02/2 5 / 11     03:29A 18173436690           0:14     27820 509320            •••••••••••••••      31041027693620 1       phone         _ MOBILE_ DATA_ [ 52709/24332:-97.09953:32.93497:128)
                                                                                   0
1210     02/25/ ll       03:29A 1817 3436690          0:19     31580 508868            ••••••••••• •• ••    31041027693620 1       phone         _ MOBI LE_ DATA_ [52709/2433 2:- 97.09953:32.93497:12 8)
                                                                          1
1 211    0 2 / 25 / 11   03:29A 1817343 6690          0 : 46   48015 507199            •••••••••••••••      310410276936201        phone         _ MOBILE_DATA_ [52709/24332 : -97.09953:32.93497:128)
                                                                                   3
1212     02/25/11        03 :30A 18173436690          0 : 40   423 07 507899           •••••••••••••••      31 04 10276936201      phone         _ MOBILE_ DATA_ [5270 9/24 332:- 97.099 53:3 2. 93497 : 1 28)
                                                                          7
1213     02/25/ 11       03:31A 18173436690           0:14     27820 509320            •••••••••••••••      31 0410 27 69362 01    phone         _ MOBILE_ DATA_ [52709/24332:-97.09953:32. 93497:128)
                                                                          0
1214     02/25/1 1       03 :31A 18173436690          0 :14    27664 509320            •••••••••••••••      3104 1 02769362 01     phone         _ MOBILE_ DATA_ [ 52709 / 24332 : -97.09953:32.93497:128)
                                                                          0
1215     02 /2 5/ 11     03:31A 1817 3436690          1:1 8    55869 506503            •••••••••••••••      310 4 1 0276 936201    phone         _ MOBILE_ DATA_ [52709 /24 332 : -97.09953 : 32.93497:128)
                                                                          4
1 216    02/25/11        03 :3 2A 18173436690        60:00     47796 26 0696           •••••••••• • ••••    31 04 10276936201      p hone        _ MOBILE_ DATA_ [52709 / 24332:-97.09953:32.93497:128)
                                                                                0
1217     02 / 25/11      04:32A     18173436690      60:00      8985        16189      •••••••••••••••      3 10 4 1 027693620 1   phone         _ MOBILE_ DATA_   [52709/2 4332:-97 . 09953:32.93497:128)
1 218    02/25/ll        05 : 32A   18173436690      60:00        51           49      •••••••••••••••      3 104 10276936201      phone         _ MOBILE_DATA_    [52709/ 24332:-97.09953 :32.93497: 1 28)
1219     02/25/ ll       06:32A     18173 436690     60:00         51          49      •••••••••••••••      310410276936201        phone         _ MOBILE_ OATA_   [5 2 709/243 32:- 97 . 0995 3 : 32 . 93497:128)
1220     02 /2 5/ll      07:32A     1817343 6690     60:00     97349 320266            ***************      310410276936201        phone         _ MOBILE_ DATA_   [52709 / 24 3 32:-97 . 09953 :3 2.93497: 128)
1221     02/25/ ll       08:32A     1817343669 0     60:00       325     98            •••••••••••••••      310410276936201        phone         _ MOBILE_ DATA_   [52709/24332:-97.09953 : 32.93497:128)
1 222    02/25/ ll       09:32A     18173436690      6 0:00    13487  32514            •••••••••••• •••     310410276936201        pho n e       _ MOBILE_ DATA_   [52709/24332:- 97 .09953 :3 2 . 93497:128)
1 22 3   02/25/ll        10:32A     1 817343 6690    60:00        51     49            ••••••••••••• • •    310410276936201        p hone        _ MOBILE_ DATA_   [52709/24332:-97.09953:32.93497:128)
1 224    02/25/ll        11 : 32A   1817343 6690     l4 : 38       0      0            •••••••••••• •••     310410276936201        phone         _ MOBILE_ DATA_   [52709/24332:-97.09953:32 . 93497:128)
1225     02/25/11        11:47A     181734 36690       0:05        0      0            ...............      310410276936201        phone         _ MOBILE_ DATA_   [529 0 3 / 23587:-97. 097 42:32.89986 : )
1226     02 / 25/ ll     11 : 47A   1817343669 0     60:00       102     98            ...............      310410276936201        phone         _ MOBILE_ DATA_   [52709/24338 :- 97.09953:32 . 93497 : )
1227     02/25/11        12 :4 7P   18173 436690     60:00     64943 221673            ...............      310410276936201        pho ne        _ MOBILE_ DATA_   [527 09/24 338:-97. 099 53 : 32 .9 3497 :)
12 28    02/25/ll        01:47P     18173436690      25:26        51     49            ...............      3 10410276936201       phone         _ MOBILE_ DATA_   [5270 9/2 4338 :-9 7 .09953:32 .93 497 :)
1 229    02/2 5/ 11      02:13P     181734 36690       0:04            0           0                        310410276936201        p hone        _ MOBILE_ DATA_   [52903/03673:-97.08444:32.92639:300)
1230     02/ 25/ ll      02 : 13P   18173436690      60 :00    18881 258219                                 31041027693 6201       phone         _ MOBILE_ DATA_   [52709 /6 0313:-97.07914:32.93881:240)
1231     02/25/11        02:19P     18173 436690       1:44     9294 104574            ...............      310410276936201        acds.voicem     MOBILE DATA     [52709/62028:-97.09953:32.93497:120)
                                                                                                                                   ail           -       -     -
1232     02/25/ll        03:13P 1 817343 6690        53:05 201456          659347      •••••• •••••• •••    310410276936201        phone         _ MOBILE_ DATA_ [527 09/62028 :-97 .09953:32.93497:120)



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                                                            not for general distribution.
                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 29 of 99 PageID 3750                                                                       ~
976503
                                                                                                                                                                                    ~ ~ at&t
08/ 17 / 2011
                                                               MOBILITY USAGE
SCAMP                                                        (with cell location}


  Run Date:              08/17/2 011
  Run Time:              00:36:06
 Data Osage For :         (817)343-6690
 Account Number:         318912244
Item        Conn.         Conn.    Originating    Elapsed      Bytes    Bytes             IMBI                IMSI                Access     Descrip tion     Cell Location
             Date          Time      Number        Time         Up       On                                                            Pt
1233     02/ 2 5/11      04:06P 18173436690         10:32         122           0   .•.............    310410276936201        phone         _ MOBILB_ DATA_   [52903/03673:-97.08444:32.92639:300]
1234     02/25/11        04:16P 18173436690           0:07          0           0   .....•.........    310410276936 201       phone         _ MOBILE_ DATA_   [52707/41862:-97. 1 5467:32.88094: 1 20]
1235     02/2 5 /11      04:16P 18173436690           0:18         0            0                      310410276936201        phone         _ MOBILE_ DATA_   [52903 /27513: -97.129 97:32.866 1 7: 300]
1236     02/25/11        04:17P 18173436690         6 0:00      1513     2457       ...............    310410276936201        phone         _ MOBILE_ DATA_   [52707 / 42062:-9 7. 15467 :32.8809 4 : 120]
1 237    02/25/11        05:17P 18173436690         6 0:00       938     2850                          3104 1 0276936 201     phone         _ MOBILE_ DATA_   [52707/42062:-97 .15467:32.88094: 120]
1238     02/ 25 / 11     06:17P 18173436690         60:00       8519    17454       ........••.....    3104 1 0276936201      phone         _ MOBILE_ DATA_   [527 0 7/42062: -9 7.15467:32.88094:120]
1239     02/25/11        07:17P 18173436690         60:0 0      3871    11794                          310410276936201        p hone        _ MOBILE_ DATA_   [527 0 7/42062:-97.15467:32.88094: 1 20]
1240     02 /2 5 / 11    08:17P 18173436690         60:00       2319     8354                          3104 1 0276936201      phone         _ MOBILE_ DATA_   [52707 /4206 2: - 97.15467:32.88094:120]
1241     02/25/11        09:17P 18173436690         14:03        212      688                          310410276936201        phone         _ MOBILE_ DATA_   [52707/42062: -97 .15467:32.88094:120]
1242     02/ 2 5/11      09:31P 18173 4 3 6690        0 : 08        0           0                      3104 1 0276936201      phone         _ MOBILE_ DATA_   [52707/40649:-97.16078:32.85086:248]
1243     02/25/11        09:32P 18173436690           0:02        51          0                        310410276936201        phone         _ MOBILE DATA_    [52707/40649: - 97.16078:32.85086:248]
1244     0 2 / 25 / 11   09:33P 18173436690           0:54       217       688                         3104 1 0276936201      phone         _ MOBILE_ DATA_   [52707 /406 49:-97.16078:32.85086:248]
1245     02/2 5 /11      09:34P 18173436690           0:03          0         0                        3104 1 0276936 201     phone         _ MOBILE_ DATA_   [52707 /40 649:-97 . 16078:32.85086 :248 ]
1246     02/25/11        09:35P 18173436690         60:00      25160     483 59     ...............    3 104 1 0276936 201    phone         _ MOBILE_ DATA_   [52707/40649:-97.16078:32.85086:248 ]
1247     02/25/11        10:35P 18173436690         54:06       124 8     1181                         310410276936201        phone         _ MOBILE_ DATA_   [52707/406 49: -97 .16078: 32.85086:248 ]
1248     02/25/11        ll:29P 181734 36690          5:41          0           0                      3104 1 0276936 2 0 1   phone         _ MOBILE_ DATA_   [52903/40283:-97.10911:32.842:240]
1249     02 / 25 / 11    ll:35P 18173436690         6 0 :00    16350  94593                            3104 1 027693620 1     phone         _ MOBILE_ DATA_   [52903 /2 4871:-97.07419:32.83989:60]
125 0    02/ 25 / 11     ll:35P 18173436690           1:45      4692 295502                            310410276936201        wap.cingula   _ MOBILE_ DATA_   [52903/24871:-97 . 07419:32.83989:60]
                                                                                                                              r
1251      02/26/11       12:35A   18173436690       60:00   6318  23080             •••••••••••••••    310410276936201        phone         _ MOBILE_DATA_    [52903/24871 :- 97.07419:32.83989:60]
1252      02 / 26 / 11   01:35A   18173436690       60:00   6577  16271             •••••••••••••••    3104102769 3 620 1     phone         _ MOBILE_ DATA_   [52903 /24871 :- 97.07419:32.83989:60]
1253      02/26/11       02:35A   18173436690       37:02    173     49             •••••••••••••••    31 0410276936201       phone         _ MOBILE_ DATA_   [ 52903/24871:-97.07419 : 32.83989 : 60]
1254      02/26/ 11      03:12A   1 8173436690      27:12 518956 460135             •••••••••••••••    31041027693620 1       phone         _ MOBILE_ DATA_   [ 52 7 09/62028:-97.09953:32.93497:12 0]
                                                                                0
1255      02/26/11       03:39A 1 81734366 90         0:16     32840 508855         •••••••••••••••    3104102 7693620 1      phone         _ MOBILE_DATA_ [ 52709/620 28:-97.09953:32.93497:120]
                                                                           9
1256      02/26/ 11      03:39A 1 81734 36 69 0       0:25     34962 508578         •••••••••••• •••   310 410276936201       phone         _ MOBILE_ DATA_ [ 52709/62028:-97.09953:32.93 4 97:12 0]
                                                                           5
1257      02/26 / 11     03:40A 18173436690           0:23     35 438 508589        •••••••••••••••    31041027693620 1       phon e        _ MOBILE_ DATA_ [ 52709 /62 028:-97.09953 : 32.93497:120]
                                                                           6
1258      02/26/11       03: 40A 18173436690          0 : 31   41848 507816         •••••••••••••••    310410276936201        phone         _ MOBILE_ DATA_ [ 52709/62028:-97.09953:32.93497:120]
                                                                             7
1259      02 / 26 / 11   03:41A 18173436690           1:32     43840    507654      •••••••••••••••    31041 0276936201       phone         _ MOBILE_ DATA_ [ 52709/62028:-97 . 09953:32.93497:120]
                                                                             6
1260      02 /26/ 11     03 : 42A 18173436690         0:19     33517    508696      • ••••••••••••••   3104 10276936 201      phone         _ MOBILE_ DATA_ [ 52709/62028: - 97.09953:32 . 93497:120]
                                                                             6
126 1     02 / 26/11     03:42A 1 8 17 3436690        0:43     40829    507976      •••••••••••••••    310410276936201        phone         _ MOBILE_ DATA_ [52709/62 0 28: - 97.09953:32.93497:120]
                                                                                2
1262      02 / 26/ 11    03:43A 18173436690           0:38     50891 506936         •••••••••••••••    3104102769362 01       phone         _ MOBILE_DATA_ [52709/62 0 28 :- 97.09953:32.93497: 1 20]
                                                                          5



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                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 30 of 99 PageID 3751
976503                                                       MOBILITY USAGE
08 / 17 / 2011
SCAMP                                                     (with cell location)                                                                                                    {? at &t

 Run Date:           08/17/2011
 Run Time:           00:36:06
 Data Usage For:     (817)343 - 6690
 Account Number :    318912244
Item      Conn.       Conn.    Originating    Elapsed Bytes   By too             I MEl                   IMSI                 Access       Description      Cell Location
          Dato        Time        Number       Time      Up     Dn                                                                  Pt
1263    02/26/11     03:44A 18173436690          2:23 1 14988 500508     •••••••••••••••          310410276936201        phone           _ MOBILE_DATA_ [ 52709 / 62028:-97.09953:32.93497:12 0]
                                                                     8
1264    02/26 / 11   03 : 46A 18173436690        0:24   37763 508320     •••••••••••••••          3 1 041027693620 1     phone           _ MOBILE_DATA_ [52709 / 62028:-97.09953:32.93497:120]
                                                                     4
1265    02/26/11     03:47A 18173 4366 90       0:26      33280 508760   •••••••••••••••          3104 1 027693620 1     phone           _ MOBILE_ OATA_ [ 52709/62028:-97.09953:32.93497 : 1 20]
                                                                     0
1266    02/26/11     03:47A 18173436690          0 : 31   41645 507941   ***************          310410276 93620 1      phone           _ MOBILE_DATA_ [52709/62028: -97. 09953 :32.93497: 1 2 0 ]
                                                                     5
1267    02/26 / 11   03:47A 18173436690         0 : 37    41932 507866   •••••••••••••••          310410276936201        phone           _ MOBILE_OATA_ [ 52709 /62 028:-97.09953:32.93497:12 0]
                                                                     2
1268    02/26/11     03:48A 18173436690        60:00      52903 316595   •••••••••••••••          310410276936201        phone           _ MOBILE_ OATA_ [52709/62028 :-97 .09953 : 32 . 93497 : 12 0 ]
                                                                     6
1269    02/ 26 /11   04:48A 18173436690        60:00       7114  20658   •••••••••••••••          310410276936201        phone           _ MOBILE_ OATA_    [527 09/62028: - 97.09953:32.93497:120]
1270    02/26 / 11   05:48A 18173436690        60:00         51     49   •••••••••••••••          3 1 04 1 0276936201    p hone          _ MOBILE_ OATA_    [52709 / 62028: - 97.09953:32 . 93497:120]
1271    02/26/11     06:48A 18173436690        60:00   6659  14119       •••••••••••••••          310410276936201        phone           _ MOBILE_DATA_     [52709/62028:-97.09953:32.93497:12 0 ]
1272    02/26/11     07:48A    18173436690     60:00     51     49       •••••••••••• •••         3 1 04 1 02769362 01   phone           _ MOBILE _ DATA_   [ 52709/62028: - 97. 09953:32.93497:120 ]
1273    02/26/11     08:48A    18173436 690    60:00     51     49       •••••••••••••••          3104 1 0276936201      phone           _ MOBILE_OATA_     [ 52709/62028:-97 . 09 953 : 32.93497 :120 ]
1274    02/26/11     09:48A    18173436690     60:00    102     49       •••••••••••••••          310410276936201        phone           _ MOBILE_ OATA_    [527 09/62028:-97.099 53:32.93497: 120]
127 5   02/26 / 11   10:48A    18173436690     60:00 196533 619056       •••••••••••••••          31041 0276936201       p hone          _ MOBI LE_ DATA_   [52709 / 62028: - 97.09953:32 . 93497:120]
1276    02/26/11     11: 48A   18173436690     60:00       112      49   •••••••••••••••          3104102769 36 201      p hone          _ MOBILE_ OATA_    [52 709/6 2 028: - 97.0 9953 :32.93497:120]
1277    02/26/11     12:48P    18173436690     60:00 162562 1 61570      •••••••••••••••          310410276936201        phone           _ MOBILE_ DATA_    [52709/62028: - 97.09953:32.93497:120 ]
                                                                   8
127 8   02/26/11     01:48P 18173436690        22:22 212038 49 086 1     ••••••••••• • •••        310410276936201        phone           _ MOBILE_ DATA_ [52709/ 62028: -9 7.09953:32.93497: 1 20 ]
                                                                   3
1279    02/26/11     02: 10P 18173436690        0:42   53704 506768      •••••••••••••••          310410276936201        p h one         _ MOBILE_ DATA_ [52709/6 2028: - 97.09953:32.93497:120 ]
                                                                   6
12 80   02/26/11     02:11P 1 8 173436 690      0:57   56766 506422      •••••••••••••••          3 1 041 0276936201     phone           _ MOBILB_ DATA_ [ 52709/62028: - 97.09953:32.93497:120]
                                                                   4
1281    02/26/11     02:12P 181734 36 690       0:26   421 97 507791     ••••••••••• ••••         31041 0276936201       phone           _ MOBILE_ OATA_ [52709 /62028:-97.09953:32.93497:120]
                                                                   9
1282    0 2 /26/11   02:13P 18173436690         0 : 18 29692 509040      •••••••••••••••          310410276936201        p h one         _ MOB ILB_ DATA_ [52709/62028: - 97. 0995 3:32. 93497: 120]
                                                                   0
1283    02/26/11     02:13P 18173436690         0:17   29276 509180      •••••••••••••••          3 10410276936201       p hone          _ MOBILB_ OATA_ [52709 /62028: - 97.09953:32.93497 : 120]
                                                                   0
1284    02/26/11     02:13P 18173436690         0:28   4067 5 508067     •••••••••••••••          3104 1 0276936 2 01    p hone          _ MOBILE_ OATA_ [52709 / 62028:-97.09953:32.93497:120]
                                                                   7
12 85   0 2/26 /11   02:14P 18173436690         0 : 24 32 881 508765     •••••••••••••••          310410276936201        p ho n e        _ MOBILB_DATA_ [52709/62028 : -97.09953:32.93497:120 ]
                                                                   9
1286    02/26/11     02 :14P 18173436690        0:34   54745 506531      . . ............... ..   310410276936201        phone           _ MOBILE_ OATA_ [52709/62028:-97.09953:32.93497:120]
                                                                   7
1287    02/26/11     02:15P 18173436690         0 : 27 35475 508468      .................. ..    310410276936 2 0 1     phone           _ MOBILB_DATA_ [52709/6 2 02 8:-97.09953:32.93497:120 ]
                                                                   3



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                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 31 of 99 PageID 3752                                                                -....,.,
976503
                                                                                                                                                                          ~~ at&t
08/17/2011
                                                             MOBILITY USAGE
SCAMP                                                     {with cell location)


 Run Date:          08/17/2011
 Run Time:          00:36:06
 Data Usage Por:    (817)343-6690
 Account Number:    318912244
Item     Conn.       Conn.    Originating     Elapsed Bytes  Bytoo           IMBI                 IMSI                 Access     Description       Cell Location
          Date       Time       Number         Time     Up     On                                                         Pt
1288    02/26/11    02:15P 18173436690          39:56   8467 760559                        310410276936201       phone         _ MOBILE_ DATA_ (5 27 09/620 28:-97.09953 :3 2 .93497:120)
1289    02/26/11    02:55P 18173436690          60:00  52495 430016                        310410276936201       phone         _ MOBILE_ DATA_ (52903/27609:-97.08444:32 . 92639:)
1290    02/26/11    02:58P 18173436690           1:03 391871   8912   ...••..........      310410276936201       wap . cingu1a _ MOBILB_ DATA_ (52903/0 3673:-97.08444:32.92639:300)
                                                                                                                 r
12 91   02/26/11    03:55P     18173436690     30 : 22    51    49    •••••••••••••••      31041 0276936201      phone          _ MOBILE_ DATA_     ( 52903/03673: - 97.08444:32.92639:300)
1292    02/26/11    04:25P     18173436690      0:04       0     0    **** *** ********    31041 0276936201      phone          _ MOBILE_ DATA_     ( 52707/ 42182:-97.13406:32.83747:128 )
1293    02/26/11    04:25P     18173436690      0:03       0     0    ••••• •••••• ••••    310410276936201       phone          _ MOBILE_ DATA_     ( 52903/40283: - 97.10911:32.842:240)
1294    02/26/11    04:25P     18173436690     28:10     322  1425                         310410276936201       phone          _ MOBILB_ DATA_     ( 52707/42182:-97.13406:32 .83 747:128)
1295    02/26/11    04:55P     18173436690     60:00     161   399                         310410276936201       phone          _ MOBILB_ DATA_     ( 52707 / 23533 : -97.16078:32.85086:248 )
1296    02/26/11    05:55P     18173436690     60:00     640  2178    ....•..........      310410276936201       phone          _ MOBILE_ DATA_     ( 52707/23 533:-97.16078:32.85086:248 )
1297    02/26/11    06:55P     18173436690     37:10   10235 22048                         310410276936201       phone          _ MOBILE_ DATA_     (52707 / 23533:-97 . 16078:32.85086:248)
1298    02/26/11    07:32P     18173436690     22:41 133025 376520    ...•...........      310410276936201       phone          _ MOBILE_ DATA_     (52903 /2 4183:-97 . 11217:32.85897:248)
1299    02/26/11    07:54P     18173436690     60:00    6100 15095    .............•.      310410276936201       phone          _ MOBILE_ DATA_     (52709 /60313:-97.07914:32.93881:240)
1300    02/26/11    08:54P     18173436690     60 : 00    51    49                         31041027 6 93 62 01   phone          _ MOBILE_ DATA_     (52709 / 60313:-97.07914:32.93881:240 )
1301    02/26/11    09:54P     18173436690     60:00      51    49    •••••..•.......      310410276936201       phone          _ MOB I LE_ DATA_   (52709 /6 0313:-97.07914:32.93881:240 )
1302    02/26/11    10:54P     18173436690     60:00      51    49    .......•.......      310410276936201       phone          _ MOBILE_DATA_      (52709 / 60313 :- 97.07914:32 . 93881:240)
1303    02/26/11    11:54P     18173436690     60:00 222690 713831    ..•••...•.•..•.      310410276936201       phone          _ MOBILE_ DATA_     (52709 / 60313:-97.07914:32.93881:240 )
1304    02/27/11    12:54A     18173436690     60:00      51    49                         310410276936201       phone          _ MOBILE_ DATA_     (52709 / 60313:-97.07914:32 . 93881:240 )
1305    02/27/11    01:54A     18173436690     60:00      51    49    ...............      310410276936201       phone          _ MOBI LE_DATA_     (52709/60313:-97.07914:32 . 93881:240)
1306    02/27/11    02:54A     18173436690     60:00    6338 15194    ***************      3104102 769 36201     phone          _ MOBILE_ DATA_     (52709/60313: - 97 .079 14:32 . 93881:240)
1307    02/27/11    03:54A     18173436690     60:00     112    49                         310410276936201       phon e         _ MOBILE_ DATA_     (52709 / 60313:-97.07914:32.93881:240)
1308    02/27/11    04:54A     18173436690     60 : 00    51    49    •••••••••••••••      310410276936201       phone          _ MOBILE_ DATA_     (52709 / 60313:-97.07914:32.93881:240)
1309    02/27/11    05:54A     18173436690     60:00    6753 28747    •••••••••••••••      310410276936201       phon e         _ MOBILE_ DATA_     (52709/60313:-97.079 14:32.93881:240)
1310    02/27/11    06:54A     18173436690     60:00     234    49    •••••••••••••••      310410276936201       phone          _ MOBILE_DATA_      (52709 / 60313:-97.07914 : 32 . 93881:240)
1311    02/27/11    07 : 54A   18173436690     60:00      51    49    •••••••••••••••      310410276936201       phone          _ MOBILE_DATA_      (52709 / 60313:-97.07914:32.93881:240 )
1312    02/27/11    08:54A     18173436690     60:00      51    49    •••••••••••••••      31041 0276936201      phone          _ MOBILE_DATA_      (52709/60313:-97.07914:32 . 9388 1:240)
1313    02/27/11    09 :54A    181734366 90    60:00    3786  3280    •••••••••••••••      310410276936201       phone          _ MOBILE_ DATA_     (52709/60313 : -97 . 07914 : 32 . 93881:240)
1314    02/27/11    10:54A     18173436690     60:00 159649 118397    ************** *     310410276936201       phone          _ MOBILE_ DATA_     (52709/60313 :-9 7.07914:32.938 81:2 40)
                                                                  1
1315    02/27/11    11: 54A    18173436690     48:46     51      49   ••• ••••• •• •••••   310410276936201       phone          _ MOBILE_ DATA_     ( 52709/60313: - 97.07914:32.93881:240)
1316    02/27/ 11   12:43P     18173 436690     1:24      0       0   •••••••••••••••      310410276936201       phone          _ MOBILE_ DATA_     (52903/27603: - 97.08444:32.92639:300 )
1317    02/27/11    12:45P     18173436690      0:44      0       0   •••••••••••••••      310410276936201       phone          _ MOBILE_ DATA_     (5200 1/03672: - 97.08444:32.92639:300)
1318    02/27/11    12:45P     18173436690     60:00     51      49                        310410276936201       phone          _ MOBILE_ DATA_     (52903/24952 : - 97.06414:32.93075:180)
1319    02/27/11    01 : 45P   18173436690      3:32      0       0   ...............      310410276936201       phone          _ MOBILE_ DATA_     (52907/ 14863: - 97 . 01839:32.92431:248)
1320    02/27/11    01 : 49P   18173436690     60:00    808    1474                        310410276936201       phone          _ MOBILE_ DATA_     ( 52709/24663 :-9 7.01981:32.94222:300)
1 321   02/27/11    02:48P     18173436690      0:50   3359   60731                        3 1 0410276936201     acds.voicem    _ MOBILE_DATA_      ( 52709/ 19547 :-9 7.04647: 32. 96119:8)
                                                                                                                 ail
1322    02/27/11    02:49P 18173436690          9:33     62       0   ***************      310410276936201       phone          _ MOBILE_ DATA_ (5 2709/ 19547: - 97 . 04647:32 . 96119:8)




                                                                              AT&T Propri etary
        NKK                                                                                                                                                                            Page 65
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                                                        not for general distribution.
                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 32 of 99 PageID 3753
976503
08/17/2011
SCAMP
                                                               MOBILITY USAGE
                                                            {with cell location)                                                                                                i? at&t
 Run Date:             08/17/2011
 Run Time:             00:36:06
 Data Osage For:       ( 817)343-6690
 Account Number:       318912244
Item         Conn.      Conn.    Origina ting   Elapsed     Bytes       Bytes             IMBI                IMSI             Access      Description     Cell Location
          Date           Time      Number        Time        Up          Dn                                                       Pt
1323    02/27/11       02:58P 18173436690          0:26             0           0                       310410276936201     phone       _ MOBILE_ DATA_ (52903/00839:-97.06414:32.93075:300)
1324    02/27 / 11     02:59P 18173436690         60:00       409          737                          310410276936201     phone       _ MOBILE_ DATA_ [52709/61958: -97.0 643 1 :32.95469 : 120)
1325    02/27/11       03:14P 18 173 436690        0:20      2061         1335                          310410276936201     acds.voicem _ MOBILE_ DATA_ [52709/24311:-97.12608:32.93822:8)
                                                                                                                            ail
1326    02/27/11       03:59P    18173436690      1 : 13      62      0             ...............     310410276936201     phone        _ MOBILE_ DATA_   [52709/24311:-97.12608:32.93822:8 )
132 7   02/27/11       04: 00P   18173436690      7:16        40      0                                 310410276936201     phone        _ MOBILE_ DATA_   [52903/27603:-97.08444 : 32.92639:300)
1328    02/27/11       04:07P    18173436690     60:00      807    2850             ...............     310410276936201     phone        _ MOBILE_ DATA_   [52707/24532:-97 . 13542:32.85347:128)
1329    02/27/11       05:07P    18173436690     60:00   12 2 38 528970                                 310410276936201     phone        _ MOBILE_ DATA_   [52707/24532: -97.13542:32.85347:128)
1330    02/27/11       06:07P    18173436690     60:00    16 24    5602                                 310410276936201     phone        _ MOBILE_ DATA_   [52707/24532: -97.13542:32.85347:128)
1331    02/27/11       07:07P    181734366 90    37:22 107489 430974                ••• ••••••• •••••   310410276936201     phone        _ MOBILE_ DATA_   [52707 /24532: - 97.13542:32.85347 : 128)
1332    02/27/11       07:45P    18173436690      1:29   68056 505236               •••••••••••••••     310410276936201     phone        _ MOBILE_ DATA_   [52903/24183:-97.11217:32.85897:248)
                                                                             5
1333    02/27/11       07:46P 18173436690         0:25      47403       507307      •••••••••••••••     310410276936201     phone        _ MOBILB_DATA_ [52903 / 24183: - 97.11217:32.85897:248)
                                                                                5
1334    02/27/11       07:47P 18173436690         1:18      79447 504 154           ***************     310410276936201     phone        _ MOBILE_ DATA_ [52903/24183:-97.11217:32.85897:248)
                                                                        1
1335    02/27/11       07:48P 18173436690         0:28      33956 508620            •••••••••••••••     310410276936201     phone        _ MOBILB_ DATA_ [52903 / 24183:-97.11217:32.85897:248)
                                                                        0
1336    02/27/11       07:48P 18173436690         0:23      36144 508480            ••••• •••• ••••••   310410276936201     phone        _ MOBILE_ DATA_ [52903 / 24183:-97.11217:32.85897:248)
                                                                        0
1337    02/27/11       07:49P 18173436690         0:50      40716 508060            •••••• ••••• ••••   310410276936201     phone        _ MOBILE_ DATA_ [52903 /24183 : -97.11217:32.85897:248)
                                                                        0
1338    02 / 27 / 11   07:50P 18173436690         0:   so   45231 507576            •••••••••••••••     310410276936201     phone        _ MOBILB_ DATA_ [529 03/24183: -97.11217:32.85897:248)
                                                                                5
1339    02/27 / 11     07:50P 18173436690         3:24       2652 238376            ***************     310410276936201     phone        _ MOBILE_ DATA_ [52903 /24183:-97 . 11217:32.85897:248)
1340    02/27/11       07 :54P 18173436690        1:16      73569 504767            •••••••••••••••     3104 1 0276936201   phone        _ MOBILE_DATA_ [52 709/62028: -97. 09953 :32.9349 7 :120)
                                                                       3
1341    02/27/11       07:55P 18173436690         1:10      60151 506097            ••••••• •• ••••••   310410276936201     phone        _ MOBILB_ DATA_ [ 52709 / 62028:-97.09953:32.93497:120)
                                                                       6
1342    02/27 / 11     07:56P 18173436690         8:16      64181 505695            •••••••••••••••     310410276936201     phone        _ MOBILE_ DATA_ [52709/62028:-97.09953:32.93497:120)
                                                                                1
1343    02/27/11       08:05P 18173436690         0:32      47534       507345      •••••••••••••••     3104 1 0276936201   phono        _ MOBILE_DATA_ [52709/62028:-97.09953:32.93497:120)
                                                                             2
1344    02 /27/ 11     08:05P 18173436690         1:14      77304       504279      •••••••••••••••     310410276936201     phone        _ MOBILB_ DATA_ [ 52709/62028:-97.09953:32.93497:120 )
                                                                             3
1345    02/27/11       08:06P 18173436690         1:55      89010 50321 3           •••••••••• •••••    310410276936201     phone        _ MOBILE_ DATA_ [52709 /62028: - 97.09953:32.93 497:120)
                                                                             6
1346    02/27/11       08:08P 18173436690         0:50      542 15      506626      •••••••••••••••     310410276936201     phone        _ MOBILE_ DATA_ [52709/62028:-97.09953 : 32 . 93497:120)
                                                                             6
1347    02/27/11       08:09P 18173436690         1:09      62908       505792      ••••••• ••••••••    310410276936201     phone        _ MOBILB_ DATA_ [52709 / 62028:-97.09953 : 32.93497:120)
                                                                             6




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                                    Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 33 of 99 PageID 3754
                                                                                                                                                                                      ~ at&t
976503                                                           MOBILITY USAGE
08 / 17 /2011
SCAMP                                                         (with cell location)


 Run Date:              08/17/2011
 Run Time:              00:36:06
 Data Usage For:        (817)343-6690
 Account Number:        318912244
Item       Conn.         Conn.    Originating    Elapsed    Bytes    Bytes              IMEI                  IMSI                 Acces s     Descript ion    Cell Locat i on
           Date          Time       Number        Time       Up       Dn                                                              Pt
1348     02/27/11       08:10P 18173436690         0; 58    57332    506319      •••••••••••••••      310410276936201         p h one        _ MOBILE_ DATA_ [52709 / 62028:-97 . 0995 3 :32.93497:120]
                                                                          0
1349     02/27/11       08 :11P 18173436690        1:15     8612 1   503388      •••••••••••••••      310410276936201         phone          _ MOBILE_ DATA    [52709/62028: - 97.09953:32.93497:120]
                                                                          4
1350     02/27/11       08:12P 18173436690         0:45     54560 506620         •••••••••••••••      310410276936201         phone          _ MOBILE_ DATA_ [52709/ 62 028: - 97.09953:32.93497:120]
                                                                             1
1351     02/27/11       08:13P 18173436690         1:01     63493 505710         •••••••••••••••      310410276936201         phone          _ MOBILE_ DATA_ [52 7 09/ 62 028: - 97.09953:32.93497:12 0]
                                                                       6
1352     02/27/11       08: 14P 18173436690        0:47     62282 505801         •••••••••••• •••     310410276936201         phone          _ MOBILE_ DATA    [52709 / 62028: - 97.09953:32.93497: 120]
                                                                             1
1353     02/27 / 11     08:15P 18173436690         4:02      4572 246715         ***************      310410276936201         wap.cingula _ MOBILE_ DATA_ [52 7 09 / 24331: - 97.09953:32.934 97:8]
                                                                                                                              r
1354     02/27/11       08:15P 18173436690         1:25     56243    506416      •• •••••••••••••     310410276936201         phone          _ MOBILE_ DATA_ [ 52709 / 24331: - 97. 0 9953 : 32 . 93497:8]
                                                                          9
1355     02/27/11       08:16P 18173436690         0 : 43   46708    507360      ****** * ***** ***   310410276936201         phone          _ MOBILE_ DATA_ [ 52709 / 24331 :- 97.09953 : 32 . 93497:8]
                                                                          0
13 56    02/27/11       08:17P 18173436690         0 : 36  38768 508152          •••••••• ••• ••••    310410276936201         phone          _ MOBILE_ DATA_ [52709 / 24331 :- 97. 0 9953:32.93497:8 ]
                                                                      3
1357     02/27/11       08:18P 18173436690        21 : 00 157982 496260          •••••••••••••••      310410276936201         phone          _ MOBILE_ DATA_ [52709 / 24331: - 97. 0 9953:32 . 93497:8]
                                                                             5
1358     02/27/11       08:39P     18173436690    60:00 113628 887710            .....•..•......      310410276936201         phone          _ MOBILE_ DATA_   [ 52709 / 24331:-97 .0 9953:32.93497:8]
1359     02/27/11       09 : 39P   18173436690    60:00     6347  12151                               3104102769362 01        phone          _ MOBILE_ DATA_   [52709 / 2433 1 :- 97.09953:32.93497:8]
1360     02/27/11       10:39P     18173436690    60:00      112     49                               310410276936201         phone          _ MOBILE_ DATA_   [52709 / 24331:-97 .09953:32.93497:8]
1361     02/27 / 11     11:39P     18173436690    60 : 00    112     49          ....•••..•..•.•      31 0 41 027 6 9362 01   phone          _ MOBILE_ DATA_   [527 0 9/ 24331 :- 97 .09953:32 . 93497:8]
1362     02/28/11       12:39A     18173436690    60:00      173     49          ..•..••..•.....      310410276936201         phone          _ MOBILE_ DATA_   [52709 / 24331:-97.09953 : 32.93497 : 8]
1363     02/28/11       01 :3 9A   18173436690    60:00      274     49          ***************      310410276936201         phone          _MOBILE_DATA_     [52709/24331:-97.09953:32.93497:8]
1364     02/28/11       02:39A     18173436690    60:00       51     49          ..•.•.....•..••      310410276936201         p h one        _ MOBILE_ DATA_   [52709 / 24331:-97 .09953:32.93497:8]
1 3 65   02/28/11       03:39A     18173436690    60:00      102     98          ...............      310410276 936201        p h one        _ MOBILE_ DATA_   [52709 / 24331:-97.09953:32.93497 : 8]
1366     02 / 28 / 11   04:39A     18173436690    60:00       51     49                               3104102 7 693620 1      p h one        _ MOBILE_DATA_    [527 09/24331: - 97 .099 53 :32.9 3 497:8]
1367     02/28/11       05:39A     18173436690    60:00       51     49                               310410276936201         p h one        _ MOBILE_ DATA_   [52709/ 24331:-97 . 09953:32.93497:8]
1368     02/28/11       06:39A     18173436690    60:00       51     49          ...••..........      3104102 7 6936201       phone          _ MOBILE_ DATA_   [52 7 09/ 24331:-97.09953:32 . 93497:8]
1369     02/28/11       07:39A     18173436690    30 : 35 277283 484281                               310410276936201         phone          _ MOBILE_ DATA_   [52709/ 24331:-97 . 09953:32.93497:8]
                                                                       4
1 370    02/28/11       08:09A 18173436690         0:30     41149 507909         •••••••••••••••      3104102 7 69 36 201     phone          _ MOBILE_ DATA_ [52709 / 24331:-9 7 .09953:32.93 4 97 :8 ]
                                                                       8
1371     02/28/11       08:10A 18173436690         0:20     30420 509040         ••••••• • •••••••    31 0410 2 76936201      phone          _ MOBILE_ DATA_ [52709 / 24331: - 9 7 .09953:32.934 97:8]
                                                                       0
1 3 72   02/28/11       08 :1 0A 18173436690       1:07     60468 505982         •••••••••••••••      310410276936201         phone          _ MOBILE_ DATA_ [52709 / 24331: - 97.09953:32 . 93497:8]
                                                                       2
1373     02/28/11       08:11A 18173436690         0:40     48611 507230         •••••••••••••••      310410276936201         phone          _ MOBILE_ DATA_ [5270 9/2 433 1 :-9 7 . 0 9 9 53:32.9349 7:8]
                                                                       9




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                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 34 of 99 PageID 3755                                                                -......-.
976503
0 8/17/2011
SCAMP
                                                               MOBILITY USAGE
                                                            (with cell location)                                                                                            t.;1at&t
 Run Date:            08/17/2011
 Run Time:            00:36:06
 Data Usage Por:      (817)3 43 -6690
 Account Number:      318 912244
           Conn .      Conn.     Originating   Elapsed    Bytes  Bytes             IMBI                  IMSI             Access     Desc ription     Cell Location
           Date        Time        Number       Time        Up     Dn                                                        Pt
1374    02/28/11      08: 12A 18173436690         0:23     31980 508900     •••••••••••••••       31041 0276936 201    phone       _ MOBILE_ DATA_ [52709/24331 :- 97.09953:32 . 93497:8 ]
                                                                        0
13 75   02/28/11      08: 12A 181734 3 6690      0: 45    51792    506887   •••••••••••••••       310410276936201      phone       _ MOBILE_ DATA_ [52709/ 24331:-97.09953:32.93497:8]
                                                                        5
1376    02/28/11      08:13A 18173436690         0:15     28 756 509180     ••••••••••••• ••      310410276936201      phone       _ MOBILE_ DATA_ [5 2709 /24331 :-97.09953:32.93497:8 ]
                                                                      0
1377    02/28/11      08:13A 18173436690         0:30     36 009   508451   •••••••••••••••       310410276936201      phone       _ MOBILE_ DATA_ [52709 /24331:-97 .09 953:32.93497:8]
                                                                        4
1378    02/28/11      08: 14A 18173436690        0:16     2987 3 509072     ••••• ••••••••••      310410276936201      phone       _ MOBILE_ DATA_ [52709 / 24331:-97.09953:32.93497:8]
                                                                        0
1379    02/28/ 11     08 :14A 18173436690        0:56     35651 508519      •• •••••••••• •••     310410276936201      phone       _ MOBILE_ DATA_ [52709/2 4331:-97.09 953:32.93497:8 ]
                                                                      4
1380    02/28/11      08:15A 18173436690         0:55     44 111 507630                           310410276936201      phone       _ MOBILE_ DATA_ [52709 / 24331:-97.09953:32.93497:8]
                                                                        9
1381    0 2 / 28/11   08:16A 181734 3 6690       1:14     43777 507749      ....••.....•...       310410276936201      phone       _ MOBILE_ DATA_ [52709 / 24331: - 97.09953:32.93497:8]
                                                                        3
1 382   02/28/11      08 : 17A 18 173436690     53:35     19507 144691                            3104102 7693620 1    phone       _ MOBILE_ DATA_ [ 52709/24331: - 97.09953:32.93497:8]
                                                                        8
1383    0 2 /28/11    09:11A     18173436690     0 : 17       0      0      ............•..       310410276936201      phone       _ MOBILE_DATA_     [ 52903 /03 673: - 97.08444:32.92639:300]
1384    02/28/11      09 : llA   18173436690    60 : 00   82615 325868                            310410276936201      phone       _ MOBILE_ DATA_    [52709 / 62028: - 97 . 09953:3 2. 93497:120]
1385    02/28/11      lO:llA     18173436690    35:17       322     49                            310410276936201      p hone      _ MOBILE_ DATA_    [52709/62028:-97.09953:32.93497: 1 20 ]
1386    02/28/ 11     l0 : 46A   18173436690     0:06         0      0                            310410276936201      p hone      _ MOBILE_ DATA_    [52903 /03673: - 97.08444:32.92639:300 ]
1387    02/28/11      l0:46A     18173436690     0:28          0        0   •••••••••••••••       3104102 76936201     phone       _ MOBILE_ DATA_    [52709 / 62022: - 97.09953:32.93497:120]
1388    02/28/11      l0:47A     18173436690     0 : 04        0        0   •••••••••••• • ••     310 4102 76936201    phone       _ MOBILE_ DATA_    [52903 /0 3673: - 97.08444 : 32.92639:300]
1389    02/28/11      10:47A     18173436690     2 : 36        0        0   •••••••••••• •••      310410276936201      phone       _ MOBILE_ DATA_    [52709/60313: - 97.07914:32.93881:240]
1390    02/28/11      lO:SOA     18173436690     0 :1 9        0        0   •••••••••••••••       310410276936201      p hone      _ MOBILE_ DATA_    [529 03/03673 :- 97.08444:32 . 92639:300]
1391    02/28/11      10:50A     18173436690     1:01          0        0   ***************       310410276936201      phone       _ MOBILE_ DATA_    [52709/62028:-97.09953:32 . 93497:120]
1392    02 /28/ 11    10: 5 1A   18173436690     0:10        52         0   ••••••••• •• ••••     31 0 41027693620 1   phone       _ MOBILE_ DATA_    [52903/60087:-97 . 09 742:32 . 89986:0]
1393    02/28/11      10:51A     18173436690     7 : 02        0        0   •••••••••••••••       310410276936201      phone       _ MOBILE_ DATA_    [52709 /620 28:-97.09953:32.93497:120]
1394    02/28/11      10:58A     18173436690     0:44          0        0   ••••• ••••• •••••     310410276936201      phone       _ MOBILE_ DATA_    [52903/03673: - 97.08444:32 . 92639:300]
1395    02/28/11      10:59A     18173436690     0:31          0        0   •••••••••••••••       310410276936201      phone       _ MOBILE_ DATA_    [52709/60313: -9 7.07914:32 . 93881:240]
1396    02/28/11      10:59A     18173436690     0:36          0        0   ***** **********      310410276936201      pho n e     _ MOBILE_ DATA_    [5 2903/03673 : - 97. 0844 4:32.9263 9:300]
1397    02/28/11      11 :00A    18173436690     1:41          0        0   •••••••••••••••       310410276936201      phone       _ MOBILE_ DATA_    [52709 / 62028: - 97.09953:32.93497:120]
1398    02/28/11      11:02A     18173436690     0:13          0        0   •• •••••••••••••      310410276936201      phone       _ MOBILE_ DATA_    [52903 / 27603: - 97.08444:32.92639:300]
1399    02/28/11      11:02A     18173436690     8:46          0        0   ••• ••••••••••••      310410276936201      phone       _ MOBILE_ DATA_    [ 52709 / 24338 :- 97 . 09953 : 32 . 93497:]
1400    02/28/11      l1:1 1A    18173436690     0:14          0        0   •••••••••••••••       310410276936201      phone       _ MOBILE_ DATA_    [52903 / 60087: - 97.09742:32 . 89986:0]
1401    02/28/11      11 :11A    18173436690     6:02          0        0   •••••••••••••••       310410276936201      phone       _ MOBI LE_ DATA_   [52709/24332: - 97.09953:32.93497:128]
140 2   02/28/11      11:17A     18173436690     0:11          0        0   • • •••• • ••••••••   310410276936201      phone       _ MOBILE_ DATA_    [52903/23587: - 97.09742:32 . 89986:]
1403    02 /28/11     11:17A     18173436690     0:27          0        0   ••••• ••••••••••      310410276936201      phone       _ MOBILE_ DATA_    [52709 /20232: - 97.12608:32 . 93822:128 ]
1404    02/28/11      11:18A     18173436690     0:06          0        0   ••••••••••••• ••      310410276936201      phone       _ MOBILE_ DATA_    [52903/03673 : -97.08444: 32 . 92639:300 ]



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                                                         not for general distributi on.
                               Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 35 of 99 PageID 3756
                                                                                                                                                                            Cf~ at&t
976503                                                      MOBILITY USAGE
08/17/2011
SCAMP                                                    (with cell location)


 Run Date:           08/17/2011
 Run Time:           00:36:06
 Data Osage For:     (817) 343-6690
 Account Numbor:     318912244
Item       Conn.      Conn.    Originating   Elapsed    Bytes       Bytoo             IMEI                IMSI              Access      Doocription     Coll Location
           Dato       Timo       Number       Time       Up          On                                                       Pt
1405    02/28/11     11:18A 18173436690         0:06            0           0   •••••••••••••••     310410276936 201    phone         _ MOBILE_DATA_ [52709/62022:-97.09953:32.93497:120]
1406   02/28/11      11:18A 18173436690         0: 07           0           0   •••••••••••••••     310410276936201     phono         _ MOBILB_ DATA_ [52903/03673: - 97 . 08444:32.92639:300]
1407   02/28/ 11     11:18A 18173436690        60:00  70198 134161              ***************     310410276936201     p hono        _ MOBILE_DATA_ [52709/ 60313: - 97.07914:32.93881:240]
1408   02/28/11      12:18P 18173436690         5:32      0      0              •••••••••••••••     310410276936201     p hone        _ MOBILE_ DATA_ [52709/60313: - 97.07914:32.93881:240]
1409   02/28/11      12:23P 18173436690         0:05      0      0                                  310410276936201     phone         _ MOBILE_ DATA_ [52903/03673: - 97.08444 : 32.92639:300]
1410   02/28/11      12:24P 18173436690        60:00 132836 351461              ..•............     310410276936201     phone         _ MOBILE_ DATA_ [52709/60521: - 97.11489:32.91886:0]
1411   02/28/11      01:24P 18173436690         6:05      0      0                                  310410276936201     p hone        _ MOBILE_DATA_    [52709/60521: -97 .11489 :32. 91886:0]
1412   02/28/11      01:30P   18173436690      0:05             0           0                       310410276936201     phone         _ MOBILE_ DATA_   [52903/23587 :-97.097 42:32.89986 :)
1413   02/28/11      01:30P   18173436690     14:25             0           0   .•........•....     310410276936201     phone         _ MOBILE_ DATA_   [52709/24338: -9 7 .09953:32.93497: ]
1414   02/28/11      01:44P   18173436690      0:04          0           0      ***************     310410276936201     phone         _ MOBILE_ DATA_   [ 52903 /23587: -97.09742 :32.89986:]
1415   02/28/11      01:44P   18173436690     37:52        173          49                          310410276936201     phone         _ MOBILE_ DATA_   [52709/24338: - 97.09953:32.93497:)
1416   02 / 28/ 11   02:22P   18173436690      0:16         0            0                          310410276936201     phone         _ MOBILB_ DATA_   [52903 /0 3673:-97.08444:32.92639:300]
1417   02/28/ 11     02:22P   18173436690     12:51       213           49                          310410276936201     phone         _ MOBILE_ DATA_   [52709/62028:-97.09953:32.93497:120]
1418   02/28/11      02:35P   18173436690       1:24        0           0       ...............     310410276936201     phone         _ MOBILE_DATA_    [52903 /03673: - 97.08444:32.92639:300]
1419   02/28/1 1     02:37P   18173436690      49:33     8327       13559                           310410276936201     phone         _ MOBILE_DATA_    [52709/62022:-97.09953:32 . 93497:120 ]
1420   02/ 28/11     03:26P   18173436690       0:20        0           0                           310410276936201     phone         _ MOBILE_ DATA_   [52903/03673 :- 97.08444:32.92639:300 ]
1421   02/28/11      03:27P   18173436690      60:00      623         737                           310410276936201     phone         _ MOBILE_ DATA_   [52709/62028: - 97.09953:32.93497:120]
1422   02/28/11      03:38P   18173436690       2:47     5554       68229                           310410276936201     acds.voicem   _ MOBILE_DATA_    [52709/24338 :-97. 09953:32.93497:]
                                                                                                                        ail
1423   02/28/11      04:27P 18173436690        60:00    94997 266948            ***************     310410276936201     phone         _ MOBILE_ DATA_ [52709/24338:-97.09953:32.93497: ]
1424   02/28/11      05:27P 18173436690        60:00 189702 102514              ***************     310410276936201     phone         _ MOBILE_ DATA_ ( 52709 / 24338:-97.09953:32.93497:]
                                                                            1
1425   02/28 / 11    06:07P 18173436690         1:41     1855       34718       •••••••••••••••     310410276936201     wap.cingula _ MOBILE_ DATA_ (52709/23563: - 97.09917:32.95581:248]
                                                                                                                        r
1426   02/28/11      06:27P 18173436690        60:00    21777   40676           .............•.     310410276936201     phone       _ HOBILE_ DATA_ [52709 /2356 3:-97.09917:32.95581:248]
1427   02/28 / 11    07:06P 18173436690         0:50     3732 1 62270                               310410276936201     wap.cingula _ MOBILE_ DATA_ [52709/20237: -97 .12608:32.93822:8)
                                                                                                                        r
1428   02/28/11      07:27P 18173436690        60:00    44226 180154            •••••••••••••••     310410276936201     phone         _ MOBILE_DATA_ [52709 / 20237:-97 . 12608 :32.93822:8 )
1429   02/28/11      08:27P 18173436690        55:37    68891 141845            •••••••••••••••     310410276936201     phone         _ HOBILE_ DATA_ [52709 / 20237:-97.12608:32 . 93822:8]
1430   02/28/11      09:22P 18173436690         7:21        0           0       *** ***** *******   3104102769362 0 1   phone         _ MOBILE_ DATA_   [52903/03679:-97.08444:32.92639:300]
1431   02/28/11      09:30P 1817343669 0       60:00     3270        3194       •••••••••••••••     310410276936201     phone         _ MOBILE_ DATA_   [52707/24532:-97 . 13542:32 . 85347:128]
1432   02/28/11      1 0:30 P 18173436690      60:00     1088        3538       •••••••••••••••     310410276936201     phone         _ MOBILE_DATA_    [52707/24532:-97.13542:32.85347:128]
1433   02/28/11      11:30P 18173436690       60:00   8432  28053               •••••••••••••••     310410276936201     phone         _ MOBILE_ DATA_   [52707 / 24532:-97.13542:32.85347:128]
1434   03/01/11      12:30A 18173436690       60:00  90798 273519               ***************     310410276936201     phone         _ MOBILE_DATA_ [52706/26951:-97 . 25503:32.83767:60]
1435   03/01/11      01:30A 18173436690       16:24 206630 517557               ***************     310410276936201     phone         _ HOBILE_ DATA_ [52706/26951:-97.25503 : 32.8 37 67 : 60 ]
1436   03/01/11      01:46A 18173436690        0:31      0      0               •••••••••••••••     310410276936201     phone         _ MOBILE_DATA_ [52008/42083:-97.25778:32 . 90947:240]
1437   03/01/11      01:46A 18173436690        4:21      0      0               •••••••••••••••     310410276936201     phone         _ MOBILE_ DATA_ [52706 /40 968:-97.30836:32.89667:128]
1438   03/01/11      01:51A 18173436690         8:10    36410       76951       •••••••••••••••     310410276936201     phone         _ MOBILE_ DATA_ [52709 / 20052: - 97.28481:32.94214:128]




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                                                                                                                                                                                  ~ at&t
976503                                                         MOBILITY USAGE
08 /17/20 11
SCAMP                                                       (with cell location)


 Run Date:            08/17/2011
 Run Time:            00:36:06
 Data Usage Por :     (817)343-6690
 Account Number:      3189122 44
Item       Conn .      Conn.    Originating      Elapsed Bytes  Bytes                   IMBI                 IMSI               Access     Descr iption    Cell Location
           Date        Time       Number          Time     Up     Dn                                                               Pt
1439    03/01/11      02:11A 1 8173436690          11:02 319979 48 000 4          ••••••••••• • •••   310 41 027 6936 201    phone       _ MOBILE_ DATA_ [5270 9/24337: -97 . 09953:32.93497 : ]
                                                                           9
1440    03/01/11      02:22A 18173436690           0:15      28496    509180      ••• •••••••• ••••   310 410276936201       p h one     _ MOBILE_ DATA_ [52709 / 24337: - 97.09953:32.93497:]
                                                                           0
1441    03/01/1 1     02: 22A 18173436690          4:57      77083 504370         •••••••••••••••     310410276936201        phone       _ MOBILE_ DATA_ [52709/24337: - 97 . 09953:32.93497:]
                                                                           4
1442    03/01/1 1     02 :2 7A 18173 4 3669 0      0 :29     3 5898   508465      •••••••••••••••     310410276936201        phone       _ MOBILE_ DATA_ [52709 / 24337: - 97.09953: 32. 93497:]
                                                                           6
1443    03/ 01/11     02:28A 18173436690           0:18      32364 508793         •• • ••••••••••••   310 41 0276936201      phone       _ MOBILE_ DATA_ [52709 / 24337 :- 97.099 53 :32 . 93 49 7:]
                                                                             9
1444    03/0 1 / 11   02 : 28A 18173436690         0 :3 9    42212 507783         ••••••• ••••• •••   3 10410276936201       pho n e     _ MOBILE_ DATA_ [527 09/ 2433 7: - 97 .09953:3 2.93 4 97 :]
                                                                        0
1445    03/01/11      02 :2 9A 18173436690         0 : 17    29848    509050      •••••••••••••••     3104 1 0 2 7693620 1   p hone      _ MOBILE_ DATA_ [52709 / 24337: - 97.099 5 3:32.93497:]
                                                                           4
1446    03/01/11      02:29A 181734 36690          0:45      49283 507193         •••••••••••••••     310410276936201        phone       _ MOBILE_ DATA_ [52709/24337 :- 97.09953 : 32.93497:]
                                                                           1
1447    03/01/11      02:30A 18173 436690           1:10     5046 1   507039      •••••••••••••••     3 1 041027693620 1     pho n e     _ MOBILE_ DATA_ [52709/ 24337:-97.09953:32.93497:]
                                                                           7
1448    03/01/11      02:31A 18173436690           0:54      64126    505617      •••••••••••••••     3104 1 027693620 1     phone       _ MOBILE_ DATA_ [52709/ 24337 :-97. 09953 : 32 . 93497:]
                                                                           2
1449    03/01/11      02:32A 1817 3436690          0:14      28 132509320         * **************    310410276936201        phone       _ MOBILE_ DATA_ [52709/24337:-97.09953 : 32.93497: ]
                                                                        0
1450    0 3 /01/ 11   02:3 2A 18173436690          0:30      43396 507776         •••••••••••••••     310410276936201        phone       _ MOB I LE_ DATA_ [527 09 / 2433 7:-97.099 53:32. 93497:]
                                                                             6
1451    03/01/11      02:33A 18173436690           0:17      319 17   50 89 1 7   •••••••••••••••     31041 027693620 1      phone       _ MOBILE_ DATA_ [5 2709 / 24337: - 97.09953:32.93497:]
                                                                              1
1452    03/01/11      02:33A 1 8173 436690         0:22      3 7352   5083 1 8    •••••••••••••••     3104 1 0276936201      phone       _ MOBILE_ DATA_ [5270 9/24337: - 97.09953:3 2.934 97:]
                                                                              2
1453    03/01/11      02:33A 18173436690           1:23      60997    505941      ••• ••• •••••••••   31 0410276936201       phone       _ MOBILE_ DATA_ [52709 / 24337 :- 97.09953:32 . 93497:]
                                                                              6
1454    03/01/11      02:35A 18173436690           0:27      40180 508116         ••••• •• ••••••••   310410276936201        phone       _ MOBILE_DATA_ [52709/24337: - 97 . 09953 :32. 93497:]
                                                                             5
1455    03/01/11      02:35A 18173 436690         60:00      609 38 274739        •••••••••••••••     31041 0276936201       phone       _ MOBILE_ DATA_ [52709 / 24337:-97.09953:32.93497:]
                                                                         6
1456    03/01/11      03: 3 5A   18173436690      60:00        102      49                            310410276936201        phone       _ MOBILE_ DATA_   [52709/24337: - 97.09953:32 . 93497: ]
1457    03/01 /11     04 : 35A   18173436690      60:00          51     49                            31041 0276936201       phone       _ MOBILE_ DATA_   [52709/2433 7 :-97.099 53:32. 93497: ]
1458    03/01/11      05 : 35A   1817 343 6690    60:00       6491 15275          ....•..........     310410276936201        phone       _ MOBILE_ DATA_   [ 52709/24337 :- 97.09953:32 . 93497 :]
1459    03/0 1 / 11   06 :35A    18173436690      60 : 00        51     49        ..••.•...•.....     310410276936201        phone       _ MOBILE_ DATA_   [5 27 09 / 24337: - 97 . 09953:32.93497: ]
1460    03/01/11      07:35A     18173436690      60:00     206841 113238                             310 410276936201       phone       _ MOBILE_ DATA_   [52709/ 24337: - 97 . 09953:32 . 93497:]
                                                                             4
1461    03/01/11      08:35A 1817343669 0         60 : 00    18635     25122                          310410276936201        phone       _ MOBILE_ DATA_ [527 09/ 24337: -9 7.09953:32 . 93497: ]




                                                                                          AT&T Propriet ary
         NKK                                                                                                                                                                                   Page 70
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                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 37 of 99 PageID 3758
                                                                                                                                                                                    ~ at&t
976503                                                      MOBILITY USAGE
08/17 / 2011
SCAMP                                                     (with cell location)


 Run Date:            08/17/2011
 Run Timo:            00 : 36:06
 Data Usage For:      (817)343-6690
 Account Number:      318912244
Item      Conn.        Conn.     Originating   Elapsed    Bytoo       Bytes              IMEI                 IMSI            Accooo      Description Cell Location
             Date      Time        Number       Time       Up          On                                                        Pt
1462    03/01/ll      08:52A 1 8173436690        0:48      1772       34385       •••••••••••••••       310410276936201    wap. cingula _ MOBILE_ DATA_ [52709 /62 022: -97 . 09953:32.93497:120 )
                                                                                                                           r
1463    03/01/ll      09:35A   18173436690      40 :12       152          49                            31 0410276936201   phone           _ MOBILE_ DATA_    [52709/62022:-97.09953 : 32 . 93497:120)
1464    03/01/11      l0:15A   1 8173436690      0 : 13           0           0   .........•.....       310410276936201    phone           _ MOBILE_ DATA_    [52903/03673: - 97.08444 : 32 . 92639:300)
1465    03 /01 / 11   l0:16A   1 817343669 0    60:00     15908       29140       •..............       31 0410276936201   phone           _ MOBILE_ DATA_    [52709 /62 028:-97.09953:32 . 93497 : 120)
1466    03/01/11      l0:40A   1 8173436690      0:50      2957       27336                             310410276936201    acda.voicem     _ MOBILE_ DATA_    [5 2709/24338 :- 97.09953:32 . 93497: )
                                                                                                                           ai l
1467    03 /01/ 11    ll:09A 1 81734 36690       0:57      2061        1333       .......•••.....       310410276936201    acda. v oicem
                                                                                                                                           - MOBILE- DATA-    [52709 /2433 8:-97. 09953:32 .93497:)
                                                                                                                           ail
1468    03 /01 / 11   ll:l6A   18173436690       0 : 00     0      0              .•••.....••.•.•       310410276936201    phone
                                                                                                                                           - MOBILE- DATA- [52709 /24338: - 97.09953:32 . 93497:)
1469    03/01/11      11:16A   18173436690       0 : 13     0      0              .......•..•....       310410276936201    phone           _ MOBILE_DATA_     [52903/27603:-97.08444:32.92639:300)
1470    03/01/11      11:16A   18173436690      60 : 00 93882 744992                                    310410276936201    phone           _ MOBILE_DATA_     [52709/24338:-97.09953:32.93497:)
1471    03/01/11      12:16P   18173436690      38 : 23 15708 24369                                     310410276936201    phone           _ MOBILE_ DATA_    [52709/24338:-97.09953:32.93497:)
1472    03/01/11      12:54P   18173436690       0:07       0      0              ••••••• ••••••• •     310410276936201    phone           _MOBILE_DATA_      [52903/27603:-97 . 08444:32.92639:300)
1473    03/01/11      12:54P   18173436690       0:04       0      0              •••••••••••••••       310410276936201    phone           _ MOBILE_ DATA_    [52709/24332:-97 . 09953:32.93497:128)
147 4   03/01/11      l2:54P   18173436690       0:03       0      0              •••••••••••••••       310410276936201    phone           _MOBILE_ DATA_     [52903 /27603 :-97. 08444 : 32.92639 :300)
1475    03 /01/11     12:54P   18173436690       0 : 03     0      0              •• • ••••••••••••     310410276936201    phone           _ MOBILE_ DATA_    [ 52709/24332:-97.09953:32.93497:128)
1476    03/01/11      l2:55P   18173436690       1 : 04     0      0              ***************       310410276936201    phone           _ MOBILE_ DATA_    [ 52903/27603:-97 . 08444:32 . 92639 : 300)
1477    03/01/11      12:56P   18173436690      60:00     102     98              ***************       310410276936201    phone           _ MOBILE_ DATA_    [52709 /6202 8 :-97. 09953 :3 2.93497:120)
1478    03/01/11      01:56P   18173436690      60 : 00 10985 21172               •••• ••• ••••• •• •   31041027693620 1   phone           _ MOBILE_DATA_     [ 52709/62028:-97 . 09953:32.93497 : 120)
1479    03/01/11      02:56P   18 173 436690    60:00    6071  23245              ***************       310410276936201    phone           _ MOBILE_ DATA_    [52709 /62028 : -97 . 09953:32.93497:120)
1 480   03/01/11      03:56P   18173436690      30 : 44    51     49                                    310410276936201    phone           _ MOBILE_DATA_     [ 52709/62028:-97.09953:32.93497:120)
1481    03 /01/ 11    04:39P   18 173436690     59:34 300053 482108               .......•.•....•       310410276936201    phone           _ MOBILE_ DATA_    [52709 /23 562 :-9 7.09917 :32.95 581 : 128)
                                                                              9
148 2   03/01 / 11    05:38P   18173436690       1 :39 21345 161702                                     310410276936201    phone           _ MOB ILE_ DATA_   [ 52709/23562:-97.09917:32 . 95581:128)
1483    03/01/11      06:01P   18173 4 36690    60:00 198857 870 1 34             ··········-····
                                                                                  ..............•
                                                                                                        310410276936201    phone           _ MOBILE_ DATA_
                                                                                                                                           _ MOBILE_ DATA_
                                                                                                                                                              [ 52709/2023 1 :-97. 12608:32.93822:8 )
                                                                                                                                                              [52709/20231:-97. 12608:32.93822:8)
1484    03/01/ll      07:01P   18 17 3436690    60:00    112       49                                   310410276936201    phone
1485    03/01/ll      08:01P   18173436690      21:20  57803 234439                                     310410276936201    phone           _ MOBILE_ DATA_    [ 52709/20231:-97.12608:32.93822:8)
1486    03/01/11      08:23P   18173436690       5:47  30733 290350                                     310410276936201    phone           _MOBILE_DATA_      [ 52903/0 3 679 : -97.0844 4:32.92639:300)
1487    03/01/ll      08:28P   18173436690       0:04      0        0                                   310410276936201    phone           _ MOBILE_DATA_     [52707 /41582 : -97.13542 :32.85347:120)
1488    03/01/11      08:28P   18173436690       0:40      0        0             ••••• •• ••••••••     310410276936201    phone           _ MOBILE_DATA_     [52903 /4 0553 : -97.112 17:32.85897 : 240)
1489    03/01/11      08:29P   18173436690      60:00    986   1425               •••••••••••••••       310410276936201    phone           _ MOBILE_ DATA_    [ 52707/415 88: -97.13542:32 . 85347 :1 20)
1490    03/01/11      09:29P   18173436690      60:00    948   2561               •••••••••••••••       310410276936201    phone           _MOBILE_DATA_      [52707 /41 588:-97 .13 542 : 32.85347 : 120)
1491    03/01/11      10:29P   18173436690      60:00   2296   6290               ***************       310410276936201    phone           _ MOBILE_ DATA_    [ 52707/41588 : -97.13542:32.85347 :1 20)
1492    03/01/11      11:29P   18173436690      60:00   1673   595 2                                    310410276936201    phone           _ MOBILE_DATA_     [52707 /41 588 : -97 .13542:32 . 85347:120)
1493    03/01/11      11:3SP   18173436690       0:23 215889   483 8                                    310410276936201    wap .c ingula   _ MOBILE_ DATA_    [52707/23533:-97.16078:32.85086 : 248)
                                                                                                                           r




                                                                                           AT&T Proprietary
        NKK                                                                                                                                                                                      Page 71
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                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 38 of 99 PageID 3759                                                             -...,.,
976503
                                                                                                                                                                             ~~ at&t
08/ 1 7/2011
                                                                  MOBILI TY USAGE
SCAMP                                                          (with cel l l ocati on )


    Run Date:               08 /17/2011
    Run Time:               00:36:08
    SMS Usage For:          (817)343-6690
    Account Number:         318912244
Item             Conn.              Conn.        Originating      Terminating          IMEI                  IMSI          Description   Cell Location
                 Date               Time            Number            Number
1             02/01/11             08:50A     18048732541      18173436690                            310410276936201            IN      ( 52709/2433 2:-97.09953:32.93 497 :128)
2             02/01/11             08:50A     1804873 2541     18173 4366 90                          310410276936201            IN      (52709 / 24332:-97.09953:32.93497 : 128)
3             02/01/11             08:50A     18048732541      18173436690                            310410276936201            IN      (52 70 9 /2 4332:-97.09953 : 32.93497:128)
4             02/01/11             08:50A     18048732541      18173436690      ................      310410276936201            IN      (52709/24332: - 97.09953:32.93497:128)
5             02/01/11             08:51A     1 8 173436690    18048732541      ...............       310410276936201           OUT      (52709/24332: - 97.09953:32.93497:128)
6             02/01/11             10:49A     1000000000       18173436690                            310410276936201            IN      (52903/03673: - 97.08444:32.92639:300)
7             02/01/11             10:49A                      18173436690      000000000000000       310410276936201            IN      ()
8             02/01/11             10 : 49A   1100             18173436690      •• • ••••••• •• •••   310410276936201        IN VMN      (52709/60521:-97.11489:32.91886:0)
9             02/01/11             10:49A     0100             18173436690      •••••••••••••••       310410276936201        I N_ VMP    (52709/60521:-97.11489:32.91886:0)
10            02/01/11             10:52A     19157405173      18173436690      •••••••• •• •• • ••   310410276936201            IN      (52709/62028:-97.09953:32 . 93497 :1 20)
11            02/01/11             11:48A     18172962476      18173436690      •••••••••• • •• • •   310410276936201            IN      (52709/60313:-97.07914: 3 2. 93881:240)
12            02/01/11             11: 48A    18173436690      18172962476                            310410276936201          OUT       (52709/60313:-97.07914:32.93881:240)
13            02/01/11             12:21P     18174202850      18173436690      000000000000000       31 0410 276936201      IN MMS      ()
14            02/01/11             12:21P     1111301000       1817343 6690                           310410276936201            IN      (52709 / 24332:-97.09953:32.93497:128)
15            02 /01/ 11           12:21P                      18173436690      000000000000000       310410276936201           IN       ()
16            02/01/11             12:21P     1111301000       18173436690                            310410276936201            IN      (52903/27603:-97.08444:32 . 92639:300)
17            02/01/11             12:48P     19157405173      1 817343 6690    .•.•...........       310410276936201            IN      (52709/62028:-97.09953:32.93497:120)
18            02/01/11             01:19P     18174202850      18173436690      000000000000000       310410276936201        IN_ MMS     ()
19            02 /01 / 11          01:19P     1111301000       18173436690                            310410276936201           IN       ( 52709 / 24332:-97.09953:32. 9 3497 : 128)
20            02/01/11             01:20P     1111301000       18173436690      •••...•......•.       310410276936201           IN       (52709/24332: -97.09953:3 2.9349 7:128)
21            02/01/11             01:56P     18048732541      18173436690      .•.............       310410276936201           IN       (52709 / 24332: - 97.09953:32 .9 3497:128)
22            02/01/11             02:23P     18173431808      18173436690                            310410276936201           IN       (5 27 09/24332:-97.09953:32.93497:128)
23            02 /0 1/11           02:28P     18173436690      18173431808      .......•..•..•.       3 10410276936201         OUT       (52709/24332:-97 . 09953:32.93497:128)
24            02/01/11             02:42P     1000000000       18173436690      ...............       3 1 041027693620 1        IN       (52709 / 243 3 2:-97.09953 : 32.93497 : 128)
25            02/01/11             02:42P     1100             18173436690                            310410276936201        IN VMN      ( 52709/24332:-97.09953:32.93497:128)
26            02/01/11             02:42P     0100             18173436690                            31041027693620 1       IN_ VMP     (52709 /2 4332:-97.09953:32.93497 : 128)
27            02/01/11             05:46P     18179074504      18173436690      ...........•.•.       310410276936201           IN       (52 709/604 23 : -97.09917:32 .95 58 1 :248)
28            02/01/11             05:49P     18173436690      18179074504                            31041027693620 1         OUT       (52709 / 20237:-97.12608:32.93822:8)
29            02/01/11             05:49P     18173436690      18179038698                            310410276936201          OUT       (52709 / 20237: - 97 . 12608:32.93822:8)
30            02/01/11             05:50P     18173436690      18173431808                            310410276936201          OUT       (52709/20237:-97.12608:32.93822:8)
31            02/01/11             05:51P     18173436690      19157405173                            310410276936201          OUT       (52709/24311:-97 . 12608:32.93822:8 )
32            02/01/11             05:52P     18173431808      18173436690                            310410276936201           IN       (52709/24311:-97 . 12608:32.93822:8)
33            02 /0 1/11           05:52P     18173431808      1 8 1 73436690   ...............       310410276936201           IN       (52709/24311: - 97. 1 2608:32.93822:8)
34            02/01/11             05:56P     18179038698      18173436690                            3104102769 3 6201         IN       (52709/26943:-97 . 12506:32.97 1:300)
35            02/01/11             06:09P     18179074504      18173436690      ...............       310410276936201           IN       (52709/60423:-97.09917 : 32.95581:248)
36            02/01/11             06:25P     18173436690      1 8 1 79038698   •...........•..       310410276936201          OUT       (52709/20237:-97.12608:32.93822:8)
37            02/0 1 /11           06:31P     1817 3431808     18173436690                            310410276936201           IN       (52709/60423:-97.09917:32.95581:248)
38            02/01/11             08:42P     1 8048732541     18173436690                            310410276936201           IN       (52709/20231:-97. 1 2608:32.93822:8)



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                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 39 of 99 PageID 3760
                                                                                                                                                                                 ~~ at&t
976503
08/17/2 0 11
                                                              MOBILITY USAGE
SCAMP                                                      (with cell location)


 Run Dato:              08/17/2011
 Run Timo:              00:36:08
 SMS Ooago Por:         (817)343-6690
 Account Number:        31891224 4
Item         Conn.             Conn.       Originating     Terminating               IMBI                      IMSI            Description   Cell Location
             Date               Time          Number           Numb or
39         02/01/11           09:02P     18173436690     18048732541        • • •••• ••• ••• •••       310410276936201             OOT       [52709 / 20231:-97.12608:32.93822:8)
40         02/02/11           12:14A     18177845975     18173436690        •• • • • •••••• • • • •    310410276936201              IN       [52903 / 24182: - 97.11217:32 . 85897:128)
41         02/02/11           12: 1 4A   1 8173436690    18177845975        • ••• • • • ••••••••       310410276936201             OOT       [52903/24182:-97.11217 : 32.85897:128)
42         02/02/11           08:49A     18178327656     18173436690        •••••• ••• •••• ••         310410276936201              IN       [52709/24331:-97.09953:32.93497 : 8 )
43         02/02/11           09:23A     18173436690     18178327656        •• •••••••• • •• • •       310410276936201             OOT       [52709/23562:-97 . 099 1 7:32.95581 : 128 )
44         02/02/11           09:26A     18178327656     18173436690        ••• •••••••• • •••         310410276936201              IN       [ 52709/23562:-97.09917 : 32.95581 : 128)
45         02/02/ll           09:27A     18178327656     18173436690        ••• • •• • ••• • • • ••    310410276936201              IN       [52709/ 23562 : -97 . 09917:32.9558 1: 128)
46         02/02/11           09:28A     18173436690     18178327656        •••••••••••• • ••          31041 0276936201            00'1'     [52709 / 23562:-97.09917:32 . 9558 1: 128)
47         02/02/11           09:31A     18178327656     18173436690        ••••••• ••• • ••••         310410276936201             IN        [52709/23562: - 97.09917:32.9558 1 :128)
48         02/02/ 11          09:4 l A   18173436690     18048732541        000000000000000                                     OOT MMS      [)
49         02/02/11           09:42A     18173436690     19157400023        000000000000000                                     OUT_MMS      (]
so         02/02/11           09:42A     18173436690     18179038698        •••••• • •••• ••• •        3104102 76 9 36201         OOT        [52709/23562: - 97.09917:32.95581:128)
51         02/02/ll           09:43A     18173436690     18179074504        ••••••••••• ••••           310410276936201            OOT        [52709 / 23562: - 97 . 09917:32.95581:128)
52         02/02/ll           09:44A     18173436690     13617741561        000000000000000                                     OO'l'_ MMS   [)
53         02/02/ll           09 : 44A   18173436690     15126996659        000000000000000                                     OO'l'MMS     [)
54         02/02/11           09:44A     18173436690     16823654979        000000000000000                                     OO'l'_ MMS   [)
55         02/02/ll           09 : 44A   18173436690     1 8172296524       00000000000 00 00                                   OUT_MMS      [)
56         02/02/11           09:44A     18173436690     18172962476        000000000000000                                     OUT MMS      [)
57         02/02/11           09:44A     18173436690     18174548309        000000000000000                                     OOT_MMS      [)
58         02/02/11           09:45A     18179038698     18173436690        ••• •• •• ••••• •••        310410276936201             IN        [52709 / 23562:-97.09917:32. 95581:128)
59         02/02/11           09:49A     18048732541     18173436690        •••••••••••• •••           310410276936201             IN        [52709 / 23563: - 97.09917:32.95581: 2 48)
60         02/02/11           09:5lA     18048732541     18173436690        •• •• • •• ••• • ••••      310410276936201             IN        [52709/23562:-97 . 09917:32 . 95581:128)
61         02/02 /11          l0:03A     1817907450 4    18173436690        * * * * ** * * ** * ****   310410276936201             IN        [52709/23562 : -97 . 099 1 7:32.95581:128)
62         02/02/11           ll :02A    13 617741561    1 817 343 66 9 0   •••••••••••• •••           310410276 9 36201           IN        [52 709/23562:-97. 0 99 1 7:32.95581 : 128)
63         02/02/11           ll:25A     1 8173436690    18179038698        • •• • •••••• •• • • •     310410276936201            OUT        [ 52709/23562:-97.09917 : 32.95581 : 128)
64         02/02/11           l2:38P     18173436690     18178993056        • •••• • • •••••• ••       310410276936201            OUT        [52709/ 23562:-97.09917:32.95581:128)
65         02 / 02/11         l2:38P     18178993056     18173436690        •••••••• •••••••           310410276936201             IN        [52709/23562 : -97.09917:32.95581:128)
66         02/02/11           l2:47P     1 8173436690    18178993056        •••••••• • •• ••••         3104 1 0276936201          00'1'      [52709/ 23562:-97.09917 : 32.9558 1 :128)
67         02/02/11           l2:48P     1 8178993056    1 8173436690       •• ••• • • ••••••••        310410276936201             IN        [ 52709/23562: - 97.09917:32.9558 1 : 1 28)
68         02/02/ 11          l2:50 P    1 8 173436690   1 8178993056       • •••••• ••••••• •         3 1 04 1 02769 3 6201      OUT        [52709/23562:-97 . 09917:32.9558 1 : 1 2 8)
69         02/02/11           03:l9P     18177845975     18173436690        • ••••• •••••••••          3104 1 02769 3 6201         IN        [ 52709/23562: - 97.09917 : 32.95581 : 1 28)
70         02/02/11           03 : 58P   18179469251     18173436690        •••••••••• ••• ••          31041 0276936201            IN        [52709/23562:-97 . 09917:32 . 95581:128)
71         02/02/11           04:04P     18173436690     18179469251        ******* ***** * * *        310410276936201            OUT        [52709 / 23562: - 97.09917:32.95581: 1 28)
72         02/02/11           04:05P     18179469251     18173436690        ••••• • • ••••••••         3104102769 3 6201           IN        [52709/23562: - 97.09917:32.95581:128)
73         02/02/11           04:06P     18173436690     18179469251        •••••• • ••• •••••         310410276936201            OOT        [52709/23562: - 97.09917:32 . 95581: 1 28)
74         02/02/ 11          04 : 07P   1 817 9469251   1 8 173436690      • ••••••••• •••••          3104 1 027 69 3 620 1       IN        [5 2709/23562 : -97.09917:32.95581 :128 )
75         02/02/11           04:09 P    1817343669 0    1 8179469251       • •• ••• •• • •••• ••      310410276936201            OUT        [52709/23562:-97.09917:32.95581 :12 8 )
76         02/02/ll           04:l0P     18179469251     1 8173436690       •• ••• •• • • ••••••       31041027693620 1            IN        [5270 9 /23562:-97.09917:32.95581 : 128)



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                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 40 of 99 PageID 3761                                                              -..,...
976503
                                                                                                                                                                           ~ ~ at&t
08/17/2011
                                                                MOBILITY USAGE
SCAMP                                                        (with cell location )


 Run Date:                08/17/2011
 Run Time:                00:36:08
 SMS Usage For:           (817)343 - 6690
 Account Number :         318912244
Item        Conn.                Conn.        Originating     Terminating           IMEI                 IMSI           Description   Cel l Location
                 Date            Time           Nwnber           Nwnbor
77           02/02/11           04:10P      18173436690     16179469251                           31041027693620 1         OUT        [52709 / 23562: - 97.099 1 7:32.9556 1 : 1 26)
78           02/02/11           04:12P      18179469251     1 6173436690     ...............      310410276936201           IN        [ 52709 / 23562:-97.09917:32.95561:126)
79           02/02/11           04:13P      18173436690     16179469251                           310410276936201          OUT        [52709/23562:-97.09917:32.9556 1 : 1 26)
80           02/02/11           04: 14 p    18179469251     16173436690                           310410276936201           IN        [52709/23563 : -97.09917:32.95561:246)
81           02/02/11           04:14P      18173436690     16179469251                           310410276936201          OUT        [52709/23562 : -97.09917 : 32.95561: 126 )
82           02/02/11           04:15P      18179469251     1 6173436690     ...•••••••.....      310410276936201           IN        [52709/23562:-97 . 099 1 7:32.9558 1 : 1 26)
83           02/02/11           04:16P      18173436690     16179469251                           310410276936201          OUT        [52709/23562:-97.09917:32.95561 : 126)
84           02/02/11           04:17P      18179469251     16173436690                           310410276936201           IN        [52709/ 23562:-97.09917:32.95581 : 126)
85           02 / 02/11         04 : 18P    18179469251     16173436690      ........•......      310410276936201           IN        [52709/ 23562:-97.09917:32.95581:126)
86           02/02/11           04:19P      18173436690     16179469251      .....••.......•      310410276936201          OUT        [52709/ 23562:-97.09917:32.95581:126)
87           02/02/11           04:23P      16179469251     1 6 173436690    .......••••....      310410276936201           IN        [52709/23562:-97.09917:32.95581: 1 26)
88           02/02/11           04:23P      16179469251     16173436690      ...••.•........      310410276936201           IN        [52709/23562: - 97.09917:32.95581: 1 26)
89           02/02/11           05:24P      16176327656     1 6173436690     •....•.........      310410 276936201          IN        [52709/ 20237: - 97.12608:32.93822:6)
90           02 / 02/11         05:46P      16173436690     16176327656                           310410276936201          OUT        [52709/ 20231:-97.12608:32.93 822:8)
91           02/02/11           05:46P      16176327656     16173436690      ...............      310410276936201           IN        [52709/ 20237:-97.12606:32.93622:6)
92           02/02/11           06:01P      16177645975     1 6173436690     ....•••........      310410276936201           IN        [52709/20237:-97 . 12608 : 32.93622:8)
93           02/02/11           06:41P      16046732541     16173436690      ......•••.....•      310410276936201           IN        [52709/20237: - 97.12606:32.93622 :6)
94           02/02/11           06:41P      16048732541     16173436690      ...............      31041027 693 62 01        IN        [52709/ 20237:-97.12606 : 32.93622:8)
95           02/02/11           06:48P      16173436690     18046732541                           310410276936201          OUT        [52709 / 24311:-97.12606:32.93822:8 )
96           02/02/11           06:50P      16046732541     16173436690      ...............      310410276936201           IN        [52709 / 20237: - 97.12606:32.93822:8)
97           02/02/11           07:19P      16173431608     18173436690      .........••....      310410276936201           IN        [52709 / 20237:-97.12608:32.93822:8)
98           02/03/11           05:18A      16179469251     18173436690                           310410276936201           IN        [52709 / 23562: - 97.09917:32.95581 : 128)
99           02/03/11           07: 23A     16173436690     16179469251      ...............      310410276936201          OUT        [52709 / 23562: - 97 . 09917:32.95581:126)
100          02/03/11           08:31A      16179469251     161 73436690                          310410276936201           IN        [52709/24332:-97.09953:32.93497 : 126)
101          02/03/11           06:36A      16173436690     16179469251      • • • ••••••••••••   310410276936201          OUT        [52709/24332 : -97.09953:32 . 93497 : 1 2 8)
1 02         02/03/11           06:40A      16179469251     16173436690      • • • ••••••••••••   310410276936201           IN        [52709 / 24332 : -97.09953 : 32.93497:126)
103          02/03/11           06:44A      1617343 6690    18179469251      .......•.......      310410276936201          OUT        [52709 / 24332: - 97.09953:32.93497:126)
104          02/03/11           06:52A      16179469251     16173436690                           310410276936201           IN        [52709 / 24332: - 97.09953:32.93497:128)
105          02/03/11           06:52A      16179469251     16173436690      .......••••....      3104102769 3 6201         IN        [52709/24332: - 97.09953:32.93497:126)
106          02/03/11           09:02A      1000000000      1 6173436690     •••............      3104102769 3 6 2 01       IN        [52709/24332: - 97.09953:32.93497:128 )
107          02/03/ 1 1         09:02A      1100            1 6173436690     .......••.•....      310410276936201         IN VMN      [52709/24332:-97.09953:32.93497 : 126 )
108          02/03/11           09:02A      0100            16173436690      •...•..........      310410276936201         IN VMP      [52709 / 24332: - 97.09953:32.93497:126)
109          02 / 03/11         09:28A      16179469251     16173436690                           310410276936201           IN        [52709 / 62028:-97.09953:32 . 93497:120)
110          02/03/11           ll:57A      16173431606     16173436690      .............•.      310410276936201           IN        [52709 / 60313: - 97.07914:32.93881:240)
111          02/03/11           01:56P      1000000000      1 6173436690     .......••••••..      310410276936201           IN        [52709/62028: - 97.09953:32.93497:120)
112          02/03/11           01 : 56P    1100            1 6173 4 36690   ......•........      310410 276936201        IN_ VMN     [52709/62026: - 97.09953:32.93497 : 120)
113          02/03/ 1 1         01 : 56P    0100            1 6173436690     .......•.......      310410276936201         IN_ VMP     [ 52709 / 62026 : -97 . 09953:32.93497 : 120)
114          02/03/11           03:32P      16173436690     16174546309      000000000000000                             OUT_ MMS     [)




                                                                                       AT&T Proprietary
        NKK                                                                                                                                                                            Pa ge 74
                                   The information contained here is f or use by authoriz e d person only and is
                                                          not for general distribu tion.
                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 41 of 99 PageID 3762                                                              -..,.,
976503
                                                                                                                                                                         ~ 1 at&t
08 /17/ 2011
                                                             MOBILITY USAGE
SCAMP                                                     (with cell location)


 Run Date:              08/17/2011
 Run Time:              00:36:08
 SMS Uoago For:         (817) 343-6690
 Account Number:        318912244
I tem        Conn.             Conn.         Originating      Terminating         IMBI               I MSI           Description   Cell Location
              Date              Time           Number           Numb or
115        02/03/11           03 : 32P    1 8173436690     18176815643      000000000000000                           OUTMMS       [)
11 6       02 / 03/11         03:33P      18176915643      1 817343669 0    ....••.•.......   310410276936201            IN        [52709 /60428:-97.09917:3 2.95581:129)
117        02/03/11           03:33P      18174548309      1 9173436690                       310410276936201            IN        [52709 / 60428:-97.09917:32 . 95581:129)
118        02/03/11           03 : 34P    18173436690      19176575010                        310410276936201           OUT        [52709/60428: - 97 . 09917:32.95581 :12 8)
119        02/03/11           03:36P      1817 6575010     19173 436690     ...••.••..•••..   310410276936201            IN        [52709/23568:-97.09917:32.95581 :)
120        02/03/1 1          03: 37P     18176575010      19173436690                        310410276936201            IN        [52709/23568:-97.09917:32 . 9558 1:)
121        02/03/11           03:38P      18173436690      19176575010                        3104102769 362 01         OUT        [52 709/60422:-97 . 09917:32.95581 : 128)
122        02/03/11           03:38 P     18173436690      19174548309                        310410276936201           OUT        [52709/60422: - 97 . 09917:32.95591:128)
123        02/03/11           03:39P      18174549309      18173436690      ...•...........   310410276936201            IN        [52709/60428:-97.099 1 7:32.95581: 1 28)
124        02/03/11           03:39P      19176575010      1817343 6690     ...••........••   310410 276936201           IN        [52709/23568: - 97.09917:32.95581:)
125        02/03/11           03:42P      18173436690      1917454 9309                       3104 1 027 693 62 01      OUT        [52709/60422:-97.09917:32.95581:128)
126        02/03/11           03:53P      18048732541      19173436690      ..•.•..........   310410276936201            IN        [52709/20328:-97.15 139:32.97094:128)
127        02/03/11           03:58P      18173436690      18048732541                        3 1 04 1 027693 6201      OUT        [52709/62029:-97 . 09953:32.93497:240)
128        02/03/11           03:58P      181734 31809     18173436690                        310410276936201            IN        [5 2 7 09/24331:-97.09953 : 32 . 93497:8)
129        02/03/11           04:01P                       18173436690      000000000000000   3104 1 027693620 1         IN        [)
130        02/03/11           04:01P      18048732541      18173436690      ...•..•..•...•.   310410276936201            IN        [52903/27603:-97.08 44 4:32.92639: 3 00)
131        02/03/11           05:08P      18173431909      18173 436690     .........•.....   310410276936201            IN        [5 2707/40649 : -97 . 16078:32.85086:248)
132        02/03/11           05 : 09P    18173431909      18173436690                        3104 1 02769 3 620 1       IN        [ 52707 /406 49:-97.16078:32.85086:248)
13 3       02/03/11           05:36P      19173431808      18173436690                        3104102769362 01           IN        [52707/40649 :- 97.16078:32.85086:248)
134        02/03/11           05: 36P     19173431909      18173436690                        310410276936201            IN        [52707/40649:-97 . 16078:32.85086 : 248)
13 5       02/03/11           05:37P      19173436690      18173431808                        31041 0276936201          OUT        [ 52707 /4064 9:-97 . 16078:32.85086: 248)
136        02/03/11           05:40P      12148616994      18173436690                        310410276936201            IN        [52707/40649:-97.16078:32.85086 :248)
137        02/03/11           05:41P      19173431909      1 8173436690                       310410276936201            IN        [5 27 07/40649: - 97.1 6 078:32.85086: 248 )
13 8       02/03/11           05:50P      19172962476      18173436690      ...............   31041 0276 93 6201         IN        [52707/23533: - 97. 16 078:32.8508 6:248 )
139        02/03/11           05:50P      1917946925 1     1 9173436690     ...........•.•.   310410276936201            IN        [5 2 7 07/23533: - 97. 1 6078:32.85086:248)
140        02/03/11           07:36P      18173431808      18173436690      000000000000000   3 10410276936201        IN_ MMS      [)
141        02/03/11           07 : 36P    1111301000       18173436690                        310410276936201            IN        [52707 / 40643:-97.16078:32.85086:248 )
142        02/03/11           07:36P      1111301000       18173436690                        310410276936201            IN        [52707 / 40643:-97.16078:32 . 85086:248)
143        02/03/1 1          09:23P      18179469251      18173436690                        3104102769 3 6201          IN        [52707 / 40649: - 97.16078:32.85086:248)
144        02/03/ 11          10 : 01 P   1817 946925 1    18173436690                        310410276936201            IN        [52709/23562: - 97.099 17 :32.95581: 1 28)
145        02/03/11           lO : Ol P   1917946 9251     18173436690      ..•............   310410276936201            IN        [527 09/23562: - 97. 0 99 1 7:32.9558 1 : 128)
146        02/03/11           10 : 03P    1 8173 4 36690   18179469251      •............•.   310410276936201           OUT        [52709/23562:-97.099 1 7:32.95581:128)
147        02/03/11           10:06P      1 000000000      18173 436690                       310410276936201            IN        [52 709/23 5 62: -9 7.09917:32.95581:128)
148        02/03/11           10:06P      1100             18173436690                        310410276936201         IN_ VMN      [52709 /23562:-97. 09917:32.955 8 1:128)
149        02/03/11           10 : 06P    0100             18173436690      ....•.......•..   310410276936201         IN VMP       [52709 / 23562:-97.099 17 :32.95581: 128)
150        02/03/11           10:06P      19179 074504     18173436690      .•...........••   310410276936201            IN        [52709/24331:-97.09953:32.9 3497:8)
151        02/03/11           10:09P      191574 00023     1 8173436690     .............•.   310410276936201            IN        [52709/23562:-97.09 917:3 2 .9 5581:128)
152        02/03/11           10: 1 6P    1 9173436690     18179074504                        310410276936201           OUT        [52709/23473:-97 . 07914:32 . 93881:248 )



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        NKK                                                                                                                                                                         Page 75
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                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 42 of 99 PageID 3763
976503                                                         MOBILITY USAGE
08/17/2011
SCAMP                                                       (with cell location)                                                                                       @? at&t

 Run Date:               08/17/2011
 Run Time:               00:36:08
 SMS Ooage For:          (817)343·6690
 Account Numbor:         318912244
Item         Conn.              Conn.       Originating     Terminating         IMBI                 IMSI           Description   Cell Location
               Date              Time         Number           Number
153        02/03/11            10:19P     18179038698     18173436690                         310410276936201            IN       [52709/61953:·97.06431:32.95469:248]
154        02/03/11            10:21P                     18173436690     000000000000000     310410276936201            IN       []
155        02/03/11            10:22P     18179469251     18173436690     .........••.••.     310410276936201            IN       [52709 / 01699:·97.03797:32.97467:300]
156        02/03/11            10:22P     18179469251     18173436690                         310410276936201            IN       [5 2709 /0 1699: -97 . 03797 :32 .97467 :300]
157        02/03/11            10:25P     18179469251     18173436690     .•.......•.•...     310410276936201            IN       [52709/6 1281:-97.04108:32. 942 17:0]
158        02/04/11            01:13A     18173436690     18179038698     •••••••••••••••     310410276936201           OUT       [52709/60422 :-97. 099 17:3 2.95581:128]
159        02/04/11            01:17A     18173436690     18179074504     000000000000000                            OOT_ MMS     []
160        02/0 4 / 11         01:22A     18173431808     18173436690     *** *** *********   310410276936201            IN       [52709/60422:-97.09917:32.95581:128]
161        02/04/11            01:22A     18173436690     181734318 08    •••••••••••••••     31041027693620 1          OUT       [52709/60422:-97.09917:32.95581: 1 28]
162        02/04/11            01:26A     18173431808     18173436690     •••••••••••••••     310410276936201            IN       [52709 / 60422:-97.09917:32.95581:128]
163        02/04/11            01:26A     18173436690     18173431808     •••••••••••••••     31041027693620 1          OUT       [52709 /60422: - 97.09917:32.95581: 12 8 ]
164        02/04/11            01:27A     18173431808     18173436690     •••••••••••••••     310410276936201            IN       [52709/60422:-97.09917:32.95581: 1 28 ]
165        02/04/11            01:28A     18173431808     18173436690     •••••••••••••••     3 10 410276936201          IN       [52709/60422: - 97.09917:32.95581: 128]
166        02/04/11            01:28A     18173431808     18173436690     •••••••••••••••     310410276936201            IN       [52709/60422: - 97.09917:32.95581:128 ]
167        02/04/11            08:45A     18173436690     18173431808     •••••••••••••••     310410276936201           OUT       [52709/24332:-97 .09953:32.93497:128]
168        02/04/11            08:52A     18179469251     18173436690     •••••••••••••••     310410276936201            IN       [52709/24332 :- 97.09953:32.93497: 128]
169        02/04/11            08:52A     18179469251     18173436690     •••••••••••••••     310410276936201            IN       [52709/24332:-97.09953:32.93497:128]
170        02/04/11            08:52A     18179469251     18173436690     •••••• •• •••••••   310410276936201            IN       [52709/24332:-97.09953:32.93497:128 ]
171        02/04/11            09:14A     18173431808     18173436690     •••••••••••••••     310410276936201            IN       [ 52709/24332:-97 .09953:32. 93497:128 ]
172        02/04/11            09:43A     1214 5669724    18173436690     •••••••••• •••••    310410276936201            IN       [52709 / 62022:-97.09953:32.93497:120]
173        02/04/11            09:52A     18176575010     1817 3436690    •••••••••••••••     31 04102769 36201          IN       [52709 / 62022: - 97.09953:32.93497:120]
174        02/04/11            09:58A     18173436690     1817 6575010    •••••••••••••••     31 04102 76936 20 1       OUT       [52709 / 62028: - 97.09953:32.93497:120]
175        02/04/11            09:59A     18176575010     18173436690     •••••• •••• •••••   310410276936201            IN       [ 52709/60521:-97 . 11 489:32.9 1886 :0]
176        02 /04/11           10:01A     18173436690     18176575010     •••••••••••••••     310410276936201           OUT       [52 709/62022:-97 .09953:32.93497:120 ]
177        02 / 04/11          10:05A     18173431808     18173436690     •••••••••••••••     310410276936201            IN       [52709/62022:-97 . 09953:32 . 93497:120]
178        02 /0 4 /11         11:48A     18173431808     18173436690     •••••••••••••••     310410276936201            IN       [52 709/60313 : -97.07914:32.93881:240]
179        02 / 04/11          12:23P     18172296524     181 73436690    000000000000000     310410276936201         IN MMS      []
180        02/04/11            12:23P     1111301000      18173436690     •••• •• •••••••••   310410276936201            IN       [52709 /6 2028:-97.09953:32.93497:120]
181        02/04/11            12 : 23P   1111301000      18173436690     •••••••••••••••     310410276936201            IN       [52 709/62028:-97 .09953:3 2.93 4 97:120]
182        02/04/11            12:35P     18173431808     181734366 90    •••••••••••••••     310410276936201            IN       [52709/60313:-97.07914:32.93881:240]
183        02/04/11            12 :35P    18173431808     18173436690     •••••••••••••••     310410276936201            IN       [5270 9/60313 :-97.07914:32.93881:240]
184        02/04/11            06:50P     18173431808     18173436690     •••••••••••••••     310410276936201            IN       [52709/23563:-97.09917:32.95581:248]
185        02/04/11            06:50P     18173436690     18173431808     •••••••••••••••     310410276936201           OUT       [52709/ 23563:-97.09917:32.95581:248]
186        02/04/11            06:51P     18173431808     18173436690     •••••••••••••••     310410276936201            IN       [52709/23563:-97.09917:32.95581:248]
187        02/04/11            06:51P     18173431808     18173436690     •••••••••••••••     310410276936201            IN       [52709/ 23563:-97.09917:32.95581:248]
188        02/04/11            07:04P     18174202850     18173436690     •••••••••••••••     310410276936201            IN       [52709 / 24311:-97. 12608:32.93822:8]
189        02/04/11            07:17P     18173431808     18173436690     •••••••••••••••     310410276936201            IN       [52709/20231: - 97 . 12608:32 . 93822:8 ]
190        02/04/11            10:30P     18179074504     18173436690     •••••••••••••••     310410276936201            IN       [52709/ 20231:-97.12608:32.93822:8]



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                                                         not for general dis tribution.
                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 43 of 99 PageID 3764
                                                                                                                                                                          ~~ at&t
976503                                                         MOBI LITY USAGE
08/17/2011
SCAMP                                                       (wi th c ell l o c at ion )


 Run Date:               08/17/2011
 Run Timo:               00:36:08
 SMS Usago For:          (817)343-6690
 Account Number:         318912244
Item          Conn.             Conn.        Originating      Terminating          IMBI                 IMSI           Description   Cell Location
              Date              Time              Numb or          Number
191        02/04/11            11:45P      18173436690      18179074504      •••••••••••••••     310410276936201          OUT        (52709/24311: - 97.12608:32.93822:8]
192        02/04/11            11:49P      18179469251      18173436690      •••••••••••••••     310410276936201          IN         (52709/24317:-97.12608:32.93822:]
193        02/04 /11           11:59P      18179074504      18173436690      •••••••••••••••     310410276936201          IN         (52709/24311:-97.12608 : 32.93822:8]
1 94       02/04/11            11 :59P     18173431808      18173 4 3 6690   •••••••••••••••     3104102769 3 6201        IN         (52 709/24311: - 97.12608:3 2. 93822 :8 ]
195        02/05/11            12:04A      181734 36690     1817 343 1808    •••••••••••••••     310410276936201          OUT        [ 52 709 /23563:-97 .099 17 :32. 95581: 248]
196        02/05/ 11           12:04A      18173 43 1 808   1817343 6690     •••••••••••••••     3104102769 3 6201         IN        (52 709/24311:-97 . 12608:32.93822:8]
197        0 2 /0 5/11         1 2:13 A    18173436690      18173431808      •••••••••••••••     310410276936201          OUT        [52709/62029 : -97.09953:32.93497 :2 40]
198        02/05/11            12:15A      18173431808      18173436690      •••••••••••••••     3 1 0410276936201         IN        (52709 / 24339:-97.09953:32.93 497:]
1 99       02/05/11            12:16A      18173436690      18173431808      •••••••••••••••     310 4 10276936201        OUT        (52709/24339:-97.09953:32.93497:]
200        02/05/ 11           12: 1 8A    18 179469251     1817343 6690     •••••••••••••••     310410276936201           IN        (5 2709 /24339 :-97.09953:32.93497:]
201        02/05/11            12 : 27A    1000000000       18173436690      •••••••••••••••     310410276936201            IN       (52903 / 23587:-97.09742:32.89986:]
202        02/05/11            12 : 27A    1100             18173436690      •••••••••••••••     310410276936201         IN VMN      (52903 / 23587:-97.09742:32.89986:]
203        02/05/11            12:28A      0100             18173436690      •••••••••••••••     3 1 04 102769362 01     IN_ VMP     (5 2 903/23587 :- 97.09742:32 . 89986 :]
204        02/05/ 11           12:58A      18179469251      18173436690      ••••••• • •••••••   3104 1 0276936201          IN       (52707 /4 064 3:-97.16078 :32.85086:248]
205        02/05/11            0 2: 0 1A   18173436690      18179469251      ••••••••• ••••••    310410276936201           OUT       (52707 / 40643:-97.16 078 : 32.85086:248]
206        02/05/11            02:03A      18179469251      18173436690      •••••••••••••••     310410276936201            IN       [52707 /40643 : - 97.16078:32.85086:248 ]
207        02/05/11            02 :14A     18179469251      18173436690      •••••••••••••••     310410276936201            IN       (52707/40643:-97 . 1 6078 :3 2.85086 :2 48]
208        02/05/ 11           02:18A      181794 692 51    18173436690      •••••••••••••••     310410276936201            IN       [52707/40643:-97.16078:32.85086: 24 8 ]
209        02/05/11            02:27A      1 81794 69251    18173436690      •• •• •••••••••••   310410276936201            IN       (52707/ 4 0643:-97 . 16078:32.85086 :24 8]
210        02/05/11            02 : 49A    18179469251      18173436690      •••••••••••••••     310410276936201            IN       (52709/23562:-97.09917 :3 2.95581: 128]
211        02/05/11            02:57A      18179469251      18173436690      •••••••••••••••     310410276936201           IN        [527 09/ 2356 2:-9 7 . 09917 : 32.95581:128]
212        02 /05/ 11          03:35A      1 8173 431808    18173436690      ••••••••• • •••••   31041027693620 1          IN        [52709/23562: - 97 . 09917:32.95581 :12 8]
213        02/0 5 /11          03:35A      1 81734366 9 0   181734 31808     •••••••••••••••     3104 1 0276936201        OUT        [ 52709 / 23562: - 97 .0 9917:32.95581:128]
214        02/05/11            03:36A      18173431808      18173436690      ******* ********    310410276936201           IN        [ 527 09/23562: - 97 .0 9917:32.95581 :12 8]
215        02/05/11            0 3 :36A    1 8 17 3436690   1 8 17 3431808   •••••••••••••••     31041 02769 36201        OUT        (52709/2 3562: - 97 . 09917:32.95581:128]
216        02/05/11            03:37A      18173431808      18173436690      •••••••••••••••     310410276936201           IN        (52709/23562: - 97.09917:32.95581:128]
217        02/05/11            03 :38A     18173431808      18173436690      •••••••••••••••     31041027693620 1          IN        [52709/23562: -97.09917:32.95581:128]
218        02/05/ 11           03:39A      18173436690      18173431808      ••••••••• • •••••   310410276936201          OUT        [52709/23562:-97 . 09917:32.95581:128 ]
219        02/05/11            03:4 0A     18173431808      1 8 1 73436690   •••••••••••••••     310 410276936201          IN        [52709/23562:-97.09917:32.95581:128]
220        02/05/11            03:41A      18173436690      18173431808      •••••••••••••••     3 10 410276936201        OUT        ( 52709/23562 : -97 .0 9917:32 . 95581 : 128]
2 21       02/05/11            03:42A      1817 3431808     1 8173436690     •••••••••••••••     310410276936201          IN         ( 527 0 9/23562: - 97.09917:32.95581:128]
222        02/05/11            03 :4 3 A   18173431808      18173436690      •••••••••••••••     310410276936201          IN         [ 52709/23562:-97.09917:32 . 9558 1:1 28]
22 3       02/05/11            03 :43A     18173436690      18173431808      •••••••••••••••     310410276936201          OUT        [52 709/23562:-97.09917 : 32.95581 : 128]
224        02/05/11            03 :44A     18173431808      18173436690      ••••••••••• •• ••   310410276936201          IN         (52 709/23562 :-97 .0991 7:32.95581 :128]
225        02/05/11            03:44A      18173431808      1 8 1 73436690   •••••••••••••••     310410276936201          IN         [52709 /23562: - 97.09917:32 . 9558 1:128]
226        02/05/11            03:44A      18173431808      18173436690      •• •••••• •••••••   310410276936201          IN         [ 52709/23562: - 97 .0 9917 : 32 .9 558 1:128]
227        02/05/11            03:45A      1 8 1734 36690   181734 31808     •••••••••••••••     310410276936201          OUT        [52 709/23562 : -97.099 1 7 :32. 9558 1 :128]
228        02/05/11            03:45A      18173431808      18173436690      •••••••••••••••     310410276936201           IN        [52709 /2356 2:-97.09917:32.9 5581: 128]



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                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 44 of 99 PageID 3765
                                                                                                                                                                              ~ at&t
976503                                                          MOBILI TY USAGE
08 / 17 /2 011
SCAMP                                                        (with ce ll location )


 Run Date:                 08/17/2011
 Run Time:                 00:36:09
 SMS Usage For:            (817)343-6690
 Accoun t Numbor:          31891224 4
Item           Conn.              Conn.        Originating       Terminating          IMEI                    IMSI           Description   Cell Location
               Date               Time           Number            Number
229          02/05/11            03:46A      18173436690      18173431808      • ••• •••••••••••      310410276936201           OUT        (52709/23562:-97 . 099 17 :32.95581: 128 )
230          02/05/11            03:47A      1817343 1 808    1 8173436690     •••••••••••••••        3 1 0410276 9 362 01       IN        (52 709/23562:-97. 09 917 :32.95581:128)
231          02/05/11            03:47A      18173436690      18173431808      •••••••••••• • ••      310410276936201           OUT        (52709 /23562:-97.09917:32 . 95581:128)
232          02/05/11            03:48A      18173436690      18173431808      •••••••••••••••        3 1 0410276936201         OUT        (52709 /23562:-97.09917:32.95581:128)
233          02/05/11            03:48A      18173431808      18173436690      •••••••••••••••        310410276936201            IN        [52709/23562:-97.09917:32.95581:128]
234          02/05/11            03 :48A     18173436690      18173431808      •••••••••••••••        3 1 0 410276936201        OUT        [527 09/23562:-97. 0991 7:32.95581 :1 28)
235          02/05/11            03:48A      18173431808      18173436690      •••••••••••••••        310410276936 2 01          IN        (52709 /23 562:-97.09917:32 .955 81:128)
236          02/05/11            03 :48A     1 81734 3 6690   18173431808      •••••••••••••••        310410276936201           OUT        (52709 / 23562:-97.09917:32.95581:128)
237          02/05/11            03:49A      18173431808      1 8173436690     •••••••••••••••        310410276936201            IN        (52709 / 23568:-97 . 09917:32.95581 : )
238          02/05/ 1 1          03 : 50A    1 8173431808     1 8 17343 6690   •• • ••••••••••••      310410276936201            IN        (52709/23568:-97.09917:32.95581 : )
239          02/05/ 11           03:50A      18173436690      18173431808      •••••••••••••••        310410276936201           OUT        (5 2709 / 23568 :-97 .099 17: 3 2 . 95581:)
240          02 /05/ 11          03:50A      18173431808      18173436690      ••••• •••••••• ••      310410276936201            IN        (52709 /23 56 8:-97 . 0 9917:3 2. 9558 1:]
24 1         02/05/11            03:51A      18173436690      181734 31808     •••••••••••••••        3104 1 02769 362 01       OUT        [52709 / 23568:-97.09917:32.95581:)
242          02 /05/ 11          03:51A      18173431808      18173436690      •••••••••••••••        310410276936201            IN        [52709/23568: - 97.09917:32. 95581:)
243          0 2/05/ 11          03:52A      18173436690      18173431808      •••••••••••••••        3104 1 027693620 1        OUT        (52709/23568: - 97. 09917:32.9558 1 :)
244          02 /0 5/ 11         03:52A      18173436690      18173431808      •••••••••••••••        31 0 4 1 027693620 1      OUT        [52709/23568:-97 . 09917 : 32.9558 1:]
245          02 /05/ 11          09:54A      18048732541      18173436690      ••••••• ••••••••       3104 1 02 76 93620 1       IN        (52709/23562:-97 . 09917:32.95581:128)
246          0 2/05/11           09:54A      18048732541      18173436690      •••••••••••••••        310 41027693620 1          IN        (5270 9/23562:-97.09917:32.95581:128)
247          02/05/11            1 0:37A     1817946925 1     1 8173436690     •••••••••••••••        310410276936201            IN        (52709/60422:-97.09917:32.95581:128]
248          02/05/11            11:36A      18173436690      18048732541      ••••••••••• ••••       310410276936201           OUT        (52709/23473:-97.07914:32 .9 3881:248)
249          02/05/11            03:58P      1 8173436690     18048732541      •••••••••••••••        310410276936201           OUT        [5 2709/23562:-97.09917:32.95581 :128 )
250          02 / 05/ 11         03:59P      18048732541      18173436690      • • •••• • •• ••••••   310410276936201            IN        [5270 9/23562:-97.09917:32.95581:128)
251          02 / 05/11          03:59P      1 8173436690     18048732541      •••••••••••••••        310410276936201           OUT        (52709 /23562:-97.09917:32.95581 :128)
252          02 / 05/1 1         04:00P      18048732541      18173436690      •••••••••••••••        310410276936201            IN        (52 709/23562:-97.099 1 7:32.95581:128)
253          02/0 5/11           04 : 00P    18173436690      18048732541      •••••••••••••••        3 10410276936201          OUT        (5270 9/23562:-97 .0 99 1 7:32.95581: 128]
254          02/05/11            04:01P      1 8173436690     18048732541      •••••••••••••••        310410276936201           OUT        (52709 /23 562:-97.09917:32.95581:128)
255          02/05/11            04 : 03P    18048732541      18173436690      •••••••••••••••        310410276936201            IN        [52709 /60428:-97 . 09917:32.95581:128)
256          02/05/11            04 : 15P    1 8173 4 36690   18048732541      •••••••••••••••        310410276936201           OUT        (52709 /6 0422: -97. 09917:32.9 5581:128)
257          02/05/11            06 : 1 9P   1 8048732541     18173436690      •••••••••••••••        31 0410 276936201          IN        [5 2707/40 649:-97. 16078 :3 2.85086 :24 8)
258          02/05/11            06 : 1 9P   1817 3 4 36690   180487325 41     •••• ••• ••• •••••     310410276936201           OUT        (52707/40649: -97 .1 6 078:32.85086 :2 48)
259          02/05/11            06:20P      1 8048732541     18173436690      •••••••••••••••        310410276936201            IN        (52707/4 0649: - 97. 16078:32.85086:248)
260          02/05 /11           0 6:2 2P    1817 3436690     180487325 41     •••••••••••••••        3 1 0 410276936201        OUT        (52707/4 0 649:-97.160 78:32.85086 : 248)
261          02/05/11            06:26P      1 8048732541     18173436690      •••••••••••••••        310410276936201            IN        (52707/4 0 649:-97.160 78:32.85086: 24 8)
262          02/05/11            06:27P      18 04873 2541    18173436690      •••••••••••••••        310410276936201            IN        (52707/40649:-97.16078:32.85086:248)
263          02/05/11            08:24P      18048732541      18173436690      •••••••••••••••        310410276936201           IN         (52707/40649:-97. 1 6078:32.85086:248)
264          02/05/11            08 : 30P    18173436690      18048732541      ••• • •••••••••••      3 1 0 4102769 36201       OUT        (52707/40649:-97.16078 :32 . 85086:248)
265          02/05/11            08:44P      18173436690      18048732541      ••••••• • •••••••      3 1 0410276936201         OUT        (52903/27609:-97.08444:32.92639:)
266          02/05/11            08:46P      180 4873254 1    181 73436690     •••••••••••••••        310410276936201           IN         (52709 /2 4 317:-97 . 12608:32.93822:)



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                                                               not for general d istribution .
976503
                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 45 of 99 PageID 3766                                                                   ........,
08/17/2011
SCAMP
                                                                  MOBILITY USAGE
                                                               (with cell location)                                                                                                ~ ~ at&t

 Run Date:                08/ 17/ 2011
 Run Time:                00:36:09
 SMS Osage Por:           (817 ) 343 - 6690
 Account Number:          318912244
Item         Conn.                 Conn .       Ori ginating     Terminating          IMBI                   IMSI             Descri ption   Cell Location
               Date                Time            Number          Number
267        02/05 / 11            08:48P       18048732541      18173436690                           310410276936201               IN        (52709 / 19437 : - 97.1521:32 . 9458 : 0]
268        02 / 05/11            08:48P       18173436690      18048732541                           310410276936 2 01            OUT        (52709/19437:-97.1521:32 . 9458:0]
269        02/05/11              08:48P       18048732541      18173436690     .••.....••.....       3104 10 2769362 01            IN        (527 09 / 18902:-97 .15139 : 32.97094:128]
270        02/05/11              08:51P       14696671196      18173436690                           310410276936201               IN        (52709/19437:-97 . 1521:32 . 9458: 0]
271        02/05/11              08 : 51P     18173436690      14696671196     ......•...••..•       31 0 4 1 0276 9362 0 1       OUT        (52709/19438:-97.1521:32 . 9458:12 0 ]
272        02/05/11              08 :53P      14696671196      1 8173436690                          310410276936201               IN        (52709/19438 : -97.1521:32.94 5 8:120]
273        02/05/11              08:55P       18173436690      14696671196     .........•••••.       310410276 936201             OUT        (52709 / 02425:-97 . 18342:32.92942:128]
274        02 / 05 / 11          08:57P       14696671196      18173436690                           3104 10276936201              IN        (52709 / 02425:-97 .18342:32.929 4 2:128]
275        02 / 05 / 11          08: 57P      10000 0 0000     18173436690                           310410 2 76936201             IN        (52709 / 0 2 4 2 5:-97.18342:32.92942 : 128]
276        02 / 05 / 11          08:57P       1100             18173436690                           310410276936201            IN VMN       (5 2709/02425:-97.18342:32.92942: 1 28]
277        02/05/ 11             08:57P       0100             18173436690     ***************       3104 1 0276936201          IN VMP       (52709/02425:-97.18342:32.92942:128]
278        02 / 05/ 11           08:59P       18173436690      14696671196                           310410276936201              OUT        (52709 / 02425 :- 97. 1 8342:32.92942:128]
279        02 / 05/ 11           09:01P       14696671196      18173436690                           310410276936201               IN        (52709 / 19436 :- 97.1521:32.9458:240]
280        02 / 05/ 11           09:03P       18173436690      14696671196                           310410276936201              OUT        (52709 / 19436:-97 . 1521:32.9 4 58:240]
281        02/05/11              09 : 03P     18173436690      14696671196     ..........•.••.       310410276936201              OUT        (52709 / 1 9 436:-97.1521:32.9458:240]
282        02/0 5/ 11            09:05P       14696671196      18173436690     ...............       310410276936201               IN        (52709 / 02425:-97.18342:32 . 92942:128]
283        02/05/11              09: 14P      14696671196      18173436690                           310410276936201               IN        (52008/02422:-97.18342:32 . 92942:180]
284        02/05/11              11:55P       1817 3431808     18173436690     ..........••...       310410276936201               IN        (52709/19436:-97.1521:32.9458:240]
285        02/06/11              01: 1 1A     18173 4 36690    14696671196     •••••••••••••••       310410276936201              OUT        (52 7 09 / 19433 : -97.1521:32 . 9458:240]
286        02 / 06/ 11           01:13A       14696671196      18173436690     •••••••••••••••       310410276936201               IN        (52709 / 02422:-97. 1 8342:32.92942:128]
287        02/06/11              01 : 14A     18173436690      14696671196     •••••••••••••••       310410276936201              OUT        (52709/19439:-97 .1 521: 3 2.9458:240]
288        02 / 06/11            01:20A       14696671196      18173436690     •••••••••••••••       310410276936201               IN        (52709 / 20231:-97 . 12608:32.93822:8]
289        02 / 06/ 11           01:20A       18173436690      14696671196     •••••••••••••••       310410276936201              OUT        (527 09 / 20231:-97.12608:32.93822:8]
29 0       02/06/11              01:23A       14 69667 119 6   18173436690     •••••••••••••••       310410276936201              IN         (527 0 9/6 0422:-97.099 1 7:32.95581:128]
291        02/06/11              01:24A       18173436690      14696671196     ••• • •••••• •••••    310410276936201              OUT        (52709 / 60422:-97 . 099 1 7 :32. 95581: 12 8]
292        02 / 06/11            10:17A       18179074504      18173436690     •••••••••••••••       310410276936201              IN         (52709/ 23562 : -97 . 09917: 3 2.95581 :1 28]
293        02 / 06 / 11          10:59A       18048732541      18173436690     •••••••••••••••       310410276936201              IN         (52709/ 60422:-97.09917 : 32 . 95581 : 128]
294        02/06/11              01:39P       18172962476      1817 3436690    ••• ••••• ••• •• ••   310410276936201              IN         ( 52709/60428 :- 97.09917 : 32.95581 :1 28]
295        02 / 06 / 11          03:08P       18172962476      18173436690     •••••••••••••••       310410276936201              IN         ( 52709/ 60428 :-97. 09 917 : 32 . 95581 :128]
296        02/06/11              03:08P       18172962476      18173436690     •• •••••• •• •• •••   310410276936201              IN         ( 52709/ 60428:-97.09917:32.95581:128]
297        02/06/11              04:10P       18179469251      18173436690     000000000000000       310410276936201            IN MMS       (]
298        02/06/11              04 : 26P     18173436690      18172962476     •••••••••••••••       310410276936201              OUT        (52709/60428:-97.09917:32.9558 1:1 28]
299        02 / 06 / 11          06:10P       1111301000       18173436690     •••••••••••••••       310410276936201              IN         (52709/ 60521: - 97.11489 : 32.91886:0]
300        02 / 06/11            06:10P       1111301000       18173436690     •••• •••• •••••••     310410276936201              IN         (52709 / 60521 : -97 . 11489:32.91886:0]
301        02/06 / 11            08:03P       12147991845      18173436690     •••• •••••••••••      310410276936201              IN         (52709/27231:-97.11489:32.91886:8]
302        02/07/11              04 : 02A     18177845975      181734 36690    000000000000000       310410276936201            IN_ MMS      (]
303        02/07/11              04:02A       1111301000       181734 3 6690   •••••••••••••••       310410276936201              IN         (52709/23562:-97.09917:32.95581:128]
304        02 / 07/11            04:02A       1111301000       18173436690     •••••••••••••••       310410276936201              IN         (52709/23562 : -97 . 09917:32.95581:128]



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                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 46 of 99 PageID 3767                                                               ~
9 76 50 3
                                                                                                                                                                          ~~ at&t
08 / 1 7/2011
                                                             MOBILITY USAGE
SCAMP                                                     (with cell location)


 Run Date:              08/17/2011
 Run Time:              00 : 36:09
 SMS Usage Por:         (817)343-6690
 Account Nwnbor:        318912244
Item         Conn .           Conn .    Or iginating     Terminating             IMEI                    IMSI          Description   Cell Location
             Date             Time          Number            Numb or
305        02/07/11          10:56A 1000000000         18173436690      •• •• •••• •• ••• ••      310410276936201            IN      [52709/24332 : -97.09953:32.93497:128 ]
306        02/07/11          10:56A 1100               18173436690      •••••••••••• • ••         310410276936201        IN VMN      [52709/24332: - 97.09953:32.93497:128]
307        02/07/11          10:56A 0100               18173436690      • • • ••• • • •••• • ••   310410276936201        IN VMP      [52709 / 24332: - 97.09953:32.93497:128]
308        02/07/11          OS: 54P 18179469251       18173436690      •••• • ••••••••••         310410276936201            IN      [52709/20231: - 97.12608:32.93822:8]
309        02/07/11          06:0 1 P 18 1 73436690    14696671196      •••• •• •••••••••         310 4102769 3 6201        OUT      [52709/20231:-97.12608:32.93822 : 8]
310        02/07/ 1 1        06:02P 18173436690        12147991845      •••• ••• ••••••••         310410276 9 36201         OUT      [52709/20231:-97.12608:32.93822:8]
311        02/07/11          06:02 P 1469667 1 196     18173436690      •••• ••• ••••••••         310410276936201            IN      [52709/20231:-97.12608 : 32.93822:8 ]
312        02/07/11          06:02P 18173436690        18179038698      ••••• • ••••• • • • •     310410276936201           OUT      [52709 / 20231:-97.12608:32.93822:8]
313        02/07/11          06 : 03P 18173436690      14696671196      •••••• ••••• • •• •       310410276936201           OUT      [52709 / 20231: - 97.12608:32.93822:8]
314        02/07/ 1 1        06:04P 1 4696671196       18173436690      •• • • • • ••• ••••• •    310410276936201            IN      [52709 / 20231 : -97.12608:32.93822:8]
315        02/07/11          06:05P 18173436690        14696671196      •••••••• •• •• • • •      310410276936201           OUT      [ 52709/20231 :- 97.12608:32.93822:8]
316        02/07/11          06 : 07 P 1 8173436690    1 8 1 79074504   • ••••• • ••••••••        310410276936201           OUT      [52709/20231:-97.12608:32.93822 : 8]
317        02/07/11          06 : 08P 14696671196      18173436690      •••••••••••••••           310410276936201            IN      [52709/20231:-97 . 12608:32.93822:8]
318        02/07/11          06:10P 18179074504        18173436690      ••••• •• ••••••••         310410276936201            IN      [52709 / 20237:-97.12608:32.93822:8]
319        02/07/11          06:10P 14696671196        18173436690      •• • ••• • • • • •••••    310410276936201            IN      [52709 /202 37:-97.12608:32.93822:8]
320        02/07/11          07:04P 14696671196        18173436690      • •••••• ••• •••••        3 1 0410276936201          IN      [52709/20237:-97.1 2 608 : 32.93822:8]
321        02/07/11          07:19P 18172296524        1 8 1 73436690   000000000000000           310410276936201        I N_ MMS    []
322        02/07/11          07:19P 1111301000         18173436690      •••••• • ••• •••••        310410276936201            IN      [52709/6042 3:-97.09917:32.95581:248 ]
323        02/07/ 11         07:19P 1111301000         18173436690      ••• •••• ••••• •••        31041027693620 1           IN      [52709/60423:-97.09917:32.95581 : 248]
324        02/07/ 11         07:2 1P 18172296524       18173436690      000000000000000           3104 1 027693620 1     IN_ MMS     []
325        02/07/11          07:21P 1111301000         18173436690      •••• • •• • ••• ••• •     310410276936201           IN       [52709/60423: - 97.09917:32.95581:248]
326        02/07/11          07:21P 1111301000         18173436690      •••• •• ••••• ••• •       310410276936201           IN       [52709/60423:-97.09917:32.95581:248]
327        02/07/11          07 : 47P 18173436690      14696671196      •• ••• • • • •••••••      310410276936201          OUT       [52709/20237:-97.12608:32.93822:8]
328        02/07/11          07:49P 14696671196        18173436690      •• • • • •••••••• • •     310410276936201           IN       [52709/2 0 237:-97.12608:32.93822:8]
329        02/07/11          08 : 15P 1817343 1 808    18173436690      • •• ••••• •• •• • • •    310410276936201           IN       [5270 9 /60423 :-97.09917:32.95581:248]
330        02/07/11          08:16P 18173436690        18173431808      ••• •• ••••••••••         310410276936201          OUT       [52709/60423:-97.09917 : 32.95581:248]
331        02/07/11          08:17P 18173431808        18173436690      • ••••••••••••••          310410276936201           IN       [52709 /60423: -97.09917:32 .9 5581:248]
332        02/07/11          08:17P 18173431808        18173436690      ••••• •••• ••••• •        310410276936201           IN       [52709/60423:-97.09917:32.95581:248]
333        02/07/11          08:17P 18173431808        18173436690      • • ••••••••• ••••        310410276936201           IN       [52709/60423:-97.099 1 7:32.95581:248]
334        02/07/11          08:18P 1 8173431808       1 8173436690     •••• •• •••••••••         310410276936201           IN       [52709/60423 : -97.099 1 7:32 . 95581:2 4 8 ]
335        02/07/11          08:43P 12147991845        18173436690      ••••••• • ••• ••• •       310410276936201           IN       [ 52709/20237:-97.12608 : 32.93822:8]
336        02/07/11          08:48P 1 8173436690       12147991845      ••• • •••••••••••         310410276936201          OUT       [52709/23563:-97 . 09917:32.95581:248]
337        02/07/11          08:50P 1 2147991845       18173436690      ***** ** ********         310410276936201           IN       [ 52709/20231: - 97.12608:32.93822:8]
338        02/07/11          08:53P 181 73436690       12147991845      •••••• • •••••• ••        310410276936201          OUT       [52709 / 24311:-97.12608:32.93822:8]
339        02/07/11          08:56P 12147991845        18173436690      • •••• ••• •• •••••       310410276936201           IN       [52709/60423:-97.09917:32.95581:248]
340        02/07/11          09: 1 6P 18173436690      12147991845      •••••••••••••••           310410276936201          OUT       [52709/20237 : -97 . 12608:32.93822 : 8 ]
34 1       02/07/11          09:20P 1 2147991845       18173436690      ••••••••• • •••••         310410276936201           IN       [52709/2 3563 : -97.09917 : 32.95581:248]
342        02/07/11          10:18P 14696671196        1817343 6690     •••••••••••••••           310410276936201           IN       [52709/ 23563:-97.09917:32 . 95581:248]



                                                                                    AT&T Propri etary
        NKK                     The i n fo rmati on cont a ined here is f o r use by a uthorized p e rson only and i s                                                               Page 8 0
                                                             no t f or g e n e ral dist ribut i o n .
                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 47 of 99 PageID 3768
                                                                                                                                                                             ~ at&t
 976503
 08/17/2011
                                                                  MOBILITY USAGE
SCAMP                                                          (with cell location)


  Run Date:                08/17/2011
  Run Time:                00:36 : 09
  SHS Usage For :          (817)343 - 6690
  Account Number :         318912244
 Item          Conn.                Conn.       Origi nating     Terminating          IHEI                IHSI          Do oc ription   Cell Locati on
                 Date                Time         Number           Number
343         02 / 07 / 11           10:20P     14696671196      18173436690     ••••••••• • •••••    310410276936201          IN         [52709/ 23563 :- 97. 0 9917 : 32.95581:248]
344         02 / 07/11             10:21P     14696671196      18173436690     •••••••••••••••      310410276936201          IN         [52709/23563:-97.09917 : 32.95581:248]
345         02/07/11               10 : 28P   18173436690      14696671196     •••••••••••••••      310410276936201         OUT         [ 52709 / 243 11: -97 .1 2608:32 . 93822:8]
346         02/07 / 11             10:33P                      18173436690     000000000000 000     310410276936 2 01        IN         []
347         02 / 07 / 11           10 : 34P   14696671196      18173436690     •••••• • ••••••••    310410276936201          IN         [ 52709/24311:-97 .1 2608 :32. 93822 : 8]
348         02/07/11               10 : 41P   18173436690      14696671196     •••••••••••••••      310410276936201         OUT         [527 09/23563:-97.09917:32.95581:248]
349         02/07/11               10:42P     14696671196      18173436690     •••••• ••••• ••••    310410276936201          IN         [ 52709 / 23563:-97.09917:32 . 95581:248]
350         02 / 07/11             10 : 43P   18173436690      14696671196     •••••••••••••••      310410276936201         OUT         [52709/23563:-97.09917 : 32.95581:248]
351         02 / 07 / 11           10: 44 P   14696671196      1817343 6690    •••••••••••••••      310410276936201          IN         [52709 / 23563 : -97.09917:32.95581:248]
352         02/07/11               11:41P     14696671196      18173436690     •••••••••••••••      310410276936201          IN         [ 52709/60428: - 97.09917:32.95581:128]
353         02 / 07/11             11: 4 1P   14696671196      18173436690     ••••••• • •••••••    310410276936201          IN         [ 52709 / 60428: - 97.09917 :3 2.95581:128]
354         02 / 08/ 11            12:24A     18179469251      18173436690     ••••••••• ••• •••    310410276936201          IN         [52709 / 60428:-97.09917 :3 2.95581:128]
355         02 / 08 / 11           08:03A     18173436690      14696671196     ••• ••••••••••••     310410276936201         OUT         [52709 / 23568:-97.09917:32.95581:]
356         02/08/11               10:20A     16 823654979     18173436690     •••••••••••••••      31 0410276936201         IN         [52709/60313:-97.07914:32.93881:240]
357         02/08/11               10:41A     1000000000       18173436690     ••• •••• •• ••••••   310410276936201          IN         [52709/62028:-97.09953 : 32.93497:120]
358         02 / 08/ 11            10: 4 1A   1100             18173436690     •••• ••• •••• ••••   31041027693 6201      IN_ VMN       [52709 / 62028: -97 .09953:32.93497:120 ]
359         02 / 08 / 11           10:41A     0100             18173436690     •••••••••••••••      310410276936201       IN_ VMP       [52709 / 62028:-97 . 09953:32.93497:120]
360         02 / 08 / 11           11 : 44A   14696671196      18173436690     •••••••••••••••      310410276936201          IN         [52709 / 62028:-97 . 09953 : 32.93497 : 120]
361         02 / 08 / 11           11:52A     18173436690      14696671196     •••• •• •••• •••••   310410276936201         OUT         [52709 / 24332:-97.09953:32.93497:128]
362         02 / 08 / 11           12:32P     14696671196      18173436690     •••••••••••••••      310410276936201          IN         [52709/62028:-97.09953:32.93497:120]
363         02 / 08 / 11           12:32P     14696671196      18173436690     •••••••••••••••      310410276936201          IN         [52709 / 62028:-97.099 5 3:32.93497:120]
364         02 / 08 / 11           12 : 54P   18173436690      14696671196     •••••••••••••••      310410276936201         OUT         [52709 / 62022 : -97 . 09953 : 32 . 93497:120]
365         02 / 08/11             12:55P     14696671196      18173436690     •••••••••••••••      310410276936201          IN         [52709 / 6202 2 :-97.09953:32.93497:120]
366         02 / 08/11             12:55P     18173436690      14696671196     •••••••••••••••      3104 1027 6936201       OUT         [52709/62022:-97.09953:32.93497:120]
3 67        02/08/11               12:57P     14696671196      181734 3 6690   •••••••••••••••      310410276936201          IN         [52709 / 62022:-97. 0 9953 : 32.93497:120]
368         02 / 08 / 11           05:30P     18173 4 36690    14696671196     •••••••••••••••      310 4 10276936201       OUT         [52709/ 2 0 231: - 97 . 12608:32.93822:8]
369         02 / 08 / 11           05 : 30P   18173436690      18048732541     •••••••••••••••      310410276936201         OUT         [52709 / 2 0 231: - 97.1 2 608 : 32.93822 : 8]
370         0 2 / 08/11            05:31P     18173436690      18179882986     •••••••• •••••••     310410276936201         OUT         [5 2709/2023 1:-97.12608:32.93822:8]
371         02/08/11               05 : 32P   18173436690      16823654999     •••••••••••••••      310410276936201         OUT         [52709/20231:-97.12608:32.93822:8]
372         02 / 08 / 11           06 : 07P   14696671196      18173436690     •••••••••••••••      310410276936201          IN         [52709/20237:-97 . 12608:32.93822:8]
373         02/08 / 11             06:27P     18179882986      18173436690     •••••••••••••••      310410276936201          IN         ( 52709 / 20237:-97.12608:32.93822:8]
374         02 / 08 / 11           06 : 47P   18173436690      18179882986     •••••••••••••••      310410276936201         OUT         [ 52709/20237:-97.12608:32.93822:8]
375         02/08 / 11             06:48P     18179882986      18173436690     ***** ** ****** **   310410276936201          IN         [52709 / 24317:-97 . 12608:32.93822:]
376         02 /08/11              07:07P     16823654999      18173436690     ***** **********     310410276936201          IN         ( 52709 / 20237: -97.12608:32.93822:8]
377         02/08 / 11             08:39P     18173436690      18179882986     •••••••••••••••      310410276936201         OUT         [ 52709/20237: -97.12608:32.93822 : 8]
378         02/ 08/11              08:41P     18179882986      18173436690     ***************      310410276936201          IN         (52709 / 23563:-97.09917 :3 2 . 95581:248]
379         02 / 08/11             08 : 52P   18177845975      18173436690     •••••• •••••••••     310410276936201          IN         (52709/20237:-97.12608 : 32.93822:8]
380         02/08 / 11             09 : 04P   18173436690      1817784 5975    ***** ** ********    3104102 76936201        OUT         ( 52709/6 0423:-97 .0 9917:32.9558 1 :248]



                                                                                         AT&T Proprietary
          NKK                        The information contained here is for use by authorized person only and is                                                                          Page 81
                                                            not for general distribution .
                               Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 48 of 99 PageID 3769
                                                                                                                                                                           ~?- at&t
976 503                                                     MOBILITY USAGE
08/ 1 7/2011
SCAMP                                                    (with c ell loc ation)


 Run Dato:            08/17/2011
 Ru.n Time:           00:36:09
 SMS Usage For:       (817)343 -66 90
 Account Number:      318912244
Item          Conn.           Conn.        Originating     Terminating            IMEI                    IMSI           Desc ription   Cell Location
              Date            Time           Number          Number
381         02/08/11        09 : 06P    1 8177845975     18173436690     ••• • ••••••• • •• •      3 1 0410276936201          IN        [ 52709 /60 423:-97.09917:32.95581:248 ]
382        02/08/11         10:08P      18173436690      14696671196     ••••• •••• • • ••••       3 1 0410276936201         OUT        [52709/03672:-97.08444:32.92639:180]
383        02 /08/ 11       10:13P      18179469251      18173436690     •• •••••••• • •• • •      310410276936201           IN         [52903/14321 : -97.10911:32.842:8]
384        02/09/11         12:18A      1 8173436690     18179469251     •••••••••••••• •          310410276936201           OUT        [ 52707 / 40643 : -97.16078:32.85086:248]
385        02/09/11          l2:59A     18173436690      1 8179469251    • •••••• ••• •••••        310410276936201           OUT        [52707/4064 3:-97.16078:32.85086:248]
386        02/09/11         02:18A      18173431808      18173436690     •• • ••••••••••••         310410276936201           IN         [ 52818/41363:-97.09664:32.77369:240]
387        02/09/11          0 5:33A    18179469251      18173436690     •••••••••••••••           310410276936201           IN         [529 0 3 /03 922:-97.06361:32.81758:180]
388        02 /0 9 / 11      09:15A     18173436690      18173431808     000000000000000                                  OUT_ MMS      []
389        02/09/11          09:18A     18173431808      1817 343669 0   ••• • •••••• •• •••       310410276936201            IN        [ 52709 / 24332: - 97.09953:32.93497:128]
390        02/09/11          09:20A     18173436690      18173431808     ••• • ••• • •• •• •••     310410276936201           OUT        [52709 /03673: -97.08444:32.92639 : 300]
391        02/09/11          09:21A     18173431808      18173436690     •••• • •• • •••••••       310410276936201            IN        [ 5 2709 /6 2022: - 97.09953:32.93497:120]
392        02/09/11          09:35A     18048732541      18173436690     ••• •• ••• ••• ••• •      310410276936201            IN        [52709 /6 0521: - 97.11489:32.91886:0]
393        02/09/11          1 0:49A    18173431808      18173436690     •• ••• ••••• •• •••       310410276936201            IN        [52709 / 27603: - 97.08444:32.92639:300]
394        02/09/11          10: 49A    18173431808      18173436690     • •• •• ••••••••••        310410276936201            IN        [52709/27603:-97.08444:32.92639:300]
395        02/09/11          l0:53A     18173436690      18173431808     •••••••••••• • ••         310410276936201          OUT         [52709/24332: - 97.09953:32.93497:128]
396        02/09/11          11 : 50A   1 8179469251     18173436690     •••• • ••••••••••         31041027693620 1          IN         [ 5 2709/62022 : -97.09953:32.93497: 120 ]
397        02/09/11          ll:50A     18179469251      18173436690     •• •••• ••••• •• ••       310410276936201           IN         [52709/60313:-97.07914:32.93881:240]
398        02/09/11          02:02P     18173431808      18173436690     •••••••••• • • • ••       310410276936201           IN         [52709/62028: - 97.09953:32.93497:120]
399        02/09/11          04:06P     1000000000       18173436690     ••• • • •• •• • •• • ••   310410276936201           IN         [52709/60422:-97.09917:32.95581:128]
400        02/09/11          04: 06P    1100             18173436690     • • •••• ••• • • •• ••    310410276936201         IN VMN       [52709/60422:-97.09917:32.95581:128]
401        02/09/11          04: 06P    0100             18173436690     • • • • •••••••• • ••     310410276936201         IN_ VMP      [52709/60422: - 97.09917:32.95581:128]
402        02/09/11          04:33P     18179469251      18173436690     ••••• ••••••• • ••        310410276936201           IN         [52709/23562:-97.09917:32.95581:128]
403        02/09/11          06:03P     18048732541      18173436690     ••• •• ••••••• • ••       310410276936201           IN         [52709/23562:-97 . 09917:32.95581:128]
404        02/09/11          06:06P     18173436690      18048732541     • • ••••••••••• • •       310410276936201          OUT         [52709/23562:-97.09917:32.95581:128]
405        02/09/11          06:10P     18048732541      18173436690     •••••• •••• •••••         310410276936201           IN         [52709/60428 : -97.09917 : 32 . 95581:128]
406        02/09/11          06:21P     18173436690      18048732541     • • •••• •• •••••••       3104102769362 0 1        OUT         [ 52709 /604 28:-97.099 17 :32.95581:128 ]
407        02/09/11          06:21P     18173436690      18048732541     • ••• • •••••• • •••      310410276936201          OUT         [5 2709 /60428 : - 97.09917:32.95581:128]
408        02/09/11          07:03P     146966711 96     18173436690     •••••• • •••• •• ••       310410276936201           IN         [ 52709/60428:-97.09917:32.95581:128]
409        02/09/11          07:05P     18048732541      18173436690     •••••••••• •••• •         310410276936201           IN         [52709 /60428: -97.09917:32.95 5 81:128]
410        02 /09/11         09:09P     18173431808      18173436690     •••• ••• •• • • ••• •     310410276936201           IN         [527 09/60422: -97. 09917:32.9 5581:128]
411        02/09/11          09:34P     18179469251      18173436690     ••••• • • • ••• •• ••     310410276936201           IN         [52709/60428 : -97.099 1 7:32.95581: 1 28 ]
412        02/09/11          09:58P     1000000000       18173436690     •••• ••• •••• ••• •       3104 1 0276936201         IN         [ 52709 / 60428:-97.09917 : 32.95581:128 ]
413        02/09/11          09:58P     1100             18173436690     ••• • • • •••••• • ••     3 1 04 1 0276936201     IN_ VMN      [52709 / 60428: - 97.09917:32 . 95581:128]
414        02/09/11          09:58P     0100             18173436690     •••• ••• ••••• •••        310410276936201         IN_ VMP      [52709 /60 428: - 97.09917:32.95581:128]
415        02/10/11          01:26A     14696671196      18173436690     **** * * * ***** * **     310410276936201           IN         [52709/23562: - 97.09917:32.95581:128]
416        02/10/11          06:12A     14696671196      18173436690     000000000000000           310410276936201         IN_ MMS      []
417        02/10/11          08:03A     18173436690      146966711 96    **** * *** * ** ****      310410276936201           OUT        [52709 / 23562:-97.09917 : 32.95581:128]
418        02/10/11          08:04A     14696671196      18173436690     ••••••• • ••••• • •       310410276936201            IN        [52709 / 23562:-97 .0 9917:32.95581:128]



                                                                                      AT&T Pr oprie t ary
        NKK                     The informa tion contained here is f o r use b y authorized person only and i s                                                                       Page 82
                                                        n o t for general d i s tribu t ion .
                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 49 of 99 PageID 3770
976503                                                         MOBILITY USAGE
08/17 /2 011
SCAMP                                                       (with cell location}                                                                                            e1 at&t
 Run Date:              08/ 17/2011
 Run Time:              00:36:09
 SMS Uoage Por:         (817)343-6690
 Account Number:        31891224 4
Item          Conn.              Conn.       Originating     Terminat ing          IMBI                   IMSI           Oeocription   Cell Location
              Date               Ti.me         Number           Number
419        02/10/11            08:05A      18173436690     14696671196      ••••• ••••••••••      310410276936201           OUT        [52709 /23562 :- 97.09917:32.95581:128]
420        02/10/11            08:05A      14696671196     18173436690      •••••••••••••• •      310410276936201            IN        [52709 / 23562:-97.09917 :32.955 81:128]
421        02/10/11            08 : 08A    18173436690     14696671196      ••••••• ••••••• •     31041027693620 1          OUT        [ 52709/23562: - 97.09917:32.95581: 128]
422        02/10/11            08:09A      14696671196     18173436690      •••••••••••••••       310410276936201            IN        [527 09/60422: -97.099 1 7:32 . 95581 : 128]
423        02 /10 / 11         08:10A      18173436690     1469667 119 6    ••••••••••• ••• •     3 1 04 102 7693620 1      OUT        [ 52709/60422: - 97.09917 : 32.95581:128]
424        02 /10 /11          08 : 11A    14696671196     18173436690      •••• ••• ••••••••     310410276936201            IN        [ 52 709 /60422 :-97 .09917:32 . 95581:128]
425        02 /10/11           08:12A      1111301000      18173436690      •••••••••••••••       310410276936201            IN        [ 52709/60422: -97 .09917:32 . 95581:128]
426        02/10/11            08:12A      1111301000      18173436690      •••••••••••••••       310410276936201            IN        [52709/60422 :-97 .09917:32 . 95581:128]
427        02 /1 0 / 11        08:1 4A     18173436690     14696671196      000000000000000                               OUT_ MMS     []
428        02 /10/11           08:15A      14696671196     1817343669 0     •• • • • ••••••••••   310410276936201            IN        [527 0 9/23562:-97 . 09917:32.95581:128]
429        02 / 10 / 11        08:29A      18173436690     18173 431808     •••••••••••••••       310410276936201           OUT        [52709/60422:-97 . 09917:32.95581:128]
430        02 /10/11           09:16A      18173431808     18173436690      ***************       310410276936201            IN        [52709 /2433 2:-97.09953:32 .93497:128]
431        02 /1 0 /11         09:17A      18173431808     1817343 6690     •••••••••••••••       310410276936201            IN        [5 2 709 /24332: -97.09953:32.93497:128]
432        02 / 10 / 11        09 :59A     18173431808     18173436690      •••••••••••••••       310410276936201            IN        [52709 /62 028:-97 . 0 995 3 : 3 2.93497:12 0]
433        02/10/1 1           10:01A      18173436690     18173431808      • •••••• ••••• •••    3104 102 769362 0 1       OUT        [52 7 09/62028:-9 7 . 09953:32.93497:120]
434        02/1 0 /11          10:26A      1817 343 1808   1817343669 0     •••••••••••••••       3 10410276936201           IN        [52709/62028:-97.09953:32.93497:120]
435        02 /10/11           10:32A      18173436690     18173431808      •••••• •••••••••      310410276936201           OUT        [52709/24338:-97 . 09953 : 32.93497:]
436        0 2/10/11           10:32A      18173436690     18173431808      •••••••••••••••       310410276936201           OUT        [52709/24338: - 97 . 09953:32.93497: ]
437        02 / 10 / 11        10:33A      1817 343 1808   18173436690      ••••• ••••••••••      3104 1027 6936201          IN        [52709 /6 2028:-97 . 09953:32 . 93497:120 ]
438        02 /1 0 / 11        12: 11P     181734318 08    1 81734 3669 0   • •••••• • •••••••    310410276936201            IN        [52709 /24332: - 97.09953:32 . 93497 :128]
439        02 /10/ 11          12:11P      18173431808     1 8173436690     •••••••••••••••       310410276936201            IN        [52709 /24 332:-97 .0995 3:32 . 93497:128]
440        02 /1 0 /11         02:17P      18173436690     14696671196      •••••••••••••••       310 41 0276936 201        OUT        [52709/62028: -97.099 53 :32.9 3497:120]
441        02 /10/11           02:18P      14696671196     18173436690                            310410276936201            IN        [527 0 9/60313:-97.0 7914:32.93881:240]
442        02/10/11            0 2: 1 9P   18173436690     14696671196      .••.......••...       3104102 7 69 3 620 1      OUT        [52709/ 62028 :-97.09953:32.93497:120]
443        02 /1 0 / 11        02:21P      14696671196     1817343 6690                           3104 10276936201           IN        [52709/62028 :- 97.09953:32.9349 7 : 12 0]
444        02 / 10 / 11        04: 5 0 P   18173436690     14696671196      ...............       310410 276936201          OUT        [527 07 /40 649:-97.16078:32.85086:248]
445        02/10/11            05:23P      18173436690     18179882986                            310410276936201           OUT        [52707 /4064 3:-97.16078:32.85086:248]
446        02/10/11            05:38P      18179882986     18173436690                            310410276936201            IN        [52707 / 23533:-97 . 16078:32.85086 :2 48]
447        02/ 10 /11          0 5:42 P    18173436690     1817 9882 986    •.••.•.........       310410 27693620 1         OUT        [52707/406 4 3:-97.16078:32.85086:248]
448        02/ 1 0/1 1         05:48P      18173436690     146966 71196                           31 04 102 7693620 1       OUT        [52707 /40649:-9 7 .16078:32.85 086 : 248]
449        02/10/11            05:50P      14696671196     18173436690                            31041027693620 1           IN        [5 2707/40649: - 97.16078:32.85086:248]
450        02/10/11            05:51P      18173436690     1469667 1196     ..•............       3104 102 76936201         OUT        [527 07/40649: - 97.16078:32.85086:248]
451        02/10/11            05:51P      18173436690     18177845975                            310410276936201           OUT        [52 7 0 7 /40649: -97 .16 078:32 .85086 :24 8]
452        02 / 1 0/11         05:52P      14696671196     18173436690                            310410276936201            IN        [52707 / 40649:-97.16 078 :32.85086:248]
453        02/10/11            05:53P      18173436690     14696671196      ...............       310410276936201           OUT        [52707/40649: - 97 . 16078:32.85086:248 ]
454        02/10/11            05:54P      14696671196     18173436690                            310410276936201            IN        [52707/40649 :- 97 . 16078:32.85086:248]
455        02/10/11            05:55P      18173436690     14696671196                            310410276936201           OUT        [5 2707/40649:-97 . 16078 : 32.85086:248]
456        02/ 1 0/1 1          05:55P     18173436 690    14 696671 1 96   ...............       3 10410 27693620 1        OUT        [ 52707/40649:-97.16078: 32. 85086 : 248 ]



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                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 50 of 99 PageID 3771
                                                                                                                                                                  ~ at&t
976503                                                         MOBILITY USAGE
08/17/2011
SCAMP                                                       (with cell loc ation)


Run Date:                08/17/2011
Run Time:                00:36:09
SMS Uoage Por:           (817) 343-6690
 Account Number:         318912244
Item        Conn .               Conn.      Originating    Terminating         IMI!I               IMSI          Description   Cell Location
             Date                Time         Number         Number
457         02/10/11           05:56P     14696671196     18173436690                       310410276936201          IN        [52707/40649:-97 . 16078 :32. 85086:248]
458         02/10/11           05:57P     18173436690     18174202850                       310410276936201         OUT        [52707/ 40649:-97.16078:32.85086:248]
459         02/10/11           05:59P     18173436690     18179882986    ...............    310410276936201         OUT        [52707/40649 :- 97.16078:32.85086:248]
460         02/10/11           06:05P     18173436690     14696671196    ....•..........    310410276936201         OUT        [52707/ 40649:-97.16078:32.85086:248]
461         02/10/11           06:06P     18173436690     12147991845    ***************    310410276936201         OUT        [52707/40649 :- 97.16078:32.85086:248 ]
462         02/10/11           06:07P     18173436690     18174756127    ...••••.....•..    310410276936201         OUT        [52707 / 40649:-97.16078:32 . 85086:248]
463         02/10/11           06:10P     18174756127     18173436690                       310410276936201          IN        [52707/40649: - 97.16078:32.85086:248]
464         02/10/11           06:11P     18173436690     18174756127    ...............    31 0 410276936201       OUT        [52707 / 40649: - 97.16078:32.85086:248]
465         02/10/11           06:11P     18174756127     18173436690                       31041027693620 1         IN        [52707/40649: -97.1 6078:32.85086:248]
466         02/ 1 0/11         06: 11P    18173436690     18179074504                       3 1 041027693620 1      OUT        [52707/40649:-97. 1 6078:32.85086 : 248]
467         02/10/11           06:12P     18173436690     18174756127                       310410276936201         OUT        [52707/40649: -97. 1 6078:32.85086:248]
468         02/10 / 11         06:12P     18174756127     18173436690                       310410276936201          IN        [52707/40649: - 97.16078:32.85086:248]
469         02/10/11           06:13P     18174756127     18173436690    ...........•...    310410276936201          IN        [52707 /4 0649: - 97.16078:32.85086:248]
470         02/10/11           06:13P     18173436690     18174756127                       310410276936201         OUT        [ 52707 / 40649:-97 . 16078:32.85086:248]
471         02/10/11           06:13P     18173436690     18179038698    •..............    310410276936201         OUT        [52707/40649 :-97 . 1607 8:3 2.8508 6:248]
472         02/10/11           06:13P     18174756127     18173436690                       310410276936201          IN        [ 52707 / 40649: - 97.16078 : 32.85086:248]
473         02/10 / 11         06: 14P    18179038698     18173436690                       310410276936201          IN        [ 52707 /40649 :-97.16078:32.85086:248]
474         02/10/11           06:14P     18174756127     18173436690    .........•.....    310410276936201          IN        [52707/ 4 0649: - 97.16078:32.85086:248]
475         02/10/11           06: 14P    18174756127     18173436690    •...••...•.....    310410276936201          IN        [52707/40649:-97.16078:32 .85 086 :248]
476         02/10/11           06: 14P    18173436690     18179038698    ...............    310410276936201         OUT        [527 07/40649 :-97.16078:32.85086:248]
477         02/10/11           06:15P     18173436690     18174756127                       310410276936201         OUT        [527 07/40649: - 97.16078:32.85086:248]
478         02/10 / 11         06:16P     18179038698     18173436690                       310410276936201          IN        [52707 / 40649:-97.16078:32.85086:248]
479         02/10/11           06:17P     18174756127     18173436690                       310410276936201          IN        [52707/40649:-97 . 16078:32 . 85086:248]
480         02/10/11           06:18P     18173436690     18179038698                       3 1 04 10276936201      OUT        [ 52707/40649:-97.16078:32.85086:248]
481         02/10/11           06:19P     18179074504     18173436690                       310410276936201          IN        [52707/40649:-97.16078 :32. 85086:248]
482         02/10/11           06:21P     18179882986     18173436690    ...............    310410276936201          IN        [52707/ 40649:-97.16078:32 . 85086:248]
483         02/10/11           06: 21P    18173436690     18179074504                       310410276936201         OUT        [52707/40649 :- 97.16078 : 32.85086:248]
484         02/10/11           06:22P     18173436690     18179882986                       310410276936201         OUT        [52707/40649:-97.16078 : 32 . 85086:248]
485         02/10/11           06:22P     18174756127     18173436690    .••.•.........•    310410276936201          IN        [52707/40649 :- 97 . 16078 :32.85086:248]
486         02/10/11           06:23P     18173436690     18174756127                       310410276936201         OUT        [ 52707 /4064 9:-97.16078:32.85086:248]
487         02/10/11           06:24P     18179882986     18173436690    •.......•......    310410276936201          IN        [52707 /4064 9:-97 . 16078:32.85086:248]
488         02/10/11           06:25P     181747561 27    18173436690                       310410276936201          IN        [ 52707 /40649:-97 . 16078:32.85086:248]
489         02/10/11           06:25P     18173436690     18174756127    .....•.....••..    310410276936201         OUT        [52707/40649: - 97.16078:32.85086:248]
490         02/10/11           06:25P     18174756127     18173436690    ************** *   310410276936201          IN        [ 52707 /40649: -97.16 078:32.85086:248 ]
491         02/10/11           06:27P     18174756127     18173436690                       310410276936201          IN        [52707/40649:-97.16078:32.85086:248]
492         02/10/11           06:28P     18179882986     18173436690                       310410276936201          IN        [52707/40649: -97.16 078:32.85086:248]
493         02/10/11           06:28P     181734 36690    18174756127                       310410276936201         OUT        [52707/40649: - 97.16078:32.85086:248]
494         02/10/11           06:28P     18173436690     18179882986                       310410276936201         OUT        [52707/40649: - 97.16078:32.85086:248]



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                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 51 of 99 PageID 3772
976503                                                          MOBILITY USAGE
08/17/2011
SCAMP                                                        (with cell location}


 Run Date:                08/17/2011
 Run Time:                00:36 :10
 SMS Usago For:           (817) 343-6690
 Account Numbor:          318912244
Item         Conn.               Conn.      Originating     Terminating         IMEI                  IMSI            Descri ption   Cell Location
             Date                Time         Number          Number
495        02/10/11             06:28P     18174756127    18173436690     .............•.     310410276936201             IN          [52707/40649:-97.16078:32.85086:248)
496        02/10/11             06:30P     18174756127    18173436690                         310410276936201             IN         [52707 / 40649:-97.16078:32.85086:248)
497        02/10/11             06:33P     18173436690    1 8174756127    ..•.........•.•     310410276936201            OUT         [52707 / 40649: - 97. 1 6078:32.85086:248)
498        02/10/11             06:33P     18174756127    18173436690     .••.....•..•...     310410276936201             IN         [52707 / 40649: - 97.16078:32.85086:248)
499        02/10/11             06:35P     18173436690    1817 4756127    ..•••..........     3 1 04 1 027693620 1       OUT         [52707/40649: - 97. 1 6078:32.85086:248)
500        02/10/11             06:42P     1817 3436690   18179074504     ...............     310410276936201            OUT         [52707 / 40649:-97.16078:32.85086:248)
501        02 / 10 / 11         06:43P     18173436690    18179038698                         310410276936201            OUT         [52707 / 40649:-97.16078 : 32.85086:248)
502        02/10/11             06:43P     18173436690    18174202850     ***************     310410276936201            OUT         [52707/23533:-97.16078:32.85086:248)
503        02/10/11             06:44P     18179038698    18173436690     ...•...........     3104 10276936 20 1          IN         [52707 / 23533: - 97.16078:32.85086 : 248)
504        02 / 10/11           06:46P     18173436690    18179038698                         310410276936201            OUT         [52707 / 23533: - 97.16078:32.85086:248)
505        02/10/11             06: 47P    18173436690    18174756127     .....•.........     3 1 0410276936201          OUT         [52707 / 23533: - 97.16078:32.85086 :2 48)
506        02/10/11             06:47P     18179074504    18173436690                         310410276936201             IN         [52707 / 23533 :- 97.16078:32.85086:248)
507        02/10/11             06:48P     18173436690    18179074504                         3104102769 362 01          OUT         [52707/23533 : -97 . 16078:32.85086:248)
508        02/10/11             06:56P     12147991845    18173436690     .•••.•.........     310410276936201             IN         [52707/40649:-97.16078:32.85086:248)
509        02 / 10/ 11          06:59P     18173436690    12147991845                         310410276936201            OUT         [52707 / 40649:-97.16078:32.85086:248 )
510        02/10/11             07 : 01P   12147991845    18173436690     .....•.........     31041027693 6201            IN         [52707/40649:-97.16078:32.85086:248)
511        02/10/11             07:06P     18179074504    18173436690                         310410276936201             IN         [52707/40649:-97.16078:32.8 508 6:248)
512        02 / 10/ 11          07:10P     18173436690    18179074504                         310410276936201            OUT         [52707 / 40649:-97.16078:32 . 85086:24 8 )
513        02/10/11             07 :1 0P   18173436690    12147991845                         310410276936201            OUT         [52707 / 40649:-97.16078:32.85086:248)
514        02/10/11             07:12P     12147991845    18173436690     •••••••••••••••     310410276936201             IN         [52707/40649 : -97 . 16078:32.85086:248)
515        02/10/11             07:13P     18173436690    12147991845     •••••••••••••••     310410276936201            OUT         [52707 / 40649 : -97.16078:32.85086:248 )
516        02/10/11             07:14P     18173436690    18174 7 56127   •••••••••••••••     310410276936201            OUT         [52707 / 40649 :- 97.16078:32.85086:248)
517        02/10/11             07:15P     18173436690    18179074504     •••••••••••••••     310410276936201            OUT         [52707 / 40649: - 97. 1 6078:32.85086:248)
518        02/10/11             07:16P     121 47991845   18173436690     •••••••••••••••     310410276936201             IN         [52707/40649: - 97.16078:32 .8 5086:248)
519        02/10/11             07:17P     18174756127    1 8173436690    •••••••••••••••     310410276936201             IN         [52707 / 40649: - 97 . 16078:32.85086:248)
520        02/10/11             07:18P     18174756127    18173436690     •••••••••••••••     310410276936201             IN         [52707 / 40649:-97 . 16078:32.85086:248)
521        02/10/11             07:18P     181790745 04   18173 436690    •••••••••••••••     310410276936201             IN         [52707/40649:-97.16078 : 32.85086:248 )
522        02/10/11             0 7 :19P   18173436690    1817 9074504    •••••• •• •••••••   310410276936201            OUT         (52707/40649 :- 97.16078 : 32.85086:248)
523        02/10/11             07:20P     1817420285 0   18173436690     •••••••••••••••     31041027693620 1            IN         [52707 / 40649 :- 97 . 16078:32 . 85086:248)
524        02/10/11             07:20P     18173436690    18174756127     •••••••••••••••     310410276936201            OUT         [52707 / 40649:-97.16078 : 32.85086:248)
525        02/10/11             07:20P     1 8173436690   1 8174202850    •••••••••••••••     3104 1 027693620 1         OUT         [ 52707/40649:-97.16078 : 32 . 85086:248)
526        02/10/11             07:20P     18173436690    12147991845     • • •••••••••••••   310410276936201            OUT         [52707/40649 :- 97.16078:32.85086:248)
527        02/10/11             07:20P     18174202850    18173436690     •••••••••••••••     3 1 04 10276936 2 0 1       IN         [52707/ 40649:-97.16078:32.85086:248)
528        02/10/11             07:20P     18173436690    18179038698     •••••••••••••••     310410276936201            OUT         [52707/ 40649:-97.16078:32.85086:248)
529        02/10/11             07:21P     18174756127    18173436690     •••••••••••••••     310410276936201             IN         [52707/40649:-97.16078:32.85086:248)
530        02/10/11             07:21P     18 173436690   18174202850     •••••••••••••• •    310410276936201            OUT         [52707/40649: - 97.16078:32.85086:248)
531        02/10/11             07:21P     18174202850    18173436690     •••••••••••••••     3104 1 0276936201           IN         [52707 / 40649:-97.16078:32 . 85086:248)
532        02/10/11             07:22P     18173436690    18174756127     ••••••••••••• ••    310410276936201            OUT         [52707 / 40649:-97.16078:32.85086 : 248)



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                           Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 52 of 99 PageID 3773                                                        -...,..,
976503
                                                                                                                                                              ~~ at&t
08 / 1 7/2011
                                                        MOBILITY USAGE
SCAMP                                                (with cell location )


 Run Date:         08/17/2011
 Run Time:         00:36:10
 SMS Usage Por:    (817) 343·6690
 Account Number :  318912244
Item         Conn.         Conn.    Originating      Terminating         IMEI                IMSI           Description   Cell Location
             Date          Time       Number           Number
533        02/10/11       07:22P 18173436690       18174202850     ................   310410276936201          OUT        [ 5 2707 /40649: -97. 1 6078 :32.85086:24 8]
534        02/10/11       07:23P 18174202850       18173436690     •...•.•........    31 041027693620 1         IN        [52707 /406 49:-97.1 60 78:32.85086:248 ]
535       02/10/11        07:23 P 18179074504      1817343669 0                       310410276936201           IN        [52707 /40649 :- 97.16078:32.85086:248]
536       02/10/11        07:24P 18173436690       181 74202850    ...............    3 1 0410276936201        OUT        [52707/40649:-97.16078:32.85086:248]
537       02/10/11        07:24P 18173436690       1817 9074504                       310410276936201          OUT        [52707/40649: - 97.16078:32.85086:248]
538       02/10/11       07:24P    18174202850     18173436690                        310410276936201          IN         [52707/40649 :· 97.16078:32.85086:248]
539       02/10/11       07:25 P   18173436690     18174202850                        310410276936201          OUT        [52707/40649: · 9 7. 16 078:32.85086:248]
540       02/10/11       07:25P    18174756127     18173436690                        310410276936201           IN        [52707/40649: - 97.16078:32.85086:248]
541       02/10/11       07 :25P   18174756127     18173436690                        3 1 0410276936201         IN        [52707/40649: -9 7.16078:32.85086:248]
542       02/10/11       07:25P    18174202850     18173436690     ......•...•....    310410276936201           IN        [52707/40649:-97.16078:32.85086:248]
543       02/10/11       07 :26P   18173436690     1817 47 56127                      310410276936201          OUT        [52 707 /40649: -97 . 16078:32 . 85086:248]
544       02/10/11       07: 26P   18173436690     18179038698                        310410276936201          OUT        [52707/40649:-97.16078:32.85086:248]
545       02/10/11       07:26P    18174756127     18173436690     .•.•.........•.    310410276936201           IN        [52707/40649: - 97.16078:32.85086 : 248]
546       02/10/11       07:29P    18179074504     18173436690                        310410276936201           IN        [ 52707 / 40649:-97 .16078 :32.8 5086:248]
547       02/10/11       07:29P    18173436690     18174756127     ...............    310410276936201          OUT        [52 707 /40649: - 97.16078:32.85086:248]
548       02/10/11       07:29P    18174756127     1817343669 0                       310410276936201           IN        [5 2707 / 4 0649 :- 97.16078:32.85086:248]
549       02/10/11       07:29P    18173436690     18179074504                        310410276936201          OUT        [52707/40649:-97.16078:32 .85 086:248]
550       02/10/11       07:29P    12147991845     1817343669 0    ...............    3 1 041027693 62 01       IN        [52707/23533: · 97.16078:32.85086:248]
551       02/10/11       07:30P    18173436690     12147991845     ...............    310410276936201          OUT        [ 52707 / 23533:-97.1 6078: 32.85086:248]
552       02/10/11       07:30P    18174756127     1817343669 0    ..........•....    310410276936201           IN        [52707/23533:-97.16078:32.85086:248]
553       02/10/11       07:30P    18173436690     18174202850                        31041 027693620 1        OUT        [ 52707/23533: - 97.16078:32.85086:248]
554       02/10/11       07:30P    18174756127     18173436690     .............••    310410276936 2 01         IN        [ 52707/23533: - 97.16 078:32.85086: 24 8]
555       02/10/11       07:30P    18173436690     18174756127     •••••.•........    310410276936201          OUT        [ 52707/23533 :·97.16078:32 .85086:2 48]
556       02/10/11       07:31P    18174756127     18173436690                        31041027693620 1          IN        [527 0 7/23533: - 97.16078:32.85086:248]
557       02/10/11       07:31P    12147991845     18173436690                        310410276936201          IN         [52707/23533 :- 97.16078:32.85086:248]
558       02/ 1 0/11     07:32P    18173436690     18174756 1 27                      31041027693620 1         OUT        [52707/23533:-97.16078 : 32.85086:248]
559       02/10/11       07:32P    18174756127     18173436690     ...............    31041 0276936201         IN         [52707/23533: - 97.16078:32.85086:248]
560       02/10/11       07:32P    18173436690     12147991845     ..••.......•..•    3104102 76936201         OUT        [52707/23533: - 97.16078:32.85086:248]
561       02/10/11       07:32P    18174 75 6127   1 8173436690    .........•.•...    31041027693620 1         IN         [52707/23533: · 97.16078:32 . 85086:248]
562       02/10/11       07:32P    18173436690     1 8174756127    ......•........    3104102769362 0 1        OUT        [52707/23533:-97.16078:32.85086:248]
563       02/10/11       07:33P    18174756127     18173436690                        310410276936201           IN        [52707/23533: -97.16078:32.85086:248]
564       02/10/11       07:33P    12147991845     18173436690     .••.•.••.....•.    310410276936201           IN        [52707/23533:-97.16078:32.85086:248]
565       02/10/11       07: 34P   181747561 27    18173436690                        310410276936201           IN        [52 707 / 23533:-97. 16 078:32 . 85086:248]
566       0 2/ 1 0/11    07:35P    18174756127     18173436690     ......•........    31041027693620 1          IN        [52707/23533:-97.16078:32.85086:248]
567       02/10/11       07:35P    18174756127     18173436690                        310410276936201           IN        [52707/23 533:-97 .16078:3 2.85086:24 8]
568       02/10/11       07:36P    18174756127     18173436690                        310410276936201           IN        [527 07/23533: -97 .16078:32.850 86:248 ]
569       02/10/11       07:36P    18173436690     12147991845     .•.••.•..•.•...    310410276936201          OUT        [52707/23533 :·97.16078:32.85086:248 ]
570       02/10/11       07:36P    18174756127     18173436690                        310410276936201           IN        [52707/23533 :- 97.16078:32.85086:248 ]



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                                                   not for general distribution .
                              Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 53 of 99 PageID 3774
976503
08/17/2011
SCAMP
                                                           MOBILITY USAGE
                                                        {with cell location}                                                                                         (? at&t
 Run Date:          08/17/2011
 Run Timo:          00:36:10
 SMS Usage Par:     (817)343-6 690
 Account Number:    318912244
Item         Conn.         Conn.         Originating     Terminating          IMBI                IMSI          Description   Cel l Location
             Date           Time           Number          Number
571        02/10/11       07:37P      18173436690      18174756127      .•.............    310410276936201         OUT        [52707 /23533 : -97.16078:32.85086: 248]
572        02/10/11       07:37P      18174756127      18173436690                         310410276936201         IN         [52707 /23 533:-97.16078:32.85086:248]
573        02/10/11       07:37P      181 74756127     18173436690                         310410276936201          IN        [52707/23533 :- 97 .1 6078:32.85086:248]
574        02/10/11       07:38P      18174 756127     1 8 17 3436690   ................   31041 027 6936201       IN         [52707/23533:-97.16078:32.85086:248]
575        02/10/11       07:39P      1 817343669 0    1 8 17 4756127                      310410276936201         OUT        [52707/14713:-97.15889:32.83583:248]
576        02/10/11       07:39P      1 8174756127     1 8173436690     .......•.......    310410276936201          IN        [52707 /14713:-97.15889:32 .8 3583:248]
577        02/10/11       07:40P      1 8173436690     1817 4756127                        310410 2769 3 6201      OUT        [ 52707/ 1 4713:-97.15889:32.83583:248]
578        02/10/11       07:41P      12147991845      18173436690                         310410276936201          IN        [52707 /14713: - 97.15889:32.83583:248]
579        02/10/11       07:41P      18174756127      18173436690      ......•........    310410276936201          IN        [ 52707/14713:-97.15889:32.83583:248]
580        02/10/11       07:41P      18173436690      12147991845      ••.............    310410276936201         OUT        [52707 /42 123 : -97.15889:32 . 83583:240]
581        02/10/11       07:42P      18174756127      18173436690      ...........•••.    310410276936201          IN        [52707 /42 123:-97.15889:32 . 83583:2 40 ]
582        02/10 /11      07:44P      18174756127      18173436690                         3104102769362 0 1        IN        [ 52 7 07/14713:-97.15889:32.83583: 2 48]
583        02/10/11       07:44P      1 8173436690     18174756127                         310410276936201         OUT        [52707/42123:-97.15889:32.83583:240]
584        02/10/ 11      07:45P      18174756127      18173436690                         310410276936201          IN        [52707/42123 : -97 . 15889:32.83583:240]
585        02/10/11       07:45P      1 8174756127     18173436690                         310410276936201          IN        [52707 / 42123:-97.15889:32 .83583: 240]
586        02/1 0 / 11    07:45P      18173436690      18174756127                         310410276936201         OUT        [52707 /4 2123: -97.1588 9:32.83583:240]
587        02/10/1 1      07:46P      12147991845      18173436690                         310410276936201          IN        [ 52707/42123:-97.15889 : 32.83583:240]
588        02/10/ 11      07:46P      181 74756127     18173436690                         3 1 0410276936201        IN        [ 52707/42123:-97. 15889 : 32.83583:24 0 ]
589        02/10/11       07:47P      18174756127      18173436690                         310410276936201          IN        [52707 /4 2123 :-97.15889:32.83583 :240]
590        02/10/11       07:52P      18173436690      12147991845                         310410276936201         OUT        [ 52707/42129: - 97. 15889:32.83583:240]
591        02/10/11       07:52P      18173436690      18174756127                         310410276936201         OUT        [ 52707/42129:-97.15889:32.83583 : 240]
592        02/10/11       07:54P      12147991845      18173436690                         310410276936201          IN        [52707 /14713:-97.15889:32.83583 :248]
593        02/10/11       07 : 55P    18173436690      12147991845      ......•••......    310410276936201         OUT        [ 527 07/ 1 47 1 3 : - 97.15889:32.83583:248]
594        02 / 10/11      07 : 55P   18173436690      12147991845                         310410276936201         OUT        [ 527 07/ 1 47 1 3 : - 97 . 15889:32.83583:248 ]
595        02/10/ 11       07:55P     18173436690      12147991845      ••..••.........    310410276936201         OUT        [ 527 07/ 14713:-97.15889:32.83583:248]
596        02/10/11        07:56P     18173436690      14696671196      ...............    310410276936201         OUT        [52707/ 14713: - 97 . 15889 : 32.83583:248 ]
597        02/10/11        07:57P     1817343669 0     14696671196      ......••.......    310410276936201         OUT        [52707/14713:-97.15889:32.83583:248]
598        02 / 10 / 11    07 : 59P   18173436690      12147991845                         310410276936201         OUT        [52707 /14713:-97.15889 :32.83583:248]
599        02/10/11        07:59P     1817 9038698     18173436690      ......•••......    310410276936201         IN         [ 52707/42123:-97.15889:32.83583 : 240]
600        02 / 10/11      08:00P     18173436690      181790 3 8698                       31 0410276936201        OUT        [52707/42123:-97.15889:32.83583 :2 40]
601        02/10/11        08:00P     181 73436690     18179074504      .....•••.•.....    310 410276936201        OUT        [ 52707/42123:-97.15889:32.83583:240]
602        02/10/11        08:00P     18179038698      18173436690      .......•.......    3104102769 3 6201       IN         [52707/42123:-97.15889:32.83583:240]
603        02/10/11        08:01P     18173436690      18179038698                         310410276936201         OUT        [52707/42123:-97.15889:32.83583:240]
604        02/10/11        08:02P     18179038698      1817343 6690                        310410276936201          IN        [52707/42123 : -97.15889:32.83583:240]
605        02/10/11        08:02P     1817343669 0     12147991845                         31 041027693620 1       OUT        [52707/42123:-97.15889:32.83583:240]
606        02/10/11        08:02P     18173436690      18179038698                         310410276936201         OUT        [ 52 707 /42123:-97 . 15889:32.83583:240]
607        02/10/11        08:06P     18173436690      18177761698      ...............    31 0 410276936201       OUT        [ 52707/42129:-97.15889:32 . 83583:240]
608        02/10/11        08:08P     12147991845      18173436690      ...............    310410276936201          IN        [52707 /14713:-97. 15889:32.83583:248]



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                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 54 of 99 PageID 3775
9 7 65 03                                                      MOBILITY USAGE
08 / 17 /2011
SCAMP                                                       {with cell locati on)


 Run Date:               08/17/2011
 Run Time:               00:36: 1 0
 SMS Osage For:          (817) 343-6690
 Account Number :        318912244
Item         Conn.                Conn.      Originating      Terminating           IMBI                   IMSI             Description   Cell Location
             Date                  Time        Numbe r           Numbe r
609        02/10/ll             08:08P     1214799 1 845    18 173436690      ...............     3104 1 0276936201             IN        [ 52707/14713:-97.15 8 89 : 32.8 3 583:248]
610        02/10/ll             08:08P     18173436690      121479918 45      .....••........     31 0 4 1 0276936201          OUT        [52 7 07/14713:-97 . 158 8 9 : 32 . 83583:248]
611       02/10 /11             08:08P     18173436690      1214799184 5                          310410276936201              OUT        [52707 / 14713 : -97.15889:32.83583:248]
612       02/10 /11             08: llP    12147991845      18173436690                           310410276936201               IN        (52707/14713 : -97.158 8 9: 3 2.835 8 3:248]
613       02/1 0 / 11           08 : 12P   18 1 73436690    1 214799 1 84 5   .......••••..•.     31 0 4 10 27693 6 20 1       OUT        [ 5270 7 /42123 : -97.158 89:32.83583:240]
614       02/10/11              08:15P     12147991845      18173436690                           310410276936201               IN        [52707/42123 : -97.15889:32.83583:240]
615       02 / 10/ll            08:16P     18173436690      1214799 1 845     •.•..•••.••....     3104102 7 6936201            OUT        [ 52707/42123 : -97.15889:32.83583:240]
616       02/10/ll              08 : 22P   1 8173436690     12 14799 1 845                        3 1 0410276936201            OUT        [ 52707 / 14713 : -97. 1 5889:32.83 5 83:248]
617       02/10/ll              08:23P     1 8173436690     18177761698       0000000 0 0000000                              OUT_ MMS     []
618       02/10/ll              08:24P     1 214799 1 845   18173436690       ...........•...     310410276936201               IN        [ 52707/23533: - 97. 1 6078:32.85086 : 248]
619       02/ 10 / l l          08: 24P    18173436690      12147991845       ....••.........     310410276936201              OUT        [52707 /42 123:-97.15889:32.83583:240]
620       02/ 1 0/ll            08:26P     1 8173436690     12 147991845      000000000000000                                OUT_ MMS     []
621       02/ 1 0/ll            08 : 27P   12147991845      18173436690                           3104102769362 0 1             IN        [ 52707/42123: - 97.15889:32.83583:240 ]
622       02 / 10/11            08:27P     18173436690      18179074504       000000000000000                                OOT_ MMS     []
623       02/10/ll              08:27P     18173436690      1214799 1 845                         3104102769362 0 1            OUT        [52707/42123: - 97.15889:32.83583:240]
624       02 / 10/ll            08:27P     18173436690      18179038698       000000000000000                                OUT_ MMS     []
625       02/10/ll              08:28P     1 8173436690     1804873254 1      000000000000000                                OOT_ MMS     [)
626       02/10/11              08:31P     18048732541      181 73436690                          310410276936 2 01             IN        [52707/14713 : -97 . 15889:32.8358 3 :248]
627       02/10/ll              08:31P     18173436690      18048732541                           310410276936201              OUT        [52707 / 14713: - 97.15889:32 . 83583:248)
628       02/10/ll              08:32P     1 8173436690     18 0 4873254 1    •....••..••••..     3 10410276936201             OUT        [ 52707/14713: - 97.1588 9: 3 2.8358 3: 248 ]
629       02/10/ll              08:33P     18177761698      18173436690       ......•........     3 1 04102 76936 2 01          IN        [52707/42123:-97 .15889:32.83583:240]
630       02/10/ll              08:33P     12147991845      18173436690                           310410276936201               IN        [52707/42123 :- 97.15889:32.83583:240]
631       02/10 /ll             08:33P     18173436690      12144932304       0 00000000000000                               OUT_ MMS     []
632       02/1 0 /ll            0 8 :33P   18173436690      1 8177761698      000000000000000                                OUT_ MMS     []
633       02/1 0 /ll            08:33P     18173436690      12147991845                           310410276936201              OUT        [52707/42123: - 97 . 15889:32.83583:240]
634       02/10/11              08: 34P    18173436690      18177761698       ...........•...     310410276936201              OUT        [ 52707 / 42 1 23: - 97 . 15889:32.83583:240]
635       02/10/11              08 : 34P   18048732541      18173436690                           310410276936201               IN        [ 52707/4212 3 : - 97.15889:32.83583:240]
636       02/ 1 0/ 1 1          08 : 35P   1 8173436690     180 4 8 732541    •..............     31 04 1 027693620 1          OUT        [ 52707/42123 :- 97.15889:32.83 5 8 3: 24 0 ]
637       02 / 10/ll            08:35P     12147991845      1817343669 0                          3 1 04 1 02769 3 6 2 01       IN        [ 52707/42123 :- 97.15889:32.83583:240]
638       02/10 / l l           08:36P     18048732541      1817343669 0                          310410276936201               IN        [52707/42129:-97.1588 9 :32.83 5 8 3 :240]
639       02/ 1 0/11            08:36P     18173436690      180 48732 5 4 1                       31 04 1 027693 6 20 1        OUT        [527 07/ 1 4713: - 97. 1 5889:32 . 83583:2 4 8 ]
64 0      02/ 1 0/11            08:37P     18173436690      1214799184 5                          3 1 04 1 027693620 1         OUT        (52707/ 1 4713:-97.15889:32.83583:248 ]
641       02/ 1 0/11            0 8: 38P   1804873254 1     18173436690       ....•..........     310410276936201               IN        [52707/ 14713:-97 . 15889:32.83583:248 ]
642       02/ 1 0/ll            08:38P     12147991845      1817 343669 0     ...............     3104 1 0276936201             IN        [52707/14713: - 97.15889:32.8 3 5 8 3:2 4 8 ]
643       02/10/ll              08:39P     18173436690      180 48732541                          3104 1 02769362 0 1          OUT        [527 0 7 / 23533: - 97 . 16078:32.85086 : 248 ]
644       02/10/ll              08:39P     1 8173436690     121479918 45                          310410276936201              OUT        (52707/23533:-97.16078:32.8508 6 :248 ]
645        02/10/ll             08: 41P    12147991845      181 73436690                          310410276936201              IN         [52707/14713:-97.15889 : 32.83583:248]
646        02/10/ll             08: 41P    18048732541      18173436690                           310410276936201              IN         [ 52707/14713:-97 . 15889 : 32 . 83583:248]



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                                                          not fo r general distribution.
                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 55 of 99 PageID 3776                                                             -..,;
976 50 3
                                                                                                                                                                             ~ ~ at&t
08 / 1 7/2011
                                                                  MOBILITY USAGE
SCAMP                                                          (with cell location)


 Run Date:                 08/17/2011
 Run Time:                 00:36:10
 SMS Usage For :           (817)3 4 3-6690
 Account Number:           318912244
Item         Conn .                Conn.       Originating     Terminating         IMEI                IMSI            Descripti on   Cell Location
             Date                  Time          Number          Number
647          02/ 1 0/ 11          08:41P     18048732541     18173436690     ................   310410276936201            IN         ( 52707/23533:-97.16078:32.85086 :24 8]
648          02/10/11             08:41P     1817343 66 90   12147991845                        310410276936201            OUT        ( 52707/23533 :- 97 . 16078:32.85086:248]
649          02/10/1 1            08:41P                     18173436690     000000000000000    310410276936201            IN         (]
650          02/10/1 1            08:42P     18173436690     18048732541     ....•••........    310410276936201            OUT         (52707 /2 3533: - 97. 1 6078:32.85086 : 248]
65 1         02/10/11             08:43P     12 144932304    1 8173436690                       310410276936201            IN          (52707/1471 3: - 97. 1 5889 :32. 8358 3 : 248 ]
652          02/ 10 / 11          08: 44P    18048732541     18173436690                        310410276936201            IN          (52 707/14713: - 97.15889:32.83583:248]
653          02/10/11             08 : 44P   1 8 173436690   12144932304                        310410276936201           OUT          (52707 /14713:- 97.15889:32. 83583: 248]
654          02/10/11             08:45P     18173436690     18048732541                        310410276936201           OUT          (52707/14713: - 97.15889:32.83583:248]
655          02/10/11             08:47P     12147991845     1 8173436690                       310410276936201            IN          (52707/14713:-97.15889:32.83583:248]
656          02/10/ 11            08:47P     12144932304     1 8173436690    ..•.••..•.•..•.    310410276936201            IN          (52707/14713: - 97.15889:32.83583: 2 48 ]
657          02/10/11             08:48P     18173436690     1214 7991845                       31041027693620 1          OUT          (5 27 07/14713:-97.15889:32.83583:248]
658          02/10/11             08:48P     18048732541     18173436690     ...........•...    310410276936201            IN          (52707 / 14713 : -97 . 15889:32.83583:248]
659          02/10/ 11            08:48P     18173436690     12144 932304    .•.••.•........    31 041027 6936201         OUT         (52707/ 147 13 : -97 . 15889:32.83583:248 ]
660          02/10/ 11            08:49P     18173436690     18048732541                        31041 0276936201          OUT         (52707/ 14 713:-97 . 15889 :32.83 583 :2 48]
661          02/10/11             08:50P     1214 7991845    18173436690                        310410276936201            IN         (52707 /4 2123:-97.15889:32.83583:240]
662          02/10/11             08:51P     18 17 3436690   12147991845                        310410276936201           OUT         (5 2707 /42 123:-97.15889:32.83583:240]
663          02/10/11             08:52P     12 147991845    18173436690     ...............    3104 10276936201           IN         (52 7 07/4212 3: -97.15889:32.83583: 240 ]
664          02/ 1 0/1 1          08:52P     1 81734 36690   1214 7991 845                      3 1 04 10276 93 6201      OUT         (52707/42123:-97.15889 : 32.83583 : 240]
665          02/10/11             08:52P     12144932304     1 8173436690                       310410276936201            IN         (527 07/ 40 643:-97.16078:32.85086:248 ]
666          02/10/11             08:53P     18173436690     12144932304                        310410276936201           OUT         ( 52707 / 42123:-97.15889 : 32.83583:240]
667          02/10/11             08:53P     18048732541     18173436690                        3104 10276936 201          IN         ( 52707 / 42123:-97.15889:32 .8358 3:240]
668          02/10/11             08:53P     12144932304     18173436690                        310410276936201            IN         (52707 / 42123: - 97.15889:3 2. 83583: 24 0]
669          02/10/ 11            08:54 P    1817 3436690    18048732541                        310410276936201           OUT         (52 707/42 123 : - 97. 1 5889 :32 .83583 : 240]
670          02/10/11             08:54P     12147991845     1 8173436690                       310410276936201            IN         (52707 / 42123:-97.15889:32.83583:240]
671          02/10/11             08:54P     18173436690     1214493 2304                       310410276936201           OUT         (52707/42123: - 97. 15889:32.83583:240]
672          02/10/11             08:54P     18173436690     12147991845                        310410276936201           OUT         (52707/ 4 2123:-97.15889:32.83583 : 240]
673          02/10/1 1            08:55P     18173436690     18048732541                        31041027 6 93 620 1       OUT         (52707/42123: - 97.15889:32 . 83583 : 240]
674          02/10/11             08:56P     12144932304     18173436690     ...••.•........    310410276936201            IN         (52707/42123:-97.15889 : 32 . 83583:240]
675          02/10/ 11            08:56P     18173436690     12 144932304                       310410276936201           OUT         (5 2 707/42123: - 97.15889:32.83583:240 ]
676          02/10/11             08: 57P    12147991845     18173436690                        310410276936201            IN         (52707/42129 : -97 . 15889:32.83583:240 ]
677          02/10/ 11            08:58 P    12144932304     1817343 6690                       310410276936201            IN         (52 707/ 14 713: -9 7 . 15889:32.83583:248 ]
678          02/10/11             08:58P     18173436690     12147991845                        310 410 27 693620 1       OUT         (5 2707 /1 4713:-97. 15889:32 .83583:248 ]
679          02/10/11             08:58P     18173436690     12144932304                        31041027693620 1          OUT         (52707 / 14713: - 97.15889:32.83583:248]
680          02/10/11             08:59P     18048732541     181734 36690                       310410276936201            IN         (52 707 /14713 : -97 . 15889:32.83583:248]
681          02/10/11             09:00P     18173436690     18048732541                        310 41027693620 1         OUT         (52707/ 1 4713: - 97.15889:32.83583:248]
682          02/10/11             09 : 00P   12147991845     1817343 6690    ...............    3104 1 0 27693 620 1       IN         (52707 / 14713 :- 97 . 15889:32.83583 : 248]
683          02/10/11             09:0 1P    18173436690     1214799184 5    ...............    3104102769 362 01         OUT         ( 52707/147 13: - 97. 15 889: 3 2.83583:248]
684          02/ 10 /11           09:02P     12144932304     1 8173436690    000000000000000    310410276936201          IN MMS       (]




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         NKK                         The information contained here is for use by authorized person only and is                                                                          Page 89
                                                            not for general distribution.
                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 56 of 99 PageID 3777
9765 0 3                                                         MOBILITY USAGE
0 8/17/20 11
SCAMP                                                        {wi th cel l location)                                                                                       @? at&t

 Run Date:                08/17/2011
 Run Time:                00:36:10
 SMS Usago For:           (817) 343 -6690
 Account Number :         318912244
Item          Conn.               Conn.       Originating      Terminating         IMEI                IMSI            Description   Cell Location
              Date                 Time         Number           Number
685         02/10/11             09:02P     111130 1 000    1 8173436690                       310410276936201             IN        [ 52707/14713:-97.15889 : 32.83583:248 ]
686         02/10/11             09:02P     1111301000      18173436690      .......•.......   310410276936201             IN        [52707/14713 :-97.15889 : 32.83 5 83:248 ]
687         02/10/11             09:02P     12147991845     18173436690                        310410276936201             IN        [52707 /14 713 : -97.15889 : 32.83583:248]
688         02/10/11             09:02P     18173436690     12144932304                        310410276936201            OUT        [52707/14713 : -97.15889 : 32.83583:248]
689         02/10/11             09:03P     12144932 3 04   181734 3 66 90   .••.....•..•.•.   310410276936201             IN        [ 52707/14713:-97.15889:32.83 5 83:248]
690         02/10/11             09:03P     18173436690     12147991845                        310410276936201            OUT        [52707/14713:-97.15889:32.83583:248]
691         02/10/11             09:03P                     18173436690      000000000000000   310410276936201             IN        []
692         02/10/11             09:05P     12147991845     18173436690      ......•........   310410276936201             IN        [52707/14713: - 97.15889:32.83583:248]
693         02/10/11             09:07P     18173436690     12144932304      •........•..•..   310410276936201            OUT        [52707/147 1 3:-97.15889:32 . 83583:248]
694         02/10/11             09:07P     18173436690     12147991845      ...•...........   310410276936201            OUT        [52707 / 42123:-97.15889:32.83583: 240 ]
695         02/10/11             09:08P     12144932304     18173436690                        310410276936201              IN       [52707 / 42123:-97 . 15889:32 . 83583:240]
69 6        02/10/11             09:09P     12147991845     18173436690      ......•........   310410276936201              IN       [52707 / 42 1 23:-97 . 15889:3 2 . 83583:240 ]
697         02/10/11             09:09P     18173436690     12144932304                        3104 1 0276936201           OUT       [52 7 07 / 42123:-97.15889:32.83583: 240]
698         02/10/11             09:12P     18173436690     18174202850                        310410276936201             OUT       [52707 / 42123 : -97 . 15889:32 . 83583 : 240]
699         02/10/11             09:12P     18173436690     18177761698                        310410276936201             OUT       [52707/42123: - 97.15889:32.83583 : 240]
700         02/ 10 / 11          09:12P     18173436690     18048732541      .........•.....   310410276936201             OUT       [52707/42 1 23:-97.15889:32 . 83583:240]
701         02/ 1 0/11           09:13P     12144932304     181 73436690     000000000000000   310410276936201           IN_ MMS     []
702         02/10/11             09:13P     1111301000      1 8 173436690                      310410276936201              IN       [52 707 / 42123 : -97.15889:32.83583:240]
703         02/ 10 / 11          09 : 13P   1111301000      18173436690                        310410276936201              IN       [52707/42123:-97.15889:32.83583:240]
704         02/ 1 0/11           09:13P     18177761698     18173436690                        310410276936201              IN       [ 52707/42123:-97 . 15889:32.83583:240]
705         02/10/11             09: 14P    18173436690     12144932304                        310410276936201             OUT       [52707/42123: - 97.15889:32 .83 583:240]
706         02/10/11             09:15P     18173436690     18177761698                        310410276936201             OUT       [52707 /4 2123:-97.15889:32.83583:240]
707         02/10/11             09:15P     12144932304     18173436690                        310410276936201             IN        [ 52707 /4 2123:-97 . 15889:32 . 83583:240]
708         02/ 1 0/11           09:16P     18173436690     1 2 144932304    ...............   3 1 04 1 02769362 0 1       OUT       [ 52707/4212 3 : - 9 7 .1588 9: 32.83583:240]
709         02/ 1 0/11           09:18P     14696671196     18173436690      000000000000000   310410276936201           IN_ MMS     (]
710         02/ 10 / 11          09:18P     1111301000      18173436690                        310410276936201             IN        [ 52707 / 41832:-97 . 18364:32.83831 :12 8]
711         02/10/11             09:18P     1111301 00 0    18 1 73436690                      310410276936201             IN        [ 52707/42123:-97 . 15889:32.83583:240]
712         02/ 1 0/11           09:19P     18173436690     1469667 11 96    ..•......•.•...   3104 1 02769362 0 1        OUT        [ 52707/42123:-97.15889:32 . 83583:240]
713         02/ 1 0/11           09:20P     18173436690     146966711 96                       310410276936201            OUT        [52707 /4 2123:-97 . 15889:32.83583:240]
714         02/ 1 0/11           09:21P     18173436690     12144932304      ..•.....•......   310410276936201            OUT        [52707/42123:-97 . 15889:32 . 83583:240]
715         02/10/11             09:25P     18048732 5 41   18 1 73436690                      310410276936201             IN        [ 52707/42123:-97 . 15889:32 . 83583 : 240]
716         02/ 1 0/11           09:26P     18048732541     18 1 7343 6690   ...............   3104102769362 0 1           IN        [527 07/42123:-97.15889:32.835 8 3:240]
717         02 / 1 0/11          09:27P     18173436690     1804873254 1     .••...••.•••...   310410276936201            OUT        [52707 /42 123:-97.15889 : 32 . 83583:240]
718         02/10/11             09:33P     12144932304     18173436690                        310410276936201             IN        [52707/42123:-97 . 15889:32.83583:240]
719         02/10/11             09:34P     18173436690     12 1 44932304                      310410276936201            OUT        [52707/41832:-97 . 18364:32.83831:128]
720         02/ 1 0/11           09:35P     12144932304     18 1 73436690    ....•..•.......   310410276936201             IN        [ 5 27 0 7/42123:-97 . 1 5889:32 . 83 583:240]
721         02/10/11             09:35P     18173436690     18 1 77761698    ......•.•......   310410276936201            OUT        [52707/42123:-97 . 15889:32 . 83583 : 240]
722         02/10/11             09:35P                     1817343 6690     000000000000000   310410276936201             IN        []




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                                                           n ot f o r gene ral di s tributi on.
                           Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 57 of 99 PageID 3778
97650 3                                                 MOBILITY USAGE
08 / 1 7/ 2011
SCAMP                                                (with cell location)


 Run Date:          08/17/2011
 Run Time:          00:36:11
 SMS Usage For:     (817)343- 6690
 Account Number:    318912244
Item         Conn.         Conn.   Originating         Terminating            IMBI                IMSI           Description   Cell Location
             Date           Time     Number              Number
723        02/10/11       09:36P 18173436690         12144932304                           310410276936201          OUT        [52707/42123 :- 97.15889:32.83583:240]
724        02/10/11       09:38P 18174202850         18173436690        ...............    310410276936201           IN        [52707/14713 :- 97.1 5889 :32.83583:248]
725        02 / 10/11    09:38P     12144932304      181734 3 6690      ................   3104 1 0276936201         IN        [52707 / 14713: - 97. 1 5889:32.83583:248]
726        02/10/11      09:39P     18173436690      181 74202850                          310410276936201          OUT        [52707/14713: - 97.15889:32.83583:248]
727        02/10/11      09:39P     18174202850      181734 3 669 0                        3 1 04 1 0276936201       IN        [ 5 2707/42123: - 97.15889: 32 .83 5 83:240]
728        02/10/11      09:39P     18173436690      12144932304                           310410276936201          OUT        [52707/42123:-97.15889:32 . 83583:240]
729        02/10/11      09:40P     18173436690      18174202850                           310410276936201          OUT        [52707/42123:-97.15889:32.83583:240]
730        02/10/11      09:41P     12144932304      18173436690        ...............    310410276936201           IN        [ 52707 /4 2123: - 97.15889:32 . 83583:240]
731        02/10/11      09: 41P    18174202850      18173436690        .........•.•...    310410276936201           IN        [52707/42123 : -97 . 15889:32.83583:240 ]
7 32       02/10/ 11     09:42P     18173436690      1 8174202850                          310410276936201          OUT        [ 52707/42123 : -97.15889 : 32.83583:240 ]
733        02/10/11      09:42P     18173436690      12144932304        .•....••..•....    310410276936201          OUT        [52707/42123 : -97 . 15889 : 32.83583:240 ]
734        02/10/ 1 1    09:43P     18174202850      18173436690        ........•...•..    310410276936201           IN        [52707/42123 : -97 . 15889 : 32 . 83583 : 240]
735        02/10/11      09:44P     12144932304      18173436690                           310410276936201           IN        [52707/42123:-97.15889:32.8 3 583:240]
736        02 / 10/11    09:44P     18173436690      18174202850                           310410276936201          OUT        [ 52707 /4212 3:-97.15889:32.83583:240 ]
737        02/10/11      09 : 45P   18174202850      181734 3 6690                         31041 027693620 1         IN        [52707/42 1 23:-97.15889:32.83583:240 ]
738        02/10/11      09:45P     18173436690      12144932304                           310410276936201          OUT        [ 52707/42123 : -97.15889:32.83583 : 240]
739        02/10/11      09:48P     12144932304      18173436690        .........•.....    310410276936201           IN        [52707/42123:-97.15889:32.83583:240]
740        02/10/11      09 : 48P   12144932304      18173436690                           3104 1 027693620 1        IN        [52707/41832: - 97.18364:32.83831: 1 28]
74 1       02/10/11      09:49P     18173436690      12 1 44932304      .........•.•.••    31041 027693620 1        OUT        [52707/42123 :- 97.15889 : 32 . 83583 : 240 ]
742        02/10/11      09:50P     1 8173436690     18048732541        .....•.•••...•.    310410276936201          OUT        [52707/42123: - 97.15889:32.83583:240]
743        02/10/11      09:51P     18048732541      18173436690        ...............    310410276936201           IN        [52707/ 42123: - 97.15889:32.83583:240]
744        02/10/11      09:52P     18179469251      18173436690        ..•.....••••••.    310410276936201           IN        [52707/4 2123:-97.15889:32.83583 :24 0]
745        02/10/11      09 : 52P   18173436690      18048732541                           310410276936201          OUT        [ 52707/4 2 1 23: - 97.15889:3 2 .83583:240]
746        02/10/11      09 : 52P   1 2144932304     18173436690                           310410276936201           IN        [ 52707/42123: - 97.15889:32.83583:240]
747        02/10/11      09 : 52P   181734366 9 0    1214493 2304       ...............    310410276936201          OUT        [ 52707/42123: - 97. 1 5889:32.83583:240]
748        02/10/11      09:56P     18048732541      18173436690                           310410276936201           IN        [ 52707 / 41832: - 97. 1 8364:32.83831:128]
749        02/10/11      09:56P     18173436690      180487 3 2541                         310410276936201          OUT        [52707 / 4212 3: - 97.15889:32 .83583:240 ]
750        02/10/11      09:57 P    18173436690      18177761698        ......•.•......    310410276936201          OUT        [ 52707 / 42 1 23:-97.15889:32.8 3 583:240]
751        02/10/11      09:58P     180487325 4 1    181734366 9 0                         310410 2769 3 6201        IN        [ 5 2707/4212 3: - 97. 1 5889:32.8 35 83:240]
752        02/10/11      09:58P     18173436690      12144932304        ...............    310410276936201          OUT        [52707 / 42123: - 97.15889:32.83 5 83:240]
753        02/10/11      09:59P     18173436690      18048732541                           310410276936201          OUT        [52707 / 42123: - 97.15889:3 2 .83583:240]
754        02 / 10/11    09:59P     18173436690      18048732541        ........••....•    310410276936201          OUT        [52707 / 42123:-97 . 15889:32.83583:240]
755        02/10/11      10:00P     1 8 1 73436690   1804 8 7 3 2 541   ..•....•.•..•••    310410276936201          OUT        [52707/42123 :-97 . 15889:32 . 8358 3 :2 4 0]
756        02/10 /11     1 0:00P    12144932304      181734 3 6690      ...............    310410276936201           IN        [52707/42123: - 97.15889:32 . 83583:240]
757        02/10/11      10:01P     18173436690      18177761698                           310410276936201          OUT        [52707 / 42123: - 97 . 15889:32.83583:240]
758        02/10/11      10:01P     18173436690      12144932304        ...............    310410276936201          OUT        [52707 / 42123: - 97.15889:32.83583:240]
759        02/10/11      10 : 04P   12144932304      181734 3 6690                         310410276936201           IN        [ 52707 / 14713: - 97.15889:32.83583:248]
760        02/10/11      10:08P     18048732541      18173436690        ...............    310410276936201           IN        [52707 /1 4713 : -97.15889:32 . 83583 : 248]



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                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 58 of 99 PageID 3779
                                                                                                                                                                       ~~
                                                                                                                                                                                  at &t
976503                                                       MOBILITY USAGE
0 8/17/2 011
SCAMP                                                     (with cell location)                                                                                         ~ :1-

 Run Date:              08/17/2011
 Run Time:              00:36:11
 SMS Osage For:         (817)343-6690
 Account Number:        318912244
Item         Conn.             Conn .      Originating    Terminating          IMBI                  IMSI            Description   Cell Location
             Dato              Time          Number          Number
761        02/10/11           10 : 14P   12144932304     18173436690                          310410276936201            IN        [52707 / 14713:-97.15889:32.83583:248)
762       02 /10 / 11         10:18P     18177845975     18173436690                          310410276936201            IN        [ 52707/14713:-97.15889:32.83583:248)
763       02 / 10/ 11         10:30P     12144932304     18173436690                          310410276936201            IN        [52707 / 14713:-97.15889:32.83583:248)
764       02/10/11            10:55P     1000000000      18173436690                          310410276936201            IN        [52707/14713: - 97.15889:32.83583:248)
765       02/10/11            10:55P     1100            18173436690    ...............       310410 276936201         IN VMN      [52707/14713: - 97.15889 : 32.83583:248)
766       02/10/ 11           10:55P     0100            18173436690                          310410276936201          IN_VMP      [52707/14713: - 97 . 15889 : 32.83583 : 248)
767       02 / 10/ 11         11:03P     18177761698     18173436690    000000000000000       310410276936201          IN_ MMS     [)
768       02 / 10/ 11         11:03P     1111301000      18173436690    ••••••••••• • •••     310410276936201            IN        [52707/14713: - 97.15889 : 32.83583 : 248)
769       02/10/11            11:03P     1111301000      18173436690    ••••••••••• •• ••     310410276936201            IN        [52707/14713:-97.15889:32.83583:248)
770       02/11/11            02:02A     1817343669 0    18177761698    ••••••• •••• •• • •   310410276936201           OUT        [52709/60422: - 97.09917:32.95581:128)
771       02/11/11            07:57A     15806509009     18173436690    •••••••••••••• •      310410276936201           IN         [52709/60428: - 97 . 09917:32 .955 81 : 128)
772       02/11/11            08:13A     18173436690     15806509009    ••••• •• ••••• • ••   310410276936201           OUT        [52709 /20 328: - 97.15139:32.97094:128)
773       02/11/11            08 : 19A   18173436690     18177761698    •••••••••••••• •      310410276936201           OUT        [52709 /23562 : - 97.09917:32.95581:128)
774       02/11/11            08:20A     18173436690     12144932304    •••••••••••••••       310410276936201            OUT       [52709/23562 : -97.09917:32.95581 : 128)
775       02/11/11            08:21A     18173436690     18048732541    •••••••••••••••       310410276936201            OUT       [ 52709/23562 :- 97.09917:32.9558 1 :128)
776       02/11/11            10:09A     15126996659     18173436690    •••••••••••••••       310410276936201            IN        [52709/6 2028:-97.09953:32.93497: 1 20)
777       02/11/11            10:20A     18173436690     15126996659    ••••• • •••••••••     310410276936201            OUT       [52709/62028 : -97.09953:32.93497: 1 20)
778       02 / 11/ 11         10:26A     15126996659     18173436690    •• • ••••••••••••     310410276936201            IN        [ 52709/62028:-97 . 09953:32.93497: 1 20)
779       02/11/11            10:51A     1000000000      18173436690    •••• • ••••••••••     3 1 04 1 027693620 1       IN        [ 52709/62028:-97.09953:32.93497: 1 2 0 )
780       02/11/ 11           10:51A     110 0           18173436690    •• • •• •••• ••••••   310410276936201          IN_ VMN     [52709/62028: - 97.09953:32.93497:120)
781       02/11/11            10:51A     0100            18173436690    •••••••••••••••       310410276936201          IN_VMP      [52709 /62028 : - 97.09953:32.93497:120)
782       02/11/11            11:07A     18173436690     15126996659    • • •••••••••••••     310410276936201           OUT        [52709/60313: - 97 . 07914:32.93881:240)
783       02/11/11            11:17A     15126996659     18173436690    •••••••••••••••       310410276936201            IN        [ 52709 /60 313:-97 . 07914:32 . 93881:240)
784       02/11/11            11:18A     15126996659     18173436690    •••••••••••••••       310410276936201            IN        [ 52709/60313: - 97.07914 : 32.93881:240)
785       02/11/11            11:19A     18173436690     15126996659    ••••••••• • •••••     310410276936201           OUT        [ 52709/62022:-97.09953:32.93497:120)
786       02/11/11            11:30A     12144932304     18173436690    •••••••••••••••       31 04 10276936201          IN        [52709 /620 28:-97.09953:32.93497:120)
787       02/11/11            12:16P     12144932304     18173436690    •••••••••••••••       310410276936201            IN        [52709 /62 028: - 97 .09953:3 2.93497:120)
788       02/11/11            12:37P     18173436690     12144932304                          310410276936201           OUT        [ 52709/62 028: - 97.09953:32.93497:120 )
789       02/11/11            12:38P     12144932304     1 8173436690                         31 041027693620 1          IN        [ 52709/62028: - 97.09953:32.93497:12 0)
790       02/11/11            12 : 43P   14696671196     18173436690                          310410276936201            IN        [ 52709/24338:-97.09953:32.93497:)
791       02/11/11            12:49P     18174202850     18173436690                          310410276936201            IN        [52709 /62022: - 97.09953:32.93497:120)
792       02/11/11            12:59P     18048732541     18173436690                          310410276936201            IN        [52709 /62 028 :- 97.09953:32.9349 7 :120)
793       02/11/11            Ol:OOP     18048732541     18173436690                          3 1 04 1 0276936201        IN        [52709/60313:-97. 079 1 4:32.93881:240)
794       02/11/11            Ol:OOP     18048732541     18173436690                          310410276936201            IN        [52709/62022: - 97.09953:32.93497:120)
795       02/11/11            01:19P     18173436690     18048732541                          310410276936201           OUT        [52709 /62 028: - 97.09953:32 .9 3497 :120)
796       02/11/11            01:28P     18048732541     18173436690                          3104102769362 0 1          IN        [52709 /60313: -97 . 07914:32.93881:240)
797       02/11/11            01:28P     18048732541     18173436690                          310410276936201            IN        [ 52709/60313:-97.07914:32.93881:240)
798       02/11/11            01:36P     18173436690     18048732541    ...............       31041027693620 1          OUT        [52 7 09/60521:-97 . 11489 : 32.9 1 886:0)



                                                                                  AT&T Pr opri e t a r y
        NKK                      The i n fo rma t ion c o ntai n e d here i s f or u se b y autho riz e d p e r s on o nly a nd is                                                Pag e 92
                                                                n o t for g e n e r a l d istr i but ion.
                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 59 of 99 PageID 3780
976 5 03                                                     MOBILITY USAGE
08/ 1 7/2011
SCAMP                                                     (with cell location}


 Run Date:              08/17/2011
 Run Time:              00:36:11
 SMS Usage For :        (817)343-6690
 Account Number:        318912244
Item         Conn.             Conn.      Originating      Terminating          IMBI                   IMSI          Description   Cell Location
             Date               Time        Number           Number
799        02/ 11 /11         01:38P     15806509009    18173436690      .......••......        310410276936201           IN       [52709/62028:-97.09953:32.93497:1201
800        02/11/11           01:49P     18173436690    1 5806509009     **** ** *** *** * **   310410276936201          OUT       [52709 / 62028:-97.09953:32.93497:1201
801        02/11/11           01:53P     1000000000     18173436690                             310410276936201           IN       [52709 / 62022:-97.09953:32.93497:1201
802        02/11/11           01:53P     1100           18173436690      .......•..•••••        310410276936201        IN VMN      [52709/62022 : -97.09953:32.93497:1201
803        02/11/11           01:54P     0100           18173436690                             3 1 0410276936201      IN_VMP      [52709/62022:-97.09953:32.93497 : 1201
804        02/11/11           01:55P     12147991845    18173436690      ....•.•.•..•..•        31041027693620 1         IN        [52709 / 62028:-97 . 09953:32.93497:120 1
805        02/11/11           01:56P     15806509009    18173436690      ***************        310410276936201          IN        [52709 / 62022 :- 97.09953:32.93497:1201
806        02/11/11           03: 14P    18048732541    18173436690      ...............        310410276936201          IN        [52709/60422: - 97.09917:32.95581:1281
807        02/11/11           03 : 21P   18173436690    1 2147991845     ...•.•.•.......        310410276936201         OUT        [52709/60313:-97.07914:32.93881:2401
808        02/11/11           03: 30P                   18173436690      000000000000000        310410276936201         IN         II
809        02/11/11           03:32P                    18173436690      000000000000000        310410276936201         IN         II
810        02/11/11           03:33P     12147991845    18173436690      ...............        310410276936201         IN         152709 / 6042 2: -97.09917:32.95581:128 1
811        02/11/11           03:34P     18173436690    12147991845                             310410276936201         OUT        152709 / 60313:-97.07914:32.93881:2401
812        02/11/11           03:34P     18173436690    18174202850                             310410276936201         OUT        152709 / 62029 : -97.09953:32 . 93497:2401
813        02/11/11           03:36P     12147991845    18173436690                             310410276936201          IN        152709 / 62029 : -97.09953:32.93497 : 2401
814        02/11/11           03:36P     18173436690    18177761698                             310410276936201         OUT        152709/62029:-97 . 09953:32.93497:2401
815        02/11/11           03:36P                    18173436690      000000000000000        310410276936201          IN        II
816        02/11/11           03:36P     18173436690    14696671196      ......•••••....        310410276936201         OUT        152709 / 23562:-97.09917:32.95581:1281
817        02/11/11           03:37P     18173436690    18048732541      ...............        310410276936201         OUT        [52709 / 23562:-97.09917:32.95581:1281
818        02/11/11           03:38P     18177845975    18173436690      ...............        310410276936201          IN        [ 52709/2433 1 :-97.09953:32.93497:81
819        02/11/11           03:39P     18173436690    18177845975      ....•..........        310410276936201         OUT        [52709 /    23562:-97.09917:32.95581:128 1
820        02/11/11           03:40P     14696671196    18173436690                             310410276936201          IN        152709 /    24337:-97.09953 : 32.93497:1
821        02/11/11           03: 40P    18177845975    18173436690      ................       310410276936201          IN        152709 /    24337:-97.09953:32.93497:1
822        02/11/11           03:40P     1469667 1196   18173436690                             310410276936201          IN        152709 /    24337:-97.09953:32.93497:1
823        02/11/11           03 : 43P   18173436690    14696671196                             310410276936201         OUT        [52709/     60422: - 97.09917:32.95581:1281
824        02/11/11           03:46P     14696671196    18173436690      •.••....•......        310410276936201          IN        152 7 09/   24331:-97 .09953:32.93497:81
825        02/11/11           03:48P     18174202850    18173436690      ...............        310410276936201          IN        152709/24331:-97.09953:32 . 93497:81
826        02/11/11           04:00P     1 8173436690   14696671196                             310410276936201         OUT        [52709/24331:-97 . 09953:32.93497:81
827        02/11/11           04:01P     14696671196    18173436690      .......••......        310410276936201          IN        [52709 / 24331 : -97.09953 : 32 . 93497:81
828        02/11/11           04:06P     18173436690    14696671196                             310410276936201         OUT        152709 / 60428 : -97 . 09917 :32.95581:1281
829        02/11/11           04:07P     14696671196    18173436690      .••...•••••....        310410276936201          IN        152709 / 60428:-97.09917:32 . 95581 : 1281
830        02/11/11           04:13P     18173436690    14696671196      000000000000000                              OUT_ MMS     II
831        02/11/11           04:27P     18177845975    18173436690      000000000000000        310410276936201       IN_ MMS      II
832        02/11/11           04:27P     1111301000     18173436690      ............•..        310410276936201         IN         152709/60428:-97.09917 :32.95581:1281
833        02/11/11           04:27P     1111301000     18173436690      .......•.......        310410276936201         IN         152709 / 60428:-97.09917:32.95581:128 1
834        02/11/11           04:36P     18048732541    18173436690      ...............        310410276936201         IN         152709 / 60428:-9 7 .09917:32.95581:1281
835        02/11/11           04:52P     18173436690    18177845975      •.......•.•....        3 1 041027693620 1      OUT        152709 / 60422:-97.09917:32.95581:1281
836        02/11/11           04:53P     18177845975    18173436690      ...............        310410276936201          IN        152709 / 62028:-97 . 09953:32.93497:1201



                                                                                    AT&T Prop rie t a r y
         NKK
                                 The infor mat ion contain e d h ere i s f o r u se b y a utho riz e d per son o nly a nd is                                                     Pag e 93
                                                          not f o r g ene r a l di str i bution .
                              Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 60 of 99 PageID 3781
 976503
 08/17/2011
                                                           MOBILITY USAGE
 SCAMP                                                  (with cell location)


 Run Date:             08/17/2011
 Run Timo:             00:36:11
 SMS Osage For:        (817)343-6690
 Account Number:       318912244
Item         Conn.            Conn.   Originating      Terminating         IMSI               IMSI           Doocription   Cell Location
             Date              Time     Number           Numb or
837        02/11/11          05:02P 18177845975      18173436690                       310410276936201           IN        [52903/60081 :-97. 09742 : 32.89986:0)
838       02/11/11          06:53P     18173436690   18177845975     ........••.....   310410276936201          OUT        [52707/40649 :-9 7.16078 :32.85086:24 8 )
839       02/11/11          06:54P     18177845975   18173436690                       310410276936201           IN        [52707/40649:-97.16078:3 2. 85086:2 4 8)
840       02/11/11          06 : 54P   18173436690   18177845975                       310410276936201          OUT        [ 52707 / 40649:-97.16078:32.85086:248)
841       02/11/11          06:56P     18177845975   18173436690                       310410276936201           IN        [ 52707/40649:-97 . 16078:32.85086:248)
842       02/11/11          07: 34P    18173431808   18173436690                       310410276936201           IN        [5 2707/ 40643:-97.16078:32 . 85086:248)
843       02/11/11          07:38P     18173431808   18173436690                       310410276936201           IN        [52707/40649 : -97 . 16078 : 32.85086:248)
844       02/11/11          08:12P     18177845975   18173436690     ...............   310410276936201           IN        [52707 / 40643 :- 97.16078 : 32.85086:248)
845       02/11/11          08:18P     18173436690   18177845975     .•..•••........   31041027 6 93 62 01      OUT        [52707/40649 :-97.16 078:32.85086:248)
846       02 /11/ 11        08:18P     18177845975   18173436690                       310410276936201           IN        [52707 / 40649:-97 . 16078:32.85086:248)
847       02 /11/11         08:24P     18174756127   18173436690     •.•••.......•..   310410276936201           IN        [52707/23533: -9 7 . 16078:32.85086:248)
848       02/11/ 11         08:28P     18174756127   18173436690     ...............   310410276936201           IN        [52707/23533 :-9 7 .16078 :32.85086:248)
849       02/11/11          08:30P     14696671196   18173436690                       310410276936201           IN        [52707/40643 :-9 7 . 16078 :32.85086:248)
850       02/11/11          08:44P     18174756127   1817343 6690                      31041 0276936201          IN        [ 527 0 7/40649:-97 . 16078:32.85086:248)
851       02/11/11          09:01P     12147991845   18173436690                       310410276936201           IN        [ 52707/40649:-97.16078:32.85086:248)
852       02/11/11          09:03P     18173436690   12147991845                       310410276936201          OUT        [52707/40649: -97. 16078:32.85086:248)
853       02/11/11          09 :19P    12147991845   18173436690     ••.............   310410276936201           IN        [ 52707/40649 :-9 7.16078 :32. 85086:248)
854       02 / 11/11        09:46P     18173436690   18177761698                       310410276936201           OUT       [ 52706/42148:-97.29017:32 .87097:128)
855       02/11/11          09:52 P    18177761698   18173436690     000000000000000   310410276936201         IN_ MMS     [)
856       02/11/11          09:52P     1111301000    18173436690     ••.............   310410276936201           IN        [ 52706/42148: -97.29017:32.87097:128)
857       02/11/11          09:52P     1111301000    18173436690     .....•.........   3104102 76936201          IN        [52706 / 42148:-97 . 29017:32.87097:128)
858       02/11/11          09:55P     18177761698   18173436690     000000000000000   310410276936201         IN MMS      [)
859       02/11/11          09:55P     1111301000    18173436690                       310410276936201           IN        [52706 / 42148:-97.29017:32 .87097:1 28)
860       02/11/11          09:55P     1111301000    18173436690                       310410276936201           IN        [52706 / 42148:-97.29017:32.87097:128)
861       02/11/11          09:56P     18177761698   18173436690     000000000000000   310410276936201         IN_ MMS     [)
862       02/11/11          09:56P     1111301000    18173436690                       3104102 7693620 1         IN        [52706 / 42148:-97.29017 :32.87097:128)
863       02/11/11          09:56P     1111301000    18173436690                       310410276936201           IN        [52706 / 42148:-97.29017:32 . 87097:128)
864       02/11/11          09: 57P    18177761698   18173436690     000000000000000   310410276936201         IN MMS      [)
865       02/11/11          09:57P     1111301000    18173436690     ..•••.•........   310410276936201           IN        [52706/42148: - 97.29017:32 .8 7097:128)
866       02/11/11          09:57P     1111301000    18173436690     •.•.........••.   310410276936201           IN        [52706/42148:-97.29017:32.87097:128)
867       02/11/11          09:58P     18177761698   18173436690     000000000000000   310410276936201         IN_ MMS     [)
868       02/11/11          09:58P     1111301000    18173436690     ...............   310410276936201           IN        [52706/42148:-97.29017:32.87097:128)
869       02/11/11          09:58P     1111301000    18173436690     ..........•.•..   310410276936201           IN        [52706 / 42148:-97.29017:32.87097:128)
870       02/11/11          09:59P     18177761698   18173436690     000000000000000   310410276936201         IN_ MMS     [)
871       02/11/11          09 :59P    1111301000    18173436690                       310410276936201           IN        [52706/42148:-97.29017:32 . 87097:128 )
872       02/11/11          09:59P     1111301000    18173436690     ••••..........•   310410276936201           IN        [52706 / 42148:-97.29017:32.87097:128)
873       02/11/11          10:00P     18177761698   18173436690     000000000000000   310410276936201         IN_ MMS     [)
874       02/11/11          10:00P     1111301000    18173436690                       310410276936201           IN        [52706 /42 148:-97.29017:32.87097:128)



                                                                             AT&T Proprietary
         NKK                   The information contained here is for use by authorized person only and is                                                               Page 94
                                                     not for general distribution.
                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 61 of 99 PageID 3782
976503                                                            MOBILITY USAGE
08 / 1 7/2011
SCAMP                                                          (with cell location)


 Run Date:                  08/17/2011
 Run Time:                  00:36:11
 SMS Usago For:             (817) 343 -6690
 Account Number :           318912244
Item           Conn.                Conn.       Originating      Terminating           IMBI                  IMSI             Descrip tion   Cel l Location
                 Date               Timo          Numb er           Number
875          02/11/11             10:00P      11113 01000      18173436690      .........•.•...      310410276936201               IN        [52706/42 148:-97.290 17: 32.8 7097 : 128)
876          02/11 /11            1 0 :01P    1 817776 1 698   18173436690      000000000000000      310410276936201            IN_MMS       [)
877          02/11 / 11           10:01P      1111301000       18 173436690     .•....•••......      31041 02769 362 01            IN        [52 706/42 1 48:-97.29017:32.87097:128)
878          02/11 / 11           10:01 P     1111301000       18173436690      ***************      310410276936201               IN        [52706/42 148:-97 . 29017:32.87097:128)
87 9         02/11/11             10:03P      18177761698      18173436690      000000000000000      310410276936201            IN_ MMS      [)
880          02/11/11             10:03P      1111301000       18173436690                           31041 0276936 2 01            IN        [5 2 706/42148 : -97 . 29017:32.87097:128)
881          02 / 11 /1 1         10 :03P     11113010 00      1817343 66 9 0                        310410276936201               IN        [52706/42148 : -97.29017 : 32.87097 :12 8)
882          02/11/11             10:05P      18177761698      1817 3436690     000000000000000      3104 1 0276936 2 01        IN MMS       II
883          02/11/11             10 : 0 5P   1111301000       1 8173436690     ...............      3104 1 02769 362 01           IN        [52706/42148: - 97.29 017: 32.87097:128 )
884          02/11/11             10:05P      1111301000       1817 3436690     ***************      3104 1 027 6936201            IN        [52706/42148: - 97.29017 :32.87097:128]
885          02 / 11/11           10:11P      18177761698      18173436690      ..•..•.........      310410276936201               IN        [52706/42148: - 97.29017: 32.87097:128)
886          02/11/11             11:28P      18173436690      18177761698      •••••••••••••••      310 41 0276936201            OUT        [5 2706/14722:-97 . 29017:32.87097:128)
887          02/12/11             12:40A      18177761698      1817343 6690     •••••••••••••••      310410276936201               IN        [527 06/14722:-97.29017:32.87097:128]
888          02/12/11             12:48A      18173436690      18177761698      000000000000000                                OUT_ MMS      II
889          02/12/ 11            12:51A      18177761698      18173436690      •••••••••••••••      3 1 04102769 362 0 1          IN        [52706/42148: - 97.29017:32.87097:128]
890          02/ 12 /11           05:22A      12147386545      18173436690      • •••• ••••••••• •   310 410276936201              IN        [ 52706 / 42142: - 97.29017:32.87097:128 ]
891          02/ 12/ 11           05:28A      18173436690      12147386545      ••••• ••••••••••     310410276936201              OUT        [52706/42148: - 97.29017 : 32.87097:128]
892          02/12/11             05:29A      12147386545      18173436690      •••••••••••••••      310 4 1027693620 1            IN        [ 527 06/42148 :- 97.29017:32.87097:128)
893          02/12/11             05:41A      18177845975      18173436690      •••• •• • ••••••••   310410276936201               IN        [52706/42148 :- 97 . 29017 : 32.87097:128)
894          02/12 /11            07:26A      18173436690      18173431808      •••••••••••••••      310410276936 201             OUT        [52703/35393:-97.39886:32.77283 :300)
895          0 2 /12/11           08:01A      18173431808      18173436690      •••••••••••••••      310410276936201               IN        ( 52703 / 14221:-97.44867:32.77356:60)
896          02/12/11             08:35A      12147991845      18173436690      ***************      31 0 4102 7693620 1           IN        (52703 /35382: -97 .40833:32.8019 4: 180)
897          02/12/11             08:57A      18173436690      12147386545      •••• •••••••••••     310410276936201              OUT        [527 03/35393: - 97.39886:32.77283: 3 00)
898          02/12/11             09:00A      18173436690      1817 77 61698    • ••••••••••••••     310410276936201              OUT        [ 52703/35393 :- 97.39886:32.7 72 83:300 )
899          02/ 12/11            09 : 01A    18173436690      18048732541      •••••••••••• •••     310410276936201              OUT        [ 52703/35399: - 97.39886:32 .77 283:300 ]
900          02/12/11             09:01A      1817343669 0     15806509009      ••••• • ••••••• ••   310410276936201              OUT        [ 52703/35396: - 97.39886:32.77283:248)
901          02 / 12/11           09:02A      18173436690      18179038698      ***************      310410276936201              OUT        [52703/3539 3:-97 .39886:32.7728 3 :300 )
902          02/12 /1 1           09:06A      1 5806509009     18173 4366 90    •••••••••••••••      310410276936201               IN        [52703/35367 :- 97.44867:32.77356:8)
903          02/12 / 11           09:08A      18173436690      15806509009      ***************      3 1 04 1 0276936201          OUT        [52703 / 35396:-97.39886:32 .77 283:248)
904          02/12/11             09: 16A     158 06509009     18173436690      •••••••••••••••      310410276936201               IN        [527 0 3/35393: -97.39886:32.77283:300)
905          02/12/1 1            09:16A      1817343 6 690    15806509009      ***************      3 1 04 1 0 27 69362 01       OUT        [527 03/35361:-97.44867:32.77 356 :8)
906          02/12/11             09:17A      15806509009      18173436690      •••••••••••••••      310410276936201               IN        [52703 /35 396:-97.39886:32.77283: 248 )
907          02/12/11             09:18A      18173436690      15806509009      •••••••• •••• •••    310410276936201              OUT        [52703 /35396:-97.3 9886:32.77283:248)
908          02/12/11             09:18A      15806509009      18173436690      ••• ••• •••••••••    310410276936201              IN         [52703 / 14221:-97.44867:32.77356:60)
909          02/12 / 11           09:20A      18173436690      15806509009      ***************      3 1 0410 27 6936201          OUT        [52703 / 35393:-97.39886:32.77283:300]
910          02/12/11             09:20A      158 06509009     1817 3436690     **** ***** ******    3104 1 027693 62 01          IN         [52703/35393: - 97.39886:32.77283:300)
911          02/12 / 11           09:21A      12147386545      18173436690      ***************      31041 0276936201             IN         [52703/35361:- 97 . 44867:32.77356:8)
912          02/12/11             09:48A      18177761698      18173436690      •••••••••••••••      310410276936201              IN         [52703 / 35393 : -97.39 886 :32.7728 3 :300)



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                                                            not for general distribution.
                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 62 of 99 PageID 3783                                                              -...,_,
976503
08 /17/2 011
SCAMP
                                                                MOBILITY USAGE
                                                             (with cell location}                                                                                           @5? at&t
 Run Date:                08/17/2011
 Run Time:                00:36:11
 SMS Usage Por:           (817) 343-6690
 Account Number :         31891224 4
Item         Con n.               Conn.      Originating      Termina ting           IMBI                  I MSI           Description   Cell Location
             Date                 Time         Number            Number
9 13       02/12/ 11            10:24A     18173436690      18177761698      ••• ••••••••• •• •     310 41027 6936201         OUT        (527 0 3 /35393 :- 97 . 39886:32.77283:300)
914        02/12/ 11            10:27A     18177761698      18173436690      •••••••••••••••        310410276936201            IN        ( 52703/14221:-97 . 44867:32.77356:60)
915        02/12/ 11            11:53A     12147386545      18173436690      •••• ••••• ••••••      310410276936201            IN        (52703 /14221 :-97.44867:32.77356:60)
916        02/12/ 1 1           11:58A     18173436690      12147386545      •••••••••••••••        310410276936201           OUT        ( 52703/14221: - 97.44867:32.77356:60)
917        02/12/ 11            11:58A     18173436690      18177761698      •••• ••••• ••••••      3104102769362 0 1         OUT        (527 03/14221: - 97.44867:32.77356:60)
918        02/12/ 11            11:59A     18173436690      18173431808      •••••••••••••••        310410276936201           OUT        (5 2703/14221:-97.44867:32.77356:60)
919        02/12/11             12: 01P    18173436690      12147991845      •••• •• • •• ••••••    310410276936201           OUT        (52703/14221:-97.44867:32.77356:60)
920        02/12/11             12:01P     18173436690      18179882986      •••••••••••••••        3104102 76936201          OUT        (52703 / 14221 :-97.44867:32.77356:60)
921        02/12/11             12 : 01P   18173431808      18173436690      ••••••••••••• ••       310410276936201            IN        (52703 /14 221:-97.44867:32.77 356:60)
922        02/12/11             12:02P     18173436690      18173431808      •••••••••••••••        310 41 0 2 7 6936201      OUT        (52703/14221:-97.4 48 67:32 . 773 56:60)
923        02/12/11             12:03P     18 1 79882986    18173436690      •••••••••••••••        310 41 0276936201          IN        (52703/35367:-97.44867:32.77356:8 )
924        02/12/11             12:22P     1 8 17 3436690   18179882986      ••••• •••••••• ••      310410276936201           OUT        (5270 3/35367:-97.44867:32.77356:8)
925        02/12/ 11            12:29P     18179882986      18173436690      •••• •• • ••••••• •    310410276936201            IN        (52703 / 3417 2: - 97.4065:32.73331:180)
926        02/12/11             12:33P     1 8173436690     18179882986      •••••••••••••••        310410276936201           OUT        (52702 /40437: - 97.38781:32.72292:0)
927        02/12/11             01:00P     12147991845      18173436690      •••••• • ••••••••      310410276936201            IN        (52702 / 14381:-97.38781:32.72292:8)
928        02/12/11             01:01P     18178769702      18173436690      •••••••••••••••        310410276936201            IN        (52702 / 14381: -9 7.38781:32.72292 : 8)
929        02/12/11             01:15P     1 8177761698     18173436690      •••••••••••••••        310410276936201            IN        (52703 /14181 :- 97.42067:32.76231:60)
930        02/12/11             01:28P     181734 3669 0    1 8177761698     •••••••••••••••        310410276936201           OUT        (52703/27112 : -97 .4083 3:32.8019 4:180)
931        02/12/11             01:30P     18177761698      18173436690      •••••••••••••••        310410276936201            IN        (52703/27112: - 97.40833:32.80194:180 )
932        02/12/11             01:30P     1 8 173436690    1 8 17 8769702   •••••••••••••••        310410276936201           OUT        (52703 /2 7112: - 97.40833:32.80194:180)
933        02/12/11             01:30P     18173436690      1 8177761698     •••••• ••• ••••••      310410276936201           OUT        (52703 /27 112:-97.40833:32.80194:180)
934        02/12/11             01:30P     18173436690      1 2147991845     •••••••••••••••        310410276936201           OUT        (52703/27112:-97.40833:32.80194:180 )
935        02 /1 2 / 11         01: 31P    18178769702      18173436690      •••••••••••••••        310410276936201            IN        (52703/27112:-97.40833:32.80194:180)
936        02 / 12/11           01 : 32P   18173436690      181 787697 02    •••••••••••••••        310410276936201           OUT        [52703/27112:-97.40833:32.80194:180)
937        02/12/11             01:33P     18173436690      1 5806509009     • •• ••••••••••••      3 1 0 41027 693620 1      OUT        [52703 /27 112:-97.4083 3 :32.80194: 180)
938        02/12/11             01:33P     18178769702      18173436690      •••••••••••••••        310410276936201            IN        (52703/27112:-97.40833:32 . 80194:180)
939        02/12/11             01:33P     18173436690      14696671196      •••••••••••••••        310410276936201           OUT        (52703/27112:-97.40833:32.80194:180)
940        02/12/11             01:34P     18173436690      18178769 702     •••••••••••••••        310410276936201           OUT        (52703/27112: - 97.40833:32.80 1 94:180)
941        0 2/12/11            01 : 34P   18178769702      18173436690      •••• •• •••••••••      310410276936201            IN        ( 52703/27112:-97.4 0 833:32.80194:180)
942        02 / 12 /11          01:34P     18178769702      1 8 1 73436690   •••••••••••••••        31041 02 76936201          IN        ( 52703/27112:-97.4 083 3:32.80194 :1 80)
943        02 / 12 /11          01:35P     18173436690      18178769702      •••••••••••••••        310410 276936201          OUT        ( 52703/27112:-97.40 833:32.80194: 1 80)
944        02 / 12 / 11         01:36P     181787697 02     181734366 90     •••••••••••••••        310410276936201            IN        (52703 /27112:- 97 .40833:32 .80194: 1 80)
945        02/12/11             01 :3 6P   1 5806 509009    18173436690      •••••••••••••• •       310410276936201            IN        (52703 /27112:-97.4 0833:32 .80194: 18 0)
946        02/12/11             01:37P     18173436690      18178769702      •••••••••••••••        310410276936201           OUT        (52703 /14221: -97.44867 :32.77356:60)
947        02/12/11             01:37P     14696671196      18173436690      •••••••• •••••••       310410276936201            IN        [ 5 2703 /35382: - 97.40833:32.80194:180)
948        02/12/11             01:38P     1817876970 2     1817 3436690     •••••••••••••••        310410276936201            IN        [ 52703/35382:-97.40833:32.80194: 1 80)
949        02 /12/11            02:5 1P    18173431808      18173436690      •• • • • ••• •••••••   310410276936201            IN        (52703 /34571:-97.42067:32.76231:60)
950        02/12/11             02:51P     18173436690      181734318 08     •••••••••••••••        310410276936201           OUT        ( 5270 3 /34571:-97 . 42067:32.76231:60)



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                                                          not for general distribution.
                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 63 of 99 PageID 3784
976503
08 /17/2011
                                                              MOBILITY USAGE
SCAMP                                                      (with cell location)


 Run Date:               08/17/2011
 Run Time:               00:36:11
 SMS Usage Per:          (817)343-6690
 Account Number:         318912244
Item         Conn.             Conn.       Originating         Terminating        IMEI                IMSI          Description   Cell Location
             Dato              Time          Number              Number
951       02/12/11            02:54P     18173431808         18173436690                       310410276936201           IN       [52703 /34571:-97.42067:32.76231:60]
952       02/12/ 11           02: 54 p   18173436690         18173431808     •..•.••........   310410276936201          OUT       [52703/34571:-97.42067:32.76231:60]
953       02/12/ 11           02:55P     18173431808         18173436690     ...............   310410276936201           IN       [52703 / 34571:-97.42067:32.76231:60]
954       02/ 12 / 11         02:55P     1817343 6690        12144356137     ..............•   310410276936201          OUT       [52703/34571:-97.42067:32.76231:60]
955       02/12/11            02:56P     12144356137         1817343 6690    .......•.......   310410276936201           IN       [527 0 3/35361:-97 . 44867 : 32.77356:8]
956       02/12/11            02:59P     12147991845         18173436690     ...............   310410276936201           IN       [52703/34571:-97 . 42067:32.76231:60]
957       02/12 / 11          03:02P     18173436690         12147991845                       310410276936201          OUT       [52703 / 35367:-97 . 44867:32.77356:8]
958       02 / 12 / 11        03: 14P    12147386545         18173436690     .•.•...........   310410276936201           IN       [52703/35361:-97 . 44867:32.77356:8]
959       02/12/11            04:04P     18179882986         18173436690                       310410276936201           IN       [52703/35367:-97.44867:32.77356:8]
960       02/12/11            04:22P     18173436690         18 179882986                      310410276936201          OUT       [52703/34173:-97.4065:32.73331:300]
961       02/12/11            04:26P     1817 98829 86       18173436690     ...••...••.....   310410276936201           IN       [52703/34173:-97.4065:32.73331:300]
962       02/12/11            04:27P     18173436690         18179882986                       310410276936201          OUT       [52703 / 34173:-97.4065:32.73331:300]
963       02/12/11            04:27P     18179882986         18173436690     000000000000000   310410276936201        IN_ MMS     []
964       02/12/11            04:27P     1111301000          18173436690     ••.•.•.........   310410276936201           IN       [52703/34173:-97.4065:32.73331:300]
965       02/12/11            04:27P     1111301000          18173436690     .......•.•.....   310410276936201           IN       [52703/34173 : -97.4065:32.73331:300]
966       02/12/11            04:28P     18179882986         18173436690                       310410276936201           IN       [52703/34171:-97.4065:32.73331:60]
967       02/12/11            04:29P     18173436690         18179882986                       310410276936201          OUT       [52703/34171:-97.4065:32.73331:60]
968       02/12/11            04: 34P    18179882986         18173436690                       310410276936201           IN       [52705/14133:-97.32344:32.74433:300]
969       02/12/11            04:41P     1000000000          18173436690                       310410276936201           IN       [52706/34908:-97.319:32.79611:180]
970       02/12/11            04:41P     1100                18173436690                       310410276936201        IN_ VMN     [52706 /34909 :-97.319: 32.79611:360]
971       02/12/11            04:42P     0100                18173436690     ....•••••..•...   310410276936201        IN VMP      [52706 / 34909:-97.319:32.79611:360]
972       02 / 12 / 11        05:37P     18173436690         18174202850                       310410276936201          OUT       [ 52707/18513:-97 . 18364:32.83831:248]
973       02/12/11            06:07P     18174202850         18173436690     ........•......   310410276936201           IN       [ 52707/40649:-97 . 16078:32.85086:248]
974       02/12/11            06: 11P    18174202850         18173436690     ...............   310410276936201           IN       [ 52707/40649:-97 . 16078:32.85086:248]
975       02/12/11            07 :27P    12147386545         18173436690     .........•.....   310410276936201           IN       [ 52707/40649:-97.16078:32.85086:248]
976       02 /12/ 11          07:28P     18173436690         12147386545                       3104102769 36201         OUT       [ 52707/40649:-97.16078:32.85086:248]
977       02 / 12/ 11         07:28P     12147386545         18173436690                       310410276936201           IN       [52707/40649: - 97.16078:32.85086:248]
978       02 /12/11           07:35P     18179469251         18173436 6 90                     310410276936201           IN       [ 52707/40649: - 97.16078:32.85086:248]
979       02 /12/11           07:39P     18174202850         18173436690                       310 4 1 0276936201        IN       [ 52707/40649: - 97.16078:32.85086:248]
980       02/12 / 11          07:41P     18173436690         181742028 50                      310410276936201          OUT       [ 52707/40649:-97.16078:32.85086:248]
981       02 / 12 /11         07:42P     18174202850         18173436690                       310410276936201           IN       [52707/40649: -97.16078:32.85086:248]
982       02/12/11            07:49P     1214 7 3 8 6 54 5   1817343 6690    .......••...•.•   310410276936201           IN       [52707/23533:-97.16078:32.85086:248]
983       02/12/11            07:49P     18173436690         12147386545     ...............   310410276936201          OUT       [ 52707/23533:-97.16078:32 . 85086:248]
984       02/12/11            07:51P     12147386545         18173436690                       3 104102769 362 01        IN       [52707/23533:-97.16078:32.85086:248 ]
985       02/12/11            07:52P     18173436690         12147386545     ..•...•••••.•..   310410276936201          OUT       [52707/23533:-97.16078:32.85086 :2 48]
986       02 /12/11           07 : 53P   12147386545         18173436690     ........•......   310410276936201           IN       [52707/23533:-97.16078:32.85086:248]
987       02/12/11            07:54P     18173436690         12147386545     ........•.•....   310410276936201          OUT       [52707/23533:-97.16078 : 32 . 85086:248]
988       02/12/11            07:54P     12147386545         18173436690     •••••.........•   310410276936201           IN       [52707 /23533:-97 . 16078:32.85086:248]



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                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 64 of 99 PageID 3785
976503
08 / 1 7/2011
                                                               MOBILITY USAGE
SCAMP                                                       (with cell location)


 Run Date:                08/17/2011
 Run Time:                00:36:12
 SMS Usage For:           (817) 343-6690
 Account Numbor:          318912244
Item        Conn.                Conn.       Originating     Terminating            IMEI                  IMSI          Description   Cell Location
             Date                Time          Number          Number
989          02/12/ll           08:39P     1 8048732541    18173436690       •••••••••••••••       3104 1 027693620 1       IN        [52707/23533 :- 97.16078:32.85086:248 )
990          02/ 12/ll          0 8:40P    18173436690     18048732541       •••••••••••••••       310410276936201         OUT        [52707 /23533: -97 . 16078:32.85086:248)
991          02/12/ll           09:16P     12147991845     18173436690       •••••••••••••••       310410276936201          IN        [52707/40649:-97.16078:32.85086:248)
992          02/12/ll           09:42P     12147386545     18173436690       •••••••••••••••       3104 1 0276936201        IN        [52707 / 23533:-97.16078:32.85086:248)
993          02/12/ll           l0:14P     18174202850     1 8173436690      ••••••• • ••• ••••    310410276936201          IN        [52707 /2 3533 : -97.16078:32.85086:248)
994          02/12/ll           10:48P     1 21 47386545   1 8 173436690     •••••••••••••••       310410276936201          IN        [52707/40643:-97.16078:32.85086:248)
995          02/12/ll           10:50P     18173436690     18177761698       •••••••••••••••       310410276936201         OUT        [52707/42121:-97.15889:32.83583:0)
996          02/12/ll           10:52P     18173436690     12147991845       •••••••••••••••       310410276936201         OUT        [52707/18943:-97 . 19614:32.83408:300)
997          02/12/ll           10:54P     18177761698     18173436690       •••••••••••••• •      310410276936201          IN        [52707/03861: - 97.22244:32.82669:60]
998          02/12/ll           10 : 55P   18173436690     18177761698       •••••••••••••••       3104102 76936201        OUT        [52707 /41989: - 97 . 2 333 3:32.84097:248)
999          02/12/ll           10:59P     18177761698     1 8173436690      •••••••••••••••       3104102769 362 01        IN        [52706/00779: - 97 .27 8 33 :32.83864 :24 8)
1000         02/12/ ll          11:00P     18173436690     1817 7761698      ••••••• ••••••••      310410276936201         OUT        [52706/00779:-97 . 27833:32.83864:248)
1001         02/12/ll           1 1: 04P   18173436690     18177761698       •••••••••••••••       310410276936201         OUT        [52706/14722:-97.29017:32.87097: 128)
1002         02/12/ll           11:32P     18177761698     1 8173436690      ••••• •••• ••••••     310410276936201          IN        [52706/14722:-97.29017:32.87097:128)
1003         02/13/ll           12:41A     18174202850     18173436690       •••••••••••••••       310410276936201          IN        [52706/14722:-97.29017:32 . 87097:128]
1004         02/13/ll           04 : 54A   18173436690     1 2147386545      •••••••••••••••       310410276936201         OUT        [52706/421 48:-97.29017:32.87097:128]
1005         02/13/ll           05:01A     12147386545     1817343 6690      •••••••• •••••••      310410276936201          IN        [5 2706 /42 148: - 97.29017 :3 2.87097:128 )
1006         02/13/ll           05:45A     18177845975     18173436690       ••••• ••••••••••      310 410276936201         IN        [52705/40852: - 97. 3 2356:32.76569:128 ]
1007         02/13/ll           05:45A     18177845975     181 7343 6690     •••••••••••••••       310410276936201          IN        [52705/ 40852: - 97.32356:32.76569:128 ]
1008         02 / 13/ll         06:06A     18177845975     18173436690       ••• •• ••••••••••     310410276936201          IN        [52703/34573:-97.42067:32.76231:300)
1009         02/13/ll           07: 3 8A   18173436690     18173431808       ••••••••••••• ••      310410276936201         OUT        [52703/34571:-97.42067:32.76231:60)
1010         02/13/ ll          08:13A     18173431808     18173436690       ••• ••••••••• •• •    31 0410 276936201        IN        [52703/34571:-97.42067:32.76231:60)
lOll         02/13/ll           08:19A     12147991845     1 8173436690      •••••••••••••••       3 1 04102769 36201       IN        [52703/34571:-97 . 4 2 067 : 32.76231 :60 )
1012         02/13/ ll          09:05A     1 5806509009    1 8173436690      •••••••••••••••       3 1 0410276936201        IN        [52703/35367 : -97. 44867:32.77356:8)
1013         02/13/ll           09 : 07A   18173436690     15806509009       •••••••••••••••       310410276936201         OUT        [527 03/14221 : -97 . 44867:32.77356:60)
1014         02/13/ll           09:09A     18173436690     12147991845       •••••••• • ••••••     310410276936201         OUT        [52703/14221:-97.44867:32.77356:60)
1015         02/13/ll           09:l1A     18173436690     18173431808       •••••••••••••••       310410276936201         OUT        [52703 /14221: -97.44867:32.77356:60)
1016         02/13/ll           09:13A     18173431808     18173436690       •••••• ••••••• ••     310410276936201          IN        [527 0 3 /34571:-97 .42067:32. 76231 :60)
1017         02/13/ll           09:14A     12147991845     1 8173436690      •••••••••••••••       310410276936201          IN        [ 52703/34571:-97.42067:32.76231:60)
1018         02/13/l l          09:1 5A    18173436690     1214 7 9 9184 5   •••••• • ••••• • ••   3 10410276936201        OUT        [ 52703/3457 1 :-97.42067:32.76231 :6 0 )
1019         02/13/l l          0 9:15A    18173436690     18173431808       •••••••••••••••       310410276936201         OUT        [52703 / 34571 : - 97 .42067:32.7623 1 :60)
1020         02/ 13/ll          09:15A     1 8 173431808   18173436690       ••••••••• ••••• •     310410276936201          IN        [52703 / 34571:-97.42067:3 2 .7 623 1: 60)
1021         02/13/ll           09:15A     1 8 173436690   18173431808       •••••• •••• •• •••    310410276936201         OUT        [52703/34571:-97 . 42067:32.76231 : 60)
1022         02/13/ll           09:15A     18173431808     18173436690       ••••••••••••• • •     310410276936201          IN        [527 03/35393:-97 .39886: 32.77283 :3 00)
1023         02/13/ll           09:16A     18173436690     18173431808       •••••••••••••••       310410276936201         OUT        [52703/35393: - 97 .3 9886:32.77283 : 300)
1024         02/13/ll           09:16A     18173431808     18173436690       ••••••• ••••••• •     310410276936201          IN        [52703/34571: - 97 .4 2067:32.7623 1 :60)
1025         0 2/ 13/ll         09: 18A    18173436690     12147991845       •••••••••••••••       31041027693620 1        OUT        [52703/34571:-97.42067:32.7623 1 :60)
1026         02/13/ll           09: 1 9A   1214799 1 845   18173436690       •••• • ••••••••••     310410276936201          IN        [527 03 /34571:-97 . 42067:32.76231:60 )



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        NKK                                                                                                                                                                          Page 98
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                                                          not for genera l distribution_
                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 65 of 99 PageID 3786
 976503                                                       MOBILITY USAGE
 08/17/2011
 SCAMP                                                     (with cell location}


 Run Date:               08/ 17 / 2011
 Run Time:               00:36:12
 SMS Osage For:          (817)343-6690
 Account Number:         318912244
Item           Conn.           Conn.     Originating     Terminating         I MSI                IMSI           Desc r iption   Cell Location
               Date            Time         Numb or          Number
1027       02/13/ 11          09:20A 12147991845       18173436690     •••••••••••••••     310410276936201            IN         [52703/35361: - 97 . 44867 :32.77356 :8 )
1028       02/13/ 1 1         09:20A 12147386545       18173436690     ***************     310410276936201            IN         [52703/34571: - 97.42067:32 . 76231:60 )
1029       02/1 3 / 11        09 :23A 1817 343 6690    12147991845     ************ ***    310410276936201           OUT         [5270 3 /34 571:-97.42067:32 .76231:60)
1030       02/ 1 3/11         09 : 23A 18173436690     12147386545     ***************     3 1 04102769 3 6201       OUT         [52703/3457 1 : - 97.42067:32.762 31: 60)
1031       02/13/11           09:23A 12147386545       181 7343 6690   ***************     3104102769 3 6 201         IN         [527 0 3 / 34571:-97.42067:32.76231:60)
1032       02/13/11           09 : 24A 12147991845     18173436690     ***************     310410276936201            IN         [52703/34571: - 97.42067:32.76231:60)
1033       02/13/11           09:27A 12147991845       18173436690     *** **** ********   3104 1 02769 3 6201        IN         [ 52703 / 35361:-97.44867:32 .773 5 6:8)
1034       02/13/11           09 : 29A 18173436690     121479918 45    •••••••••••••••     310410276936201           OUT         [52703/34571:-97.42067:32.76231:60)
1035       02/13/11           09:32A 1214 799 1845     18173436690     ***************     310410276936201            IN         [52703/34571 : -97 . 42067:32.76231:60)
1036       02/13/11           09:36A 18173436690       12147991845     •••••••••••••••     310410276936201           OUT         [5270 3 /3 4571:-97.42067:32.7 6231:60)
1037       02/13/11           09:42A 18173431808       18173436690     ***************     310410 2 769 3 6201        IN         [52703 / 34571:-97 . 42067:32.76231:60)
1038       02/ 1 3/11         09:43A 18173436690       18 173431808    •••••••••••••••     31041027693620 1          OUT         [527 03 /3 4571:-97.42067:32. 76231: 60)
1039       02/13/11           09:46A 18173 4 31808     18173436690     ******* ********    3104 1 0 27693 6201        IN         [ 527 0 3 /34571: -9 7.42067:32.76231:60)
1040       02/13/11           09:51A 18173431808       18173436690     ***************     310410276936201            IN         [52703/34571: -97.42 067:32.76231 : 60)
1041       02/13/11           10:14A 18172296524       18173436690     000000000000000     3104 1 0276936201       IN_ MMS       [)
1042       02/13/11           10:14A 1111301000        18173436690     •••••••••••••••     310410276936201            IN         [5 2703 /1 4181: -9 7.42067: 32.76231:60)
1043       02/13/11           10:14A 1111301000        1 8173436690    •••••••••••••• •    310410276936201            IN         [52703/35396:-97.39886:32.77283:2 4 8)
1044       02 / 13/11         10:26A 12147991845       1 817343 6690   •••••••• •••••••    3104102 7 69 36 201        IN         [52703/35393: - 97.39886 : 32.77283 :3 00)
1045       02/13/11           11:07A 18172049652       18173436690     000000000000000     310410276936201         IN_ MMS       [)
1046       02/1 3 / 11        11:07A 1111 301000       18173436690     •••••••••••• •• •   31041027 69362 01          IN         (52703/35396: - 97.39886:32.77283:248)
1047       02/ 13 /11         11:07A 1111301000        18173436690     ***************     310410276936201            IN         [52703 / 14 221: - 97.44867:32.77356:60)
1048       02/13/11           11:08A 18173436690       18172296524     000000000000000                            OUT MMS        [)
1049       02/13/11           11:09A 1817 2296524      18173436690     ******** * ******   3104 1 02 76936 201        IN         [ 52703/14221: - 97.44867 :3 2.77356 : 60)
1050       02 /13/ 11         11:16A 1 2 1 47386545    18173436690     ***************     310410276936201            IN         [ 52703/35399 :-9 7 . 39886:32.77283:300)
1051       02/13/11           11:23A 18173436690       12147991845     •••••••••••••••     310410276936201           OUT         [ 52703/34571 : -97 . 42067:32.76231:6 0)
1052       02/13/ 11          1 1 :26A 18173436690     13617741561     000000000000000                            OUT_MMS        [)
1053       02/13/11           11:26A 18173436690       1 5 126996659   000000000000000                            OOT_MMS        [)
1054       02/13/11           11:26A 18173436690       19722135863     000000000000000                            OOTMMS         [)
1055       02/13/11           11:31A 13617741561       18173436690     ************* **    310410276936201            IN         [527 03/34578:-97.42067:32.76231:180)
1056       02/13/1 1          11:56A 18173436690       18173431808     ***************     31041 027693620 1         OUT         [527 03/ 1785 1 :-97.417:32.72469:60 )
10 57      02/13/11           11:57A 18173431808       181 73436690    ***************     31041 0 276936 20 1        IN         [52703/1785 1 : - 97.417:32.72469 : 60 )
1 0 58     02/13/11           12:01P 1817343 1808      1817 343669 0   ***************     310410276936201            IN         [52703/331 93: - 97.417:32.72469:300)
1059       02/13/11           1 2:01P 18173431808      18173436690     ************ ***    310410276 93 620 1         IN         [52703 / 33193:-97.417:32.724 69:300)
1 060      02/13/11           12:05P 18173431808       18173436690     ...............     310410276936201            IN         [52703/33193:-97.417:32.72469 : 300)
1061       02/13/11           12:11P 18173436690       18173431808                         310410276936201           OUT         [52703/33193: - 97 .417 :32.72469:300)
1 06 2     02/13/11           12:13P 18173431808       18173436690     •..............     310410276936201            IN         [52703 /3 3193: - 97.417:32 . 72469:300 )
1063       02/13/11           12:13P 1817343 6690      18173431808     ...............     310410276936201           OUT         [52703 / 33191:-97.417:32.72469:60)
1 064      02/13/11           12:14P 18173431808       1817 3436690    ...............     310410276936201            IN         [52703 / 33199:-97.417:32.72469 : 3 00)



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                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 66 of 99 PageID 3787                                                          -...,;
 9765 03
                                                                                                                                                                       ~ ~ at&t
 0 8/ 1 7/ 2011
                                                                MOBILITY USAGE
 SCAMP                                                       {with cell location)


 Run Date:                 08/ 17/2011
 Run Time:                 00:36:12
 SMS Usage For:            (817)343-6690
 Account Number:           318912244
I tom         Conn.              Conn.       Originating        Terminating           IMEI               IMSI          Description   Cell Location
              Date               Time          Number             Number
1065       02/13/11             12:16P     18173431808        18173436690                         310410276936201          IN        [52703/17853 : -97. 417 : 32 . 72469:300)
1066       02/13/11             12: 17P    18173431808        18173436690       •..............   310410276936201          IN        [52703 / 17853:-97 . 417:32.72469:300)
1067       02/13/11             l 2: 19P   18173436690        18173431808                         310410276936201         OUT        [52703 / 17851:-97.417:32.72469:60)
1068       02/13/11             12:19P     18173431808        18173436690                         310410276936201          IN        [52703 /17 851: - 97.417:32.72469:60)
1 0 69     02/13/ll             l2:20P     1214799184 5       1 8 1 7343669 0                     3 1 0410276936201        IN        [52703/17851: - 97.417:32.72469:60)
1070       02/13/11             12:22P     18173431808        18173436690                         310410276936201          IN        [52703 / 33193:-97.417:32.72469:300)
1071       02/13 / 11           12:33P     18173436690        18173431808       ***************   310410276936201         OUT        [52703 /35367:-97.44867 : 32.77356:8)
1072       02/ 1 3 / 11         12:38P     18173431808        18173436690       .•.......•....•   310410276936201          IN        [52703 / 14221:-97.44867:32.77356:60)
1073       02/13 / 11           12 : 59P   18173431808        18173436690       ...•.••.•......   310410276936201          IN        [52703 /35396 :-97.39886:32.77283:248)
1074       02 / 13/11           01 : 09P   18173436690        18177761698                         310410276936201         OUT        [52703 /35396 :-97.39886:32.77283:248)
1075       02 / 1 3 / ll        01 : 12P   18177761698        18173436690       ***************   310410276936201          IN        [52703/35393 : -97.39886:32. 7 7283:300)
1076       02/13 / 11           01:15P     18173436690        18177761698                         310410276936201         OUT        [52703 / 35361:-97.44867 : 32.77356:8)
1077       02/13/11             Ol: 1 7P   18177761698        18173436690       .......•...••.•   310410276936201          IN        [52703/35367:-97.44867:32.77356:8 )
1078       02/13/11             01:18P     18173436690        18177761698       ...............   310410276936201         OUT        [52703/35396: - 97.39886:32.77283:248)
1079       0 2/13/11            01:2 1 P   18177761698        1817 3 4 3 6690   ...........•.••   310410276936201          IN        [52703 / 35367 :- 97.44867:32.77356:8)
lOBO       02/ 13/11            01:22P     18177761698        18173436690                         310410276936201          IN        [52703 /3 5367:-97. 44 867:32.77356:8)
1081       02/13 / 11           01:22P     18173436690        18177761698                         310410276936201         OUT        [52703 / 35367: - 97.44867:32.77356:8)
1082       02 /1 3 / ll         01:23P     18173436690        18177761698                         310410276936201         OUT        [52703 /35367:-97 . 44867:32.77356:8)
1083       02 / 13 / ll         01:23P     18177761698        18173436690                         310410276936201          IN        [52703 /3536 7 : -97.44867:32.77356:8)
1084       02 / 13 / ll         Ol:23P     18173436690        18177761698                         310410276936201         OUT        [52703/35367 : -97.44867:32 . 77356:8)
1085       02 / 13 / ll         01:24P     18177761698        18173436690       ...............   310410276936201          IN        [52703 / 35367:-97.44867:32.77356:8)
1086       02/13/11             01:25P     18173436690        18177761698                         310410276936201         OUT        [52703/35367:-97.44867:32.77356 : 8)
1087       02/13/1 1            Ol:25P     1 8 1 7776 1 698   181734 3 6690     ..............•   310410276936201          IN        [52703/35367:-97.44867:32.77356 : 8)
1088       02/13/11             01 : 25P   18173436690        18177761698       •..............   31041 0 276936201       OUT        [52703/35367:-97.44867:32.77356:81
1089       02/13/ll             Ol:27P     1817776 1 698      181 73436690                        31041 02769362 0 1       IN        [52703/35367:-97.44867:32.77356:8)
1090       02/13/11             01:27P     18173436690        18177761698                         310410276936201         OUT        [52703/ 35367 : - 97.44867:32.77 3 56:8)
1091       02 / 13/11           01:28P     18177761698        18173436690       •.••.••.....•.•   310410276936201          IN        [52703/ 35396 :-97 . 39886:32 . 77283:248)
1092       02/13 / 11           01:29P     18177761698        18173436690       •..•......•..••   310410276936201          IN        [52703 / 34571:-97.42067:32 . 76231:60)
1093       02 / 13/ll           01: 30P    18173436690        18177761698       ...............   310410276936201         OUT        [52703 /34571:-97.42067:32 . 76231:60)
1094       02/13 /11            01: 31P    18177761698        18173436690                         310410276936201          IN        [52703/34571:-97.42067:32.76231:60)
1095       02 / 13/11           01:32P     18173436690        18177761698       ..........•.••.   310410276936201         OUT        [52703 /3 4571: - 97.42067:32 . 76231:60)
1096       02/13/11             Ol:32P     18177761698        18173436690                         310410276936201          IN        [52703/34571:-97.42067:32.76231 : 60)
1097       02/13/ll             Ol : 35P   18173436690        1 8177761698      .......••......   310410276936201         OUT        [52703/35367:-97.44867:32 . 77356:8 )
1098       02/ 1 3/11           Ol : 38P   18177761698        18173436690       ..............•   3 1 041027693620 1       IN        [52703/14181:-97.42067:32.76231 : 60)
1099       02/13/ll             Ol : 39P   18173436690        18177761698       ..•.•••.....•.•   310410276936201         OUT        [52703/34571 :- 97.42067:32.76231 : 60)
1100       02/13/ll             01:41P     18177761698        18173436690       ........•......   310410276936201          IN        [52703/34571:-97.42067:32.76231:60)
1101       02/13 / 11           01: 44P    18173436690        181 77 7 61698    ***************   310410276936201         OUT        [52703/34571:-97.42067:32.76231:60)
1102       02/13/11             01:48P     18177761698        1 8 1 73436690                      310410276936201          IN        [52703/34571:-97.42067:32.76231:60)



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         NKK                                                                                                                                                                      Page 100
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                                                          not f or general distribution.
                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 67 of 99 PageID 3788
 976503                                                           MOBILITY USAGE
 08 / 17 /2 011
 SCAMP                                                         (with cell location)                                                                                           i? at&t

 Run Date:                 08 / 17/2011
 Run Time:                 00:36 : 12
 SMS Usage For:            (817)343 -669 0
 Account Number:           318912244
Item        Conn.                  Conn.         Originating      Terminating         IMBI                 IMSI          Descrip tion   Cell Location
               Date                Time            Number            Number
11 0 3     02 / 13 / 11           01:51P      1 817343 6690    18177761698                          310410276936201         OUT         [52703 /3 4571:-97.42067:32.76231:60]
11 04      02/13/11               01 :53P     181777616 98     18173436690                          310410276936201          IN         [ 5270 3 / 34571:-97 .42067 : 32.762 31 :60]
1105       02/13 / 11             02:25P      18173436690      12147991845                          310410276936201         OUT         [527 03/35361:-97 .44 8 67:32. 7735 6:8 ]
1106       0 2 / 13 / 11          02:26P      181734366 90     12147386545      00000 000000000 0                         OUT_ MMS      []
1107       02/13/11               02:28P      181734366 90     13617741561      00000 00000 00000                         OUT MMS       []
1108       02/13/11               02:28P      18173436690      15126996659      0000000000 0000 0                         OUT_ MMS      []
1109       02/13/11               02 :28P     1817 34366 90    19722135863      000000000000000                           OUT MMS       []
1110       02/13/11               02:31P      18173436690      12147386545      000000000000000                           OUT_ MMS      []
1111       02/13 / 11             03:05P      1 8173431808     1817343 669 0    •••••••••••••••     310410276936201          IN         [52703/34571:-97.42067:32.76231 : 60]
1112       02/13/11               03:06P      1 8173431808     18173436690      •••••••••••••••     31 04 10276936201        IN         [52703 /3 4571 :-97.42067:32.76231:6 0]
1 113      02 / 13 / 11           03:13P      1 8173436690     18173431808      •••••••••••••••     310410276936201         OUT         [52703 /34571:-97.42067:32.7 62 31:60]
1114       02/13/11               03:14P      18173431808      18173436690      ••••• •• ••••••••   310410276936201          IN         [52703 / 34571 :-97 .4 2 0 67:32 .7 62 31:6 0]
1115       02 / 13 / 11           03:21P      181778 45975     1817343 6690     ••••• •• ••••••••   310410276936201          IN         [52703/34577:-97.42067:32 . 7623 1:60 ]
1116       02/ 13 /11             03: 21P     18177845975      18173436690      • ••••••••••••••    310 4 10276936201        IN         [5 27 0 3/ 34577 :- 97 .4 2067:3 2.762 31 :60]
1117       02 / 13 / 11           03:50P                       18173436690      000000 000000000    310410276936201          IN         []
1118       02/ 13 / 11            03:51P      1 8173431808     18173436690      •••••••••••••••     310 4 10276936201        IN         [52703 / 34171: -97 .4065:32.73331:60]
1119       02/13/11               03:51P      18173431808      18173436690      •••••••••••••••     3104 1 0276936201        IN         [52703 /34171 :- 97.4065:32.73331:60]
1120       02 / 13 / 11           05:13P      1 81734318 0 8   1817343669 0     •••••• ••• ••••••   310410276936201          IN         [52707/23533: - 97.16 0 7 8:3 2.85086:248]
1121       02/13 / 11             05:42P      18173 4 36690    18173431808      •••••••• •••••••    3104102 76936201        OUT         [52707/40649 :- 9 7.16078 :3 2 . 85086:248]
1122       02/ 13 /11             05 :43P     18173431808      18173436690      •••••••••••••••     3104102 7 6936201        IN         [52707/40649:-97.16078:32 . 85086:248 ]
1123       02/ 13 / 11            05:47P      18173 43669 0    1817564 6545     00000000000000 0                          OUT_ MMS      []
11 24      02/13/11               06:06 P     18173431808      18173436690      •••••• • ••••••••   3104 102 7 6936201       IN         [52707/40649:-97.16078:32 . 85086 : 248 ]
1125       02/13/11               06:14 P     1 8173436690     18173431808      •••••••••••••••     31 0410276936201        OUT         [ 52707 / 40649:-97.16078:32.85086:248]
1126       02 / 13 / 11           06: 16P     18173431808      18173436690      •••••••••••• •••    310410276936201          IN         [ 52707/40649 :- 97.16078:32.8 50 86:248 ]
1127       02 / 13 / 11           06:19P      1817343 6690     1817 3 4318 08   •••••••• ••• ••••   3104 10276 936201       OUT         [527 07/40 649:- 97.16 07 8 : 32.8 5086:248]
1128       02 / 13 / 11           06:19P      18173436690      181734318 08     •••••••••••••••     3104102769 36201        OUT         [ 52707/40649:-97 .1 6078:32 . 85086:248]
1129       02 / 13/11             06 : 2 0P   18173431808      18173436690      •••••••••••••••     31041027693 62 01        IN         [ 52707/40649:-97.16078:32.85086:248 ]
1130       02/13/11               06:21P      18173431808      1817343 6690     •••••••••••••••     310410276936201          IN         [52707 / 40649: - 97. 1 6078:32.85086 :248 ]
1131       02 /1 3 / 11           06 : 51P    18173436690      18173431808      •••••••••••••••     3104102 7693 62 01      OUT         [52707 /40649: -9 7. 1 6078:32 .85086: 24 8]
1132       02 / 13 / 11           06 :51 P    18 1734 31808    181734 36690     •••••••••••••••     310410276936201          IN         [52707/40649: - 97. 1 60 78 :32.85 086:248]
1133       02 / 13 / 11           06 : 57P    18173436690      12147991845      •••••••••••••••     310410276936201         OUT         [ 52707/40649:-97. 16 078 :32 . 85086:248)
1134       02 / 13 / 11           06:57P      18173436690      181777 61698     •••••••••••••••     310410276936201         OUT         [52707/40649: - 97. 1 6078:32.85086:248 )
1135       02/13/11               06 : 58 P   12147991845      1 8173436690     •••••••••••••••     310410276936201          IN         [52707/40649:-97.16078:32.85086:248)
1136       02/13 / 11             07 : 01P    18173436690      12147991845      •••••••••••••••     310410276936 201        OUT         [527 0 7 / 41583:-97 . 13542 :32. 85347 :24 0 )
1137       02 / 13 / 11           07 : 06P    121479 91845     1817343 6690     •••••••••••••••     310410276936201          IN         [52707 / 41588:-97.13542:32.85347:120]
1 13 8     02 / 13 / 11           07: ll P    18173436690      12147 991845     •••••••••••••••     310410276936201         OUT         [52707/41588:-97.135 42 : 32.85347:120)
1139       02/13 / 11             07:11P      18177761698      1817 3436690     ••• ••••••••••••    3104102 76936201         IN         [52707 / 41588:-97.13542 : 32.85347: 1 20)
1140       02/ 13 / 11            07:21P      12147 991845     1 8173436690     •••••••••••••••     3104102769 36 201        IN         [52 9 03 /6 0083: -97.09742: 3 2 .8998 6:2 40]



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                                                            not for general distribution.
976503
                                      Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 68 of 99 PageID 3789
                                                                   MOBILITY USAGE
                                                                                                                                                                               -.....-.
08/17/20 11
SCAMP                                                           {with cell location)                                                                                          ~; at&t

Run Dato:                    08/17/2011
Run Timo:                    00 :36 :12
SMS Usage Por:               (817)343-6690
 Accoun t   Number:          318912244
Item              Conn.             Conn.        Originating     Terminating          IMEI                  IMSI           Description   Cell Location
                  Date              Time           Number          Number
1141          02/13/11             07:29P                      18173436690     000000000000000       31041027 6 93 6201        IN        [)
1142          02/13/11             07:30P      18173431808     18173436690                           310410276936201           IN        [52709 / 03672:-97.08444:32.92639:180 )
1143          02 / 13 / 11         07:55P      18173436690     18173431808                           310410276936201          OUT        [52709 / 27602: - 97.08444:32.92639:180)
1144          02/13/11             07:55P      18173436690     18173431808                           310410276936201          OUT        [527 09/27602: - 97.08444:32.92639: 1 80)
1145          02/13/11             07 : 56P    18173431808     18173436690     ...............       310410276936201           IN        [52709 /27602: - 97.08444:32.92639:180)
1146          02/13/11             07 : 56P    18173436690     12147991845     .•.............       310410276936201          OUT        [52709/27602: - 97.08444:32.92639:180)
1147          02/13/11             07 : 57 P   181734 36690    18173431808     .......•.••....       310410276936201          OUT        [52709/27602: - 97.08444:32.92639:180)
1148          02/13/11             07:57P      18173431808     18173436690     •.••..•.......•       310410276936201           IN        [52709/27602: - 97.08444:32.92639:180)
1149          02/13/11             07:57P      18173 436690    18177761698                           310410276936201          OUT        [52709/27602: - 97.08444:32.92639:180)
1150          02/13/11             07:59P      18173436690     19153292258                           310410276936201          OUT        [52709 /0 3672:-97.08444:32.92639 : 180)
1151          02/13/11             08:00P      191532922 58    18173436690     •.•••.........•       310410276936201           IN        [52709/03672: - 97.08444:32.92639:180)
1152          02/13/11             08:01P      18173436690     19153292258     ..••••.........       310410276936201          OUT        [52709/03672: - 97.08444:32.9 2 639:180)
1153          02/13/11             08:02P      19153292258     18173436690                           310410276936201           IN        [ 52709 /0 3672: - 97.08444:32.92639:180)
1154          02/13/11             08:02P      18173436690     19153292258     ...........•...       310 410276936201         OUT        [52709 /0367 2:-97.08444:32.92639:180)
1155          02/13/11             08:02P      19153292258     18173436690     ......•...•....       310410276936201           IN        [ 52709 / 03672 :- 97.08444 : 32.92639:180)
1156          02/13/11             08:03P      18173436690     19153292258                           310410276936201          OUT        [52709/03672:-97 .08 444:32.92639 : 180)
1157          02/13/11             08:05P      19153292258     18173436690     ...............       310410276936201           IN        [52 7 09/03672: -97. 08444 :32.92 639:18 0)
1158          02 / 13/11           08:26P      18173431808     18173436690                           310410276936201           IN        [52709 /036 78 : -97 . 08444:3 2 . 92639:180)
1159          02/13/11             08:27P      1817343 6690    18173431808     ...............       3104 1 0276936201        OUT        [52709/03672 :-97. 08444 :32.92 639: 180)
1160          02/13/11             08:38P      18177761698     18173436690     .•••...........       310410276936201           IN        [52709/60422:-97 . 099 1 7:32.95581 : 1 28 )
1161          02/13/11             09:02P      18179 663897    18173436690                           31 04 10276 936201        IN        [527 09/60428 :- 97.09917:32.95581:128)
1162          02/13/11             10:13P      18179469251     1817343 6690                          310410276936201           IN        [52 709/60422: - 97.09917 : 32.95581:128)
1163          02/13/11             10:43P      18173436690     1111340002      •••••••••• ••• ••     310410276936201          OUT        [52008 / 60422:-97.09917:32.95581:)
1164          02/13/11             10: 4 6P    18173436690     1111340002      ************** *      31 04 10 27 6936201      OUT        [527 09/60422:-97.09917:32.95581: 128)
1165          02/14/11             07:13A      18173436690     18179663897     ••• •••• ••••••••     310410276936201          OUT        [52709 /6 0428:-97.09917:32.95581:128)
1166          02 /14/11            07:49A      18179469251     18173436690     000000000000000       3104102769362 0 1      IN_ MMS      [)
1167          02/14/11             09:50A      1111301000      18173436690     ••••••••••• ••• •     310410276936201           IN        [5 2709/62028 :- 97.09953:32.93497:120)
1168          02/14/11             09 : 50A    1111301000      18173436690     ***************       310410276936201           IN        [52709/62028: - 97.09953:32.93497:120)
1169          02/14/11             01:57P      18048732541     18173436690     ***************       310410276936201           IN        [52709/24338 :- 97 . 09953:32.93497 :)
1170          02/14/11             01:57P      18048732541     18173436690     **** * *** *** ****   310410276936201           IN        [52709 /2 4338 : -97.09953:32.93497:)
1171          02/14/11             02:21P      18173431808     18173436690     •••••• • ••••••••     31041027693620 1          IN        [52709/62022 :-9 7.09953:32 . 93497:120 )
1172          02/14/11             02:21P      18173436690     18173431808     ** *************      310410276936201          OUT        [52709/62022:-97.09953:32.93497:120 )
1173          02/14/11             02:44P      18173436690     18048732541     •••••••••••••••       310410276936201          OUT        [52709/62028: - 97.09953:32.93497:120 )
1174          02/14/11             0 4 :24P    1000000000      18173436690     ***************       310410276936201          IN         [52709/23562:-97.099 17 : 32.95581:128)
1175          02/14/11             0 4: 24P    11 00           18173436690     ***************       310410276936201        IN VMN       [52709/2 35 62:-97 . 099 17:32 . 95581: 1 28)
1176          02/14/11             04:26P      0100            1817343669 0    *** ** ** ********    310410276936201        IN_ VMP      [52709/60422 : -97.09917:32 . 95581:128)
1177          02/14/11             05:58P      18173436690     18174202850     ***************       310410276936201          OUT        [52709 /202 37:-97.12608:32.93822:8)
1178          02/14/11             06:56P      14696671196     18173436690     ******* ** ******     310410276936201          IN         [52709/60423: - 97.09917:32.95581:248 )



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                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 69 of 99 PageID 3790
976503
                                                              MOBILITY USAGE
08/17/2011
S CAMP                                                     (with cell location}                                                                                                       at&t

 Run Date:              08/ 17/2011
 Run Time:              00:36:12
 SMS Ooago For:         (817)343-6690
 Account Number:        31 89 1 2244
Item           Conn.              Conn.     Originating      Terminati ng          IMEI                 IMSI           Descr ip tion   Cell Location
             Date               Time          Numbor            Number
1179       02/14/11           07:21P      18173436690     14696671196                            310410276936201           OUT         [52709 /60 423 :-97.09 917:32.95581:248]
1180       02/14/11           07:21P      14696671196     18173436690       ...•...........      310410276936201            IN         [52709 /60423:-97 .09917:32.95581:248]
1181       02/14/11           07:33P      18048732541     18173436690       ...............      310410276936201            IN         [52709/20237:-97.12608:32.93822:8]
1182       02/14/ 11          08:04P      18174202850     18173436690                            310 410276936201           IN         [52709 /60423: - 97.09917:3 2.95581: 2 48]
1183       02/14/11           09:44P      18048732541     18173436690       000000000000000      310410276936201         I N MMS       []
1184       02/14/11           09:44P      1111301000      18173436690       •..............      3104102769 36201           IN         [52709/60423:-97.09917:32.9 5581:248]
1185       02/14/11           09:44P      1111301000      18173436690                            310410276936201            IN         [52709/60423:-97.09917:32.95581:248]
1186       02/14/11           10:02P      18173436690     180487 32541                           310410276936201           OUT         [52709/60423:-97.09917:32.9 5581:248]
1187       02/14/11           10:17P      181794 69251    18173436690                            310410276936201            IN         [52709/60423:-97 . 099 17:32.95581:248 ]
1188       02/14/11           11:03P      102             18173 4366 90                          310410276936201            IN         [52709 /60423: -97 . 09917 : 32.95581 : 248]
1189       02/14/11           11 :14P     18173436690     18048732541                            310410276936201           OUT         [52709/6 0423:-97.09917:32.95581 : 248]
1190       02/14/ 11          11 : 37 P   1 8048732541    1 8173436690      .....•.........      310410276936201            IN         [52707 / 40649 : -97.16078:32.85086:248]
1191       02/14/11           11 :41P     18173431808     18173436690                            310410276936201            IN         [52707/40649:-97.16078:32.85086:248 ]
1192       02/14/11           11:44P      18173436690     18048732541       ••..•..........      310410276936201           OUT         [52707/40649: - 97.16078:32.85086: 24 8]
1193       02/14/11           11:49P      18048732541     18173436690                            3104 1 02769 362 01        IN         [52707/ 40649: - 97.16078:32.85086:248]
1194       02/15/11           12:04A      18173436690     18048732541       •••••••••••••••      3104 1 0276936201         OUT         [52707 /406 49:-97 . 16078:32.85086:248]
1195       02/15/ 11          12 : 04A    18173436690     1 817343 1 808    •••••••••••••••      3 1041 02 76936201        OUT         [52707/40649:-97.1 6 078:32.850 86:248]
1196       02/ 15/ 11         12:11A      18048732541     18173436690       •••••••••••••••      3104 102 76936 201         IN         [527 07/406 49:-97.16078:32.85086:248]
1197       02/15/11           01:58A      18173436690     14696671196       •••••••••••••••      310410276936201           OUT         [52707/23533:-97.16078:32.85086 : 248]
1198       02/15/11           02 : 03A    18173436690     14696671196       000000000000000                             OUTMMS         []
1199       02/15/11           02:03A      181 73436690    18179663897       • ••••• ••••••• ••   3104102769 3 6201         OUT         [52707 /23533:-97.16078:32.85086:248]
1200       02/ 15/ 11         02:04A      18173436690     18179038698       •••••••••••••••      310410276936201           OUT         [ 52707/23533: - 97. 1 6078:32.85086:248]
1201       02/15/11           02:04A      1 8173436690    18179074504       •••••••••••• •••     310410276936201           OUT         [ 52707/23533 :- 97.16078:32.85086:248]
1202       02/15/11           02:07A      18173436690     12144932304       •••••••••••• •••     310410276936201           OUT         [52707 /23533 : - 97.16078:32.85086:248]
1 203      02/15 / 11         02:08A      18177845975     18173436690       ••••••••••••• ••     310410276936201            IN         [52707/23533:-97.16078:32.85086:248]
1204       02/15/11           02:11A      18177845975     18173436690       •••••••••••••••      310410276936201            IN         [52707/23533: - 97.16078 : 32.85086: 2 48]
1205       02/15/11           02:13A      18173436690     16142266852       •••••••••••••••      310410276936201           OUT         [52707/23533:-97.16078:32.85086:248]
1206       02/15/11           03:13A      14695791622     1 8 173436690     •••••••••••••••      310 4102 76936201          IN         [52709 /23562:-97. 09917:32.95581:128]
1207       02/15/11           03:15A      18173436690     14695791622       ••••••••••••• ••     310410276936201           OUT         [52709/23562:-97.09917:32.95581 :12 8]
1208       02/15/11           03: 17A     1 4695791622    1817 3436690      •••••••••••••••      310410276936201            IN         [52709/23562:-97.09917:32.95581:128 ]
1209       02/15/11           03:19A      18173436690     14695791622       ••••••••••••• ••     310410276936201           OUT         [52709 /2 3562:-97.09917:32.95581:128 ]
1210       02/15/11           03:23A      18177845975     18173436690       •••••••••••••••      310410276936201            IN         [52709/23562: - 97.09917: 32.9 5581:128]
1211       02/15/11           03:23A      14 695791622    18173436690       •••••••••••••••      3104102769362 01           IN         [52709/23562:-97.09917:32.95581 :128]
1212       02/15/11           03:24A      1 8173436690    14695791622       •••••••••••••••      310410276936201           OUT         [52709/23562: - 97.09917: 3 2.95 581:128]
1213       02/15/11           03:26A      14695791622     18173436690       •• •••••••• •• •••   310410276936201            IN         [52709/23562: - 97.09917:32.95581:128]
1214       02/15/11           03:27A      18173436690     14695791622       ••••••••••••• ••     310410276936201           OUT         [52709 /23 562: - 97.09917:32.9 5581: 1 28]
1215       02/15/11           03:30A      14695791622     18173436690       •••••••••••••••      310410276936201            IN         [52709/23562:-97.09917:32.95581:128]
1216       02/15/11           03:32A      18173436690     14695791622       •••••••••••••••      310410276936201           OUT         [52709/23562: -97.09917:32.95581:128]



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976503
08/17/2011
SCAMP
                                    Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 70 of 99 PageID 3791
                                                                 MOBILITY USAGE
                                                              {with cell location)                                                                                         t? at&t
 Run Date:                08/17 / 2011
 Run Time:                00:36:13
 SMS Uoage For:           (817) 343 - 6690
 Account Number:          318912244
Item          Conn.                Conn.        Originating      Terminating          IMBI                 IMSI          Description   Cell Location
               Date                 Time          Number             Number
1217       02/15/11               03:34A     14695791622      1 8173436690     •••••••••••••••       310410276936201         IN        [52709/23562:-97.09917:32.95581:128]
1218       02 / 15/11             05:57A     16142266852      18173436690      •••••••••••••••       310410276936201         IN        [52709 / 23562:-97.09917:32.95581 : 128]
1219       02 / 15 / 11           05:57A     16142266852      18173436690      •••••••••••••••       310410276936201         IN        [52709/23562:-97.09917:32.95581:128]
1220       02 / 15/11             08:03A     18173436690      14695791622      •••••••••••••••       310410276936201        OUT        [52709/60422:-97.09917:32.95581:128]
1221       02/15/11               08 : 05A   18173436690      16142266852      •••••••••••••••       310 41027693620 1      OUT        [52709/60422:-97.09917:32.95581:128]
1222       02/15/11               08:21A     16142266852      18173436690      •••••••••••••••       31041027693620 1        IN        [52709/60428:-97.09917:32.95581:128]
1223       02/15/11               08:22A     16142266852      18173436690      •••••••••••••••       310410276936201         IN        [52709/60429:-97.09917:32.95581:248]
1224       02/15/ 11              08:27A     18173436690      16142266852      ***************       310410276936201        OUT        [52709/23563:-97.09917:32.95581:248]
1225       02 / 15/ 11            08:39A     16142266852      18173436690      •••••••••••••••       310410276936201         IN        [52709 / 60422: - 97 . 09917:32.95581:128]
1226       02 / 15/ 11            08:39A     16142266852      18173436690      •••••••••••••••       310410276936201         IN        [52709 / 60422: - 97.09917:32.95581:128]
1227       02/15/11               08:45A     1 6142266852     18173436690      •••••• • ••••••••     310410276936201         IN        [52709/62028: - 97 . 09953:32.93497:120]
1228       02/15/11               08:46A     16142266852      1 8 17 3436690   •••••••••••••••       310410276936201         IN        [52709/62028:-97 . 09953 : 32 .9 3497: 1 20]
1229       02 / 15/11             08:46A     18173436690      16142266852      •••••••••••••••       310410276936201        OUT        [52709/62028:-97 . 09953:32.93497:120]
1230       02/15/ 11              08:46A     16142266852      18173436690      ••••• •••••• ••••     310410276936201         IN        [52709 / 62028:-97.09953:32.93497:120]
1231       02 / 15/ 11            08:48A     16142266852      18173436690      •••••••••••••••       310410276936201         IN        [52709 / 62022:-97.09953 : 32 . 93497:120]
1232       02 / 15/11             09:04A     1111487799       18173436690      •••••••••••••••       310410276936201         IN        [52709/62028:-97.09953:32.93497:120]
1233       02/15/11               10:53A     12147991845      18173436690      ***************       310410276936201         IN        [52709/62028:-97.09953:32.93497:120]
1234       02/15/11               11:02A     1 8173436690     12147991845      •••••• • ••••••••     310410276936201        OUT        [52709/62028:-97.09953:32.93497:120]
1235       02/15/11               11:04A     12147991845      18173436690      •••••••••••••••       310410276936201         IN        [52709/62028:-97.09953:32.93497:120]
1236       02 / 15 / 11           11:11A     18173436690      12147991845      •••••• •••••••• •     310410276936201        OUT        [52709 / 62028:-97.09953:32.93497:120]
1237       02 / 15 / 11           11 : 11A   18173436690      16142266852      •••••••••••••••       310410276936201        OUT        [52709 / 62028:-97.09953:32.93497:120]
1238       02 / 15/11             11:12A     16142266852      18173436690      •••••••••••••••       310410276936201         IN        [52709/20238:-97.12608:32.93822:128]
1239       02/15/11               11:16A     12147991845      18173436690      •••••••••••••••       310410276936201         IN        [52709/62022:-97.09953:32.93497:120]
1240       02/15/11               11:20A     18173436690      16142266852      •••••••••••••••       310410276936201        OUT        [527 09/62028:-97.09953:32.93497 :120 ]
1241       02/15 / 11             1 1:24A    18173436690      19157405173      •••••••••••••••       310410276936201        OUT        [52709/ 62028: - 97.09953:32 . 93497 : 120]
1242       02 / 15 / 11           11:44A     12147386545      1817343 6690     •••••••••••••••       310410276936201         IN        [52709/ 62022:-97.09953:32 . 93497:120]
1243       02 / 15 / 11           11:56A     18173436690      12147386545      •••••••••••••••       310410276936201        OUT        [52709 / 62028:-97.09953:32.93497:120]
1244       02/15 / 11             11:57A     12147386545      1817343 6690     ••••••••••••• ••      310410276936201         IN        [52709/62028:-97.09953:32.93497:120]
1245       02/15/11               12:00P     18173436690      12147386545      •••••••••••••••       310410276936201        OUT        [52709/62028:-97 .0 9953:32.93497:120]
1246       02/15/11               12:05P     18173436690      12147386545      •••••••••••••••       310410276936201        OUT        [ 52709/62028:-97. 0 9953:32.93497:120]
1247       02/15/11               12:32P     18173436690      14695791622      •••••••••••••••       310410276936201        OUT        [52709/62028: - 97.09953:3 2 .93497:120]
1248       02/15/11               01:37P     18173436690      14695791622      •••••••••••••••       310410276936201        OUT        [52709/60313:-97.07914:32.93881:240]
1249       02 / 15/11             02:52P     18179074504      18173436690      ••• •••• ••••••••     310410276936201         IN        [52709 / 62028:-97.099 5 3:32.93497:120]
1250       02 / 15/11             03:03P     18173436690      18179074504      ***************       310410276936201        OUT        [52709 / 23473: - 97.07914:32.93881:248]
1251       02 / 15 / 11           03:54P     18179074504      18173436690      •••••• • • ••••• ••   310410276936201         IN        [52709/60428: - 97.09917:32.95581:128]
1252       02/15/11               04:24P     12147386545      18173436690      000000000000000       310410276936201      IN MMS       []
1253       02/15/11               04:24P     1111301000       18173436690      •••••••••••••••       310410276936201         IN        [52709/60313: - 9 7 .07914:32.93881:240]
1254       02/15/11               04:24P     1111301000       18173436690      •••••••••••••••       310410276936201         IN        [52709/60423: - 97 . 09917:32.95581:248]



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                                                           not for general distribution.
                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 71 of 99 PageID 3792                                                            -..,...,
 976503
 08 /17/20 11
SCAMP
                                                             MOBILITY USAGE
                                                          (with cell location)                                                                                         tft at&t
  Run Dato:             08/17/2011
  Run Time:             00:36:13
  SMS Ooago Por:        (817)343-6690
  Account Number:       318912244
 Item          Conn.           Conn.        Originating      Terminating         IMSI                 IMSI          Description   Cell Location
                Date            Time          Number           Number
1255        02/15/11          04:26P     18179663897      18173436690      •••••••••••••••     310410276936201           IN       [52709/60428:-97.09917:32.95581:128)
1256        0 2 /15/11        05:00P     19729630713      1817 3436690     00000 0000000000    3104 10 276 936201     IN_ MMS     [)
1257        02/15/11          05:50P     18173436690      18179074504      •••••••••••••••     310410276936201          OUT       [52709/20231:-97.12608:32 . 93822:8)
1258        02/15/11          05 : 50P   18173436690      18179663897      •••••••••••••••     310410276936201          OUT       [52709/20231:-97.12608:32.93822:8)
1259        02/15/11          05:50P     1 8173436690     14695791622      ••••••••••••• • •   310410276936201          OUT       [52709/ 20231 : -97. 12608:32.93822:8)
1260        02/15/11          05:56P     18179663897      18173436690      •••••••••••••••     310410276936201           IN       [52709/20231:-97.12608 : 32.93822 : 8)
1261        02/15/11          05:57P     18173436690      19405944491      000000000000000                           OUT MMS      [)
1262        02/15/11          06:12P     18179074504      18173436690      •••••••••••••••     310410276936201           IN       [52709/20237 : -97.12608:32.93822:8)
1263        02/15/11          07:00P     1111301000       18173436690      ••••••• ••••• •••   310410276936201           IN       [ 52709/20237:-97.12608:32.93822:8)
1264        02/15/ll          07:00P     1111301000       18173436690      •••••••••••••••     310410276936201           IN       [52709 /20237:-97.126 08:32 .93822: 8)
1265        02/15/11          07:01P     1 8179663897     18173436690      ••••••• •••• ••••   310410276936201           IN       [52709/20237:-97.12608:32.93822:8)
1266        02/15/ll          07:30P     1 8177845975     18173436690      000000000000000     310410276936201       IN_ MMS      [)
1267        02/15/ll          07:30P     1111301000       18173436690      •••••••••••••••     310410276936201           IN       [ 52709/20237:-97 . 12608:32.93822 :8)
1268        02/15/11          07:30P     111130100 0      18173436690      •••••••••••••••     310410276936201           IN       [ 52709/20237:-97.12608:32.93822:8)
1269        02/15/11          07:32P     18173436690      18179663897      ••••••••••• ••• •   310410276936201          OUT       [52709/20237:-97.12608:32.93822:8)
1270        02/15/ll          07:36P     18179663897      18173436690      • ••••••••••••••    310410276936201           IN       [52709/24311: - 97.12608:32.93822:8)
1271        02/15/11          08:53P     18172296524      181734 36690     000000000000000     310410276936201       IN_ MMS      [)
1272        02/15/11          08 : 53P   1111301000       18173436690      •••••••••••••••     310410276936201           IN       [52709 /2 0231:-97. 12 608:32.93822 : 8)
1273        02/ 1 5/ll        08:53P     111 1301000      1 8173436690     •••••••••••••••     310410276936201           IN       [52709/20231:-97.12608:32.93822:8)
1274        02/15/ll          09 : 02P   18179469251      1 8173436690     •••••••••••• •••    310410276936201           IN       [52709/20237 : -97. 12608:32 . 93822:8)
1275        02/15/11          09:06P     18173431808      1817343 6690     •••••••••• •••••    310410276936201           IN       [52709/20237:-97.12608:32.93822 : 8)
1276        02/15/ll          09:10P     197296 30713     181734 36690     000000000000000     310410276936201       IN MMS       [)
1277        02 / 1 5/ll       09:23P     18173436690      12147991845      ••••••••• • •••••   310410276936201         OUT        [52709 /24311: -97.12608:32.93822:8)
1278        02 / 15/11        09:24P     12147991845      18173436690      •••••••••••••••     310410276936201           IN       [52709/23563: - 97 .0 99 1 7:32.95581:248)
1279        02/15/11          09:25P     18173436690      12147991845      ••••••• •• ••••••   310410276936201         OUT        [52709 /23563:-97 .09917:32.9 5581:248)
1280        02 /15/11         09:29P     12147991845      18173436690      ••• •••• ••••••••   310410276936201           IN       [52709/60423:-97.09917:32.95581:248)
1281        02/15/11          09:33P     18173436690      12147991845      •••••••• • ••••••   310410276936201         OUT        [52709/62029:-97.09953:32.93497:240)
1282        02/15/11          09:34P     19729630713      18173436690      000000000000000     310410276936201       IN MMS       [)
1283        02/15/ll          09:34P     18173436690      18179663897      •••••••••••••••     310410276936201         OUT        [52709/62029:-97.09953:32 . 93497:2 40)
1284        02/15/ll          09:34P     18173436690      19729630713      ••••••• ••••••••    310410276936201         OUT        [ 52709/20237 : - 97.126 0 8 : 32.93822 : 8 )
1285        02/15 /ll         09:34P     12147991845      18173436690      •••••••••••••••     310410276936201          IN        [ 52709/20237:-97. 12608:32. 93822 :8)
1286        02/15/11          09:35P     18173436690      14696671196      •••••••••••••••     310410276936201         OUT        [52709/62029:-97.09953:32.93497:24 0 )
1287        02/15/11          09:36P     18173436690      18179074504      ••••••• •••••• ••   310410276936201         OUT        [ 52709/62029:-97 . 09953:32.93497:240)
1288        02/15/ll          09:50P     19729630713      18173436690      •••••••••••••••     310410276936201          IN        [ 52709/23809:-97 . 13797 :32.90131:)
1289        02/15/ll          09:50P     18173436690      19729630713      • • •••••••••••••   310410276936201         OUT        [ 52707/42061:-97 .15467 :32.88094:0)
1290        02/15/11          09:54P     19729630713      18173436690      •••••••••••••••     310410276936201          IN        [ 527 07/41445: - 97. 17 439:32.86639:120)
1291        02/15/11          09 : 54P   18173436690      19729630713      ••••••••• • •••••   310410276936201         OUT        [ 52707/41446:-97.17439:32.86639:240)
1292        02/15/11          09:58P     13617741561      18173436690      000000000000000     310410276936201       IN_ MMS      [)



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                                                        not f or general distribution.
                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 72 of 99 PageID 3793
                                                                                                                                                                           ~? at&t
 976503                                                           MOBILITY USAGE
 08 / 17 /2 011
 SCAMP                                                         (with cell location)


 Run Date:                 08/17/2011
 Run Timo:                 00:36 : 13
 SMS Os age For:           ( 817 ) 343-6 690
 Account Number:           318912244
Item          Conn.                 Conn.        Originating     Terminating         IMBI                 IMSI          Ooscription   Cell Location
              Da t e                Time            Number         Number
1 293       02/15/ 11              09:58P      1111301000      18173436690     ................    310410276936201          IN        ( 52707/40643:-97 . 16078:32 . 85086:248]
1294       02/15/ 11               09:58P      1111301000      18173436690     ...............     310410276936201          IN        ( 52707 / 40643 : -97.16078:32.85086:248]
1295       02 / 15/ 11             09:59P      19729630713     18173436690     000000000000000     310410276936201        IN_ MMS     (]
1296       02 / 15/ 11             10:03P      19729630713     18173436690                         310410276936201          IN        (52707 / 40649:-97.16078:32.85086:248]
1297       02/15/11                10:03P      14696671196     18173436690                         3104 1 0276936201        IN        (52707/40649:-97.16078:32.85086:248]
1298       02 / 15 / 11            10:05P      18173436690     19729630713                         310410276936201         OOT        (52707 / 40649:-97.16078:32.85086:248]
1299       02 / 15 / 11            10:06P      19729630713     18173436690                         310410276936201          IN        (52707 / 40649:-97. 1 6078:32.85086:248]
1300       02 / 15 / 11           10 :12P      18173436690     14696671196                         3 10 410276936201       OUT        (52707/23533:-97.16078:32.85086:248]
1301       02/15 / 11             10:24P       18173436690     18179074504     .........•..•••     3104 1 0276936201       OUT        (52707/40649:-97.16078:32.85086:248]
1302       02/15/11               10:35P       18173436690     18179038698                         310410276936201         OOT        (52707/23533:-97.16078:32.85086:248]
1303       02 / 15 / 11           10: 36P      18173436690     19729630713     ..••...........     310410276 93 62 01      OOT        (52707 / 23533: - 97.16078:32.85086:248]
1304       02 / 15 / 11           10:37P       19729630713     18173436690                         3104102769362 0 1        IN        (52707 / 23533: - 97.16078:32.85086:248]
1305       02 / 15 / 11           10:37P       18173436690     19729630713     •••.•..........     310410276936201         OOT        (52707/40643:-97.16078:32.85086:248]
1306       02/15/11               10 : 38P     19729630713     18 1 73436690   .......••......     310410276936201          IN        (52707/4 0 643:-97.16078:32.85086:248 ]
1307       02/15/11               10: 38P      19729630713     18173436690                         31041027693620 1         IN        (5 2707/40649:-97 . 16078:32.85086:248]
1308       02 / 15 / 11           10: 38P      18173436690     19729630713                         310410276936201         COT        (52707 / 40649: - 97.16078:32.85086:248]
1309       0 2 / 15 / 11          10: 39P      19729630713     1817343669 0                        310410276936201          IN        (52707 / 40649:-97.16078 : 32.85086:248]
1310       02 / 15 / 11           10:4 7 P     18173436690     19729630713                         310410276936201         COT        (52707 / 40643:-97 . 16078:32.85086:248]
1311       02/15/11               10:49P       1 8173436690    1817776 1 698                       31041027693620 1        OUT        (52707/40643:-97 . 16078:32.85086:248]
1312       02/ 1 5/11             10:55P       1 8179469251    18173436690                         310410276936201          IN        (52707/40649 : -97 . 16078:32 . 85086:248]
1313       02 / 15 / 11           11:02P       19729630713     18173436690     ..•••..........     310410276936201          IN        (52707 / 40649:-97.16078:32 . 85086:248]
1314       02 / 15 / 11           11:03P       18173436690     19729630713                         310410276936201         COT        (52707 / 40649:-97.16078:32 . 85086:248]
1315       02 / 15 / 11           11:03P       18177845975     18173436690                         310410276936201          IN        (52707/40649:-97.16078:32.85086:248]
1316       02/15/11               11: 03P      19729630713     18173436690                         310 4102769362 0 1       IN        (5 2707/40649:-97.16078:32.85086:248]
1317       02/15 / 11             11:06P       18173436690     19729630713     000000000000000                           OOT_ MMS     (]
131 8      02 / 15 / 1 1          11: lOP      1111301000      18173436690                         310410276936201          IN        (5 2707 / 40649 : -97 . 16078:32.85086:248]
1319       02 / 15 / 11           ll:lOP       1111301000      18173436690                         310410276936201          IN        ( 5 2707 / 40649:-97.16078:32.85086:248]
1320       02 / 15 / 11           11: 11P      18173436690     1 9729630713                        310410276936201         COT        (52707/40649:-97.16078:32.85086 : 248]
1321       0 2/ 1 5 / 11          11: 13P      19729630713     18173436690     .•••..•........     310410276936201          IN        ( 52707/40649:-97 . 16078 : 32.85086:248]
1322       02 / 1 5/11            11: 26P      18173436690     1 9729630713                        310410276936201         COT        ( 52707 / 40649 : -97 . 16078 : 32.85086:248]
1323       02/15 / 11             11: 27P      18173436690     12147991845     •••.•.........•     310410276936201         OUT        ( 52707 / 4 0 649:-97 . 16078 : 32.85086:248]
1324       02/15/11               11:27P       18173436690     1 8179663897                        310410276936201         COT        (52707/40649 : - 97 . 16078 : 32.85086: 2 48]
1325       02/15 / 11             11:28P       18173436690     18173 4 31808   •....•••......•     310410276936201         COT        ( 52707/40649: - 97.16078:32.85086:248]
1326       0 2/1 5/11             11: 29P      18173436690     136177415 6 1   000000000000000                           OOT_ MMS     (]
1327       02/ 15 / 11            11: 29P      18173436690     15126996659     0000000 000 00000                         OUT MMS      (]
1328       02/ 15 / 11            11:29P       180487 3 2541   1 8173436690                        310410276936201          IN        (52707 / 40649: - 97.16078:32 . 85086:248]
13 2 9     02 / 15 / 11           11: 30P      1817343 6690    18048732541                         310410276936201         COT        (527 07/40649:-97.16078:32 . 8 5 086:248]
1 330      02/15/11               11: 32P      18 1 73436690   14695791622     ...............     310410276936201         OUT        ( 527 07/40649 : - 97. 1 6078:32.85086:24 8]



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 976503
                               Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 73 of 99 PageID 3794                                                                ___,
                                                                                                                                                                          ~~ at&t
 08/17/2011
                                                            MOB I LI TY USAGE
SCAMP                                                    (with cell location)


  Run Date:             08/17/2011
  Run Time:             00:36:13
  SMS Uaago For :       (817)343-6690
  Account Number:       318912244
 Item         Conn.            Conn .    Originating       Terminating          IMEI                    IMSI           Description   Cell Location
                Date            Time         Number            Number
133 1       02 / 15/ll        11:33P 18048732541        18173436690      •••• • •••••• ••••     310410276936201            IN        ( 52707/40649:-97. 16 078:32.85086 : 248]
1332        02/15/ll          11:34P 1111301000         18173436690      •••••••••••••••        310410276936201            IN        ( 52707/40649:-97.16078:32.85086 : 248]
1333        02/15/11          11:34P 1111301000         18173436690      •••••••••••••••        310410276936201            IN        ( 52707/40649: - 97.16078:32.85086:248]
1334        02/15/ll          11:34P 1 8173436690       18 048732541     •••••••••••••••        310410276936201           OUT        (527 07/40649: - 97.16078:32.85086:248]
1335        02/15/ll          11:35 P 1 8 17 343669 0   1972 9630713     •••••••••••••••        310410276936201           OUT        (527 07/23533: -97 . 1607 8 :32 .85086:248]
1336        02/ 1 5/ ll       11:39P 18173436690        1972 9630713     •••••••••••••••        3104 102 76936201         OUT        (52707/23533: - 97 .16078:32.85086:248]
1337        02/15/ll          11:40P 18173431808        1 8173436690     •••••••••••••••        3 1 0410276936201          IN        (52707/23533: -97.1607 8:32.85086:248]
1338        02/ 1 5/ll        11:40P 18173431808        1 8173436690     ••• • •••••• ••• ••    310410276936201            IN        (52707 /23533: - 97.16078:32.85086:248]
1339        02/15/ll          11:40P 19729630713        1 8173436690     •••••••••••••••        310410276936201            IN        (52707 / 23533:-97.16078:32.85086:248]
1340        02/ 15 /ll        11:41P 18173436690        1 9729630713     • • ••• •• ••••• •••   310410276936201           OUT        (52 707/23533:-97 .16 07 8:32.85086:248]
1341        02/15/ll          11:42P 18173436690        1 9729630713     •••••••••••••••        310410276936201           OUT        (52707/23533:-97.16078:32.85086:248]
1342        02/15/ ll         11:43P 18173436690        18048732541      ••• • •••••••••••      310410276936201           OUT        (52707/23533:-97.16078:32.85086:248]
1343        02/15/ll          11:43P 19729630713        18173436690      •••••••••••••••        310410276936201            IN        (52707/23533:-97.16078:32.85086:248]
1344        02/15/ll          11:44P 18173436690        19729630713      •••••••••••••••        310410276936201           OUT        (52707 /23533:-97. 16078:32.85086:248]
1345        02/15/ll          11:44P 18173436690        19729630713      *** ** **********      310410276936201           OUT        (52707/23533: - 97.16078:32.85086:248]
1346        02/15/ll          11 :45P 19729630713       18173436690      ***************        310410276936201            IN        (52707/23533:-97.16078:32.85 086:248]
134 7       02/15/11          11: 46P 19729630713       18173436690      •••••••••••••••        310410276936201            IN        (52707/23533:-97.16078:32.85086:248]
1348        02/15/11          11 :46P 19729630713       18173436690      ******* ********       31 0 41 0 276936201        IN        (527 0 7/23533:-97. 16078: 32.85086:248 ]
1349        02 / 15/ll        11:47P 18173436690        19729630713      •••••••••••••••        310410276936201           OUT        (52707 /23533:-9 7.1 6078 : 32 . 85086: 24 8]
1350        02/15/ll          ll: 48P                   181734366 90     000000000000000        310410276936201            IN        (]
1351        02/15/ll          11:49P 19729630713        18173436690      ••••• ••• •••••••      310410276936201            IN        (52707 /40643: -97.16078:32 .85086: 248]
1352        02/15/ll          11:50P 18173436690        19729630713      •••••••••••••••        310410276936201           OUT        (52707 /40643:-9 7.16078:32.85086:248]
1353        02/15/ll          11:50P 18048732541        18173436690      •••••••••••••••        310410276936201            IN        (52707 /40643:-97. 1 6078:32.85086:248 ]
1354        02/15/11          11:50P 18048732541        18173436690      •••••••••••••••        310410276936201            IN        (52707 /40643:-97.16078:32.85086 : 248 ]
1355        02/15/ 11         11 :51P 19729630713       18173436690      •••••••••••• •••       3104 1 0 276936201         IN        ( 52707/40643:-97.16078:32.85086:248]
1356        02/15/ll          11:52P 18173436690        18048732541      •••••••••••••••        31041027693620 1          OUT        ( 52 7 07/40643:-97 . 16078:32.85086:248]
1357        02/15/ll          11:52P 18173436690        19729630713      •••••••••••••••        310410276936201           OUT        ( 52707/40643: - 97.16078:32.85086:248]
1358        02/15/ll          11 : 54P 19729630713      18173436690      •••••••••••••••        310410276936201            IN        (52707 /4 0643:-97.16078:32.85 086:248]
1359        02/15/ll          11:55P 18173436690        19729630713      •••••••••••••••        310410276936201           OUT        (52707/40 643: - 97 .16078:32 . 85086:248]
1360        02/15/ ll         11:55P 1 804873254 1      1817343 6690     •••••••••••••••        31041027693620 1           IN        ( 52707/4 0 643:-97.160 78:32.85086:248]
13 6 1      02/15/ll          11:57 P 19729630713       18173436690      ***** **** ******      310410276936201            IN        (52707/40643 :- 97.16 078 : 32 . 85086:248]
1362        02/15/ll          11:57P 1 8 173436690      1 8048732541     •••••••••••••••        310410276936201           OUT        (52707/4064 3 :- 97.16 0 78:32.85086:248]
1363        02/15/ll          11:57P                    18173436690      00 0000000000000       310410276936201            IN        (]
1364        02/15/ll          11:58P 1 8 173 436690     1 9729630713     * ** ************      3 10 410276936201         OUT        (52707/40643:-97.16078:32.85086:248]
1365        02/ 15/ll         11:59 P 1111301 000       18173436690      *** ** **********      310410276936201            IN        (52707/40643:-97.16078:32.85086:248]
1366        02/15/ll          11:59P 1111301000         1 8173436690     •••••••••••••••        31 04 1 02769362 0 1       IN        (52707/40643:-97.16078:32.85086:248]
1367        02/ 1 6/11        12:00A 13 61774 1561      1 8 17 3436690   000 000000000000       3104102769362 0 1       IN_ MMS      (]
1368        02/16/ll          12:00A 1111301000         181734 36690     ***************        310410276936201            IN        (52707 /4 0643: - 97 .16078:32 . 85086:248 ]



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         NKK                                                                                                                                                                         Page 107
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                                                       not for general distribution.
                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 74 of 99 PageID 3795                                                           -...;
976503
                                                                                                                                                                         ~1 at&t
08 / 17/2011
                                                                MOBILITY USAGE
SCAMP                                                        (with cell location)


 Run Date:                08/17/2011
 Run Time:                00:36:13
 SHS Osage For:           (8 17)343 -6690
 Account Number:          318912244
Item         Conn.                Conn.        Originating     Terminating          IHBI                 IHSI          Description   Cell Location
               Date                Time           Number          Number
1369       02/16/11              12:00A     1111301000       18173436690     •••••••••••••••       310410276936201         IN        [52707/40643:-97.16078:32.85086:248 ]
1370       02/16/11              12:07A     18173431808      181734 36690    •••••••••••••••       310410276936201         IN        [52707/40649:-97.16078:32.85086:248]
1371       02/16/11              12:14A     18173436690      18173431808     •••••••••••••••       310410276936201        OUT        [52707/406 49:-97.16078:32.85086:248]
1372       02/16/11              12:15A     18173436690      19729630713     ••••••••••••• • •     310410276936201        OUT        [5 2 707/40649:-97.16078:32.85086:248 ]
1373       02/16/11              1 2:17A    1 8 173436690    19729630713     000 000000000000                           OUT HHS      []
1374       02/16/11              12:25A     18173436690      19729630713     •••••••••••••••       310410276936201        OUT        [52707 / 40649 : -97.1607 8:32 . 85086:248]
1375       02/16/11              12:27A     19729630713      18173436690     •• • ••••• ••••• ••   310410276936201         IN        [52707 / 40649:-97.16078:32.85086:248]
1376       02/16/11              12:28A     18173436690      19729630713     •••••••••••••••       3104 1 0276936201      OUT        [52707 / 40649 :- 97 . 16078:32 . 85086:248]
137 7      02/16/11              12:28A     18173436690      19729630713     •••••••••••••••       310410276936201        OUT        [52707/40649: - 97.16078:32.85086:248 ]
1378       02/16/11              12 : 29A   19729630713      18173436690     •••••••••••••••       310410276936201         IN        [52707 /4 0649:-97.16078:32.85086:248]
1 379      02/16/11              12 : 30A   1817343 6690     19729630713     •••••••••••••••       310410276936201        OUT        [ 52707 /4 0649:-97.16078:32.85086:248]
1380       02/16/11              12:31A     19729630713      18173436690     •••••••••••••••       310410276936201         IN        [ 52707 /4 0649: - 97.16078:32.85086:248]
1 381      02/16/11              12:37A     18173436690      19729630713     • ••• •••••••••••     310410276936201        OUT        [52707/40649: -97. 16078 : 32.85086:248]
1382       02/16/11              12:43A     18173436690      19729630713     •••••••••••••••       310410276936201        OUT        [52707/40649:-97 . 16078 :32.8 5086 :248 ]
1383       02/16/11              12:44A     19729630713      18173436690     ••••••••••• • •••     3104 1 0276936201       IN        [52707 /40649: -97.16 078 :3 2.85086 : 248]
1384       02/16/11              12:45A     18173436690      19729630713     •••••••••••••••       310410276936201        OUT        [52707/40649:-97.16078:32.85086:248]
1385       02/16/11              12 : 48A   19729630713      18173436690     •••• ••• ••••• •••    310410276936201         IN        [527 07/40649: -97. 16078:3 2. 85086 :24 8]
1386       02/16/11              12:49A     18173436690      19729630713     •••••••••••••••       310410276936201        OUT        [52707 / 40649 : -97.16078:32 . 85086:248]
1 387      02/16/11              12:49A     18173436690      19729630713     •••••••• • ••••••     310410276936201        OUT        [5 2707/40649: -9 7 .1 6078:32 . 85086:248]
1388       02/16/11              12:49A     19729630713      18173436690     •••••••••••••••       310410276936201         IN        [ 52707 / 40649 :- 97.16078:32.85086:248]
1389       02/16/11              12:49A     18173436690      19729630713     •••••• •• •••••••     310410276936201        OUT        [52707 / 40649:-97 . 16 078:32.85086:248]
1390       02/16/11              12:54A     18173436690      19729630713     •••••••••••••••       310410276936201        OUT        [5270 7/40643 :-97.16 078:3 2.85 086:248]
1391       02/16/11              12:54A     197 296 30713    1817 3436690    •••••••••••••••       310410276936201         IN        [ 52707/40643:-97.16078:32.85086:248]
1392       02/16/11              12:55A     18173436690      19729630713     *** * ***********     310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1393       02/16/11              12 : 56A   19729630713      18173436690     •••••••••••••••       3 1041027 6936201       IN        [52707 / 40649:-97.16078:32.85086:248]
1394       02/16/11              01:00A     18173436690      19729630713     ••• • ••••• •••• ••   310410276936201        OUT        [52707/40649:-97.16078:32.85086:2 48]
139 5      02/16/11              01:06A     18173436690      19729630713     •••••••••••••••       310410276936201        OUT        [52707 / 40649:-97.16078:32.85086 :2 48]
1396       02/16/11              01 :09A    19729630713      18173436690     •••••••••••••••       310410276936201         IN        [52707/40649: -97 . 16078:32.85086 : 248]
1397       02/16/11              01:09A     18173436690      19729630713     •••••••••••••••       310410276936201        OUT        [52707 / 40649:-97.1 6078 : 32.85086 : 248]
1398       02 / 16 / 11          01:10A     18173436690      19729630713     ••••••••• •• ••••     310410276936201        OUT        [52 707/40649: -97.16078 :3 2.85086:248]
1399       02/16/11              01:11A     19729630713      18173436690     •••••••••••••••       310410276936201         IN        [52707 / 40 6 4 9:-97.16078:32.85086 :248]
1400       02/16/11              01:12A     18173436690      19729630713     •••••••••• •••••      310410276936201        OUT        [52707/40649:-97.16078:32.85086:248]
1401       02/16/11              01:12A     19729630713      18173436690     •••••• • ••••••••     310410276936201         IN        [52707 /406 49:- 97. 16078 : 32.85086:248]
1402       02/16/11              01:13A     18173436690      19729630713     •••••••••••••••       310410276936201        OUT        [52707/40649: - 97.16078:32.85086:248]
1403       02/16/11              01:17A     19729630713      18173436690     •••••••••••••••       31041027693620 1        IN        [52707/40649:-97.16078:32.85086:248]
1404       02/16/11              01:19A     18173436690      1972963071 3    •••••••••••••••       310410276936201        OUT        [52707 / 40647:-97.16078:32.85086:8]
1405       02/16/11              01:37A     181794692 51     18173436690     •••••••••••••••       310410276936201         IN        [52709 /0 3672:-97 . 08444:32.92639: 1 80]
1406       02/16/11              03:03A     18173436690      19729630713     000000000000000                            OUT_ HHS     []



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                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 75 of 99 PageID 3796                                                           .........
                                                                                                                                                                           ~?- at&t
 08 / 17 /2011
                                                                  MOBILITY USAGE
SCAMP                                                          (with cell location)


 Run Date:                   08/17/2011
 Run Time:                   00:36:13
 SMS Uoage For:              (817)343-6690
 Account Number:             318912244
Item            Conn .              Conn .      Originating     Terminating           IMBI                 IMSI           Description   Cell Location
               Date                 Time          Number          Number
1407         02/16/11              08: 53A    12147991845     18173436690      •••••••••••••••      310410276936201           IN        ( 52709/24332:-97.09953:32.93497:1281
1408         02/ 16 / 11           08:59A     18173436690     12147991845      •••••••••••••••      310410276936201          OUT        (52709/24332:-97. 09953:3 2.93497: 1 281
1409         02/16/11              10:32A     18179074504     18173436690      •••••••••••••••      310410276936201           IN        (52709/62028:-97.09953:32.93497: 1 201
1410         02/16/11              11:00A     18173436690     18048732541      0000000 00000000                            OUTMMS       (J
1411         02/ 16 / 11           11 :0 0A   18173436690     19729630713      •••••••••••••••      3 1 04102769362 0 1      OUT        (527 09 /24332 : -97 .09 953:32.93497:1281
1412         02/16/11              11:03A     19729630713     18173436690      ••••••• • ••• ••••   3104102769362 01          IN        (52 709/60313 :-9 7 .07914:32 .93881:2401
1413         02/16/ 11             11:04A     18048732541     1 8173436690     ••••• ••• •••••••    3104102769362 01          IN        (52709/60313: -9 7. 0 79 1 4:32.93881:24 01
1414         02 /16/1 1           11:06A      18173436690     19729630713      ••••••• •• ••••••    310410276936201          OUT        (52709/24332:-97.09953:32 .93497:1281
1415         02/16/11             11:17A      19729630713     18173436690      •••••••••••••••      310410276936201           IN        (52709 /2433 2:-97.09953:32.93 497:1281
1416         02 /16/11            11 :28A     16142266852     18173436690      •••••••• • ••••••    310410276936201           IN        (52709/62 0 22:-97.09953:32 . 93497:1201
1417         02 /16/11            11:28A      19729630713     18173436690      •••••••••••• •• •    31 041 0276936201         IN        (52709/62 022:-97.0995 3 :32.93 497 : 1201
1 418        02/16/ 11            1 1:3 2A    18173436690     1 972963071 3    ••••••••• •• ••••    31 04 1 0276936201       OUT        (52709 /6 2028:-97.09953:32 .93497:1201
1419         02/16/11             11:32A      181734 36690    16142266852      •••••••••••••••      310410276936201          OUT        (52709/62028: - 97.09953:32.93497:1201
1420         02/16/11             11 : 33A    16142266852     18173436690      •••••• ••••••• ••    310410276936201           IN        (52709/62028:-97.09953:32.93497:1201
142 1        02/16/11             11:37A      1 8172962476    1817343 6690     •••••••••••••••      310410276936201           IN        (52709/60313:-97 . 07914:32.93881:240 1
1422         02 /16/11            11 : 40A                    1817343 6690     0000000000 00 000    310410276936201           IN        11
1423         02 / 16/11           11:40A      1 9729630713    1 8 1 73436690   •••••••••••••••      310410276936201           IN        ( 52903/60087:-9 7.09742: 32.89986:01
1424         02/16/11             11:48A      1817 3436690    1 6 142266852    •••••••••••••••      310410276936201          OUT        ( 52709/62028:-97.09953:32.93497: 1 20 1
1425         02/16/11             11:56A      18173431808     18173436690      ••••••• ••••••••     310410276936201           IN        (52709 /60 313:-97.07914:32.93881:2401
1426         02/16 / 11           11:56A      18173436690     19729630713      000000000000 0 00                           OUTMMS       11
1427         02/16/11             12:13P      181734366 90    19729630713                           31041027 6936201         OUT        (52709/62028:-97.09953:32.9349 7:1 201
1428         02/16/ 11            12:15P      1972 9630713    18173436690                           310410276936201           IN        ( 52709/62028: - 97.09953:32.93497:1201
1429         02/16/11             12:23P      1 8173436690    19729630713                           310410276936201          OUT        (52709/62028 : -97.09953:32 . 93 497:1201
1430         02/16/11             12:28P      1000000000      1817343 6690     ...............      310410 276936201          IN        (52709/24 332:-97.09953:32.93497:1281
1431         02/16/11             12:28P      1100            18173436690      .•.............      310410276936201        I N VMN      (52709/24332 : -97.09953:32.93497:1281
1432         0 2 / 16 / 11        12:29P      0100            18173436690      ...............      310410276936201        IN VMP       (52709/24332:-97.09953:32.93497: 1 281
1433         02/16/11             02 : 29P    18173436690     19729630713                           310410276936201          OUT        (52709 / 03673:-97. 084 44:3 2.92639:30 01
14 34        02/16/11             02:30P      18173436690     16142266852                           310410276936201          OUT        (52709 / 03673 : - 97.08444:32.92639:3001
1435         02/ 1 6/ 11          02:31P      1614 2266852    18173436690                           310410276936201           IN        (52709/62028:-97.09953:32.93497: 1 2 0 1
1436         02/16/11             02:34P      19729630713     18173436690                           3104 1 0276936201         IN        (52709/60313:-97.07914 : 32.93881 :2 401
1437         02/ 1 6/ 11          02:39P      18173436690     16142266852                           310410276936201          OUT        (52709/24332: -97 . 09953:32.93497:1281
1438         02/16/ 11            02:40P      16142266852     18173436690                           310410276936201           IN        (52709/24332: - 97.09953:32.93497 :12 81
1439         02/16/11             02:43P      18173436690     16142266852                           3104 1 0276936201        OUT        (52709/62028:-97.09953:32 . 93497:1201
1440         02/16/11             02:44P      1817 3436690    16142266852                           310410276936201          OUT        (5 2 70 9/62028: - 97.09953:32.93497:1201
1441         02/16/11             02:45P      16142266852     18173436690                           31 0410 276936 201        IN        (52709/60313:-97 . 07914:32.93881:2401
1442         0 2/16/11            02:52P      18173436690     16142266852                           3104 10 276936201        OUT        (52709 /62 028:-97.09953:32 .9 3497:1201
1443         0 2/ 1 6/ 11         03:15P      1614 2266852    18173436690                           3104 1 0276936201         IN        ( 52709/24331:-97.09953 : 32.93 497:81
1444         02 /16/ 11           04 : 29P    16142266852     18173436690      000000000000000      310 410276936201       IN_ MMS      11



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                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 76 of 99 PageID 3797
 976503
                                                                MOBILITY USAGE
 08/17/2011
SCAMP                                                        (with cell location)                                                                                         e; at&t
 Run Date:                 08/17/2011
 Run Time:                 00:36:13
 SMS Osage For:            (817)343-6690
 Account Number:           31891224 4
Itom        Conn.                Conn.        Originating     Terminating           I HI! I              IMSI          Oeocription   Cell Location
             Date                Time            Number           Number
1445         02/16/11           06: 13P     18173436690     19729630713     ...............        310410276936201        OUT         [5 2709 /075 83:-97 . 12506:32.971:360]
1446         02/16/11           06:16P      19729630713     18173436690     ...............        310410276936201         IN        [52709 /20 231:-97.12608 : 32.93822:8]
1447         02/16/11           06:19P      18173436690     16142266852                            310410276936201        OUT        [52709 / 20237: - 97.12608:32.93822:8]
1448         02/16/11           06:26P      16142266852     18173436690     •••............        310410276936201         IN        [52709 /20237: - 97.12608 :3 2.93822:8 ]
1449         02/16/11           06:27P      1 6142266852    18173436690     ............•..        310410276936201         IN        [52709/20237: - 97 . 12608:32.93822:8 ]
1450         02/16/11           06:28P      18173436690     1 6142266852                           3 1 0410276936201      OUT        (52709/26943:-97.12506:32.971:300 ]
1451         02/16/11           06:29P      1111301000      18173436690     ••..•.•.••....•        310410276936201         IN        [52709/24311: - 97.12608:32.93822:8]
1452         02/16/11           06:29P      1111301000      18173436690                            310410276936201         IN        (52709/24311:-97.12608:3 2. 93822:8]
1453         02/16/11           06:34P      18173436690     16142266852     ...............        310410276936201        OUT        [5 2709/60423:-97.09917:32 . 95581:248]
1454         02/16/11           06:43P      16142266852     18173436690     •..............        310410276936201         IN        [ 52709/2 43 11: - 97.12608:32 .93 822:8]
1455         02/16/11           06:50P      18173431808     18173436690                            310410276936201         IN        [52709 /2 4311:-97 . 12608:32.93822:8]
1456         02/16 / 11         06:51P      18173431808     18173436690     ...............        310410276936201         IN        [5270 9/24311 :- 97.12608:32.93822:8]
1457         02/16/11           08:27 P     18179469251     18173436690                            310410276936201         IN        [52709/20237:-97.12608:32.93822:8]
1458         02/16/11           08:53P      18173436690     18048732541     ..............•        310410276936201        OUT        [52709 /60423 :- 97.09917:3 2.9 5581:248]
1459         02/16/11           08:54P      18173436690     1817343 1 808                          3104 1 0276936201      OUT        [52709 / 60423:-97.09917:32.95581:248]
1460         02 / 16 /11        08:54P      18173436690     16142266852     .•.....••......        3104 1 0276936201      OUT        [52709 /60 423:-97.09917:32.95581:248]
1461         02 / 16 /11        08:55P      18173431808     18173436690     •••••••••••••••        3 10410276 936201       IN        [52709 /20 237:-97.12608:32 . 93822:8]
1462         02 /16/11          08:56P      18048732541     18173436690     •••••••••••••••        310410276936201         IN        [52709 /202 37:-97.12608:32.93822:8]
1463         02/16/11           09:08P      18173436690     18048732541     •••••••••••• •••       310410276936201        OUT        [52709 / 24311 :- 97.12608:32.93822:8]
1464         02/16/11           09:25P      18048732541     18173436690     •••••••••••••••        310410276936201         IN        [52709/23 563:-97 . 09917:32.95581 : 248]
1465         02/16 / 11         10:55P      18173436690     18048732541     •••••••• •• •• •• •    310410276936201        OUT        [52709/23563:-97.09917:32 . 95581:248]
1466         02 /16/11          10:58P      18048732541     18173436690     •• ••••• ••••••••      310410276936201         IN        [52709/24313:-97.12608:32.93822:2 4 8]
14 67        02/16/11           11:05P      18173436690     18048732541     •• ••••••• ••••••      310410276936201        OUT        [52709/19433: - 97 . 1521:32.9458:240]
1468         02/17/11           02:02A      18173431808     18173436690     ** *************       310410276936201         IN        [ 52709/23562:-97.09917:32.95581:128]
1469         02/17/11           02:02A      18173431808     18173436690     ***************        310410276936201         IN        [52709 / 23562:-97.09917:32.95581:128]
1470         02/17/11           02:02A      18173436690     18173431808     **** ****** *****      310410276936201        OUT        [52709/23562: - 97.09917:32.95581:128]
1471         02/17/11           02 : 03A    18173431808     18173436690     •••••••• ••• ••••      310410276936201         IN        [52709 / 23562:-97 . 09917:32.95581 :128]
1472         02/17/11           02 : 03A    18173436690     18173431808     •••••••••••••••        31041027693620 1       OUT        [ 52709 /2356 2:-97 . 09917: 32.9 5581:128]
1473         02/17/11           02 : 0 4A   18173431808     1 8 173436690   ••• • • • • ••••••••   310410276936201        IN         [52709/23562:-97.09917:32.95581:128 ]
1474         02/17/11           02:05A      18173431808     18173436690     •••••••••••••••        310410276936201        IN         [5 2709/23562:-97.09917:32 . 95581:128]
1475         02/17/11           02:08A      18173 431808    18173436690     ••• ••• • ••••••••     310410276936201        IN         [ 52709/23562:-97.09917:32.95581:128]
1476         02/17/11           02:10A      18173431808     18173436690     •••••• •••••••••       310410276936201        IN         [52709 /2 3562:-97.09917:32 . 95581:128]
1477         02/17/11           09:31A      18179469251     18173436690     •••• •••••••••••       310410276936201        IN         [ 52709/62022 :- 97 . 09953:32 . 93497: 120 ]
1478         02/17/11           11:11A      1 000000000     1 8 173436690   ••••••• ••••••••       310410276936201        IN         [52709 / 62028:-97.09953:32.93497:120]
1479         02/17/11           11: llA     1100            18173436690     ••••••• •• ••••••      310410276936201      IN VMN       [52709/62028 :- 97.09953:32 . 93497:120]
1480         02/17/11           11: 11A     0100            18173436690     ••••••••• ••••••       310410276936201      IN VMP       [52709 /6202 8: - 97.09953:32.93497:120]
1481         02/17/11           11:21A      18179469251     18173436690     ••••••• ••• •••••      310410276936201        IN         [52 709/62028 : -97.09953:32.93497:120]
1482         02/17/11           11:50A      18173431808     18173436690     ••••••• ••••••••       310410276936201        IN         [52709 / 62028:-97.09953:32.93497 : 120]



                                                                                         AT&T Proprietar y
        NKK                        The information contained here is for use by authorized p e rs on on ly and is                                                                    Page 110
                                                          not for general distribution.
                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 77 of 99 PageID 3798
 976 5 03
 08/ 1 7/20 11
 SCAMP
                                                             MOBILITY USAGE
                                                          (with cell location)                                                                                            ;;gat&t
                                                                                                                                                                           -.,_..,.



 Run Date:             08 / 17/2011
 Run Time:             00:36:14
 SMS Osage Por:        (817)343-6690
 Account Number:       318912244
Item         Conn.            Conn.      Originating     Terminating             IMEI                    IMS I         Description   Cell Location
             Date             Time         Number          Number
1483       02/17/11          11:52A     18173436690    18173431808      • • ••••• •••••• ••       310410276936201           OOT      [52709/62022:-97.09953:32.93497:120)
1484       02/17/11          11:53A     18173431808    18173436690      •• • •••• •••• ••••       310410276936201            IN      [52709/62022:-97.09953:32.93497:120)
1485       02/17/11          11:54A     18173431808    18173436690      ••••••••• • • • •••       310410276936201            IN      [52709/62022: - 97.09953:32.93497:120)
1486       02/17/1 1         11:54A     18173436690    1 8173431808     •••••• •••••• •• •        310410276936201           OUT      [52709/603 13: - 97 . 07914:32.93881 : 2 4 0)
1487       02/17/11          11:55A     18173431808    1 8173436690     •••••• ••••• •• • •       310410276936201            IN      [52709/62028: - 97.09953:32.93497 : 120 )
1488       02/17/11          11:55A     18173431808    18173436690      •••• ••• • • • • • • ••   310410276936201            IN      [52709/62028: - 97 . 09953 : 32.93497:120)
1489       02/17/11          11:56A     18173436690    18173431808      * * *** **********        31 0 410276936201         OOT      [52709/24338: - 97.09953:32.93497:)
1490       02/17/11          11:57A     18173431808    18173436690      ••••••••• • • ••••        310410276936201            IN      [52709 /62028 :-97 . 09953:32.93497:120)
1491       02/17/11          12:31P     18048732541    18173436690      • •••• •••• • • • • • •   310410276936201            IN      [52709/62028:-97.09953:32.93497:120)
1492       02/17/11          12:35P     19153172253    18173436690      • • ••• •• • • ••••••     310410276936201            IN      [5 2709 /62028:-97.09953:32.93497:120)
1493       02/17/11          12:35P     19153172253    1817343669 0     ••••• •••• ••• • ••       3104102769 3 6201          IN      [ 5 2709/62028: - 97.09953:32.93497:120)
1494       02/17/11          12:37P     18179469251    1 8 1 73436690   ••.............           310410276936201            IN      [52709/62028:-97.09953:32.93497:120)
1495       02/17/11          12:37P     18179469251    18173436690                                31 041027693620 1          IN      [ 52709 /62028: - 97.09953:32.93497:120)
1496       02/17/11          01:42 P    18173431808    18173436690      .........•.....           310410276936201            IN      [ 52709 / 24332:-97.09953:32.93497 : 128)
1497       02/17/11          02:08P     1000000000     18173436690                                310410276936201            IN      [52709/62028: - 97 . 09953:32.93497 : 12 0)
1498       02/17/11          02:08P     1100           18173436690      .......•....•..           310410276936201        I N_ VMN    [ 52709 /62028:-97.09953:32.93497:120]
1499       02/17/11          02:08P     0100           18173436690                                310410276936201        IN VMP      [52709/62028:-97.09953:32.93497:120]
1500       02/17/11          05:45P     18173436690    19729630713                                31041027693620 1         OUT       [52709/20231:-97.12608 : 32.93822 : 8]
1501       02/17/11          05:45P     18173436690    14695791622                                3104 1 027693620 1       OOT       [52709 / 20231:-97.12608:32.93822:8 ]
1502       02/17/11          06:05P     1972963 0713   18173436690                                310410276936201            IN      [52709 /20237 :-97.12608 : 32.93822 : 8 ]
1503       02/17/11          07:29P     18173431808    18173436690                                310410276936201            IN      [52709 / 24311: - 97 . 12608:32.93822:8)
1504       02/17/11          07:39P     18173436690    18173431808                                310410276936201          OUT       (52709/24311 : -97.12608 : 32 . 93822 : 8]
1505       02/17/11          07:39P     18173431808    18173436690                                310410276936201            IN      (52709/24311 : -97 . 1 2 608:32.93 822:8 ]
1506       02/17/11          08:04P     1 8174202850   18173436690      .....••........           3104 1 0276936201          IN      ( 52 7 0 9 /2 3 563:-97.0 9 917:32.95581:248)
1507       02/17/11          08:31P     18173431808    18173436690      ......•........           310410276936201            IN      ( 52709/60423:-97.09917:32.95581:248]
1508       02/17/11          08:44P     1817343 6690   18173431808                                310410276936201          OUT       [52709/60423: - 97.09917:32 .9 5581:248)
1509       02/17/11          08:45P     18173431808    18173436690                                310410276936201           IN       (52709 /60423 :-97 . 09917:32.95581:248)
1510       02/17/11          08:46P     1817343 6690   18173431808      ......•..•.....           310410276936201          OOT       (52709 / 20231:-97 . 12608:32.93822:8]
1511       02/17/11          08 : 47P   18173436690    18173431808                                310410276936201          OUT       (52709 / 20231: - 97 .12608:32.93822:8]
1512       02/17/11          08:47P     18173431808    18173436690                                3104102769362 01           IN      [52709/20231:-97 . 12608:32.93822 : 8]
1513       02/17/11          08: 4 8P   181 73436690   1 8173431808     ..•............           310410276936201          OUT       [52709/20231:-97. 12608:32.93822:8]
1514       02/17/11          08:49P     18173431808    18173436690      ........•..•..•           310410276936201           IN       [52709/2023 1 :-97. 12608:32.93822:8)
1515       02/17/11          08 : 49P   18173431808    1 8173436690     ....•...••...•.           310410276936201           IN       (52709 /20231 : - 97.12608:32.93822 : 8]
1516       02/17/11          08:50P     1817343 6690   18173431808                                310410276936201          OOT       [52709 / 20231:-97.12608:32.93822 : 8]
1517       02/17/11          08:50P     18173436690    18173431808                                310410276936201          OUT       (52709 / 2 023 1:-97.126 0 8:32.93822:8]
1518       02/17/11          08:51P     18173431808    18173436690      .....•••.......           310410276936201           IN       [52709/60423:-97.09917:32.95581:248]
15 1 9     02/17/11          08:51P     18173431808    1 8173436690     ..............•           310410276936201           IN       (52709/60423:-97.09917:32.95581:248]
1520       02/17/11          08 : 53P   18173436690    18173431808      ** * * * * ***** ****     310410276936201          OOT       (52709 /60 313: - 97.079 1 4:32.93881:240]



                                                                                     AT&T Pr o prietary
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                                                         not f or general distribu tion.
                                        Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 78 of 99 PageID 3799
976503                                                                                                                                                                             ~            '
                                                                                                                                                                                  ~? at&t
08 /17/ 20 11
                                                                     MOBILITY USAGE
SCAMP                                                             (with cell loc at i on)


    Run Date :                  08 /17/20 11
    Run Time:                   00:36:14
    SMS Osage For:              (817) 343-6690
    Account Number:             318912244
I   tom            Conn.               Conn.        Originating     Terminating           IMEI                   IMSI           Description   Cell Location
                     Date              Time           Number          Number
1521             02/17/11             08:53P     18173436690      18173431808     000000000000000                                OUT_ MMS     [)
1522             02/17/11             08:53P     18173431808      18173436690     •••••••••••••••          310410276936201          IN        [52709/60313:-97 . 07914:32.93881 : 240)
1523             02/17/11             08 : 54P   18173431808      18173 4 36690   •••••••••••••••          310410276936201          IN        [52709/60313 : -97.07914:32.93881:240)
1524             02/17/11             08 :5 5P   18173436690      18173431808     • • •• • ••••••••••      310410276936201         OUT        [52709 / 60423 : -97.09917:32.95581:248)
1525             02/17/11             08:55P     18173431808      18173436690     •• • •••••••• • •••      310410276936201          IN        [ 52709/60423 : -97.09917:32.95581:248)
1526             02/17/11             08:55P     18173436690      18173431808     000000000000000                                OUT_ MMS     [)
1527             02/17/11             09:39P     18172052127      18173436690     000000000000000          310410276936201        IN_ MMS     [)
1528             02/17/11             09:39P     1111301000       18173436690     •••••••••••••••          310410276936201          IN        [52709 /2 0237:-97 . 12608 :3 2.93822 : 8)
1529             02/17/11             09 :39P    1111301000       18173436690     •••••••••••••••          310410276936201          IN        [ 52709/20237:-97.12608:32 . 93822:8)
1530             02/17/11             10 : 29P   14697440324      18173436690     •• • ••••••••••••        310410276936201          IN        [52707 / 40643:-97.16078:32 . 85086 : 248 )
1531             02/17/11             11:42P     18048732541      18173436690     •••••••••••••••          310410276936201          IN        [52707 / 40649:-97.16078:32 . 85 086 :248)
1532             02/17/11             11:42P     18048732541      18173436690     ••••• •• ••••••••        310410276936 201         IN        [52707/40649:-97 . 16078:32.85086 : 248)
1533             02/17/11             11 : 43P   18048732 5 41    18173436690     •••••••••••••••          3104 1 0276936201        IN        [52707/40649:-97.16078:32.85086:248)
1534             02/18/11             02:43A     18177845975      1817343 6690    ***** ** ********        3 1 041027693620 1       IN        [52709/60422:-97.09917 : 32.95581: 1 28)
1535             02/18/11             09: 1 9A   1 81734318 08    18173436690     •••••••••••••••          310410276936201          IN        [52709/62028 : -97 . 09953:32.93497:120)
1536             02/18/11             10:20A     18048732541      18173436690     000000000000000          310410276936201       IN_MMS       [)
1537             02/18/11             10:20A     1111301000       18173436690     ••••••••• • •••••        310410276936201          IN        [52709 /62028: -97 .099 53 : 32 .93497:120)
1538             02/18/11             1 0:2 0A   1111301000       18173436690     •••••••••••••••          310410276936201          IN        [52709/62028:-97.09953:32.93497:120)
1539             02/18/11             10:35A     18177845975      18173436690     • • •••••• • ••••••      310410276936201          IN        [52709/60313:-97.07914:32.93881:240)
1540             02/18/11             11:18A     18173431808      18173436690     ••••••• • •• • ••••      310410276936201          IN        [52709/24 332:-97.09953:32.93497 :128)
1541             02/18/11             11:19A     18173436690      18173431808     •••••••••••••••          310410276936201         OUT        [52709 /24 332:-97.09953 :32.93497:128)
1542             02/18/11             11:19A     18173431808      181734 36690    ••••••••••• • •••        310410276936201           IN       [52709/24332:-97.09953:32.93497:128)
1543             02/18/11             11 :20A    18173431808      18173436690     •• • ••••••••••••        310410276936201           IN       [52709/24332 : -97 . 09953 : 32 . 93497:128)
1544             02/18/11             11:21A     18173436690      18173431808     •••• •••• •••••• •       310410276936201          OUT       [52709/24332 : -97 .09953 : 32.93497:128)
1545             02/18/11             11 : 22A   18173431808      18173436690     ••• ••••••••••••         3104102769362 0 1         IN       [52709/24332:-97.09953:32 . 93497:128)
1546             02/18/11             11:24A     18173436690      18173431808     • • •••••••••• • ••      310410276936201          OUT       [52709 /24 332:-97.09953:32.93497:128)
1547             02 /1 8/11           11:24A     18173436690      18173431808     •••••••••••••••          31041 0276936201         OUT       [52709/24332:-97.09953:32.93497:128)
1548             02/18/11             12:28P     19402309592      18173436690     • •• •• • •• •••••••     310410276936201           IN       [52709 / 60422:-97 . 09917:32.95581:128 )
1549             02/18/11             12:28P     18173436690      19402309592     •••••••••••••••          310410276936201          OUT       [ 52709/60422: - 97.09917:32 .9 5581:128 )
1550             02/1 8/11            12:29P     19402309592      18173436690     •• ••• •• •• ••• • • •   310410276936201           IN       [52709/60422: - 97.09917:32.95581:128)
1551             02/1 8 /11           03:43P     18048732541      18173436690     •••••••••••••••          310410276936201           IN       [52709 /60422: - 97.09917:32.95581:128)
1552             02/18/11             05:25P     18179469251      18173436690     000000000000000          310410276936201        IN_ MMS     [)
1553             02/18 / 11           05 : 25P   1111301000       18173436690     •••• •• •••••••••        310410276936201           IN       [52707/40649:-97.16078:32 . 85086:248)
1554             02/18/11             05 : 25P   1111301000       18173436690     •••• •• • ••• •••••      310410276936201           IN       [52707 /40649:-97 . 16078:32.85086:248)
1555             02 / 18/1 1          06:21P     18173436690      18179882986     • •••••••••• •• ••       310410276936201          OUT       [52707/40649:-97.16078 : 32.85086:248)
1556             02 / 18/11           06 :3 0P   18173436690      18179074504     ••••• • • ••••• •• •     310410276936201          OUT       [52707 / 23533 : -97.16078:32.85086:248)
1557             02 / 18 / 11         06:3 0P    18173436690      18179038698     •••••••••••• • ••        310410276936201          OUT       [52707 / 23533: - 97.16078:32.85086 : 248 )
1558             02/18/11             06:31P     1817 3 436690    18048732541     ••••••• •••••• ••        310410276936201          OUT       [527 0 7/23533:-97 . 16078:32 . 85086:248)



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            NKK
                                         The inf ormation conta ined h ere i s fo r use by authoriz e d p e rson only and is                                                                 Pa g e 112
                                                                  not fo r gene r a l di s tri buti o n.
                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 79 of 99 PageID 3800
976503                                                                                                                                                                            ~

                                                                                                                                                                                 ~~ at&t
08/17 / 2011
                                                                MOBILITY USAGE
SCAMP                                                        (with cell location)


 Run Date:                08/17/2011
 Run Time:                00:36:14
 SMS Uoage Por:           (817)343 -6 690
 Account NW!lber:         318912244
I tom        Conn.               Conn.         Orig inating     Terminating            IMBI                 IMSI              Description   Cell Location
              Dato                Time             NW!lber           NW!lber
1559       02/18/11             06:40P      1 8179074504      1 817343 6690      ***************   31041027693620 1               IN        [52707/23533: - 97.16078 : 32.85086:248 )
1560       02/18/11             06:42P      18173436690       18179074504        ...•...........   310410276936201               OUT        [5 2707 /235 33: - 97.1 6078: 32.85086: 248 )
1561       02 /18/ 11           06 : 47P    18179074504       1817343 6690       ..•••.•......••   310410276936201                IN        [52707/40649: - 97.16078:32.85086:248)
1562       02/18/11             07:02P      18173436690       18179074504                          310410276936201               OUT        [52707 /40649: - 97.16078:32.85086:248)
1563       02 / 18 / 11          07:03P     18173436690       18173431808        ...............   310410276936201               OUT        [52707/40649: - 97.16078:32.85086:248)
1564       02/18/11              07:03P     1 8173436690      18179882986        ...............   3104 1 027693620 1            OUT        [527 07/40649: -9 7.16078:3 2 .85086:248)
1565       02 / 18 / 11          07:04P     18179882986       1 8 1 734 3669 0   ........•......   31041027 6 936201              IN        [52707 /40649: - 97.16078:32.85086 : 248)
156 6      02 / 18 / 11          07:04P     1 8173436690      18174202850        ...............   31041027693620 1              OUT        [ 52707 /40649: -9 7.16078:3 2 .8 5 086:248)
1567       02/18/11              07:04P     18173436690       18179882986        ...............   31 04 10276 93620 1           OUT        [5 2707 /40649 :-97.1607 8 :32.85 086:248)
1568       02/18/11              07:04P     18173431808       18173436690        .......•.......   3 1 04 1 0 276936201           IN        [52707 /4064 9:-97. 16078:32 . 85086 : 248)
1569       02/18/11              07:05P     18173431808       181734 3 6690      ...•.•.........   310410276936201                IN        [ 52707/40649 :- 97 . 16078:32 .8 5086 : 248)
1570       02/18/11              07:05P     18173436690       18173431808        ..••..•.....•..   3104102 76936201              OUT        [ 5 2 707/40649 : -97.16078:32.85086 : 248]
1571       02/18/11              07: 07P    18173436690       1 8 17 9074504                       310410276936201               OUT        [52707 / 40649: -9 7.16078:32.85086:248)
1572       02/18/11              07:07P     18173436690       16142266852                          3 1 0410 27693620 1           OUT        [52707 / 40649: -97 .16078:32.85086:248 ]
1573       02/18/11              07:08P     18173431808       18173436690        .....•••••.•..•   310410276936201                IN        [52707/ 40649:-97. 16078: 32. 85086:248)
1574       02/18/11              07:08P     18173436690       18173431808        ........•......   310410276936201               OUT        [52707/23533 :- 97 . 16 078 : 32.85086:248)
1575       02/18/11              07 :0 9P   1 8173431808      18173436690        ...............   310410276936201                IN        [52707 /23 533:-97.16078:32.85086:248)
1576       02/18/11              07:10P     18173436690       18173431808        •....•.••••..•.   310410276936201               OUT        [52707 /23533: -97.16078:32.85086:248)
1577       02/18/11              07 : 11P   16142266852       18173436690        ...............   310410276936201                IN        [52707 /23 533: - 97 . 16078:32 . 85086:248)
1578       02/18/11              07:12P     18173436690       16142266852                          310410276936201               OUT        [52707 /235 33:-97.16078:32.85086:248]
1579       02/18/11             07:21P      18173436690       18179882986                          3 10410 276936201             OUT        [52707/23531:-97.16078:32.85086:8)
1580       02/18/11             07:26P      18179882986       18173436690                          310410276936201                IN        [52707/40649: - 97. 1 6078:32.85086:248]
1581       02/18/11             07:26P      18174202850       18173436690                          310410276936201                IN        [5 27 07/40649 : -97. 1 6078 : 32.85086:248]
1582       02/18/11             07:29P      1 8 17 34366 90   18174202850        ......•........   310 4 10276936201             OUT        [52707/40649 :-97.1 6078:32 .8 5086:248)
1583       02/18/11             07:29P      1 8174202850      18173436690        ........•••....   310410276936201                IN        [ 52707 /406 49:-97.16078 :32 .85086:248)
1584       02/18/11             07:30P      18173436690       18174202850        ...............   310410276936201               OUT        [52707/40649:-97.16078:32.85086:248)
1585       02/18/11             07:31P      18173436690       18174202850        ......•........   310410276936201               OUT        [ 52707 / 4 06 49:-97 . 16078:32.85086:248)
1586       02/18/11             07:32P      18173436690       181798 82986                         310410276936201               OUT        [52707/40649: - 97.16078:32.85086:248)
1587       02/18/11             07:32P      181742028 50      18173436690        .....••......•.   310410276936201                IN        [ 52707/40649: - 97.16078:32.85086:248)
1588       02/18/11             07:33P      18174202850       18173436690                          310410276936201                IN        [52707/40649 :-97.16078 :32.8508 6:24 8)
1589       02/18/11             07:36P      1817343 6690      18174202850        •..•.•••.•.....   31041027693 6 201             OUT        [52707/40649 :- 97.16078:32.85086:248)
1590       02/18/11             07:37P      18174202850       18173436690        ..•............   310410276936201                IN        [ 52707/40649 :- 97 . 16078 : 32.85086:248)
1591       02/18 / 11           07:38P      18173436690       16142266852        .......•..•....   31 04 1 0 2 7693 6 2 0 1      OUT        [ 5 27 07/40649:- 97.1 6078:32.85086:248 ]
1592       02/18/11             07:40P      16142266852       1817343 6690                         3 1 04 1 027693620 1           IN        [ 52707/40649 :- 9 7 .16078:32.85086:248 )
1593       02/18/11             07:40P      18173436690       16142266852                          310410276936201               OUT        [52707/23533 :-97 .16078:32.85086:248)
1594       02/18/11             07:42P      16142266852       1817343 6690                         31 04 102 76936201             IN        [52707/40649:-97 . 16 078 :32.85086:24 8 )
1595       02/18/11             07:56P      18173436690       1 6142266852       ...............   3 1 04 1 0276936201           OUT        [52707 / 40649:-97.16078:32.85086 :248)
1596       02/18/11             07:57P      181734366 90      1 8179074504                         310410276936201               OUT        [52707/40649: -97.16078:3 2. 85086:248)



                                                                                         AT&T Proprietary
        NKK                                                                                                                                                                                 Page 113
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                                                           not for general distribution-
                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 80 of 99 PageID 3801
97650 3                                                        MOBILITY USAGE
0 8 / 1 7/20 11
SCAMP                                                       (with cell location )


 Run Date:                08/17/2011
 Run Time:                00:36:14
 SMS Usage For :          (817)343-6690
 Account Number:          318912244
Item         Conn.               Conn.   Originating          Terminating           IMBI                    IMSI          Description   Cell Location
             Date                 Time     Number                Number
1597       02/18/11             07:57P 18173431808          18173436690                              31041027 693 620 1       IN        [52707/40649: - 97.16078:32.85086:248)
1598       02/18/11             07:58P 18173436690          18173431808                              31041027 6936201        OUT        [52707/40649 : -97.16078:32.85086:248)
1599       02/18/11            07:59P      18173436690      12147991845                              310410276936201         OUT        [ 52707/4064 9:-97.16078:32.85086:248)
1600       02/ 1 8/11          07: 5 9 P   18173436690      12144932304                              310410276936201         OUT        [52707 /4064 9:-97.16078:32.85086:248)
1601       02/18/11            08:03 P     18173431808      1817343 6 690   ................         310410276936201          IN        [52707/40649:-97.16078 : 32.85086:248)
1602       02/18/11            08:04 P     1 8 1 73431808   18173436690                              310410276936201          IN        [52707/40649:-97.16078:32.85086 : 248)
1603       02/18/11            08:04P      1 8173436690     18173431808     •..•..•......•.          310410276936201         OUT        [ 52707/40649:-97.16078:32.85086:248)
1604       02/18 / 11          08:06P      1 8173436690     181734 3 1808                            310410276936201         OUT        [52707 / 40649:-97.16078:32.85086:248)
1605       02/18/11            08:06P      18173436690      18173431808                              310410276936201         OUT        [52707 / 40649:-97.16078:32.85086:248)
1606       02/18/11            08:07P      18173431808      18173436690                              31041 0276936201         IN        [52707 /40649: -97.16078:32.85086:248)
1607       02/18/11            08:07P      18173436690      18172266303     000000000000000                                OUT_ MMS     [)
1608       02/18 / 11          08:07P      18173436690      18174756127     000000000000000                                OUT_MMS      [)
1609       02/18/11            08:08P      18173436690      18173431808                              310410276936201         OUT        [52707 / 40649:-97.16078 : 32.85086 : 248)
1610       02/18/11            08:10P      12144932304      18173436690                              310410276936201          IN        [52707 / 40649: - 97.16078:32.85086:248)
1611       02/18/11            08:10P      18173436690      12144932304                              310410276936201         OUT        [52707/40649: - 97. 1 6078:32.8 5 086:248 )
1612       02/1 8/11           08 : 11P    1 2144932304     18173436690     ...•...........          31041027693620 1         IN        [52707 / 40649: - 97.16078:32.85086:248 )
1613       02/18/11            08:12P      18173436690      15632128395     ***************          310410276936201         OUT        [52707/40649:-97.16078:32 . 85086:248)
1614       02/18/11            08:12P      18173436690      12144932304                              310410276936201         OUT        [52707/40649: - 97.16078:32.85086:248)
1615       02 / 18 / 11        08:16P      18179882986      18173436690                              310410276936201          IN        [52707/40649:-97.16078 : 32.85086:248)
1616       02/18/11            08:16P      18173436690      18179882986                              310410276936201         OUT        [52707/40649:-97.16078:32.85086:248)
1617       02 / 18 / 11        08:17P      18173436690      18179882986     ........•••..•.          310410276936201         OUT        [52707 / 40649: - 97.16078:32.85086:248)
1 618      02/18 /11           08:18P      18179882986      18173436690                              31041027 69 3 6201       IN        [52707/40649:-97.16078:32.85086:248)
1619       02/18/11            08:18P      18173436690      18177761 698                             310410276936201         OUT        [52707/40649: - 97.16078:32.85086:248)
1620       02/18/11            08:18P      14695692275      18173436690                              310410276936201          IN        [52707/40649 : -97.16078 : 32.85086:248)
1621      02/18/11             08:18P      18173436690      18179882986                              310410276936201         OUT        [ 52707 /40649 :-97.16078 : 32 . 85086:248)
1622      02/18/11             08:18P      1 8173436690     14695692275                              310410276936201         OUT        [ 52707 / 40649 : -97.16078 : 32.85086:248)
1623      02/18/11             08:19P      18173436690      14695692275                              310410276936201         OUT        [52707/40649: - 97.16078:32.85086:248)
1624      02/ 1 8/11           08:19P      1 4695692275     1 8173436690    * ***** * * * *** * **   310410276936201          IN        [52707/40649:-97.16078:32.85086:248)
1625      02/18/11             08:20P      18173436690      14695692275                              310410276936201         OUT        [ 52707 /4064 9: - 97.16078:32.85086:248)
1626      02/18/11             08:20P      181 73436690     14695692275                              310410276936201         OUT        [527 07 / 40649: - 97.16078:32.85086:248)
1627      02/18/11             08:21P      14695692275      1 8173436690                             310410276936201          IN        [52707 /4 0649: - 97.16078:32.85086:248)
1628      02/18/11             08:22P      18173436690      14695692275     •.•......••..••          310410276936201         OUT        [ 52707/40649:-97.16078:32.85086:248)
1629      02/18/11             08:23P      14695692275      18173436690                              310410276936201          IN        [ 52707 /4 0649: - 97.16078:32.85086:248)
1630      02/18/11             08:23P      1 8 1 77761698   1817343 6 690                            3104 1 0276936201        IN        [ 52707/23533: - 97.16078:32.85086:248)
1631      02/18/11             08 : 24P    18173436690      18177761698                              310410276936201         OUT        [52707 / 23533: - 97.16078:32.85086:248)
1632      02/18/ 11            08:24P      18173436690      14695692275                              31041 0276936201        OUT        [52707 / 23533 : -97 . 16078 : 32.85086:248 )
1633      02/18/11             08:24P      18179074504      18173436690     ...•.........•.          310410276936201          IN        [52707 / 23533:-97.16078:32.85086 : 248)
1634      02/18/11             08:24P      14695692275      18173436690                              310410276936201          IN        [52707/40643: - 97 . 16078:32.85086:248)



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976503
                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 81 of 99 PageID 3802                                                   -...,..,.
                                                                                                                                                             ~~ at&t
08/17/2011
                                                             MOBILITY USAGE
SCAMP                                                     (with cell location)


 Run Date:              08/17/2011
 Run Time:              00:36:14
 SMS Usage For:         (817)343-6690
 Account Number:        318912244
Item         Conn.            Conn.      Originating     Terminating         IMEI               IMSI          Description   Cel l Location
             Date             Time         Number          Number
1635         02/18/11        08:25P     18173436690    18179074504                        310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1636         02/18/11        08:25P     18173436690    14695692275     .••...•........    310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1637         02/18/11        08:25P     18177761698    18173436690                        310410276936201         IN        [52707/40643 : -97.16078:32.85086:248]
1638         02/18/11        08:26P     14695692275    18173436690                        310410276936201         IN        [52707/40643:-97.16078:32.85086:248]
1639         02/18/11        08:26P     18173436690    18177761698                        310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1640         02/18/11        08:27P     18173436690    14695692275                        310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1641         02/18/11        08:27P     18173436690    18177761698     ...............    310410276936201        OUT        [52707/40643:-97.16078 :3 2.85086:248]
1642         02/18/11        08:28P     14695692275    18173436690     ................   310410276936201         IN        [52707/40643:-97.16078:32.85086:248]
1643         02/18/11        08 : 30P   18177761698    18173436690     •••.•••........    310410276936201         IN        [52707/40643:-97.16078:32.85086:248]
1644         02/18/11        08:30P     18173436690    14695692275                        3 1 0410276936201      OUT        [ 52707/40643:-97 . 16078:32 . 85086:248]
1645         02/18/11        08:31P     18173436690    18177761698     ••.............    310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1646         02/18/11        08:32P     14695692275    18173436690     ••.•.•......••.    310410276936201         IN        [52707/40643:-97.16078:32.85086:248]
1647         02/18/11        08:32P     18173436690    14695692275                        310410276936201        OUT        [52707/40649:-97.16078:32.85086:248]
1648         02/18/11        08:33P     14695692275    18173436690                        310410276936201         IN        [52707/40649 : -97.16078:32.85086:248]
1649         02/18/11        08:34P     18173436690    14695692275                        310410276936201        OUT        [52707/23533:-97.16078:32.85086:248]
1650         02/18/11        08:35P     14695692275    18173436690                        310410276936201         IN        [ 52707/23533 : -97.16078:32.85086 : 248]
1651         02/18/11        08:36P     18173436690    14695692275     .•.....•...••..    310410276936201        OUT        [52707/23533:-97.16078:32.85086:248]
1652         02/18/11        08:37P     14695692275    18173436690                        310410276936201         IN        [52707/23533:-97.16078:32.85086:248]
1653         02/18/11        08:37P     18173436690    12144932304                        310410276936201        OUT        [ 52707/23533:-97.16078 : 32.85086:248]
1654         02/18/11        08:38P     18173436690    14695692275     ...............    310410276936201        OUT        [52707/23533:-97.16078:32.85086:248]
1655         02/18/11        08:39P     12144932304    18173436690     .•.............    310410276936201         IN        [52707/23533:-97.16078:32.85086:248]
1656         02/18/11        08:39P     14695692275    18173436690     ..............•    310410276936201         IN        [52707/23533:-97.16078:32.85086:248]
1657         02/18/11        08:39P     18173436690    14695692275                        310 410276936201       OUT        [52707/23533:-97.16078:32.85086:248]
1658         02/18/11        08:40P     18173436690    1 2144932304                       310410276936201        OUT        [52707/23533:-97.16078:32.85086:248]
1659         02/18/11        08:41P     18173436690    18179074504                        310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1660         02/18/11        08:42P     18173436690    18179882986                        310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1661         02/18/11        08:42P     12144932304    18173436690                        310410276936201         IN        [52707/40643:-97.16078:32.85086:248]
1662         02/18/11        08:42P     18173436690    18177761698     ............•••    310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1663         02/18/11        08:44P     18173436690    12144932304                        310410276936201        OUT        [52707/40643:-97.16078 : 32.85086:248]
1664         02/18/11        08:44P     14695692275    18173436690     .............•.    310410276936201         IN        [52707/40643:-97.16078:32.85086:248]
1665         02/18/11        08:45P     18173436690    14695692275                        310410276936201        OUT        [52707/40643:-97 . 16078:32.85086:248]
1666         02/18/11        08:46P     18173436690    18179074504     ...........•.•.    310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1667         02/18/11        08 : 46P   18173436690    18174202850     ...............    310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1668         02/18/11        08 : 46P   14695692275    18173436690     ....•..•..••.••    310410276936201         IN        [52707/40643:-97.16078:32.85086:248]
1669         02/18/11        08:47P     18173436690    14695692275                        310410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
1670         02/18/11        08:47P     18174202850    18173436690                        310410276936201         IN        [52707/40643:-97.16078:32.85086:248]
1671         02/18/11        08:47P     14695692275    18173436690     ...............    310410276936201         IN        [52707/40643:-97.16078:32.85086:248]
1672         02/18/11        08:48P     18173436690    14695692275                        310410276936201        OUT        [ 52707/40643:-97.16078:32.85086:248]



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                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 82 of 99 PageID 3803
                                                                                                                                                                          ~ at&t
976503                                                         MOBILITY USAGE
08/17/2011
SCAMP                                                       (with cell location)


 Run Date:               08/ 17 / 2011
 Run Time:               00:36:14
 SHS Os age For:         (817)343-6690
 Account Number :        318912244
Item          Conn.                Conn.     Originating     Terminating          IHBI                IHSI          De scription   Cell Location
                Date               Time         Number         Number
1673        02 / 18 / 11          08:48P   18173436690     18174202850     •••• •• •••• •••••   310410276936201         OUT        [52707 /4 0643 :- 97.16078:32.85086:248]
1674        02 / 18 / 11          08:49P   14695692275     18173436690     •••••••••••••••      310410276936201          IN        [52707 / 40643 : -97.16078:32.85086:248]
1675        02 / 18 / 11          08:53P   18173436690     14695692275     •••••••••••••••      310410276936201         OUT        [52707/40643:-97.16078:32.85086:248]
1676        02/18 / 11            08:53P   14695692275     18173436690     ••••••••• •• ••••    310410276936201          IN        [52707 / 40643:-97 .1 6078:32.85086:248]
1677        02/18/11              08:54P   18173436690     14695692275     •••• •••••••••••     3104102 7693620 1       OUT        [52707/40643:-97.16078:32.85086:248]
1678        02/18 / 11            08:55P   14695692275     18173436690     •••••••••••••••      310410276936201          IN        [52707 / 40643 : -97 . 16078:32 . 85086:248]
1679         02 / 18 / 11      09:07P      14695692275     18173436690     •• •••••••••••••     310410276936201          IN        [52707 / 40649:-97.16078:32.85086:248]
1680         02 / 18 / 11      09:09P      1817 3436690    14695692275     ••••• •••••••• ••    310410276936201         OUT        [52707/40649:-97 . 16078:32.85086:248]
1681         02 / 18/11        09 : 10P    14695692275     18173436690     ••• • •••••••••••    310410276936201          IN        [ 52707/40649: - 97.16078:32.85086:248]
1682         02 / 18/11        09:10P      18179074504     18173436690     ••••• •• ••••••••    310410276936201          IN        [52707 / 40649: - 97.16078:32.85086:248]
1683         02 / 18/ 11       09 : 10P    18173436690     14695692275     •••••••••••••••      310410276936201         OUT        [52707 / 40649:-97.16078 : 32.85086:248]
1684         02 / 18/ 11       09 : 11P    14695692275     18173436690     • ••••• • ••••••••   310410276936201          IN        [52707 / 40649: - 97 . 16078 : 32 . 85 0 86:248]
1685         02 / 18 / 11      09:12P      18173436690     14695692275     ••••••• • •••••••    310410276936201         OUT        [52707 / 40649:-97.16078 : 32.85086 : 248]
1 686        02 / 18 / 11      09:13P      14695692275     18173436690     •••••• • ••••••••    310410276936201          IN        [ 52707/40649:-97.16078:32 . 85086:248]
1687         02/18/11          09: 14P     18173436690     14695692275                          310410276936201         OUT        [52707 / 40649:-97.16078:32.85086:248]
1688         02 / 18 / 11      09:15P      14695692275     18173436690                          310410276936201          IN        [52707 / 40649:-97 . 16078 : 32.85086:248]
1689         02 / 18/ 11       09 : 16P    18173436690     14695692275                          310410276936201         OUT        [52707 / 40649 : -97.16078:32.85086:248]
1690         02 / 18/ 11       09:17P      14695692275     18173436690                          310410276936201          IN        [52707/40649:-97 . 16078:32.85086:248]
1691         02/18/11          09:17P      18173436690     14695692275                          310410276936201         OUT        [ 52707/40649 : -97 . 16078:32.85086:248 ]
1692         02/18/ 11         09:18P      14695692275     18173436690     ......•..•.....      310410276936201          IN        [ 52707 / 40649 : -97.16078:32.85086:248]
1693         02 / 18/ 11       09:18P      18173436690     14695692275     ..•...•......•.      310410276936201         OUT        [52707 / 40649:-97.16078:32.85086:248]
169 4        02 / 18/ 11       09:18P      18177761698     18173436690                          310410 2 76936201        IN        [52707 / 40649:-97.16078:32 . 85086:24 8]
1695         02 / 18/ 11       09:19P      14695692275     18173436690                          310410276936201          IN        [52707 / 40649:-97.16078:32 . 85086:248 ]
1696         02/18/11          09:23P      18173436690     1817776 1 698                        310410276936201         OUT        [ 52707/23533:-97.16078:32.85086 :2 48 ]
1697         02/18/ 11         09 : 24P    18173436690     14695692275     ...........•.•.      310410276936201         OUT        [ 5 2707 / 23533:-97.16078:32.85086:248]
1698         02 / 18/11        09:25P      14695692275     18173436690                          310410276936201          IN        [52707/ 23533:-97 . 16078:32.85086:248]
1699         0 2/18/ 11        09:25P      18173436690     14695692275     ...•...........      310410276936201         OUT        [52707/ 23533 : -97.16078:32 . 85086 : 248]
1700         02 / 18/11        09:27P      14695692275     18173436690     ................     310410276936201          IN        [52707 / 23533 :- 97 . 16078:32.85086:248]
1701         02/18/11          09:29P      18173436690     14695692275     ******'*********     3 10410276936201        OUT        [52707/23533 : -97 . 16078:32.85086:248]
1702         02 / 18/11        09:29P      14695692275     18173436690     ...............      310410276936201          IN        [52707 / 23533:-97.16078:32.85086:248]
1703         02/18/ 11         09:41P      12147991845     18173436690     •••••••••••••••      310410276936201          IN        [52707 / 40649:-97.16078:32.85086:248]
170 4        02 / 18/11        11:18P      18179882986     18173436690     •••••••••••••••      310410276936201          IN        [52707 / 42189:-97.13406:32.83747:248]
1705         02/18/ 11         11:38P      18173436690     18179882986     •••••••••••••••      310410276936201         OUT        [52707/42189:-97.13406:32.83747:248]
1706         02/19/11          12:36A      18179882986     18173436690     •••••••••••••••      310410276936201          IN        [52707/42189: - 97.13406:32.83747:248]
1707         02/19 / 11        12:41A      1000000000      18173436690     •••••••••••••••      310410276936201          IN        [52707/14743:-97.13406:32.83747:248]
1708         02 / 19/11        12:42A      1100            18173436690     •••••••• •••••••     310410276936201       IN_ VMN      [52707 / 14743:-97.13 4 06:32 . 837 4 7:248]
1709         02 / 19 / 11      12 : 42A    0100            18173436690     •••••••••••••••      31041027 6936201      IN VMP       [52707 / 14743:-97.13406 : 32 . 83747 : 248]
1710         02/19/11          01:05A      18173436690     16824726873     ••••••• ••••••••     310410276936201         OUT        [ 52707/42183:-97.13406 :3 2 . 83747:248]



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                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 83 of 99 PageID 3804                                                            -.,..,
976503
                                                                                                                                                                         ~8 at&t
08 / 17 /20 11
                                                               MOBILITY USAGE
SCAMP                                                       (with cell location)


Run Date:                08/17/2011
Run Time:                00:36:14
SMS Osage Por:           (817)343 - 6690
Account Number:          318912244
Item        Conn.               Conn.        Originating    Terminating          IMBI                   IMSI           Description   Cell Location
            Date                 Time          Number          Number
1711      02/19/11             01 :11A     18173436690     16824726873    •••••••••••••••        310410276936201          OUT        ( 52707/42183:-97.13406:32.83747:248 )
1712      02/ 19 /11           01:25A      16824726873     18173436690    •••••••• •• •••••      31 0410276936201          IN        (52707/42189:-97 .1 3406:32.83747 : 248)
1713      02/ 19 / 11          01 : 27A    16824726873     18173436690    •••••••••••••••        310410276936201           IN        (52707/42189: - 97.13406:32.83747:248)
1714      02/19/11             01:33A      1682 47268 73   18173436690    •••••••••••••••        310410276936201           IN        (52707/42189:-97.13406:32.83747:248)
1715      02/19/11              02:11A     18173436690     16824726873    •••••••••••••••        3 1 0410276936201        OUT        (5290 3 /01678 : - 97.08228:32.87758: 1 80)
1716      02/19/11              03:03A     16824726873     18173436690    •••••••••••••••        310410276936201           IN        (52903 /2 4792:-97.08228:32.87758:180)
1717      02 / 19 / 11          04:58A     18173431808     18173436690    •••••••••••••••        3 1 04 1 0276936201       IN        (52903 /01678:-97.08228:32.87758:180)
1718      02/19/11              05:06A     18173431808     18173436690    •••••••••••••••        310410276936201           IN        (52903 /01678: - 97.08228:32.87758: 18 0)
1719      02/19/11              05:06A     18173431808     18173436690    •••••••••••••••        310410276936201           IN        (52903 / 01678:-97.08228:32 . 87758: 18 0)
1720      02/19/11              05:13A     18173431808     18173436690    •••••••••••••••        31041 0276936201          IN        ( 52903/01678:-97.08228:32.87758:180)
1721      02/19/11              05:20A     18173431808     18173436690    •••••••••••••••        310410276936201           IN        ( 52903 /01678:-97.08228:32 . 87758:180)
1722      02/19/11              05:21A     18173431808     18173436690    •••••••••••••••        310410276936201           IN        (52903 /01678:-97.08228:32.87758:180)
1723      02/19/11              05:25A     18173431808     18173436690    •••••••••••••••        310410276936201           IN        (52903 /016 78:-97.08228:32.87758:180)
1724      02/19/11              06:08A     18173431808     18173436690    ••••••••••••• • •      310410276936201           IN        (52903/01672 :- 97.08228:32.87758:180)
1725      02/19/11              10:07A     18179469251     18173436690    •••••••••••••••        310410276936201           IN        (52709/60422: - 97.09917:3 2.95581 : 1 28)
1726      02/19/11              10:07A     18179469251     18173436690    •••••••••••••• •       310410276936201           IN        (52709 /60 422:-97.09917:32.95581:128)
1727      02/19/11              10:25A     18179469251     18173436690    000000000000000        310410276936201         IN MMS      ()
1728      02/19/11              10:25A     1111301000      18173436690    ***************        310410276936201           IN        (52709 / 60422:-97.09917:32.95581:128)
1729      02/19/11              10:25A     1111301000      18173436690    •••••••••••• • ••      310410276936201           IN        (527 09/604 22:-97.09917:32.95581: 128)
1730      02/19/11              11:07A     16824726873     18173436690    ***************        310410276936201           IN        (52709 /60 422:-97.09917:32.95581:128)
1731      02 / 19 / 11          12:06P     181734 36690    16824726873    •••••••••••••••        310410276936201          OUT        (52709 / 60422:-97.09917:32.95581:128)
1732      02/19/11              12:35P     16824726873     18173436690    ************** *       310410276936201            IN       (52709 /60 428:-97.09917:32.95581:128)
1733      02/19/11              1 2:50 P   1 000000000     18173436690    •••••••••••••••        310410276936201            IN       (52709 /60 428 :- 97.09917:32.95581:128)
1734      02/19/11              12:50P     1100            18173436690    •••••••••••••••        31041027 69 3 6201      IN_VMN      (52709 /6 0428:-97.09917:32 . 95581:128 )
1735      02/19/11              12: SOP    0100            18173436690    •••••••• •••••• •      310410276936201         IN VMP      (52709/60428:-97.09917:32.95581 :128)
1736      02/19/11              01:11P     18172052127     18173436690    •••••••••••••••        310410276936201            IN       (52709 /6 0428:-97 . 09917:32 . 95581 : 128)
1737      02/19/11              01:31P     18173436690     18172052127    ********* ***** *      310410276936201          OUT        (52709 /60 422:-97.09917:32.95581:128)
1738      02/19/11              02:34P     18048732541     18173436690    •••••••••••••••        310410276936201           IN        (52709/60423 :-97.09 917 :32.9 5581:248 )
1739      02/19/11              02:34P     18048732541     18173436690    ••••••• ••• •••••      310410276936201           IN        (52709/60423: - 97.09917:32.95581:248)
1740      02/19/11              02:38P     18179074504     18173436690    •••••••••••••••        310410276936201           IN        (52709 / 60422:-97.09917:32.95581:128)
1741      02/20/11              12:28A     18179469251     18173436690    •••••••••••••••        310410276936201           IN        (52709 / 20328:-97.15139:32.97094:128)
1742      02/20/11              12:28A     181794 69251    18173436690    •••••••••••••••        310410276936201           IN        (52709/20328: -97.1 5139 : 32.97094:128)
1743      02/20/11              12:38P     18173436690     14697670349    000000000000000                               OUT_MMS      ()
1744      02/20/11              1 2:50P    1682472 6873    18173436690    • ••• •••••• • •• ••   310410276936201           IN        (52818/40119: - 97.14283:32.7076 1:248)
1745      02/20/11              01:06P     18173436690     16824726873    •••••••••••••••        310410276936201          OUT        (52818/27028: - 97. 1 5792:32.71225:)
1746      02/20/11              01:08P     168247 26873    18173436690    •••••••••••••••        31041027693620 1          IN        (52818/27028:-97.15792 : 32.71225:)
1747      02/20/11              01:10P     18173436690     16824726873    ••••••••••• ••••       310410276936201          OUT        (52818/27028:-97. 1 5792 :32. 71225: )
1748      02/20/11              01:16P     16824726873     18173436690    •••••••••••• •••       310410276936201           IN        ( 5 28 18 / 27028:-97.15792:32.71225:)



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                                    Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 84 of 99 PageID 3805
976503
08/17/2011
SCAMP
                                                                 MOBILITY USAGE
                                                              (with cell location)                                                                                          *-3at &t
                                                                                                                                                                             ~;,...




 Run Dato:                08/17/2011
 Run Time:                00 : 36 : 14
 SMS Ooago For:           (817)3 4 3-669 0
 Account Number :         318912244
Item         Conn.                Conn.          Originating      Terminating         IMEI                IMSI           Description   Cell Location
               Date               Time             Number           Number
1749       02/20/11              02 : 00P     18174548309      18173436690                        310410276936201            IN        [52703 /4032 1 : -97.45909:32 .692 36 : 9]
1750       02/20/11              02:16P       18174202950      18173436690      ..•...•........   310410276936201            IN        [52703/35259:-97.45583:32.71279:128]
1751       02 / 20/11            02:43P       19173431909      1 8173436690                       3104 10 276936201          IN        [52703/4032 1: -97.45908:32.68236:9]
1752       02/20/11              02:44 P      18173431909      19173436690                        3104 1 0276936201          IN        [52703 /4 0321:-97. 4 5808:32.69236:8]
1753       02 /2 0 / 11          04:10P       16924726873      18173436690      000000000000000   3104 1 0276936201        IN_MMS      []
1754       02 /2 0 / 11          04 : 11P     16824726973      18173436690      000000000000000   3 1041 0276936201        IN MMS      (]
1755       02/20/11              05 : 1 9 P   18173436690      16824726973                        3104 1 0276936201         OUT        [52709 /60422:-97.09917 :32.95591 :128]
1756       02 /2 0/11            05 :2 1P     16924726873      18173436690                        3104102 7 6936201         IN         [52709 /243 17:-97 . 12608 : 32.93822:]
1757       02 /2 0 / 11          05:23P       16924726973      19173436690      ...............   310410276936201            IN        [5 2 709/2023 2:-97. 12608:32 . 93822:128]
1758       02/20/11              05:24P       18173 436690     16924726973      ...............   310410276936201           OUT        [52709/20232:-97.12609:32.93922:128]
1759       02/20/11              05:24P       18173436690      16824726973      .••.......•••••   31 04102 76936 201        OUT        [52709/20232:-97 .12 608:32 . 93822:128 ]
1760       02/20/11              05:26 P      1 6824726973     19173436690      ..•.....••.••••   3104102 769362 0 1        IN         [52709/20231:-9 7 .126 09:32.93922:8]
176 1      02/20/11              05 : 26P     16824726973      19173436690                        310410276936201            IN        [52709/20329: - 97.15139:32.97094:128]
1762       02/20/11              05:27P       18173436690      16924726873                        310410276936201           OUT        [52709/20329:-97 . 15139:32 .97094:128]
1763       02/20/11              05:27P       18173436690      16924726873                        310410276936201           OUT        [5 2709 /62029 :-97.09953:32 .93497:240 ]
1764       02/20/11              05:28P       18173436690      169 24 726973                      310410276936201           OUT        [52709 /604 22:-97.09917:32.9 55 81:128]
1765       02/20/11              05:28P       16824726973      19173436690                        3104 10 2 7 693620 1       IN        [ 52709/60422: - 97.0 9917:32 . 95581:128]
1766       02/20/11              05 :28P      19173436690      1 692472687 3                      310410276936201           OUT        [527 09/60422 : -97 . 09917 : 32.95581: 1 28 ]
1767       02/20/11              05:29P       18173436690      16924726973                        310410276936201           OUT        [ 52709/60422:-97.09917:32.95581 :1 28]
1768       02/20/11              05:29P       16824726873      1 8173436690                       310410276936201            IN        (52709 /6042 2:-97 .0 9917 :32.9 5581:128]
1769       02/20/11              05:30P       16824726973      18173436690                        310410276936201            IN        [ 52709/60422: - 97.09917:32.95581:128]
1770       02/20/11              05:30P       19173436690      16824726873                        310410276936201           OUT        [ 52709/6042 2:-97.09917:3 2 .95581:128]
1771       02/20/11              05:30P       16924726973      19173436690                        3104102 76936201           IN        [52709 /6042 2:-97.09917:32 . 95581 :1 28]
1772       02/20/11              05 : 32P     1 8173436690     16824726873                        310410276936201           OUT        [ 52709/60422:-97.09917:32.9558 1:12 8]
1773       02/20/11              05:33P       169247 26973     19173436690                        310410276936201            IN        [52709/60422:-97.09917:32.95591:128]
1774       02/20/11              05:34P       16924726873      19173436690                        310410276936201            IN        [52709/60428:-97.09917:32.95581:129]
1775       02/20/11              05:35P       16924726873      1 9173436690                       310410276936201            IN        (52709/60429 : -97.09917 : 32.95581 :129]
1776       02/20/11              05:37P       18173436690      16924726873                        3 10 410276936201         OUT        [52709 /2 3568:-97.09917:32.95581:]
1777       02/20/11              05:39P       16924 726 8 73   19173436690                        3104102 76 936201          IN        [52 709/60429 : -97 . 09917:32 .95 581:128]
1778       02/20/11              05:43 P      16924726873      19173436690                        3 1 0410276936201          IN        [52709/60422 :- 97 .09917: 32.95581:12 8]
1779       02/20 / 11            05: 50P      16924726973      19173436690                        310410276936201            IN        [52709/60429:-97 .0 9917 :32.95581: 128]
1780       02/20/11              06:00P       1 8173436690     16824726973                        310410276936201           OUT        [52709/60428:-97 . 09917:32.95581:128]
1781       02/20/11              06 :01P      16824726973      18173436690      .•.•..•..•..••.   310410276936201            IN        [52709 /60429: - 97.09917:32.95581:128]
1782       02/20/11              06:02P       18173436690      16824726973                        310410276936201           OUT        [52709/60428:-97.09917:32.95581:128 ]
1783       02/20/11              06:02P       16924726973      19173436690                        310410276936201            IN        [5270 9/60428:-97.09917:32.95581 :12 8]
1784       02/20/11              06:05P       19173436690      16824726973                        3 1 04 10 276936201       OUT        [52709 / 60428:-97.09917 : 32.95581:128 ]
1785       02/20/11              06 : 0 5 P   1917343 6690     168247269 73     .......•.••....   3104 1 02 76936201        OUT        [52709 /60 428 :-97 . 09917 : 32.95581:128]
1786       02/20/11              06:06P       16824726973      19173436690                        3104 1 0276936201          IN        [52709 / 60428:-97.09917:32 .955 81:128]



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                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 85 of 99 PageID 3806
9765 0 3                                                      MOBILITY USAGE
0 8/17/2011
SCAMP                                                     (wi th cell location)                                                                                  €? at &t

 Run Date:             08/17/2011
 Run Time:             00:36:14
 SMS Usage For:        (817) 343-6690
 Account Number:       318912244
Item         Conn.            Conn.       Originating      Terminating         IMBI              IMSI          Description   Cell Location
             Date             Time           Number          Number
1787       02/20/11          06:07P     18173436690     16824726873      ...••..........   310410276936201         OUT       [ 52709 / 60428 : -97.09917:32.95581:128]
1788       02/20/11          06:08P     16824726873     181734 3 6690    ..........••...   310410276936201          IN       [52709 /604 28: - 97.09917:32.95581:128]
1789       02/20/11          06:09P     18173436690     16824726873      000000000000000                        OUT_ MMS     []
1790       02/20/11          06:10P     16824726873     18173436690      000000000000000   310410276936201       IN MMS      []
1791       02/20/11          06:10P     111130 1 000    1 8173436690                       310410276936201          IN       [52709/60422:-97.09917:32.95581:128]
1792       02/20/11          06:10P     1111301000      18173436690                        310410276936201          IN       [52709/60422:-97.09917 : 32 . 95581:128]
1793       02/20/11          06:10P     111130 1 000    18173436690      ...............   310410276936201          IN       [52709/60422:-97.09917:32.95581:128]
1794       02/20/11          06:11P     1111301000      18173436690                        310410276936201          IN       [52709 / 60422:-97.09917:32 . 95581:128 ]
1795       02/20/11          06: llP    1111301000      18173436690                        310410276936201          IN       [52709/60428 : -97.09917:32.95581:128]
1796       02/20/11          06: llP    1111301000      18173436690      ...............   310410276936201          IN       [52709/60428 : -97 . 09917:32.95581:128]
1797       02/20/11          06:12P     18173436690     16824726873      ..•............   310410276936201         OUT       [52709/60428 : -97.09917:32.95581:128]
1798       02/20/11          06: l4P    16824726873     18173436690      ...............   310410276936201          IN       [52709/60422:-97.09917:32.95581:128]
1799       02/20/11          06 : 15P   18173436690     1 6824726873     ...............   310410276936201         OUT       [52709/60428:-97.09917:32 . 95581 : 128]
1800       02/20/11          06:16P     16824726873     18173436690      .•....••.......   310410276936201          IN       [52709 / 23562: - 97.09917:32.95581:128]
1801       02/20/11          06:17P     1817 3 436690   16824726873                        310410276936201         OUT       [52709 /60422:-97.099 1 7:32.95581:128]
1802       02/20/11          06:18P     16824726873     18 173436690                       310410276936201          IN       [52709 /604 22: - 97.09917:32.9 55 81 : 128]
1803       02/20/11          06:19P     18173436690     16824726873      .......•.......   310410276936201         OUT       [ 52709 / 60428:-97.09917:32.95581:128]
1804       02/20/11          06:19P     16824726873     18173436690                        310410276936201          IN       [ 52709 /6 0423: - 97.09917:32.95581:248]
1805       02/20/11          06:29P     16824726873     18173436690                        310410276936201          IN       [5 2709/60422:-97.099 1 7:32.95581:128]
1806       02/20/11          06 : 41P   18177845975     18173436690                        31041027693 6201         IN       [52709/60422: - 97.09917:32.95581:128]
1807       02/20/11          08 : 07P   18177845975     18173436690      ...•••.........   310410276936201          IN       [52709 /6 0428: - 97.09917 : 32 . 95581:128]
1808       02/20/11          08:30P     1000000000      18173436690      ......••••.•...   31 0410276936201         IN       [52709 /203 28: - 97.15139:32.97094:128]
1809       02/20/11          08:30P     1100            18173436690      .............•.   310410276936201      IN_ VMN      [52709 /20 328 : -97.15139:32.97094:128]
1810       02/20/11          08:30P     0100            18173436690                        310410276936201      IN VMP       [52709 /60 428 : -97.09917:32.95581:128]
1811       02/20/11          08:41P     18173436690     13617741561      ......•.••.•.•.   310410276936201         OUT       [52709/60428:-97.09917:32.95581:128]
1812       02/20/11          09:01P     16824726873     18173436690                        31 0410276936201        IN        [52709 /604 22 : -97 . 09917:32.95581:128]
1813       02/20/11          09:52P     13617741561     18173436690      000000000000000   310410276936201      IN MMS       []
1814       02/20/11          09:52P     1111301000      18173436690      .....••........   310410276936201         IN        [52709/60422:-97.09917:32 . 95 5 81:128]
1815       02/20/11          09: 5 2P   1111301000      18173436690                        310410276936201         IN        [52709/60422 : -97.09917:32.95581:128]
1816       02/20/11          11:33P     18177845975     18173436690      ...............   310410276936201         IN        [52709/23 562:-97.09917:32.9 55 81:128]
1817       02/21/11          11:48A     18175646545     18173436690                        310410276936201         IN        [52709/62028 : -97.09953:32.93497:120]
1818       02/21/11          11:48A     18175646545     18173436690                        310410276936201         IN        [52709/62028 :- 97.099 5 3:32.93497:120]
1819       02/21/11          12:23P     18173436690     18 175646545                       310410276936201        OUT        [52709/24332:-97.09953:32.93497:128]
1820       02/21/1 1         12:24P     18175646545     18173436690      ...............   3 1 0410276936201       IN        [52709/24332: - 97.099 5 3:32.93497:128]
1821       02/21/11          03:11P     16824726873     18173436690                        310410276936201         IN        [52709/62023: - 97.09953:32.93497:240 ]
1822       02/21/11          03:13P     18173436690     16824726873      ..........•••..   3 1 0410276936201      OUT        [52709/60428:-97.09917:32.95581: 128]
1823       02/21/11          03:16P     16824726873     18173436690      ...............   310410276936201         IN        [52709/60428:-97 . 09917:32.95581:128]
1824       02/21/11          03:18P     18173436690     16824726873      ...............   310410276936201        OUT        [52709/60422: - 97.099 1 7 : 32.95581:128]



                                                                                 AT&T Propri etary
        NKK
                                The information contained here is f o r us e by a uthorized p e rson o nly and i s                                                          Page 11 9
                                                       not for gene ral distr i bution .
                                Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 86 of 99 PageID 3807
976503
08/ 1 7/20 11
SCAMP
                                                             MOBILITY USAGE
                                                          (with cell location)                                                                                                  t£1at&t
                                                                                                                                                                                 ~




 Run Date:              08/17/2011
 Run Time:              00:36:14
 SMS Uoage For:         (817)343-6690
 Account Number:        318912244
Item          Conn.            Conn.        Originating      Terminating           IMEI                     I MSI           Descri ption   Cell Location
               Date             Time           Number           Number
1825       02/21/11           03 : 19P   16824726873      18173436690      •••• •• ••••••• • •      310410276936201              IN        [52709 / 60422: - 97.09917:32.95581:128)
1826       02/21/11           03 : 29P   16824726873      18173436690      • • •• • •• • •• •••••   3104102769362 0 1            IN        [52709/60 422: - 97.09917:32.95581:128)
1827       02/21/11           03:57P     13617741561      18173436690      ••• •••• •••••• ••       310410276936201              IN        [52709 /60 428:-97.099 17 :32.95581 : 128 )
1828       02/21/11           04:44P     18173436690      16824726873      •••••• • ••••••••        310410276936201             OUT        [52709/24331:-97.09953 : 32.93497 : 8)
1829       02/21/11           04:4 7P    16824726873      18173436690      ••••• •• •••••• ••       31041027693620 1             IN        [5 2709/24317 : -97 . 1 2 608 : 32 . 93822: )
1830       02/21/11           04:49P     1 8 173436690    16824726873      • • • ••••••••••••       31041027693620 1            OUT        [52709 / 20328:-97 . 15 1 39:32.97094 : 128)
1831       02/21/11           04:56P     16824726873      18173436690      ••• ••••• • • •• •••     31041027693620 1             IN        [52709/60423 : -97.09917:32.95581 : 248)
1832       02/21/11           04:56P     16824726873      18173436690      •••••• • ••••••••        310410276936201              IN        [52709/20237 : -97 . 12608:32.93822 : 8)
1833       02/21/11           05:00P     18173436690      16824726873      ••• • •••• • •• • •••    310410276936201             OUT        [52709/20231: - 97.12608:32.93822:8)
1834       02/21/11           05:00P     18173436690      16824726873      •••••• • ••••••••        310410276936201             OUT        [52709/20231: - 97.12608:32.93822:8)
1835       02/21/11           05:02P     1 682472687 3    18173436690      ••••••• • •••••• •       3 1 04 1 02769 3 6201        IN        [5 2 709/20231: - 97 . 12608:32.93822:8 )
1836       0 2 /21/ 11        0 5 :03P   18 173436690     16824726873      ***************          3104102769 3 620 1          OUT        [5 2 709/20231 :- 97. 12608:32.93822:8)
1837       02/21/11           05:06P     1 682472687 3    18173436690      ••• ••• •• • • • • •••   31041027693620 1             IN        [ 5 2709 / 20231 : -97.12608 : 32.93822 : 8)
1838       02/21/11           05:07P     16824726873      18173436690      000000000000000          310410276936201           IN_MMS       [)
1839       02 /21/ 11         05:07P     1111301000       18173436690      ••• ••• •• • ••• •• •    310410276936201              IN        [52709/20231:-97.12608:32.93822:8)
1840       02/21/11           05:07P     1111301000       18173436690      •••• • •• ••• •••••      310410276936201              IN        [52709/20231: - 97.12608:32.93822:8)
1841       02/21/11           05:10P     16824726873      1 8173436690     ******* ** ******        310410276936201              IN        [52709/20231:-97.12608:32.93822:8 )
1842       02/2 1 / 1 1       05:10P     1 8 173436690    1 6824726873     • •• •••• •• •• • •••    310410276936201             OUT        (52709/20231:-97.12608:32.9382 2 : 8)
184 3      02 / 21/11         05:10P     1 6824726873     18173436690      • • • •••• ••• •••••     3 104 1 0276936201           IN        (52709 / 20231:-97.12608:32.93822:8 )
1844       02/21/11           05:28P     18173436690      16824726873      ••• ••• ••••• ••• •      310410276936201             OUT        (52709 / 20231:-97.12608:32.93822:8)
1845       02 / 21/ 11        05:49P     16824726873      18173436690      • ••• • • • ••••••••     310 4 10276936201            IN        (52709 / 20231:-97.12608:32 . 93822:8)
1846       02/21/11           05:57P     18173436690      16824726873      •••• • • ••••• • •••     310410276936201             OUT        (52709 /20 231: - 97.12608:32.93822:8)
1847       02/21/11           05:57P     16824726873      18173436690      • •• ••••• • •••• • •    310410276936201              IN        [52709 /20 231: - 97 . 12608:32.93822:8)
1848       02/21/11           06:0 1 P   1 8173436690     16824 7 26 873   • ••• ••••• ••••• •      3104 102 76 93 6201         OUT        [52 709/20231 :- 97 . 12608:32.93822:8)
1849       02/21/11           06:03P     16824726873      1817343 6690                              310410276936201              IN        [52709/60423 : -97.09917:32.95581:248)
1850       02/21/11           06:04P     1 8173436690     16824726873                               310410276936201             OUT        [5 2709/ 20237:-97.12608 : 32.93822:8)
1851       02/21/11           06:05P     16824726873      18173436690                               3104102769362 01             IN        (52709/20237: - 97.12608:32.93822:8)
1852       02/21/11           06: 44P    18173436690      18048732541      .......•.......          3104102769362 01            OUT        (52709/60423 : - 97.09917:32.95581:248)
1853       02/21/11           06 : 44P   18173436690      18173431808      .......•••.....          310410276936201             OUT        (52709/60423:-97.09917:32.9 55 81:248)
1854       02/21/11           06:4 4 P   18173436690      18173431808      ***** * * ** ******      3104102 76936201            OUT        (52709/60423:-97.099 17:32.95581:248 )
1 855      02/21/11           06:45P     18173431808      1 8 173436690    ...............          31041027 6 93 62 01          IN        [52709/60423 :- 97.099 17:32.95581:248 )
185 6      02/21/11           06 : 45P   18173431808      1 8173436690                              3104102769 3 6201            IN        [5 2 709/60423 : -97 . 09917 : 32.95581:248)
1857       02/21/11           06:48P     18173436690      18173431808      ...............          310410276936201             OUT        [52709/20237:-97. 1 2608:32.93822:8)
1858       02/21/11           06:50P     18173431808      18173436690                               310410276936201              IN        [52709/23563: - 97.09917:32.95581:248)
1859       02/21/11           08:45P     18173431808      18173436690                               310410276936201              IN        (52709/60423 :- 97.09917:32.9558 1 :248)
1860       02/21/11           08:48P     1817 3436690     1 817343 1 808                            31041027693620 1            OUT        ( 5 2709/23563:-97.09917 : 32 . 9558 1: 248)
1 861      02/21/11           08:4 9P    181734 31 808    1817 3 436690                             310410276936201              IN        (52709/23563:-97 . 099 17:32.95581: 248)
1862       02/21/1 1          08:50P     1817 3431808     1 81734366 90                             31041027693620 1             IN        [52709 / 23563:-97.09917:32.95581 : 248 )



                                                                                       AT&T Propri etary
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                                                         not for general distribu ti on .
                               Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 87 of 99 PageID 3808
976503                                                                                                                                                             ~

                                                                                                                                                                  ~ ~ at&t
08 / 17 /2011
                                                            MOBILITY USAGE
SCAMP                                                    (with cell location)


 Run Date:             08/17/2011
 Run Time:             00:36:14
 SMS Usago Por:        (817)343-6690
 Account Numbo r:      318912244
Item         Conn.            Conn.      Originating      Terminating          IMBI                IMSI        Description   Cell Location
               Date            Time        Number           Numb or
1863       02/21/11          08:50P 18173436690         18173431808     •••••••••••••••      310410276936201      OUT        [52709/23563:-97 .0 9917:32.95581:248)
1864       02/21/11          08:54P 136177415 61        181734 36690    •••••••••••••••      310410276936201       IN        [52709/23563:-97.09917:32.95581:248)
1865       02/21/11          08:58P 18048732541         18173436690     •••••••••••••••      310410276936201       IN        [ 52709/23563:-97.09917:32.95581:248 )
1866       02 / 21/ 11       09:00P 18173436690         18048732541     ••••••••• • •••••    310410276936201      OUT        [ 52709/20237:-97.12608:32.93822:8)
1867       02 / 21/ 11       09:01P 18173436690         13617741561     •••••••••••••••      310410276936201      OUT        [ 52709/20237:-97.12608:32.93822:8 )
1868       02 /21/11         09 : 16P 18173 436690      18 04873254 1   •••••••••••••••      310410276936201      OUT        [52709 /20237:-9 7.12608:32.93822:8)
1869       02/21/11          09:17P 18173436690         16824726873     •••••••••••••••      310410276936201      OUT        [52709 /2 4311:-97.12608:32.93822:8)
1870       02/21/11          09 : 1 8P 18173436690      18179074504     •••••••••••••••      310410276936201      OUT        [5 2709/24311:-97.12608:32.93822 : 8)
1871       02/21/11          09:44P 18048732541         1817343 6690    •••••••••••••••      310410276936201       IN        [52709/24311:-97 .12608:32.93822 : 8)
1872       02/21/11          09:52P 18173436690         18048732541     •••••••••••••••      310410276936201      OUT        [52709 /60423 :- 97 . 09917:32.9558 1:248)
1873       02/22/11          02:31A 18177845975         1817343 6690    ••••••••••••• ••     310410276936201       IN        [ 52706/14472:-97.30836:32.89667 :1 28)
1874       02/22/11          02:54A 1 000000000         18173436690     ••••••••• ••••••     310410276936201       IN        [52709/ 20322:-97.15139:32.97094:128)
1875       02/22/11          02 :55A 1100               18173436690     •••••••••••••••      310410276936201     IN_VMN      [52709/60422:-97.0 9917:32.95581:128,
                                                                                                                             52709/62023:-97.09953:32 . 93497:240)
1876         02/22/11       02:55A     0100             1817343669 0    •••••••••••••••      310410276936201     IN_VMP      [52709/62023:-97.09953:32.93497:240)
1877         02/22/11       03:04A     18173436690      16824726873     •••••••••••••••      310410276936201      OUT        [52709/60422:-97.0991 7:32 .955 81:128)
1878         02 /22/11      03:04A     18173436690      18179074504     •••••••••••••••      310410276936201      OUT        [52709/60422 :- 97.09917:32.95581:128)
1879         02/22/11       03:1 6A    1 8173436690     16824726873     000000000000000                         OUT_ MMS     [)
1880         02/22/11       05:44A     16824726873      18173436690     • ••••••••••••••     310410276936201       IN        [52709 /23562:-97 .09917:32.95581:128)
1881         02/22/11       06:43A     18048732541      18173436690     •••••••••••••••      310410276936201       IN        [527 09/23562 : -97.099 17 :32.9 5581:128 )
1882         02/22/11       06:43A     18048732541      18173436690     •••••••••••••••      310410276936201       IN        [52709/23562:-97 . 09917:32.95581:128)
1883         02/22/11       07:53A     18179074504      18173436690     •••••••••••••••      310410276936201       IN        [52709 /23562:-97.09917:32.95581:128)
1884         02/22/11       08:20A     18174202850      18173436690     •••• •••••••••••     310410276936201       IN        [52709/60428:-97.09917:32 . 95581 : 128)
1885         02/22/11       09:28A     18177845975      18173436690     •••••••••••••••      310410276936201       IN        [52709 /24332:-97.09953:32.9 349 7: 128)
1886         02 /2 2 /11    09 :4 5A   19157405173      18173436690     •••••••••••••••      310410276936201       IN        [52709/62028:-97.09953:32.93497:120)
1887         02/22/11       09:52A     1111487799       18173436690     •••••••••••••••      310410276936201       IN        [52709 /62028: -97.09953 :32.9 3497:120)
1888         02/22/11       09:56A     18173436690      16824726873     ••••••• ••••••• •    310410276936201      OUT        [52709/62028: - 97.09953:32 .9 3497:120)
1889         02/22/11       09:57A     18173436690      18048732541     ••••••• • • ••••••   310410276936201      OUT        [52709 /62028:-97 . 09953:32.93497:120)
1890         02/22/11       10 :07A    16824726873      18173436690     ••••••• ••• •••••    310410276936201       IN        [52709 /620 28:-97.09953:32. 93497 : 120)
1891         02/22/11       10:11A     18048732541      18173436690     •••••••••••••••      310410276936201       IN        [ 52709/62028:-97.09953:32.93497:120)
1892         02/22/11       10:12A     18 0487 3 2541   18173 436690    •••••••••••••••      310410276936201       IN        [52709/62028:-97.09953:32.93497 :1 20)
1893         02/22/11       10:29A     18173436690      18048732541     •••••••••••••••      310410276936201      OUT        [52709 /60313:-97.079 14:32.93881:240)
1894         02/22/11       12:45P     168247 26873     18173436690     •••••••••••••••      310410276936201       IN        [52709/62028: -97.09953 : 32.93497:120)
189 5        02/22/11       01:53P     18173436690      16824726873     •••••••••••••••      310410276936201      OUT        [52709/62022:-97.09953 :32.93 497:120)
1896         02/22/11       02:05P     168247 26873     18173 436690    •••••••••••••••      310410276936201       IN        [52709/62022:-97.09953:32 . 93497:120)
1897         02/22/11       03:25P     18173436690      16142266852     •••••••••••• •••     310410276936201      OUT        [ 52709/60428:-97. 09 9 1 7:32 . 95581: 1 28)
1898         02/22/11       03:56P     16142266852      18173436690     •••••••••••••••      310410276936201       IN        [52709/60428:-97 . 09917:3 2.95581: 128 )
1899         02/22/11       04:54P     18173436690      18173431808     •••••••••••••••      310410276936201      OUT        [52707 /40649 :-97.16078:3 2.85086:2 48)



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                                                      not for general distribution.
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                                                                                                                                                          ~ at&t
976503                                                   MOBILITY USAGE
08/17/2011
SCAMP                                                 (with cell location)


 Run Dato:          08/17/2011
 Run Time:          00:36:15
 SMS Usage Por:     (817)343-6690
 Account Number:    318912244
Item         Conn.          Conn.    Originating    Terminating        IMBI               IMSI          Doocription   Cell Location
             Date           Time       Number         Number
1900       02/22/11        05:16P 18172296524      18173436690    000000000000000   310410276936201       IN_ MMS     []
1901       02/22/11        05 :16P 1111301000      18173436690    .....•......••.   310410276936201          IN       [52707/40649 :- 97 .16078 : 32.85086:248 ]
1902       02/22/11        05:16P 1111301000       18173436690                      310410276936201          IN       [527 07/40649: -97 .16078:32.85086:248]
1903       02/22/11       05:18P    16824726873    18173436690    000000000000000   310410276936201       IN MMS      []
1904       02/22/11       05:18P    16824726873    18173436690    000000000000000   310410276936201       IN_ MMS     []
1905       02/22/11       05:19P    16824726873    18173436690    000000000000000   3104 1 0276936201     IN MMS      []
1906       02/22/11       05:38P    18173436690    18174202850                      310410276936201         OUT       [52707/40649 :-97.16078:32.85086:248]
1907       02/22/11       05:45P    18174202850    18173436690                      310410276936201          IN       [527 07/40649: -97.16078:32.85 086: 248]
1908       02/22/11       05:46P    18173436690    18174202850    ...••....•....•   310410276936201         OUT       [ 52707/40649: - 97.16078:32.85086:248]
1909       02/22/11       05:47P    18174202850    18173436690    .............•.   310410276936201          IN       [52707/40649:-97.16078:32.85086:248]
1910       02/22/11       06:35P    18173436690    18173431808                      31041 0276936201        OUT       [52707 /40649 : - 97 . 16078 : 32.85086:248]
1911       02/22 / 11     06:45P    18173431808    18173436690                      310410276936201          IN       [52707 /40 649:-97.16078:32 . 85086 :248]
1 912      02/22/11       06:51P    18173436690    18173431808    .•.•.......•...   310410276936201         OUT       [52707 / 40649:-97.16078:32.85086:248]
1913       02/22/11       06:57P    16824726873    18173436690                      310410276936201          IN       [52707 /2 3533 : - 97.16078:32.85086:248]
1914       02/22/11       07:07P    1817343 6690   16824726873    ...........•...   310410276936201         OUT       [52707/4 0649:-97.16078:32.85086:248]
1915       02/22/11       07:11P    16824726873    18173436690                      310410276936201          IN       [52707 / 40649: - 97.16078:32.85086:248]
1916       02/22/11       07:11P    18173436690    16824726873                      310410276936201         OUT       [52707/40649: - 97 . 16078:32 . 85086:248]
1917       02/22/11       07:12P    1817343669 0   18048732541    ...........•...   310410276936201         OUT       [52707/40649:-97.16078:32.85086:248]
1918       02/22/11       07:13P    16824726873    18173436690                      310410276936201          IN       [52707/40649 :-97.16 078 :32. 8 508 6:248 ]
1919       02/22/11       07:13P    181734 36690   18179074504                      310410276936201         OUT       [ 52707 / 23533: - 97.16078:32.85086 : 248]
1920       02/22 / 11     07: 14P   18173436690    16824726873                      310410276936201         OUT       [52707/23533: - 97.16 07 8:32.85086:248]
1921       02/22/11       07 :18P   1111301000     18173436690                      310410276936201          IN       [52707 / 23533: - 97.16078:32.85086:248]
1922       02/22/11       07:18P    1111301000     18173436690    .••............   310410276936201          IN       [52707/23533:-97.16078:32.85086:248]
1923       02/22/11       07:18P    1111301000     18173436690    ...•...........   310410276936201          IN       [52707/23533: - 97.16078:32.85086:248]
1924       02/22/11       07:19P    1111301000     18173436690                      31041027693620 1         IN       [52707/23533: -97.1 6078: 32.85 086:248]
1925       02/22/11       07:19P    1111301000     18173436690                      310410276936201          IN       [ 52707 / 23533: - 97.16078:32.85086:248]
1926       02/22/11       07:19P    1111301000     18173436690    .•.•........•••   310410276936201          IN       [52707/23533: -9 7.16078:3 2.8 5086:248]
1927       02/22/11       07:30P    16824726873    18173436690                      310410276936201          IN       [5 27 07/40649: -97.16078:32.85 086: 248 ]
1928       02/22/11       07: 34P   18173436690    16824726873    .........••.•••   310410276936201         OUT       [52707 /40649: -97.1 6078:3 2 . 85086:248]
1929       02/22/11       07:37P    16824726873    18173436690                      310410276936201          IN       [52707 / 40649:-97.16078:32.85086:248]
1930       02/22/11       07:40P    18173436690    16824726873    .•.•...........   310410276936201         OUT       [52707/40649:-97.16078:32.85086:248]
1931       02/22/11       07:42P    16824726873    18173436690    ...•...........   310410276936201          IN       [52707 /40649: - 97.16078:32.85086:248]
1932       02/22/11       07:49P    18173436690    16824726873                      310410276936201         OUT       [52707/23533 :-97.16 078 :32. 85086 :248]
1933       02/22/11       07:50P    16824726873    1817343669 0   ..•.•.••.••.•..   310410276936201         IN        [52707/23533:-97.16078:32 . 85086 :248]
1934       02/22/11       08:05P    18173436690    16824726873    ...•....•...•.•   310410276936201        OUT        [52707/40649:-97.16078:32 . 85086:248]
1935       02/22/11       08:06P    16824726873    18173436690    ...............   310410276936201         IN        [52707/40649:-97.16078:32.85086:248]
1936       02/22/11       08 :06P   18174 202850   18173436690    .•..•..•.......   310410276936201         IN        [52707 /40649:-97.16078:32.85086:248]
1937       02/22/11       08:08P    18173436690    16824726873    ........•......   310410276936201        OUT        [52707 /40649: - 97.16078:32.85086:248]



                                                                          AT&T Proprietary
        NKK                                                                                                                                                          Page 122
                             The information contained here is for use by authorized person on ly and is
                                                    not for general distributi on.
                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 89 of 99 PageID 3810
976503                                                            MOBILITY USAGE
08/17/2011
SCAMP                                                          (with cell location)


 Run Date:                08/17/2011
 Run Time:                00:36:15
 SMS Osage For:           (817) 343 - 669 0
 Account Number:          318912244
Item         Conn.                 Conn.       Originating      Terminating           IHEI                  IMSI            Deocription   Cel l Location
             Date                  Time          Number           Number
1938       02/22/11               08:08P      18173436690     1 817420285 0     .•.............     3104 10 2 7 693620 1       OUT        [5 27 07/40649 : -9 7 . 16 078 :32.85086:248 ]
1939       02/22/11               08:09P      16824726873     18173436690       ..............•     310410276936201             IN        [52707/40649:-9 7.16078:32 . 85086:248]
1940       02/22/11               08 :10P     18174202850     18173436690       ...............     310410276936201             IN        [52707/40649:-97.16078:32.85086:248]
1941       02/22/11               08 :22P     1817946925 1    181 73436690      .••.....••••...     310410276936201             IN        [52707/40649:-97.16078:32.8 5 086:248]
1942       02/22/11               08:26P      18179469251     1 8173436690      ...............     31 0410276936201            IN        [52707/23533:-97.16078:32.85086:248 ]
1943       02/22/11               08:35P      18048732541     18 1 73436690                         3104102769 36201            IN        [52707/40643:-97.16078:32.85086:248]
1944       02/22/11               08:37P      18173436690     16824726873       ..•............     310410276936201            OUT        [52707/40649: - 97.16078:32.85086:248]
1945       02/22/11               08:42P      16824726873     18173436690                           31 0410276936201            IN        [52707 / 14713:-97 . 158 89:32.83583:248 ]
1946       02/22/1 1              08:42P      18173436690     1 6824726873                          31 0410276936201           OUT        [5 2707/147 13:-97 .15 88 9 :32.83583:248]
1947       02/22/11               08 : 43P    16824726873     18173436690                           310410276936201             IN        [52707/18512:-97.18364:32.83831:128]
1948       02/22/11               09: 21P     18179469251     18173436690                           310410276 93 62 01          IN        [527 07/18512:-97.18364 :32.83831:1 28]
1949       02/22/11               09:38P      18179074504     1 8173436690      •.......•••..••     31 041 0 276 93 62 01       IN        [5 2707/42123:-97.1 5 889:32.83583:240]
1950       02/22/11               09:4 1 P    18 1734366 90   18179074504                           310410276936201            OUT        [ 52707/18512: -97.18364:32.8383 1:128]
1951       02/22/11               09:47P      18 179 074504   18173436690                           310410276936201             IN        [52707/42123:-97 . 15889:32.83583:240]
1952       02/22/11               10:26P      18174202850     18173436690       ...............     310410276936201             IN        [5 2707/42123:-97 . 15889:32.83583:240]
1953       02 /2 2 / 11           10:26P      18174202850     18173436690       •.......•......     310410276936201             IN        [ 52707/42123:-97.15889 :3 2 . 83583 : 240]
1954       02 /22/ 11             11:20P      18177845975     18173436690                           310410276936201             IN        [52707 /4212 9:-97 .15889:32.83583:240]
1955       02/22/11               11:20P      1817784 5975    18 173436690      ••• ••••••••••••    310410276936201             IN        [5 2707/42129 : -97 . 15889:32.83583 : 240]
1956       02/23/11               12:15A      1817343669 0    18174202850       •••••••••••••••     310410276936201            OUT        [52709/20237:-97.12608:32.93822 : 8]
1957       02/23/11               03:52P      1 68 24726873   18173436690       •••••••••••••••     3104102769362 01            IN        [5 2709/62028 :- 97.09953:32.93497: 12 0]
1958       02/23/11               03:58P      1817343669 0    1682472687 3      •••••••••••••••     3104102 769362 01          OUT        [527 09/60521:-97.11489:32.91886:0]
1959       02/23/11               04:00P      16824726873     18173436690       •••••••••••••••     310410276936201             IN        [ 52709/62028:-97.09953:32 .93497:120]
1960       02/23/11               04:30P      18173436690     16824726873       •••••••••••••••     310410276936201            OUT        [52709/62022:-97.09953:32 . 93497:120]
1961       02/23/11               04:46P      1 8048732541    1 817 34 3 6690   •••••••••••••••     310410276936201             IN        [52709/24332:-97 . 09953:32.93497:128]
1962       02/23/11               04:47P      180487 32541    18 173436690      •• • ••••••••••••   310410276936201             IN        [52709/24332:-97.09953:32.93497:128]
1963       02/23/11               04:47P      180 48732541    18173436690       •• •••••••••••••    310410276936201             IN        [52709 /24332:-97.09953:32.93497:12 8 ]
1964       02/23/11               04:53P      16824726873     18173436690       •••••••••••••••     310410276936201             IN        [52709 / 24332:-97.09953:32.93497:128]
1 965      02/23/11               04: 58P     18173436690     18048732541       •••••••••••••••     310410276936201            OUT        [52709 /243 32:-97. 099 53: 32 . 93497:128]
1966       02/23/11               04:58P      18173436690     16824726873       •••••••••••••••     310410276936201            OUT        [52709 /2 3473:-97 .0 7914:32.93881:248]
1967       02/23/11               05:01P      16824726873     18173436690       •••• •••••••••• •   310410276936201             IN        [52709 / 24332:-97.09953:32.93497:128]
1968       02/24/11               07:48A      18048732541     18173436690       •••••••••••••••     310410276936201             IN        [52709 / 23562:-97.09917:32.95581:128]
1969       02 /24/11              08:01A      18173436690     18048732541       ••• ••••••••••••    310410276936201            OUT        [52709/6 0422: -97.099 17:32 .95581:128]
1970       02/24/11               10:53A      12146940034     18173436690       •••••••••••••••     310410276936201             IN        [52709/62022 : -97.09953:32 . 93497:120]
1971       02 /24/ 11             10:56A      12146940034     18173436690       ••••••••••• ••••    310410276936201             IN        [52709/62028 :- 97.09953:32.93497:120 ]
1972       02 /24/ 11             12:02P      18173436690     181734 318 08     •••••••••••••••     310410276936201            OUT        [52709/ 62028:-97.09953 : 32.93497 : 120 ]
1973       02/24/11               12:06P      18173431808     18 173436690      ••• ••••••••••••    310410276936201             IN        [5 2709/62028:-97. 09953:32 .93497 :120]
1974       02/24/11               12:07P                      18173436690       00000 0000000000    310410276936201             IN        []
1975       02/24/11               12 :0 8P    18173431808     18173 43669 0     *** ************    310410276936201             IN        [52709/62028: - 97.09953:32.93497:120 ]



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                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 90 of 99 PageID 3811
                                                                                                                                                                            ~ at&t
976503                                                        MOBILITY USAGE
08/17/2011
SCAMP                                                      (with cell location)


 Run Dato:              08/17/2011
 Run Timo:              00:36:15
 SMS Osage Par:         (817)343- 6690
 Account Number:        318912244
Item         Conn.              Conn.      Origi nating      Terminating           IMBI                  IMSI           Description   Cell Locat i on
              Date               Time        Number              Number
1976       02/24/11            12 : 15P 18173436690       18173431808       •••••••••••••••      310410276936201           OUT        [52709 / 62028: - 97.09953:32.93497 : 120]
1977       02 / 24/11          1 2 : 22P 16824726873      18173436690       •••••••••••••••      310410276936201            IN        [ 52709 / 6 0 313: - 97 . 07914:32.93881 : 240]
1978       02 / 24 / 11        12:43P 18173436690         16824726873       ••••• •••••• ••••    310410276936201           OUT        [52709 / 6 2 028: - 97.09953:32.93497:120]
1979       02/24/11            12:45P 16824726873         18173436690       •••••••••••••••      3104102 769 36201          IN        [527 09 / 24338: -97.09953 : 32.93497 : ]
19 80      02/24/11            0 1:17 P 181734 31808      18173436690       ••••• •••••• ••••    310410276936201            IN        [527 09/62028 :-9 7 .0 9953:32.93497:120 ]
1981       02/24/11            01:29P 18173436690         18173431808       •••••••••••••••      3104 1 0276936201         OUT        [52709 / 62028:-97 . 09953:32 . 93497:120 ]
1982       02 / 24 / 11        04:14P 12146940034         18173436690       •••••• •••••• •••    310410276936 2 01          IN        [52709/60422 : -97.09917:32 . 95581:128]
1983       02 / 24 / 11        04 : 31P 181734318 08      18173436690       •••••••••••••••      3104 1027 6936201          IN        [52709 / 20231:-97.12608:32.93822:8]
1984       02/24/11            04:38P 1817343 669 0       12146940034       •••••••••••••••      310410276936201           OUT        [ 52709/20231 :-97 .12608:32.9 38 22:8]
1985       02/24/11            04 : 39P 18173436690       18173431808       •••••••••• •• •••    3104 1 0276936201         OUT        [52709/20231:-97.12608:32.93822:8]
1986       02/24 / 11          04:39 P 12146940034        18173436690       •••••••••••••••      3104 1 0276936201          IN        [52709 / 20231: - 97.12608:32.93822:8]
1987        02 / 24 / 11      04:40P      18173431808     181734 3 6690     •• • ••••••••••••    31041027693620 1           IN        [52709 / 20231:-97.126 0 8:32.93822:8]
1988        02 / 24/11        04:53P      18173436690     1817343 180 8     ••••••• •••• ••••    3 10 4 1 0276936201       OUT        [52709 / 20231: - 97.12608 : 32.93822 : 8]
1 9 89      02/24 / 11        04 : 56P    1817 3431808    18173436690       ••••••• •••• ••••    3104102 7 693620 1         IN        [52709 /20231: -97.12 608 :32.93822:8]
1990        02 / 24/11        08 : 27P    181734318 08    18173436690       •••• •••• ••• ••••   3104 1 0276936201          IN        [ 52709 / 20237:-97 . 12608:32 . 93822 : 8]
1991        02 / 24/ 11       08:28P      18173431808     18173436690       ••••••••• • •••••    3104 102769362 0 1         IN        [52709 / 23563:-97.099 17 :32.9558 1:2 48]
1992        02/24/11          08:45P      18173436690     18173431808       •••••••••• ••• ••    310410276936201           OUT        [52709 / 20237:-97.12 6 08:32.93822 : 8]
1993        02 / 24/11        08 : 47P    18173431808     18173436690       ••••••••• ••• •••    31041027693620 1           IN        [52709/20237:-97.12608:32 . 93822 : 8]
1994        02/24/11          09: 07P     18173436690     18173431808       •••••••••••••••      310410276936201           OOT        [ 52 709 / 24311:-97.12608:32.93822:8]
1995        02/24/11          09:07P      18173436690     1817343 18 08     •••••••••••••••      31041 027 693620 1        OUT        [ 52709/ 24311:- 97.12608 : 32.93822:8]
1996        02/ 24 / 11       09:08P      18173431808     18173436690       •••••• ••• ••••••    310410276936201            IN        [52709 / 23563 :- 97.09917 : 32.95581 : 248]
1997        02/24/11          09:08P      18173431808     18173436690       •••••••••••••• •     31041 0276936201           IN        [52709/24311:-97.12608:32.93822:8]
1998        0 2/24 / 11       09:10P      18173431808     181734 3 6690     •••••••••• ••• • •   31041027 693620 1          IN        [5 2709/243 17 :-97 . 12608 :32 . 93822:]
1999        02/24/11          09 : 1 0P   181734318 0 8   1 8173436690      •• •••••••••••••     3104 1 02 76936201         IN        [52709/20231: -97.12608:32.93822:8]
2000        02 / 24/11        09 : 11P    18173431808     18173436690       •••••••••••••••      310410276 936201           IN        [52709/20237:-97.12608:32.93822:8]
2001        02/24 / 11        09:11P      18173436690     18173431808       ******* ***** ** *   310410276936201           OUT        [52709 / 20237: -9 7.12608: 32 .93822:8]
2002        02/24 / 11        09:12P      18173431808     1 8173436690      •••••••••••••••      310410276936201            IN        [527 0 9/23563 :-9 7 . 09917:32.95581:248]
2003        02/25/11          12:44A      18173436690     1 6824726 873     ••••••• ••••••••     3104102769362 01          OUT        [52707/40643:-97 . 16078:32 . 85086 : 248]
2004         02/25/ 11        12:45A      181734366 9 0   1 8179074504      •••••••••••••••      310410276936201           OUT        [52707/40643:-97.16078:32.85086:248]
2005         02 / 25/11       12:47A      18179074504     18173436690       •••••••••••••••      310410276936201            IN        [52707/40643:-97.16078:32.85086 : 248]
2006         02/25 / 11       12:59A      18173436690     1 8 179 074504    •••••••••••••••      310410276936201           OUT        [5 2707 / 40643:-97 . 16078:32 .85 086:248 ]
2007         02 / 25/11       01 : 12A    1817907 4504    1 8 173436690     •••••••••••••••      310410276936201            IN        [ 52707/40643:-97.16078:32.85086:248]
2008         02/25/ 11        01:14A      18173436690     18179074504       •••••••••••••••      310410276936201           OUT        [ 527 07/40643: - 97 . 16078:32 . 85086:248 ]
2009         02/25/ 11        01:16A      18173 436690    1 8 17 9074 504   •••••• •• •••••••    3 1 04102769362 01        OUT        [52707 /40643:-9 7.1 6078 :32.8 5086:248 ]
2010         02/25/ 11        03:19A      18173431808     1 8173436690      •••••••••••••••      310410276936201            IN        [ 52709/23563:-97 . 09917:32 . 95581:248]
2011         02/25 / 11       03:21A      1 8173431808    1 8173436690      ******* * *******    310410276936201            IN        [ 527 0 9/60422:-97.09917:32.95581:128]
20 1 2       02/25/11         03:22A      18173436690     18173431808       ••••• •••••• ••••    310410276936201           OUT        [52709 /60422: -97.0 99 17 :32.95581:128]
2013         02 / 25/11       03 : 22A    18173431808     1817343 6690      •••••••• •••••• •    31 04 1 02 7 6936201       IN        [ 52709 /60422: - 97. 099 17 : 32 .95 581:128]



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                                                        not for general distribution-
976503
                                 Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 91 of 99 PageID 3812                                                               .._...,
                                                              MOBILITY USAGE
0 8 / 17 /2011
SCAMP                                                      (with cell location)                                                                                           ~~ at&t

Run Date:                08/17/2011
Run Time:                00:36:15
SMS Usage For:           (817)343·6690
Account Number:          31891224 4
Item          Conn.             Conn.       Or iginating     Terminating          IMBI                  I MSI         Description   Cell Location
              Date               Time          Number          Number
2014        02/25/11           03:22A     18173436690      18173431808     ••• • ••••• ••••• •   310410276936201          OUT       [ 52709/60422:-97.09917:32.95581:128]
2015        02/25/ 11          03:23A     18173431808      1817343669 0    •••••••••••••••       310410276936201           IN       [527 09/60 422:-97.09917:3 2.9558 1:128]
2016        02/25/11           03:24A     1817343 6690     18173431808     •• •••••••••••••      310410276936201          OUT       [527 09/60422: -97 .09917:32.95581 :128 ]
2017        02/25/11           05:45A     16824726873      18173436690     •••••••••••••••       310410276936201           IN       [52709 /23562 :-97.09917:32 .95 581:1 28]
2018        02/25/11           09 : 02A   181 79469251     18173436690     •••••••••••••••       310410276936201           IN       [52709/62028:-97.09953:32.93497:120 ]
2019        02/25/11           09:02A     18179469251      18173436690     •••••••••••••••       310410276936201           IN       [52709 /6202 8:-97.09953:3 2.9349 7:120 ]
2020        02/25/11           09:02A     1 8179469251     18173436690     •••••••••••••••       310410276936201           IN       [52709/ 62028:-97.09953:32.93497:120]
2021        02/25/11           09:02A     18179469251      18173436690     •• •••••• •••••••     310410276936201           IN       [52709/6202 8:-97.09953:32.93497 : 120]
2022        02/25/11           10:12A     18173 436690     18179 07 4504   ••••••••• ••• •••     310410276936201          OUT       [52709 / 24332:-97 . 09953:32.93497 :1 28]
2023        02/25/11           l1:27A     18179074504      18173436690     •••••••••••••••       310410276936201           IN       [52709/24 332:-97.09953:32.93497: 1 28]
2024        02/25/11           ll:32A     18173436690      18179074504     ••• ••••••••••••      310410276936201          OUT       [5 270 9/ 24332:-97 . 09953:32 . 93497:128 ]
2025        02/25/11           12:22P     18173431808      18173436690                           310410276936201           IN       [52709/603 13: - 97 . 07914:32 . 93881:240]
2026        02/2 5 /11         12: 23P    18173436690      18173431808                           310410276936201          OUT       [5 2709 / 62022: - 97.09953:32 . 93497:120]
2027        02/25/11           12:24P     18173431808      1 8 173436690                         3 1 0410276936201         IN       [52709/62022: - 97.09953:32.93497:120]
2028        02/25/11           12:38P     1 8 1 73436690   18173431808                           310410276936201          OUT       [52709 /62022: - 97.09953:32.93497:120]
2029        02/25/11           l2:51P     18048732541      18173436690                           310410276936201           IN       [52709 /62022 : -97.09953:32.93497:120]
2030        02/25/11           l2:51P     18048732541      18173436690                           310410276936201           IN       [52709 / 62022:-97.09953:32.93497:120]
2031        02/25/11           12:53P     1 8173431808     1 8 173436690                         310410276936201           IN       [52709/6 2028:-97.09953:32.93497:120]
2032        02/25/11           12 :55P    18173436690      1 8048732541    •..............       3 1 0410 276936201       OUT       [5 2709 / 62028:-97.09953:32.93497 : 120]
2033        02/25/11           12:56P     18173436690      18173431808                           310410276936201          OUT       [ 52709 /2 4338: - 97.09953:32.93497:]
2034        02/25/11           12: 57P    1817 3436690     18173431808                           310410276936201          OUT       [527 09/62028: -97 .09953:32.93497 : 120]
2035        02/25/11           Ol:09P     18173431808      18173436690                           310410276936201           IN       [52709 / 62028:-97.09953:32.93497:120]
2036        02/25/11           Ol:lOP     18173436690      18173431808     •..............       310410276936201          OUT       [52709/6 2028:-97.09953: 32.93 497:120]
2037        02/25/11           02:19P     1000000000       1 8173436690    •..............       310410276936201           IN       [ 5 2 709/62028 : - 97 . 09953:32.93497 :1 20 ]
2038        02/25/11           02:19P     1100             18173436690     ...............       310410276936201        IN VMN      [52 709/62028:-97.09953:32.93497:120]
2039        02/25/11           02:19P     0100             18173436690     ••.....•••.•...       3104 1 0276936201      IN VMP      [52709/6 2028: -9 7 . 09953:32.93497:120]
2040        02/25/ 11          02: 27P    181734 31808     18173436690                           310410276936201           IN       [52709/6 2022:-97.09953:32.93497:120]
2041        02/25/11           02 :31P    16824726873      1817 3436690                          310410276936201           IN       [52709/62028:-97 . 09953:32.93497:120]
2042        02/25/11           02:51P     18173436 690     181734 31808                          310410276936201          OUT       [52709/ 62028:-97.09953:32.93497: 1 20]
2043        02/25/11           02:51P     18173436690      16824726873                           310410276936201          OUT       [52709 / 62028:-97.09953:32.93497:120 ]
2044        02/25/11           02:53P     18173431808      18173436690     •..............       310410276936201           IN       [52709/24332:-97.09953:32.93497:128 ]
2045        02/25/11           02:53P     16824726873      18173436690                           310410276936201           IN       [5 2 709/24332:-97.099 53:32.93497:128 ]
2046        02/25/11           02:56 P    181734 36690     16824726873                           310410276936201          OUT       [5 2709 / 24332: - 97.09953:32.93497:128]
2047        02/25/11           02:56P     16824726873      18173436690                           310410276936201           IN       [52709 / 24332:-97.09953:32.93497:128]
2048        02/25/11           03:45P     18173436690      16824726873                           310410276936201          OUT       [52 709/23562:-97 . 09917:32 . 95581:128 ]
2049        02/25/11           04:10P     16824726873      1 8173436690                          310410276936201           IN       [52903 /6 0083 : -97 .09742:32. 89986 : 240]
2050        02/25/11           06:23P     1 8173436690     16824726873     •........•..•.•       310410276936201          OUT       [52707 / 40 6 49:-97.16078:32.85086:248 ]
2051        02/25/11           06:23P     1 8173436690     18173431808                           310410276936201          OUT       [52707 / 40649:-97.16078:32 . 85086:248]



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                                  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 92 of 99 PageID 3813
976503
08/17/2011
SCAMP
                                                               MOBILITY USAGE
                                                            (with cell location )                                                                                            t? at&t
Run Date:              08/ 17 /2011
Run Time:              00:36:15
 SMS Usago Por:        (817)343-6690
 Account Number:       318912244
Item         Conn.               Conn.        Originating      Terminating          IMBI                  IMSI            Description   Cell Location
              Date                Time          Number            Number
2052       02/25 /11           06:28P      18173431808      1817343 6690     •••••• ••••• •• ••   3 10 410276936 2 01          IN       [52707/23533:-97. 1 6078:32.85086 : 248]
2053       02/25/11            07:13P      18179074504      1 8173436690     •••••••••••••••      31 0410276936201             IN       [52707/40649:-97. 1 60 78:32 . 85086:248]
2054       02/25/11            07:16P      1 8173436690     1 8179074504     •••••••••••••••      310410276936201             OUT       [52707/40649: - 97.16078 : 32.85086:248]
2055       02/25/11            07:19P      18173436690      18179074504      •••••••••••••••      310410276936201             OUT       [52707/40649: - 97.16078:32.85086:248]
2056       02/25/11            07:31P      18173436690      16824726873      •••••••••••••••      310410276936201             OUT       [52707/40649: - 97.16078:32.85086:248]
2057       02/25/11            08:34P      18173436690      1 6824726873     •••••••••••••••      310410276936201             OUT       [52707/40649: - 97.16078 : 32.85086:248]
2058       02/2 5 /11          09 : 43P    18173431808      18173436690      •••••••••••••••      310410276936201              IN       [52707/ 14743: - 97.13406:32.83747:248]
2059       02/25/11            09:48P      18173436690      16824726873      •••••••••••••••      310410276936201             OUT       [52707 /42 183:-97.13406:32.83747:248]
2060       02/25/11            09:48P      18173436690      18179074504      •••••••••••••••      310410276936201             OUT       [ 52707/42183: - 97.13406:32.83747:248]
2061       02/2 5 /11          09:50P      18173436690      18179882986      •••••••••••••••      3104102769362 01            OUT       [52707/42189: -97.13406:32 .83747 :248]
2062       02/2 5 /11          09:51P      18179074504      18173436690      •••••••••••••••      3 1 04 1 0276936201          IN       [52707/42 189:-97 .13406: 32.83747:248]
2063       02/25/11            09:51P      18173436690      180 48 732541    •••••••••••••••      310410276936201             OUT       [5 2707 /42189 :- 97 . 134 0 6:32.83747:248]
2064       02/2 5 /11          09 : 58P    1817343 6690     18179074504      •••• •• •••••••••    310410276936201             OUT       [52707/42 189:-97 . 13406:32.83747:248)
2065       02/25/11            1 0:19P     18048732541      1817343 66 90    •••• ••• ••••••••    310410276936201              IN       [52707 / 14743:-97.13406:32.83747:248]
2066       02/25/11            10:20P      1817343 6690     18048732541      •••••••••••••••      310410276936201             OUT       [ 52707/14743: - 97.13406:32.83747:248]
2067       02/25/11            10 :2 7P    1 8048732541     1 8173436690     •••••••••••••••      3 1 04 1 0276936201          IN       [ 5270 7 / 14743:-97.13406:32.83747:248]
2068       02/2 5 /11           11: OOP    18179469251      18173436690      •••••••••••••••      3104102769362 0 1            IN       [52707/42183:-97.13406:32.83747:248]
2069       02/25/11             11: 09P    18173436690      18179469251      •• •••••••••••••     310410276936201             OUT       [527 07/42189: -9 7.13406:32.83747:248]
2070       02/25/11             11: 12P    181794692 5 1    18173436690      • •••••• ••••••••    310410276936201              IN       [52707/42189:-97.13406:32.83747:248]
2071       02/2 5 / 11          11: 14P    18179469251      18173436690      •••••••••••••••      31 04 1 02769 362 0 1        IN       [527 07/42183: -9 7.13406:32.83747:248 ]
2072       02/25/11             11: 28P    18173436690      18179469251      •••••••••••••••      310410276936201             OUT       [52707/42188 :- 97.13406:32.83747:128]
2073       02 / 25/11           11: 30P    18179469251      18173436690      ********* ** ****    310410276936201              IN       [52903 / 40289: - 97.10911 : 32.842:240]
2074       02/25/11             11:34P     18179469251      18173436690      000000000000000      310410276936201           IN MMS      []
2075       02/25/11             11 :34P    1111301000       18173436690      *********** ****     3104 1 027693620 1           IN       [52903/00557 :- 97.074 19: 32.83989:60]
2076       02/25/11             1 1 :34P   1111301000       18173436690      •••••••••••• •• •    3104 10276936201             IN       [52903/00557: - 97.07419:32.83989:60]
2077       02/25/11             11:35P     18173436690      18179 074504     ***************      310410276936201             OUT       [52903/24871:-97.07 4 19:32.83989 :60]
2078       02/25/11             1 1 :38P   181 79 074504    18173436690      ***************      310410276936201              IN       [52 903 /24792:-97.08228:32.87758 :180]
2079       02/25/11             11:39P     18173436690      1817907 4504     •••••••••••••• •     310410276936201             OUT       [5290 3 / 23889: - 97.01992:32.85647:]
2080       02/26/11             03: 1 4A   18173436690      16824726873      •••••••••••••••      310410276936201             OUT       [52709/60313:-97.07914:32.93881:240]
2081       02/26/11             03:18A     18179469251      18173436690      ***************      310410276936201              IN       [52709 / 60422: - 97.09917:32.95581: 128]
2082       02/ 26 /11           09:31A     18179469251      18173436690      ***************      310410276936 20 1            IN       [52709/60428: -97.09917:32.95581:128]
2083       02/26/11             10:26A     16824726873      1817 3436690     ***************      310410276936201              IN       [527 09/60428: - 97.09917:32.95581:128]
2084       02/26/11             11: 1 4A   181734 36690     16824726873      •••••••••••••••      310410276936201             OUT       [ 52709/60422: - 97.09917 : 32 . 9558 1 :128)
2085       02/26/11             11:15A     18173436690      180487325 4 1    •••••••••••••••      310410276936201             OUT       [52709 /6042 2:-97.09917:32.95581:128)
2086       02/26/11             11:25A     16824726873      1817 3436690     *** * ***********    310410276936201              IN       [ 52709/23568:-97.09917:32.95581:]
2087       02/26/11             11:25A     16824726873      18173436690      •••••••••••••••      310410276936201              IN       [52709/23568:-97.09917:32.955 81 :]
2088       02/26/11             11: 28A    18048732541      18 17 3436690    •••••••••••••••      310410276936201              IN       [52709/60422 :- 97.09917:32.95581:128]
2089       02/26/11             11:42A     18048732541      18173436690      •••••••••••••••      310410276936201              IN       [52 709/60428 :- 97 . 09917:32.9558 1 : 1 28]



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                                    Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 93 of 99 PageID 3814
976503                                                           MOBILITY USAGE
08 / 17 / 2011
SCAMP                                                         (with cell location}


 Run Dato:                  08/17/2011
Run Timo:                   00:36:15
SMS Usago For:              (817)343-6690
Account Number:             318912244
Item           Conn.               Conn.        Originating      Terminating          IMEI                 IMSI           Description   Cell Location
                 Date              Time           Number           Number
2090         0 2 / 26 /11         02:59P     18173436690      18048732541      000000000000000                             OUT_ MMS     [)
2091         02/26/11             03:18P     18048732541      18173436690      •••••• • ••••••••    310410276936201           IN        [52903 /40288: - 97.1091 1 :32.842:120)
2092         02/26/11             03:20P     18173436690      18048732541      •••••••••••••••      310410276936201          OUT        [52903 /4028 8:-97.10911:32.842:120)
2093         02/26/11             03:20P     18048732541      1817 3436690     •••••••••••••••      310410276936201           IN        [52903 /402 88:-97 . 10911:32.842:120)
2094         02/26/11             03:21P     1 8173436690     18048732541      •••••••••••••••      3 1 041027693 62 01      OUT        [5290 3 / 40288:-97.10911:32.842: 120)
2095         02/26/11             03 :2 4P   18048732541      18173436690      •••••••••••••••      3 1 04 1 0276936201       IN        [52903/23663:-97.07386:32.81631:258)
2096         02/26/11             04 : 38P   18173431808      1 8173436690     •••••••••••••••      3104 1 0276936201         IN        [52707/40643:-97.16078:32.85086:248)
2097         02/26/11             06 : 13P   18173431808      18173436690      •••••••••••••••      310410276936201           IN        [52707/23533:-97. 16078:32 .85086: 24 8)
2098         02/26/11             06:20P     18173436690      18173431808      ••••••• •• •••• ••   310410276936201          OUT        [ 52707 /23533: -97.16078:32.8 5086 :248)
2099         02/26/11             06:20P     18173436690      18048732541      • • •••••••••••••    310410276936201          OUT        [52707/23533:-97.16078:32.85086:248)
2100         02/26/11             06:27P     1 8177845975     1 8173436690     •••••••••••••• •     3104 102769 3 6201        IN        [52707 / 23 533:-97 . 16078:32.85086 : 248)
2101         02/26/11             07:11P     18173431808      18173436690      •••••••••••••• •     310410276936201           IN        [52707/40649 :- 97 . 16078:32.8 5 086: 248 )
2102         02/26/11             09 : 24P   18048732541      18173436690      •••••••••••••••      310410276936201           IN        [52709 / 23562:-97. 09917:32.95581: 128)
2103         02/27/11             07:32A     18048732541      18173436690      •••••••••••••••      3104102769 3 6201         IN        [ 52709/60422:-97.09917:32 . 95581: 1 28)
2104         02 / 27 / 11         10:55A     18173436690      18179485827      •••••••••••••••      310410276936201          OUT        [52709/60 422:-97.09917:32.95581:128)
2105         02/27/11             11:38A     18179485827      1 8173436690     •••••••••••••••      3104102769 3 620 1        IN        [52709/60428: - 97.09917:32.95581:12 8)
2106         02/27/11             02:16 P    18174548309      18173436690      •••••••••••••••      310410276936201           IN        [52709/27173 :-97 . 03797:32.97467:300)
2107         02/2 7 / 11          02:48P     1000000000       18173436690                           310410276936201           IN        [52709/ 1 9547:-97.04647 : 32 . 96119:8)
2108         02/27/11             02:49P     1100             18173436690                           310410276936201        IN_ VMN      [52709/19547: - 97.04647:32.96119:8)
2109         02/27 /11            02:49P     0100             18173436690                           3104102 7693 6201      IN_VMP       [52709/19547 :- 97.04647:32.96119: 8 )
2110         02 / 27 / 11         02:53P     121469 40034     18173436690      ....•..•...•.••      310410276936201           IN        [52709/23891:-97.04647:32.96119:8)
2111         02/27/11             04 : 03P   18173436690      18174548309                           310410276936201          OUT        [52903/60083:-97.09742:32.89986:240)
2112         02/27/11             06 :1 5P   18179469251      1817343 6690     000000000000000      3104102769 3 6201      IN_ MMS      [)
2113         02/27/11             06:16P     1214 6940034     18 173436690     ..........•....      310410276936201           IN        [52707/40649:-97.16078 : 3 2 .85086:24 8 )
2114         02/27/11             06:31P     1 8173431808     1 8173436690     ........•......      310410276936201           IN        [52707/40649:-97.16078:32.85086 :24 8)
2115         02/27/11             06:32P     18173431808      18173436690                           310410276936201           IN        [52707/40649: -97.16 078:32.85086 :248)
2116         02/27/11             06 : 39P   18173436690      18173431808                           310410276936201          OUT        [527 07 /406 43:-97.16 078 :32.85 086:248)
2117         0 2 /27/11           07 : 01P   18173431808      1 8173436690                          31 0410276936201          IN        [ 52707/23533:-97.16078:32 . 85086:248)
2118         02/2 7 /11           07 : 28P   1817 3431808     18 1734 36690    ......•........      310410276936201           IN        [ 52707/40649:-97.16078:32.85086:248 )
2119         02/27/11             08 : 15P   1111301000       1817343 6690                          31 04 1 0276936201        IN        [52 709/23562:-97.0 9 9 17 : 32.95581:128)
2120         02/2 7 /11           08 :15P    1111 301000      18173436690                           310410276936201           IN        [52709 /2 3562:-97.09917:32.95581:128)
2121         02/27/11             09:59P     18048732541      1817343 6690                          310410276936201           IN        [52709/60428:-97.09917 : 32 . 95581: 128 )
2122         02/27/11             11: 56P    18179469251      1 8173436690     ..••....•......      310410276936201           IN        [52709 /60 422:-97.09917:32.95581:128)
2123         02/27/11             11 : 56P   18179469251      18173436690      • ••••• ••• ••••••   310410276936201           IN        [52709/60422:-97.09917:32.95581:128)
2124         02/27/11             11:56P     18179469251      18173436690      •••••••••••••••      310410276936201           IN        [52709/60422:-97.09917:32.95581:128)
2125         02/2 7 /11           11 : 56P   18179469251      18173436690      •••• ••••• •••• ••   310410276936201          IN         [5270 9 /60422:-97.09917:32.95581:128)
21 26        02/28/11             06 : 50A   18177 845975     181734 36690     •••••••••••••••      310410276936201          IN         [52709/23562:-97.09917:32.95581:128)
2127         02/28/11             10:44A     18173431808      18173436690      •••••••••••••••      31041027693620 1         IN         [ 52709 / 62 028: - 97.09953:32.93497 :120)



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976503
08/17/2011
SCAMP
                                                              MOBILITY USAGE
                                                           (with cell location}                                                                                          €? at&t
 Run Date:              08/17/2011
 Run Time:              00:36:15
 SMS Uaago For:         (817)343-6690
 Account Numbor:        318912244
Ite.m        Conn.              Conn.        Originating      Terminating          IMBI                  IMSI           Description   Cell Location
              Date              Time           Number            Number
2128       02/28/11           10:51A      18179882986      1 8173436690     •••••••••••••••       310410276936201            IN       [52709/62028: -97 . 09953 :32.93497 :12 0]
2129       02/28/11           11:28A      1817343 1 808    1817343 6690     •••••••••••••••       310410276936201            IN       [52709 / 62028:-97.09953:32.93497 :1 20]
2130       02/28/11           11:35A      18173431808      18173436690      •••••••••••••••       310410276936201            IN       [52709/62028:-97 .09953:32 .93497: 12 0]
2131       02/28/11           11:50A      1817343669 0     18179882986      •••••••••••••••       310410276936201           OUT       [52709 /62028:-97.09953:32.93497:120]
2132       02/28/11           11:55A      18179882986      18173436690      ••••••• •••••• ••     310410276936201            IN       [52709 / 62028:-97.09953:32 . 93497:120 ]
2133       02/28/11           11:58A      18173436690      1 8179882986     ******** *******      310410276936201           OUT       [52709 / 60313:-97.07914:32.93881:240]
2134       02 /28/ 11         11:58A      18173436690      1 8 173431808    •••••••••••••••       3104102769 3 6201         OUT       [52709/60313:-97.07914:32 . 93881:240]
2135       02 /28/ 11         12:10P      18173436690      18048732 541     ••••••••••• ••• •     310410276936201           OUT       [52709 /6 2028:-97.09953:32.93497: 1 20]
2136       02/28/11           01:10P      1 8173431808     18173436690      •••••••••••••••       310410276936201            IN       [52709 / 62028: - 97 . 09953:32.93497:120]
2137       02/28/11           01: 45P     18048732541      18173436690      •••••••••••••••       310410276936201            IN       [52709/62028: - 97.09953:32.93497:120]
2138       02/28/11            01:45P     18048732541      18173436690      •••••••••••••••       310410276936201            IN       [52709/62028 :- 97 .09953:32. 93497 :120]
2139       02/ 28/11           03:38P     1000000000       1 8173436690     ••• •• ••••••••••     310410276936201            IN       [5 27 09/ 24338:-97.0 9953:32.93497 :]
2140       02/28/1 1           03:38P     1100             18173436690      ...............       310410276936201         IN_VMN      [52709/2 4338: -97.09953:32.93497:]
2141       02/28/11            03:38P     0100             18173436690                            310410276936201         IN VMP      [52709 / 24338:-97.09953:32.93497:]
2142       02/28/11            06:06P     18179469251      18173436690      000000000000000       310410276936201         IN_ MMS     []
2143       02/28/11            06:07P     11113010 00      18173436690                            310410276936201            IN       [52 7 09/2356 3:- 97 . 09917:32.95581:248]
2144       02/28/11            06:07P     1111301000       18173436690      .....•.........       310410276936201            IN       (52709 / 23563:-97.09917:32.95581:248]
2145       02/28/11            06:09 P    18173431808      18173436 690     .............•.       310410276936201            IN       [52709/20231:-97. 126 08 :3 2.93822 :8]
2146       02/28/11            06:12P     18173436690      181734 31808                           310410276936201           OUT       [52709 /2 4311:-97.12608:32.93822:8]
2147       02/28/11            06:12P     18173431808      18173436690                            310410276936201            IN       [52709/24311: - 97.12608:32.93822:8]
2148       02/28/11            07:06P     1817946 9251     18173436690      000000000000000       310410276936201         IN MMS      []
2149       02/28/11            07:06P     1111301000       18173436690      ........•......       310410276936201            IN       [52709 / 20237:-97.12608:32.93822:8]
2150       02/28/11            07:06P     1111301000       18173436690      ..............•       3 1 0410276936201          IN       [52709 / 20237:-97.12608:32.93822:8]
2151       02/28/11            07:17P     18173431808      181734 36690     •.•.•.•........       310410276936201            IN       [52709/202 37:-97.12608:32.93822 : 8]
2152       02/28/11            09:08P     18177845975      18173436690                            310 410276936201           IN       [52709/ 23563 : -97.09917 : 32.95581 : 248]
2153       03/01/11            01:43A     18177845975      18173436690      •••••••••••••••       310410276936201            IN       [52706/42143:-97 . 29017:32.87097 :2 48]
2154       03/01/11            01:53A     18177845975      18173436690      • • ••• •• ••••••••   3104 1027 6936201          IN       [52709/35303 : -97 .26156:32.92961 : 300]
2155       03/01/11            08:22A     14693584679      18173436690      •••••••••••••••       310410276936201            IN       [52709/60428:-97.09917:32.95581:128]
2156       03/01/11            08:46A     18173436 690     14693 584679     •••••• ••••••• ••     310410276936201           OUT       [52709 / 62028:-97.09953:32.93497:120]
2157       03/01/11            08:47A     14693584679      18173436690      •••••••••••••• •      310410276936201            IN       [52709/62028:-97.09953:32.93497:120]
2158       03/01/11            08:52A     18179469251      1 8173436690     0000000000000 0 0     310410276936201         IN MMS      []
2159       03/01/11            08:52A     1111301000       18173436690      •••••••••••••••       310410276936201            IN       [52709 / 62022:-97.09953:32.93497:120]
2160       03/01/11            08 :52A    1111301000       18173436690      ••••••••• ••••••      310410276936201            IN       [52 70 9 /62022:-97.09953:32.93497:120]
2161       03/01/11            09 :06A    18173436690      14693584679      ••••••••••••• ••      310410276936201           OUT       [52709 / 60313 : -97.07914:32.93881 : 240]
2162       03/01/11            09:07A     14693584679      181734 36690     ••••••••• •••• ••     310410276936201            IN       [52709 /6 2028:-97.09953:32.93497:120]
2163       03/01/11            09:15A     18173436690      14693584679      •••••••••••••••       310410276936201           OUT       [52709 / 62022:-97 . 099 53 :32.93497 :120]
2164       03/01/11            09:16A     14693584679      18173436690      • • •• •••••••••••    3104 1 02 7 6936201        IN       [52709 / 60313:-97.07914:32.93881:240 ]
2165       03/01/11            09 : 17A   18173436690      14693584679      •••••••••••••••       310410276936201           OUT       [52709/60313:-97.07914:32.9388 1 :240]



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                                     Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 95 of 99 PageID 3816
976503
08/17/2011
SCAMP
                                                                   MOBILITY USAGE
                                                               (with cell location)                                                                                                    {? at&t
 Run Date:                  08/17/ 2011
 Run Time:                  00:36:15
 SMS Uaago Por :            (817 ) 34 3-6690
 Account Number:            318912244
Item         Conn.                   Conn.        Or i g i n ating      Terminating         IMBI                  IMSI           Deacription   Cell Location
                Date                  Time            Number              Number
2166         03/01/11               09:18A     14693584679           181734 36690     • ••••••••••••••    3 10410276936 201           IN        [ 52709/62028 :-97 . 09953:32.93497:120]
2167         03/0 1 / 11            09:26A     18173436690           14693584679      •••••••• •••••••    310 4102769 36 2 01        OUT        [52709 /2 4338:-97 . 09953:32 . 93497 : ]
2 1 68       03 /0 1 / 11           09:26A     14693584679           1817343669 0     •••••••••••••••     310 41027 69362 01          IN        [52709 / 24338: - 97.09953:32.93497:]
2169         03/01/11               10 :40A    1000 00 000 0         18173436690      •••••••••••••••     310410276936201             IN        [527 09/24338 : - 97.09953:32 .9349 7 :]
2170         03/01/11               10:40A     1100                  18173 4366 90    •• •• •••••••••••   310410276936201          IN_ VMN      [52709/ 24338:-97.09953 : 32.93497:]
2 171        03/01/11               10 :40A    010 0                 18173436690      •••••••••••••••     310410276936201          IN_ VMP      [5 27 09/24338: - 97.09953:32.93497:]
2172         03/01/11               12:25P     18173436690           18048732541      •••••••••••••••     310410276936201            OUT        [52709/62028:-97.09953:32.93497:120]
2173         03/01/11               12 : 29P   18173431808           18173436690      •••••••• •••• •••   310410276936201             IN        [5 2 709/60313: - 97.079 1 4: 3 2 .9388 1:24 0 ]
2174         03/0 1 /11             12:29P     18173431808           18173436 6 90    •••••••••••••••     31 04 1 0276936201          IN        [52709 /6 2028 :- 97 . 09953:32.93497: 1 20]
2175         03/0 1 / 11            12:30P     181 73436690          1 8173431808     •••••••••••••••     310410276936201            OUT       [52709/62028 :-9 7 .09953:32.93497:120]
2176         03/01/ 11              12:31P     18173436690           121422309 47     •••••••••• ••• ••   310410276936201            OUT       [52709/62028 :- 97 . 09953:32.93497:120 ]
2177         03/0 1 / 11            12:31P     181734 3 1808         18173436690      ..•......••..••     3 1 04 1 02769 36201        IN       [52709/62028:-97.09953:32 . 93497: 1 20 ]
2178         03 /0 1/ 11            12:31P     18048732541           18173436690      ***** **** ******   310410276936201             IN       [ 52709/6 2 0 28: -97.099 5 3:32.93497: 1 20 ]
2179         03/0 1/ 11             12:32P     12142230947           18173436690                          310410276936201             IN       [ 52709/6 2 028:-97.09953:32.93497:120]
2180         03/01/11               1 2:38P    18173436690           18048732541      •..•.••...•....     31041 027693620 1          OUT       [52709/62028:-97.09953:32.93497:120]
2181         03/0 1 / 11            12:39P     18173436690           121422 309 47                        310410276936201            OUT       [52709/62028:-97.09953:32.9 34 97:120]
2182         03 /0 1/11             12:40P     12142230947           18173436690      .••.•.•..•.....     3 104102 76 9362 0 1        IN       [52709/62028: - 97.09953:32 . 93497:120]
2183         03 /0 1 /11            12: 57P    18173436690           1214 223094 7                        310410276936201            OUT       [52709/ 62028: - 97.0 9 953:32.93 4 97 : 120]
2184         03 /0 1 /11            03:00 P    18173436690           18048732541      .......•.......     3104102769 36 201          OUT       [52709/62028 :- 97.099 53:3 2 . 93497:120]
2185         03/01/11               03:09 P    18048732541           18173 436690                         310 41027693620 1           IN       [52709/62 028 : - 97.09953:32.93497:120 )
2 1 86       03 /0 1 /11            03:12P     18177845975           18173436690                          310410276936201            IN        [5 2 709/62028: -9 7.09953:32.93 497:1 20]
2187         0 3/01/ 1 1            03:43 P    18048732541           18173436690                          310410276936201            IN        [52709/60313:-97.079 14 : 3 2.93881:240]
2188         03/0 1 / 11            03: 44P    18173436690           18 04873254 1                        310410276936201            OUT       [ 52709 /24 338:-97.09953:32.93497 : ]
2 1 89       03/0 1 / 11            03:45P     18048732541           18173436690      ...............     310410276936201            IN        [52709/2 43 38 : -97.09953:32.93497 :]
2190         0 3/01/11              10:31P     181734 36690          18 04873254 1    ...............     310410276936201           OUT        [52707 / 40649:-97.16078:32.85086:248]
2191         03/01/11               10:33P     18048732541           18173436690      ......••.......     310410276936201            IN        [ 52707/40649:-97 . 16078:32.85086:248]
2192         03/0 1 /11             10:35P     1817 3436690          1804873254 1     ...............     310410276936201           OUT        [ 52707/ 4 0649 :- 97.16078:32.85086:248 ]
219 3        03/01/11               10:37P     18048732541           1817 343669 0                        310410276936201            IN        [ 52707/ 4 0649: - 97.16078:32.85086:248]
2194         03/01/11               10:38P     1 8173436690          18048732541                          310410276936201           OUT        [52 7 07/40649: - 97.16078:32.85086:248]
2195         03/01/11               10:39P     1 8 048732541         18173436690                          310410276936201            IN        [52707/40649: - 97.16078:32.85086:248)
2196         03/01/11               10:40P     18173436690           180487 32541     ...........•..•     3 104 1027 6936201        OUT        [52707 / 40649:-97.16078:32.85086:248]
2197         03/ 01/11              10:41P     18048732541           18173436690      .•.•.•.••......     310410276936201            IN        [52707 / 40649: - 97.16078:32 . 85086 :24 8]
2198         03/01/11               11:20P     1817343 6690          18173431808      ...............     310410276936201           OUT        [52707/4 0649: - 97.16078:32.85086:248]
2199         03/0 1 /11             11: 35P    18173436690           14695791622      000000000000000                             OUT_ MMS     []
2200         03/01/11               11: 57P    18173436690           14695791622      ..•............     310410276936201           OUT        [52707/40649 :- 97 . 16078:32 .8508 6 : 248 ]
22 01        03/01/11               11 :58P    1 817343 6690         18179882986      ...............     3 1041027693 62 0 1       OUT        [52707 / 40649:-97 . 16078 :3 2.85086:248]




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  Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22                    Page 96 of 99 PageID 3817
915465.001                                                                                 ~

04/15/2011                                                                               l;~ at&t
                                     SUBSCRIBER INFORMATION

 318912244                                        C/T

                                       Financially Liable Party

  Name:              THOMAS OLIVAS
  Credit Address: 214 BROOKSIDE DR, GRAPEVINE, TX 76051



  Customer Since:    01/ll/2008
  Photo ID Type:                                    Photo ID State:
  Photo ID Number:

  DOB:                                              SSN:

  Contact Name :
  Contact Home Phone: (817) 481-1214                    Contact Work Phone: (817) 912-0500
  Contact Home Email:WWTODOlOl®YAHOO.COM                Contact Work Email:


                                             Billing Party
  Account Number:      318912244
  Name:                THOMAS OLIVAS
  Billing Address:     214 BROOKSIDE DR, GRAPEVINE, TX 76051


  Account Status:      Active                                 Billing Cycle:    21


                                          User Information
  MSISDN:           (817) 343-6690                          IMSI:      310410276936201
  MSISDN Active: 01/11/2008 - Current                       IMEI/ESN:3544550 4 2ll3702 /
  Name :       THOMAS OLIVAS
  User Address:      214 BROOKSIDE DR, GRAPEVINE, TX 76051


  Service Start Date :    Ol/ll/2008     Dealer Info:    TC005 TC005
  Payment Type:          Postpaid
  Contact Name:
  Contact Home Phone:                                   Contact Work Phone:
  Contact Home Email : WWTODOlOl®YAHOO.COM              Contact Work Email:


                                        Status Change History
      Status Change Reason:                                             Status Change Date:




AMO
                                         AT&T PROPRIETARY                                    Page   1

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                                      Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 97 of 99 PageID 3818
9 1 5 4 65. 0 0 1                                                  MOBILITY USAGE
0 4 / 15 /2 011
SCAMP                                                           (with cell location)


    Run Dato:             04/15/2011
    Run Time:             15:28 : 48
    Voice Uoage For:      (817)343-6690
    Account Number:       318912244
Item       Conn.       Conn.     Seizure      Originating      Terminating   Elapsed        Number              IMEI               IMSI          Description   Cell Location
           Date        Timo       Time            Number         Numb or      Time          Dialed
1        03/01/11     12: 18A     0:16     1 8 1 73436690    18177845975        1:0 4    1 81778 4 5975 01 1 935005960741   31041 0276936201      M2m_ DI R    [52707/23533: - 97.16078:32.85086 : 248,
                                                                                                                 5                                             52707 / 14713:·97.15889:32 . 83583:248)
2        03/01/11     08: 06A     0:07     18173436690       18889130900        0:47     1 8889130900 011935005960741       310410276936201       M20 DIR      [52709/23562:-97.099 17:32.95581:128 )
                                                                                                                 5
3        03/01/1 1    08 : 07A    0:03     18173 436690      1800432 1 000      0: 4 3   1800432 1 000 01193500596074 1     3104102 76936201      M20 DI R     [52709/23562:-97.09917:32.95581:128 )
                                                                                                                 5
4        03/0 1 / 11 10: 33A      0:00     1 8 17343669 0    18172962476        0:00     18172962 4 76 011935005960741      310410276936201       M2M_ DIR     [52709 / 62028:-97.09953:32.93497: 1 20)
                                                                                                                 5
5        03/01/11 10: 33A         0:08     181 73 4 36690    18179120500        1:39     18179120500 011935005960741        31041027693620 1      M20 DI R     [52709 / 62028: - 97.09953:3 2. 93497:12 0)
                                                                                                               5
6        03/01/11     10:35A      0:00     1 8172962476      18173436690        0:00     18173436690                        3 1 0410276936201       M2M        [)
7        03/01/11     10:35A      0 : 01   18173436690       13173419000        0:03     1317341 9000                       310410276936201         M2m        [)
8        03/01/11     10:35A      0:0 1    1 8172962476      18173436690        0:03     18173436690                        310410276936201         m2M        [)
9        03/01/11     10: 39A     0:21     18172962476       18173436690        0:00     18173436690 0 1 1935005960741      310410276936201       M2M_ VMC     [52709 /62028:-97.09953:32.93497:120 )
                                                                                                               5
10       03/01/11 10: 39A         0:01     18173436690       13173419000        0:31     13173419000                        310410276936201         M2m        [)
11       03 /0 1/11 10: 39A       0:01     1 8 172962476     18173436690        0:31     18173436690                        310410276936201         m2M        (]
12       03/01/11 10: 50A         0:2 1    1 8172962476      18173436690        0:00     18173436690 011935005960741        310410276936201       M2M VMC      [52709 / 60313:-97.07914:32.93881 : 240)
                                                                                                                 5
13       03/01 / 11 10:50A        0:01     18173436690       13173419000        0:03     13173419000                        310410276936201         M2m        [)
14       03/01/11 10: 50A         0:02     181 72962476      18173436690        0:03     18173436690                        310410276936201         m2M        [)
15       03/01/11 11: 09A         0:07     181 73436690      18172962476        0:14     181 7296 2 476 01 1 935005960741   310410276936201       M2M DIR      [52709/24338: - 97.09953:32.93497:)
                                                                                                                 5
16       03/01/11     12: 36P     0:11     18173436690       18173431808        l : 36   18173431808 011935005960741        3 1 041027693620 1    M2M_ DIR     [52709 / 62028: - 97.09953:32.93497:120)
                                                                                                                 5
17       03/01/11 03: 57P         0:1 4    1 361 774156 1    18173436690        0:53     18173436690 011935005960741        310410276936201       M2M DI R     [ 52709 / 24338: - 97.09953 : 32.93497:)
                                                                                                               5
18       03/01/11     08: 1 5P    0:17     181 73 4 3669 0   180487325 41       1:55     1 80 4 8732541 0119350 05960741 310410276936201          M2M_ DIR     [52709/20237:-97. 12608 : 32.93822:8 )
                                                                                                                5
19       03/01/11     08: 21P     1 : 06   18173436690       18889130900        0:00     18889130900 011935005960741 310410276936201              M20_ DIR     [52709/62028:-97.09953:32.93497:120,
                                                                                                                5                                              52903/03679:-97.08444:32.92639:300)
20       03/01/11     08:23P      0:07     1 8 1 73436690    18889130900        0:46     18889130900 011935005960741 31041027693620 1             M20_ DIR     [52903/60087 : -97.09742:32.89986:0)
                                                                                                               5
21       03 /02/11 01 : 10A       0:32     18173436690       14695791622        0:06     14695791622 01193500596 07 41 310410276936201           M2m DIR       [52707/40649:-97.16078 : 32.85086:248)
                                                                                                            5
22       03/02/11     Ol:lOA      0:27     1 8 1 73436690    14695791622        0:00     14695791622 011935005960741 310410276936201             M2m_ DIR      [ 52707/40649:-97.16078:32.85086 : 248 ,
                                                                                                               5                                               52707/40647:-97.16078:32.85086:8)
23       03/02/11     01: 12A     0:32     18173436690       14695791622        0:05     14695791622 011935005960741 310410276936201             M2m_ DIR      [52707 /40647: -97.16078:32.85086:8,
                                                                                                               5                                               52707/60248:-97.13797:32.90131:120)
24       03/02/11 01 : 30A        0:10     1 8 1 73436690    18173431808        1:46     18173431808 011935005960741 310410276936201             M2M DIR       [52903 / 0367 7:- 97.08444: 32 . 92639:60)
                                                                                                               5




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            AMO
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                                   Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 98 of 99 PageID 3819
915465.00 1                                                     MOBILITY USAGE
04 /15/20 11
SCAMP                                                        (with cell location )


Run Date:               04/15/2011
Run Time:               15:28:48
Voice Usage For:        (817)343-6690
Account Number:         318912244
Item     Conn.      Conn.      Seizure     Originating      Terminating   Elapsed       Number            IMEI              IMSI         Description   Cell Location
         Date       Time        Time         Number           Number       Time         Dialed
25     03/02/ ll    09: l4A     0:07     1 8172296524     18173436690        3 : 21   18173436690 011 93500596074 1 310410276936201       M2M_ DIR      [52709/23562:-97 . 09917:32.95581:128)
                                                                                                           5
26     03/02/ll ll: OOA         0:20     19729356690      18173436690        0 : 00   18173436690 011935005960741 310410276936201         M2M_ VMC      [52709/60 422:-97.09917 : 32.95581:12 8 )
                                                                                                           5
27     03/02/ll ll: OOA         0:01     18173436690      13173419000        0:04     18173436690                 310410276936201         M2M VMB       [)
28     03/02/ll 1 1: llA        0:03     18173436690      18176569628        0:00     18176569628 011935005960741 31 0410276936201        M20_ DIR      [52709/23562:-97.09917:32.95581:128)
                                                                                                           5
29     03/02/ll 11: l5A         0:13     18173436690      19729356690        0:13     19729356690 01193500596074 1 31 0410276936201       M2M_ DIR     [527 09 /60422:-97.099 17:3 2.95581:128)
                                                                                                         5
30     03/02/ll 11: 29A         0:05     18173431808      18173436690        0:46     18173436690 011935005960741 310410276936201         M2M DIR      [ 52709/23562:-97.09917:32.95581:128,
                                                                                                           5                                           52709/24331:-97.09953:32.93497:8)
31     03/02/ll ll: 41A         0:13     18173436690      18179 12 0500     2:59      18179120500 011 935005960741 31041 02 76936201      M20_ DIR     [5 2709/2433 1:- 97.09953:32.93497:8,
                                                                                                           5                                           52709/23562:-97.09917:32 . 95581:128 )
32     03/02/ll 11:47A          0:21     18173436690      18173431808       1:01      18173431808 01193500596074 1 31 0410276936201       M2M DIR      [52709/24331: - 97.09953:32.93497:8,
                                                                                                           5                                           52709/23562: - 97.09917:32.95581:128)
33     03/02/11     Ol:49P      0:08     18173431808      18173436690       0 : 07    18173436690 011935005960741 310410276936201         M2M_ DIR     [52709/60422:-97.09917:32.95581:128)
                                                                                                           5
34     03/02/11     01: 50P     0:09     181734 31808     18173436690       0: 07     1 81734 36690 0119 3500596 074 1 310410276936201    M2M_ DIR     [ 52709/60422:-97 . 099 17 :32.9558 1:12 8 )
                                                                                                           5
35     03/02/11     08:06P      0:07     18173436690      18889130900       0:41      18889130900 011935005960741 3104 1 0276936201       M20 DIR      [52709/62028:-97 . 09953:32.93497:120)
                                                                                                           5
36     03/02/ll 08:29P          0:10     1 6823654999     18173436690       1:14      18173436690 011935 0 05960741 310410276936201       M2M_ DIR     [52709/24332:-97.09953:32.93497:128,
                                                                                                           5                                           52709/27231 :- 97.11489:32.91886:8)
37     03/03/ll 09:12A          0:11     1 81734 36690    18173431808       1:05      18173431808 01193500 596074 1 310410276936201       M2M_ DIR     [52709/60313:-97.07914:32.93881:240,
                                                                                                           5                                           52709/62 022 :-97.09953:32.93497:120)
38     03/03/ll l0:17A          0:09     1 8173436690     18173431808       0:32      18173431808 011935005960741 310410276936201         M2M_ DIR     [52709/62 02 8:-97.09953:32.93497:120)
                                                                                                           5
39     03/03/ll 11:43A          0:21     18173436690      18173431808       0 : 11    18173431808 011935005960741 310410276936201         M2M_ DIR     [ 52709/62028 : -97.09953:32.93497: 1 20)
                                                                                                           5
40     03/03/11     l2:12P      0:12     1 8 1 73436690   18173431808       1 : 57    18173431808 011935005960741 310410276936201         M2M_ DIR     [52709/62022:-97.09953:32 . 93497:120 )
                                                                                                         5
4l     0 3 /03/ll   07: 0 7P    0:22     18179469251      18173436690       0:09      18173436690 011935005960741 310410276936201         m2M_ VMC     [52709/20237:-97.12608 : 32.93822:8)
                                                                                                           5
42     03/03/11     09 : 31P    0:27     1 8 173436690    18048732541       0:08      18048732541 011935005960741 310410276936201         M2M_ DIR     [52709/23563:-97.09917:32.95581:248)
                                                                                                           5
43     03/04/ll l2 :0 9A        0:22     18179469251      18173436690       1:22      18173436690 011935005960741 310410276936201         m2M_ VMC     [52709/02425:-97 . 18342:32.92942:128)
                                                                                                           5
44     03/04/11     l0:04A      0:07     18173436690      18179120500       1:09      18179120500 011935005960741 310410276936201         M20_ DIR     [52709/60313:-97.07914:32.93881:240,
                                                                                                           5                                           52709/62022:-97.09953:32.93497 :12 0)
45     03/04/ll ll : 35A        0:17     1 8 17343669 0   18178218924       0 :47     18178218924 01 1 9350 0 596074 1 310410276936201   M2M_ DIR      [ 52709/60313:-97.079 14 :32.93881 :2 40 ,
                                                                                                           5                                           52709/62022:-97.09953:32.93497 : 120]
46     03/04/11 l2:07P          0:09     18173436690      18173431808       0:42      18173431808 011935005960741 310410276936201        M2M_ DIR      [52709/24 33 8:-97.09953:32 . 93497:)
                                                                                                           5



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                              Case 4:22-cv-00385-O Document 16-23 Filed 08/16/22 Page 99 of 99 PageID 3820
915465.001
04/15/2011
                                                           MOBILITY USAGE
                                                        (with cell location)
                                                                                                                                                              A,.~
                                                                                                                                                             ~ a&
                                                                                                                                                                           t t
SCAMP



 Run Date:           04 / 15/2011
 Run Timo:           15:28:49
 Voico Uoago For1    (817)343-6690
 Account Number:     318912244
Item    Conn.     Conn.    Seizure Originating     Terminating   Elapsed      Number           IMBI             IMSI        Description   Cell Location
         Date     Time       Time    Number          Number       Time        Dialed
47    03/04/ll l2:09P     0:22     18173436690    12147386545       0:23    12147386545 011935005960741 310410276936201      M2M DIR       [52709/62028:-97 . 09953:32.93497:120]
                                                                                                5
48    03/04/ll Ol : 03P   0:06     18173436690    18173431808       0:00    18173431808 011935005960741 310410276936201      M2M DIR       [52709/62028: -97 .09953:32.93497:120]
                                                                                                5
49    03/04/ll Ol:OBP     0:09     18173436690    18173431808      1:02     18173431808 011935005960741 310410276936201      M2M_DIR      [52709/62028:-97.09953:32.93497:120]
                                                                                                5
50    03/04/ll 02:34P     0 : 32   18173436690    18179120500      0:00     18179120500 0 11935005960741 310410276936201     M20 DIR      [52709/62028 :-9 7.09953 : 32.93497:120]
                                                                                                5
51    03/04/ll 02:35P     0:03     18173436690    181791205 00     0:00     18179120500 01 1935005 960741 310410276936201    M20 DIR      [52709/62028:-97.09953:32.93497: 12 0]
                                                                                                5
52    03/04/ll 02 :35P    0 : 06   18173436690    18179120500      0:00     18179120500 011935005960741 310410276936201      M20 DIR      [52709/62028: -97. 09953:32.93497: 12 0]
                                                                                                5
53    03/04/ll 02:36P     0 :06    18173436690    18179120500      0:00     18179120500 011935005960741 310410276936201      M20_ DIR     [52709/62028:-97.09953:32 . 93497:120]
                                                                                               5
54    03/04/ll 02:36P     0:06     18173436690    18179120500      0:46     18179120500 011935005960741 310410276936201      M20_DIR      [52709/62028: - 97.09953:32.93497:120]
                                                                                                5
55    03/04/ll 02:55P     0:03     18179120500    18173436690      0:09     18173436690 011935005960741 310410276936201      02M_DIR      [52709/ 62028:-97.09953:32.93497:120]
                                                                                                5
56    03/04/ll 03:39P     0:14     18173436690    1214223 0947     0:50     12142230947 011935005960741 31041027693620 1     M2M_ DIR     [52709 /2 3562:-97.09917:32.95581:128,
                                                                                               5                                          52709/24331:-97.09953:32.93497:8]
57    03/04/ll 03:40P     0:23     18173436690    19155912171     12:15     19155912171 011935005960741 310410276936201      M20_DIR      [52709 / 24331:-97.09953:32.93497:8,
                                                                                                5                                         52903/23581: - 97.09742:32.89986:8]
58    03/04/ll 03:53P     0:08     18173436690    12147386545      2:14     12147386545 01193500596074 1 310410276936201     M2M DIR      [52903/2 3581:-97.09742 :32.89986:8,
                                                                                                5                                         52903 /44264:-97.09953:32.8695:360 ]
59    03/04/ll 03:56P     0:13     18173436690    18173431808      3 : 02   18173431808 0 119350059 60741 310410276936201    M2M_ DI R    [52903/24793:-97.08228:32.87758:300 ]
                                                                                                 5
60    03/04/ll 07:07P     0: 11    18173436690    18173431808      0:54     18 17 3431808 011935005960741 310410276936201    M2M_DIR      [529 03/4028 1:-97.10911:32.842:0]
                                                                                                5
61    03/04/ll 08:27P     0:01     18178974827    18173436690      0:00     1817343669 0 011935005960741 310410276936201     M2M_ DIR     [52709 /2 3568:-97.099 1 7:32.95581:]
                                                                                                5
62    03/05/ll 05:54A     0:09     18173436690    12147386545      0:17     12147386545 01193500596074 1 310410276936201     M2M DIR      [52703/34579: - 97.42067:32.76231:300 ]
                                                                                               5
63    03/05/ll 09: lOA    0:07     1817343 6690   18889130900      0:47     18889130900 011935005960741 310410276936201      M20 DIR      [52703/35361: - 97.44867:32.77356:8,
                                                                                               5                                          52703 / 34571:-97.42067:32.76231 : 60]
64    03/05/ll l0 : 33A   0:04     146977418 45   1817343 6690    11:22     18173436690 01193 5 005960741 310410276936201    M2M_DI R     [52703/14221:-97 . 44867:32.77356:60 ]
                                                                                                 5
65    03/05/ll 10:45A     0:00     12145353700    18173436690      0:17     18173436690 011935005960741 310410276936201     M2M DIR       [52703/14221:-97.44867:32.77356:60]
                                                                                               5
66    03/05/ll 10: 55A    0: ll    1817343 6690   12147386545      0:05     12147386545 01 19350 05960741 310410276936201   M2M_ DIR      [ 52703/35367 : -97.44867:32.77356:8]
                                                                                               5
67    03/05/ll 10: 58A    0:13     12147386545    18173436690      1:27     18173436690 011935005960741 310410276936201     M2M DIR       [52703 / 34571:-97.42067:32.7623 1 :60,
                                                                                               5                                          52703 / 35361:-97.44867:32.77356:8]




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